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                      ORAL ARGUMENT REQUESTED
                                   No. 23-1410

                                       In the
                    United States Court of Appeals
                               for the Tenth Circuit


                               LIBERTY GLOBAL, INC.,
                                                         Plaintiff-Appellant,
                                         v.
                                  UNITED STATES,
                                                         Defendant-Appellee.

                On Appeal from the United States District Court
           for the District of Colorado, Case No. 1:20-cv-03501-RBJ,
           Hon. R. Brooke Jackson, United States Senior District Judge

            PLAINTIFF-APPELLANT LIBERTY GLOBAL, INC.’S
                          OPENING BRIEF


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                      STATEMENT OF RELATED CASES

        Plaintiff-Appellant Liberty Global, Inc., is unaware of any prior or re-

  lated appeals that must be identified under Tenth Circuit Rule 28.2(C)(3).




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                                   GLOSSARY

  1-App.                        Appellant’s Appendix, Volume 1 of 2

  2-App.                        Appellant’s Appendix, Volume 2 of 2

  Add.                          Addendum bound with this brief

  CFC                           Controlled foreign corporation, as defined in
                                I.R.C. § 957(a)

  Commissioner                  Commissioner of the Internal Revenue Service

  I.R.C.                        Internal Revenue Code (i.e., Title 26 of the
                                U.S. Code)

  IRS                           Internal Revenue Service

  LGI                           Liberty Global, Inc., a U.S. corporation and
                                subsidiary of Liberty Global plc

  LGI I                         Liberty Global Broadband I Ltd., a U.K. com-
                                pany and subsidiary of LGI

  Liberty Global plc            A U.K. corporation and ultimate owner of LGI
                                and its affiliates

  NQPS                          Nonqualified preferred stock (see I.R.C.
                                § 351(g))

  Tax Code or Code              Title 26 of the U.S. Code—the Internal
                                Revenue Code

  TCJA                          Tax Cuts and Jobs Act, Pub. L. No. 115-97,
                                Tit. I, 131 Stat. 2054

  Telenet Group                 Telenet Group BVBA and later Telenet Group
                                NV/SA, a Belgian subsidiary of Liberty
                                Global plc


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                                   GLOSSARY
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  TGH                           Telenet Group Holding NV/SA, a Belgian
                                subsidiary of Liberty Global plc and the hold-
                                ing company of Telenet Group

  TIF LLC                       Telenet International Financing USD LLC, a
                                U.S. limited liability company and subsidiary
                                of TGH

  Treasury regulations          Title 26 of the Code of Federal Regulations




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                                INTRODUCTION

        This case is about whether the Internal Revenue Service can override

  tax statutes and Treasury regulations. Those laws form a reticulated scheme

  in which a taxpayer’s choices may produce different consequences, includ-

  ing qualifying for an entitlement to a deduction or other benefits. Here,

  Liberty Global, Inc. (LGI), took steps that entitled it to a deduction under a

  new tax law, the 2017 Tax Cuts and Jobs Act (TCJA), Pub. L. No. 115-97, Tit.

  I, 131 Stat. 2054. But the IRS didn’t like that result, so it tried using temporary

  regulations to disallow the deduction. Then, after the district court found the

  regulations invalid, the IRS purported to override the law with the economic

  substance doctrine. That tactic fails, too. The economic substance doctrine is

  a canon of construction for interpreting and applying statutory or regulatory

  provisions that require inquiry into the economic reality of and taxpayer mo-

  tive for an underlying transaction. Because it’s an interpretive canon, it plays

  no role when, as here, the applicable statutes and regulations permit the tax-

  payer to make choices precisely because of their tax consequences.

        1.    The TCJA overhauled the United States’ approach to taxing mul-

  tinational corporations. To encourage repatriation of foreign earnings,

  Congress added I.R.C. § 245A, which directs that a U.S. corporation “shall


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  be allowed” to claim a deduction for certain dividends received from foreign

  corporations. The TCJA also amended other Code provisions to ensure that

  a U.S. corporation could claim the deduction when it sells stock in a “con-

  trolled foreign corporation,” or CFC, I.R.C. § 957(a), and when a CFC sells

  stock of another CFC lower in the corporate chain, by deeming income from

  those sales to be dividends. See I.R.C. §§ 1248(j), 964(e)(1), (4).

        LGI is a U.S. corporation that is part of a foreign-owned, multinational

  group of entities operating a global telecommunications business. LGI rec-

  ognized that § 245A provided an opportunity to: (1) repatriate profits that

  its foreign subsidiary earned providing telecommunications services in Bel-

  gium, (2) claim a corresponding § 245A deduction, and (3) ensure that its

  subsidiary’s future foreign earnings were taxed under Belgian law. So LGI

  made a series of choices to claim the § 245A deduction, following the Tax

  Code and Treasury regulations to a tee.

        But Treasury wouldn’t have it. Despite acknowledging § 245A’s clear

  terms, Treasury wanted to limit the deduction. So it issued temporary regu-

  lations, without notice and comment, purporting to retroactively disallow

  the deduction for certain transactions. The regulations targeted transactions




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  like LGI’s, declaring that dividends from those transactions would be “inel-

  igible” for the deduction. 26 C.F.R. § 1.245A-5T(b).

        After paying its taxes, LGI sued for a refund, claiming the § 245A de-

  duction and explaining that the regulations were invalid. The district court

  agreed that the regulations were invalid.

        So the IRS tried another tack. It contended that LGI still couldn’t claim

  the deduction, no matter its compliance with § 245A’s terms. In the IRS’s

  view, the steps LGI took to qualify for the deduction were tax-motivated and

  produced a result Congress didn’t intend, so they had to be ignored under

  the common-law economic substance doctrine. (At the same time, the IRS

  selectively decided to respect certain steps LGI took so that it could find in-

  come to tax, even while denying the corresponding deduction.) The district

  court agreed, granting summary judgment for the IRS.

        The district court and the IRS are wrong. The court’s conclusion over-

  rides Congress’ choice to allow U.S. corporations to claim deductions for

  foreign dividends. And it wrongly wields the economic substance doctrine

  to rewrite, rather than interpret, the law. The IRS has “no basis” here “for

  recharacterizing the transactions and no basis for recharacterizing the law’s




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  application to them.” Summa Holdings, Inc. v. Commissioner, 848 F.3d 779, 782

  (6th Cir. 2017) (Sutton, J.).

        2.     Addressing the IRS’s overreach requires understanding two

  kinds of tax-motivated choices businesses can make: choices under a set of

  Treasury regulations known as “check-the-box” regulations, see 26 C.F.R.

  §§ 301.7701-1 through 301.7701-3, and choices about an entity’s capital struc-

  ture, like whether to finance with debt or equity.

        Start with the regulations, which allow businesses to choose how to be

  classified for federal tax purposes. For example, a foreign entity can be “dis-

  regarded,” meaning that its existence is ignored for federal tax purposes, and

  its assets and liabilities are considered to belong to the entity’s owner. Or an

  entity may instead decide to be treated as a corporation for federal tax pur-

  poses by, for example, checking a box on an IRS form or by operating as an

  entity that the regulations say must be treated as a corporation. And if a tax-

  payer chooses to convert to a corporation for tax purposes, the tax laws don’t

  “disregard” the entity, but instead treat it as if it were a newly formed cor-

  poration with its own assets and liabilities. See 26 C.F.R. §§ 301.7701-2(b)(8),

  301.7701-3(a)-(d). A corporate organization “is deemed to occur”: the owner

  of the entity converting to a corporation is treated as contributing “all of the

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  [entity’s] assets and liabilities” to the “new” corporation, in exchange for that

  corporation’s stock. See id. § 301.7701-3(g)(1)(iv); Rev. Rul. 2004-59, 2004-24

  I.R.B. 1050, 1051 (June 14, 2004).

        Section 351 of the Tax Code, in turn, governs when exchanges of prop-

  erty for stock in a corporate organization are taxable. When a person

  transfers property to a corporation in exchange for stock and non-stock

  property (like cash or debt), that person is taxed on the “gain” from the ex-

  change, up to the value of the non-stock property. Non-stock property

  includes debt instruments and “nonqualified preferred stock” (NQPS),

  I.R.C. § 351(g)—a kind of stock that shares characteristics with debt.

        Whether to capitalize with NQPS, debt, cash, common stock, or some-

  thing else is a choice that § 351 and background principles commit to the

  taxpayer. See, e.g., Kraft Foods Co. v. Commissioner, 232 F.2d 118, 128 n.19 (2d

  Cir. 1956). And because tax law treats debt and equity differently, taxpayers

  often choose differently precisely because of anticipated tax consequences.

        To qualify for the § 245A deduction, LGI and its affiliates chose to con-

  vert a Belgian subsidiary into an entity considered a corporation under the

  Treasury regulations and chose to capitalize that entity with NQPS and

  debt—choices that the regulations and statutes contemplated they could

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  make for tax reasons. The steps are undisputed. One of LGI’s “disregarded”

  foreign subsidiaries, Telenet Group BVBA (Telenet Group), changed its cap-

  ital structure, including by issuing NQPS and debt, and became a regarded

  corporation. Those changes caused Telenet Group’s holding company,

  Telenet Group Holding NV/SA (TGH), to recognize gain tied to Telenet

  Group’s profits and value, increasing TGH’s earnings and profits. Thus,

  when LGI’s subsidiary sold its interest in TGH, LGI recognized a gain that

  the Code deemed a dividend equal to the amount of TGH’s earnings and

  profits. See I.R.C. § 1248(a). That gain, those earnings and profits, and that

  dividend all reflected the Code’s treatment of Telenet Group’s real profits

  and value from providing telecommunications services. And under § 245A,

  LGI could claim a deduction equal to the amount of the deemed dividend.

        The IRS invoked the economic substance doctrine to override the

  choices LGI and its affiliates made under the Tax Code and Treasury regu-

  lations. The district court agreed, reasoning that LGI had artificially

  generated earnings and profits and denying the deduction.

        3.    That was error.

        The economic substance doctrine is a tool for interpreting and apply-

  ing statutory or regulatory terms that make economic reality “relevant.”

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  I.R.C. § 7701(o)(5)(C). When ordinary tools of construction show that a term

  requires inquiry into economic reality and taxpayer motive, the doctrine be-

  comes relevant, and § 7701(o) tells courts how to apply it. But statutes and

  regulations don’t always make economic reality and taxpayer motive rele-

  vant—and then the doctrine isn’t relevant either. In those circumstances,

  courts must “apply each provision as its text requires,” without the eco-

  nomic substance doctrine’s overlay. Summa Holdings, 848 F.3d at 788-89.

        The IRS cannot use the doctrine to disallow LGI’s § 245A deduction,

  because ordinary interpretive principles show that economic reality and tax-

  payer motive aren’t relevant to the statutory and regulatory terms that

  govern the steps LGI took to qualify for the deduction. First, the doctrine

  doesn’t permit disregarding Telenet Group’s conversion to a corporation,

  because Treasury regulations expressly contemplate that businesses may

  choose their entity classification and require entities to be treated as corpo-

  rations for tax purposes. Second, the doctrine doesn’t permit disregarding

  Telenet Group’s choice to use debt and NQPS, because § 351(b) and (g) ex-

  pressly contemplate choices among capitalization alternatives, consistent

  with longstanding background precedent permitting capitalization choices

  to be completely tax-motivated. Third, once those entity-classification and

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  capitalization choices are respected, there’s no dispute that the sale of TGH

  triggered a dividend that qualifies for the § 245A deduction. The IRS wants

  to disregard certain choices LGI made to disqualify LGI from the deduction

  while respecting other choices LGI made to ensure there is income to tax.

  That doesn’t work. The economic substance doctrine doesn’t authorize the

  IRS to rewrite statutes or regulations to accomplish its desired result. LGI is

  entitled to the § 245A deduction.

                                      *    *    *

        The tax laws are complex, and the IRS can’t “undo transactions” the

  tax laws “expressly authorize.” Summa Holdings, 848 F.3d at 782. By design,

  some provisions, like the check-the-box regulations, are “all form and no

  substance,” permitting taxpayers to make tax-motivated choices and leaving

  no role for the economic substance doctrine. Id. at 786. And the IRS has never

  disputed that, if it cannot disregard Telenet Group’s conversion and capital-

  ization choices, the interrelated provisions of §§ 245A, 964(e), and 1248(a)

  require it to allow the deduction. Ultimately, the IRS’s complaint is that LGI

  made permissible choices to qualify for a new statutory deduction that the

  IRS thought it shouldn’t receive. But taxpayers aren’t required to make

  choices that “will best pay the Treasury.” Helvering v. Gregory, 69 F.2d 809,

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  810 (2d Cir. 1934) (Learned Hand, J.), aff’d 293 U.S. 465 (1935). The Court

  should reverse.

                          JURISDICTIONAL STATEMENT

        The district court had jurisdiction under 28 U.S.C. § 1346(a)(1) and en-

  tered final judgment disposing of all claims on October 31, 2023. Add.22. LGI

  timely appealed on December 27, 2023. 2-App.302; see Fed. R. App. P.

  4(a)(1)(B). This Court has jurisdiction under 28 U.S.C. § 1291.

                           STATEMENT OF THE ISSUE

        Whether LGI is entitled to a deduction under I.R.C. § 245A, and thus

  to a refund of taxes, penalties, and interest, because the IRS cannot rely on

  the economic substance doctrine or Treasury regulations to override the op-

  eration of § 245A.

               PERTINENT STATUTES AND REGULATIONS

        The addendum reproduces pertinent authorities. Add.23-117.




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                          STATEMENT OF THE CASE

        A.    Legal background

              1.    Corporate tax laws are complex, and the Tax Code and
                    Treasury regulations have long permitted businesses to
                    make certain decisions based on anticipated tax
                    consequences.

        Federal tax law involves complicated rules reflecting legislative and

  regulatory choices about how to measure income and what conduct to in-

  centivize. Some rules impose different tax treatment for different types of

  entities and allow taxpayers to choose how to classify an entity. Other rules

  impose different treatment depending on how a business is capitalized—for

  example, with debt rather than equity—and permit taxpayers to choose how

  to capitalize. By design, businesses often make choices based on anticipated

  tax consequences.

        a.    Federal tax law is “highly reticulated,” and incorporates “a com-

  plicated set of tax credits, deductions,” and other “rules that balance many

  competing rationales.” Summa Holdings, 848 F.3d at 788-89. Not all Code pro-

  visions and Treasury regulations are designed to maximize tax revenue. Id.

  at 787-88. Some rules “are designed simply to measure a taxpayer’s eco-

  nomic income” and tax it “at specified rates.” Leandra Lederman, W(h)ither

  Economic Substance?, 95 Iowa L. Rev. 389, 394-95 (2010). Other rules extend

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  tax benefits to incentivize behaviors. Id. Still others are administrative, al-

  lowing taxpayers to make choices purely for federal tax purposes.

        Taxpayers, in turn, may “structure their business affairs … to mini-

  mize taxes.” Commissioner v. First Security Bank of Utah, N. A., 405 U.S. 394,

  398 n.4 (1972). So too may taxpayers “adjust their affairs in response to a

  change in the tax law so as to reduce taxes.” Kraft Foods, 232 F.2d at 128 n.19.

        b.    Treasury’s “check-the-box” regulations, 26 C.F.R. §§ 301.7701-1

  through 301.7701-3, are administrative rules that allow certain business en-

  tities to choose how to be classified for federal tax purposes. Those choices

  result in different tax treatment.

        Whether an entity is classified as a corporation or a partnership, for

  example, affects the entity’s and its owners’ tax treatment. Corporate income

  is “subject to ‘double taxation’—once at the corporate level” “and again at

  the individual-shareholder level.” Littriello v. United States, 484 F.3d 372, 375

  (6th Cir. 2007). Partnership income, in contrast, is taxed only once, “after it

  passes through to the individual partners.” Id.

        Before 1996, Treasury classified business entities using intricate rules

  asking whether the business resembled a corporation. Id. at 375-76. But those

  rules proved difficult to administer as state laws began allowing “new

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  hybrid business entities,” like limited liability companies and limited liabil-

  ity partnerships. Id. Those entities had characteristics of corporations and

  partnerships, and often were structured “to take advantage of whatever clas-

  sification” might provide better tax treatment. Id. at 376.

        Applying the regulations to hybrid entities became unworkable for

  businesses and the IRS alike. Id. That was equally true for classifying foreign

  entities, which required examining foreign law. See Yamagata v. United States,

  114 Fed. Cl. 159, 169-85 (2014). So in 1996, Treasury “gave up on the business-

  entity classification game” and promulgated the check-the-box regulations.

  Boris I. Bittker & James S. Eustice, Federal Income Taxation of Corporations and

  Shareholders § 2.02[1][a] (Nov. 2020). The regulations were designed to make

  the decision about how to classify businesses simpler and more administra-

  ble for taxpayers and the IRS. Littriello, 484 F.3d at 374.

        Under the regime, unincorporated businesses “can elect [their] classi-

  fication for federal tax purposes,” 26 C.F.R. § 301.7701-3(a), by checking a

  box on an IRS form, id. § 301.7701-3(c); Bittker § 2.02[1][a]. An entity’s deci-

  sion can be (and often is) purely tax-motivated; there doesn’t need to be a

  non-tax purpose for the decision. Dover Corp. v. Commissioner, 122 T.C. 324,

  351 n.19 (2004). Similarly, a foreign entity can choose to be classified as a

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  corporation by assuming a foreign-entity status listed as a per se corporation

  in the regulations. 26 C.F.R. § 301.7701-2(b)(8). To simplify the treatment of

  corporate families, the regulations incorporated the concept of “disre-

  garded” entities and corporate organizations.

        Disregarded and regarded entities. When an eligible entity with a sin-

  gle owner elects “to be disregarded as an entity separate from its owner,” id.

  § 301.7701-3(a), its activities are “treated” for federal tax purposes as the

  owner’s activities, id. § 301.7701-2(a). A disregarded entity’s assets and lia-

  bilities thus generally are treated as belonging to the entity’s owner. See 9

  Mertens Law of Federal Income Taxation § 35A:43 (Mar. 2024).

        The regulations also permit a business to make the opposite choice—

  that is, to convert from a disregarded entity to a corporation that is separate

  from its owner for tax purposes. The tax laws treat that newly converted

  entity as if it were a new corporation with its own assets and liabilities. Upon

  conversion, a corporate organization “is deemed to occur: The owner of the

  eligible entity contributes all of the assets and liabilities of the entity to the

  association”—i.e., the “new” corporation—“in exchange for stock of the as-

  sociation.” 26 C.F.R. § 301.7701-3(g)(1)(iv) (emphasis added). Like domestic

  entities, many foreign entities can become disregarded or regarded for

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  federal tax purposes. See id. § 301.7701-3(a)-(d). As noted, the regulations

  also list foreign entities that are treated as “per se” corporations. See id.

  § 301.7701-2(b)(8). When a foreign entity converts into one of those enumer-

  ated entities, the regulations deem it to be a corporation—and thus, a

  regarded entity—for U.S. tax purposes. See id. § 301.7701-2(a)-(b).

        Section 351 corporate organizations. Section 351 governs the corpo-

  rate organization “deemed” to have occurred when a disregarded entity

  becomes a corporation. That section provides rules about when exchanges

  of property for stock are taxable. Typically, when a person sells or exchanges

  property, any gain from the sale is immediately taxable. See I.R.C. § 1001(a).

  But § 351 turns off taxation for many exchanges in a corporate organization,

  because any gain at the time typically would be “more theoretical than real.”

  Stephen Schwarz & Daniel J. Lathrope, Fundamentals of Corporate Taxation, 55

  (9th ed. 2016). Thus, § 351(a) provides that when someone transfers property

  to a corporation in exchange only for the corporation’s stock, and the trans-

  feror controls that corporation immediately afterwards, the parties don’t

  recognize any gain or loss resulting from that transaction. Gain or loss is rec-

  ognized later, with ensuing tax consequences, when a taxable event occurs.




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        The rule is different, however, when a person transfers property to a

  corporation, and in return receives stock and non-stock property: under

  § 351(b), that person recognizes a taxable gain up to the value of that non-

  stock property. Two examples of non-stock property requiring gain recogni-

  tion are debt instruments and nonqualified preferred stock, or NQPS. I.R.C.

  § 351(b), (g). NQPS is a type of debt-like preferred stock, 11 Mertens Law of

  Federal Income Taxation § 43:8 (Mar. 2024), and generally is considered to be

  a safer investment than stock, see H.R. Rep. No. 105-148, at 472 (1997). Section

  351 thus treats NQPS as cash and requires the recipient to recognize gain

  upon receipt in a corporate organization.

        c.    The Tax Code treats debt and equity differently beyond § 351.

  For example, corporations typically can deduct interest paid on debt, but not

  dividends paid to shareholders. See Bittker § 4.02[2]. Businesses thus often

  make capitalization choices based on anticipated tax consequences. Id.

  §§ 4.01, 4.02. And they generally can “create a capital structure either of eq-

  uity alone (including different classes of stock, such as common and

  preferred) or of a combination of equity and debt.” Id. § 4.01.




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              2.    In 2017, the TCJA overhauls the United States’ approach
                    to international taxation and allows a deduction for
                    dividends received from foreign corporations.

        Before the TCJA, a U.S. corporation’s foreign profits were typically

  taxed when they were “repatriated” in the form of dividends from the cor-

  poration’s foreign affiliate to the U.S. corporation. Corporations thus had an

  incentive to keep foreign profits abroad. To encourage repatriation of foreign

  earnings, the TCJA directs in § 245A that a U.S. corporation “shall be al-

  lowed” to claim a deduction in certain situations for dividends received

  from foreign affiliates.

        a.    The Tax Code has special rules for taxing foreign income—a gen-

  eral rule and special exceptions in Subpart F.

        General rule. When U.S. persons earn income through a foreign cor-

  poration, those U.S. persons typically are not taxed on the foreign

  corporation’s earnings until those earnings are distributed to the U.S. per-

  sons as a dividend. Kuntz & Peroni, U.S. International Taxation § A1.03[2], at

  *3 (Mar. 2024). And if a U.S. taxpayer doesn’t receive a dividend, the tax-

  payer is generally taxed only when it sells stock in a foreign company and

  recognizes a gain. Some or all of the gain from that sale can be recharacter-

  ized as a dividend for tax purposes. In particular, if a “United States person”


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  who owns 10% or more of the stock in a foreign corporation “sells or ex-

  changes [that] stock,” “then the gain recognized” from that transaction

  “shall be included in the gross income” of that U.S. person “as a dividend”—

  but only “to the extent of the earnings and profits of the foreign corporation”

  that are “attributable … to such stock.” I.R.C. § 1248(a). Stated differently,

  when a U.S. person sells stock in a foreign corporation, the gain from the sale

  is taxed as a dividend up to the amount of the foreign corporation’s earnings

  and profits.

        Subpart F. The Tax Code more directly taxes certain types of income

  of “controlled foreign corporations,” or CFCs. A CFC is “any foreign corpo-

  ration” that is majority-owned “by United States shareholders,” I.R.C.

  § 957(a)—i.e., “United States persons” owning at least 10% of a foreign cor-

  poration’s shares, I.R.C. § 951(b). Subpart F of the Code, I.R.C. §§ 951–965,

  limits the deferral of income for CFCs by generally taxing U.S. shareholders

  on certain categories of a CFC’s income, even if the CFC doesn’t distribute

  its earnings to the U.S. shareholders, see I.R.C. § 951(a)(1).

        b.       In December 2017, Congress passed the TCJA, making signifi-

  cant changes to the United States’ approach to international taxation. One

  key provision, meant to encourage repatriation of foreign income, mandates

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  that, in certain circumstances, a U.S. shareholder that receives a dividend

  from a foreign corporation “shall be allowed” to offset that income with a

  deduction. I.R.C. § 245A(a).

        Specifically, § 245A(a) provides that when a domestic corporation that

  owns at least 10% of a foreign corporation receives a “dividend” from that

  foreign corporation, the domestic corporation “shall be allowed as a deduc-

  tion an amount equal to the foreign-source portion of such dividend.” The

  “foreign-source portion” is the total dividend multiplied by the ratio of the

  foreign corporation’s foreign earnings to total earnings. I.R.C. § 245A(c)(1).

  Thus, when the foreign corporation issuing the dividend has only foreign

  earnings, the entirety of the divided is deductible under § 245A, and the U.S.

  shareholder is not taxed on that dividend. Before the TCJA, a corporation

  could have been taxed up to 35% on that dividend. I.R.C. § 11(b)(1) (2012).

        Congress also made changes to interconnecting Tax Code provisions,

  including § 1248 and Subpart F. For starters, Congress clarified the interac-

  tion of §§ 245A and 1248. As noted (at 16-17), § 1248(a) provides that, when

  a U.S. shareholder sells stock of a foreign corporation, the U.S. shareholder’s

  gain is deemed to be a “dividend” and “shall be included in [the U.S. share-

  holder’s] gross income.” Section 245A(a) provides a deduction for the

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  foreign-source portion of that dividend. And Congress added § 1248(j),

  which states that “any amount received by the domestic corporation which

  is treated as a dividend by reason of [§ 1248] shall be treated as a dividend

  for purposes of applying § 245A.” So if a domestic corporation receives an

  actual or deemed dividend under § 1248, the foreign-source portion of that

  dividend “shall be” deductible under § 245A.

        Congress also amended Subpart F to account for § 245A. That change

  ensured that § 245A applied equally to a domestic corporation’s sale of a

  CFC, on the one hand, and a CFC’s sale of another CFC lower in the corpo-

  rate chain, on the other. Generally, when a CFC sells stock of another CFC,

  the selling CFC’s gain on the sale is included in its gross income as a deemed

  dividend. I.R.C. § 964(e)(1). The TCJA incorporated three straightforward

  rules for how to treat that dividend. First, “the foreign-source portion of such

  dividend” “shall be treated” as the CFC’s “subpart F income.” I.R.C.

  § 964(e)(4)(A)(i). Second, a “United States shareholder” of the CFC “shall in-

  clude in gross income” its pro rata share of that “subpart F income.” I.R.C.

  § 964(e)(4)(A)(ii). Third, “the deduction under section 245A(a) shall be allow-

  able to the United States shareholder with respect to [that] subpart F

  income.” I.R.C. § 964(e)(4)(A)(iii).

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        The upshot is that the gain from the sale of any foreign stock that re-

  sults in a dividend to a U.S. shareholder under § 1248(a) or § 964(e) can be

  offset by a deduction under § 245A. The taxable increase in income and the

  deduction go hand-in-hand.

              3.    Dissatisfied with the operation of § 245A, Treasury
                    issues regulations to limit its application.

        The TCJA revised the U.S. international tax system beyond § 245A, in-

  cluding by extending the Subpart F regime to a new category of CFC income,

  known as global intangible low-taxed income (GILTI). See generally H.R. Rep.

  No. 115-466, at 595-669 (2017). While the GILTI rules are generally designed

  to coexist with § 245A, Treasury didn’t like some of the results produced by

  § 245A, so it promulgated regulations, without notice and comment, to

  change them. See Limitation on Deduction for Dividends Received from Certain

  Foreign Corporations and Amounts Eligible for Section 954 Look-Through Excep-

  tion, 84 Fed. Reg. 28,398, 28,398-405 (June 18, 2019). When a corporation

  receives an actual or deemed dividend from a CFC, § 245A provides that the

  taxpayer “shall be allowed as a deduction an amount equal to the foreign-

  source portion of such dividend,” if other requirements are met. I.R.C.

  § 245A(a) (emphasis added); see I.R.C. § 964(e)(1), (4)(A); supra pp. 18-20. But



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  Treasury’s regulations purported to limit § 245A’s application, even if those

  statutory requirements are met. 84 Fed. Reg. at 28,398, 28,405; see 26 C.F.R.

  § 1.245A-5T.

        The regulations created from whole cloth two categories of Transac-

  tions—known as “extraordinary reduction” and “extraordinary disposition”

  transactions—for which Treasury imposed a “[l]imitation of deduction un-

  der section 245A.” 26 C.F.R. § 1.245A-5T(b). All or a portion of the dividends

  received in those transactions would be “ineligible” for the statutory deduc-

  tion. Id. The temporary regulations purported to apply retroactively to

  transactions occurring after December 31, 2017. 84 Fed. Reg. at 28,405-06.

        Treasury recognized that § 245A would sometimes allow CFCs to re-

  patriate funds as dividends in a way that “effectively eliminates subpart F

  income or income subject to tax under section 951A from the U.S. tax sys-

  tem.” Id. at 28,398, 28,400; see id. at 28,409. Treasury further acknowledged

  that “when the requirements of section 245A as properly construed are sat-

  isfied, it would not be permissible under the statute for the section 245A

  deduction to be denied … even if, for example, taxpayers choose to generate

  such income to avail themselves of the benefits of the deduction.” Id. at

  28,400. To avoid the results it didn’t like, Treasury thus wanted to carve

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  some cases out to deny by regulation the deduction that the statute mandates

  must be allowed. Id. at 28,400, 28,409; see 26 C.F.R. § 1.245A-5T(e)(2)(i)(A).

        In August 2020, Treasury promulgated similar final regulations. Limi-

  tation on Deduction for Dividends Received from Certain Foreign Corporations and

  Amounts Eligible for Section 954 Look-Through Exception, 85 Fed. Reg. 53,068

  (Aug. 27, 2020). Those regulations apply to tax periods “ending on or after

  June 14, 2019.” 26 C.F.R. § 1.245A-5(k).

        B.    Factual background

        LGI, a U.S. corporation, is part of a foreign-owned multinational group

  of corporate entities operating a global telecommunications business. After

  Congress passed the TCJA, LGI recognized that § 245A provided a favorable

  opportunity to repatriate profits and economic value earned by two of LGI’s

  Belgian subsidiaries, Telenet Group and its holding company TGH, from

  providing telecommunications services in Belgium. By undertaking a corpo-

  rate organization and sale, LGI would repatriate TGH’s and Telenet Group’s

  earnings with an offsetting deduction, while subjecting their future earnings

  to the Belgian tax regime, rather than a mix of U.S. and foreign tax laws.

        LGI and its affiliates thus took a series of steps to claim the § 245A de-

  duction. The facts about those steps, known as Project Soy, are undisputed.


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  In brief, Telenet Group changed its capital structure, including by issuing

  NQPS and debt, and converted from a disregarded entity to a regarded cor-

  poration. Those steps caused TGH to recognize a gain tied to Telenet

  Group’s economic value and reflected as increased earnings and profits for

  TGH. When another of LGI’s foreign subsidiaries sold TGH to LGI’s foreign

  parent, LGI recognized a gain that, under § 964(e), was deemed a dividend

  equal to the amount of TGH’s earnings and profits. LGI was thus entitled to

  claim a deduction in that amount under § 245A.

              1.    LGI and its affiliates operate a global
                    telecommunications business.

        LGI and its affiliates operate one of the world’s largest telecommuni-

  cations businesses, providing broadband, cable, and communications

  services to millions of customers. Liberty Global, Who We Are,

  https://www.libertyglobal.com/about/who-we-are/. As is typical of mul-

  tinational corporations, LGI’s corporate structure is complex. At the time of

  the transaction here, as diagrammed below, LGI was wholly owned by Lib-

  erty Global plc, a U.K. corporation. 1-App.13. Through a series of

  subsidiaries, LGI owned Liberty Global Broadband I Ltd. (LGI I), a U.K. com-

  pany. LGI I, in turn, indirectly owned 56.6% of TGH, a publicly traded



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  Belgian entity. 1-App.149. TGH owned 99.99% (for federal tax purposes, all)

  of Telenet Group, also a Belgian entity. Id. TGH had another subsidiary,

  Telenet International Financing USD LLC (TIF LLC), a U.S. limited liability

  company, that served as a financing arm, borrowing outside funds to lend

  as needed to Telenet Group entities. Id.; 1-App.189-190. Both Telenet Group

  and TIF LLC were disregarded entities.

              2.    In response to the TCJA, LGI and its affiliates take steps
                    to qualify for the § 245A deduction.

        After Congress enacted § 245A, LGI and its affiliates decided to repat-

  riate earnings from its successful foreign operations, while also seeking to

  modify its corporate structure so that TGH and Telenet Group’s future for-

  eign earnings would be taxed by Belgium. The steps LGI and its affiliates

  took, known as Project Soy, are undisputed. In short, Telenet Group changed

  its capital structure and became regarded as a corporation for tax purposes.

  That conversion—from a disregarded to a regarded entity—triggered a gain

  that increased earnings and profits for TGH. So when LGI I sold TGH to

  LGI’s U.K. parent, LGI recognized a gain in the amount of TGH’s earnings

  and profits. By mechanical operation of §§ 245A, 964(e), and 1248, that gain

  triggered a deemed dividend with an offsetting deduction under § 245A.



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  The IRS doesn’t dispute that the gain resulting from Project Soy satisfied

  § 245A’s requirements for a deduction based on dividends received from the

  sale of TGH.

        a.    Steps one through three. In December 2018, Telenet Group con-

  verted under Belgian law from a BVBA to an NV/SA. Under Treasury

  regulations, Telenet Group thus changed for tax purposes from a disre-

  garded entity to a regarded corporation holding its own assets and liabilities.

  See 26 C.F.R. § 301.7701-2(b)(8). In preparation for that conversion, LGI sub-

  sidiaries changed some stock into debt and restructured so that the earnings

  and profits of TGH—Telenet Group’s majority owner—would increase once

  Telenet Group converted. 1-App.150-152.

        Step one: TGH’s interest in Telenet Group changes from a capital

  interest to a monetary claim against Telenet Group. As explained, TGH

  owned Telenet Group—a disregarded entity at the beginning of Project Soy.

  1-App.149; supra p. 24. Using Belgian corporate-law processes, Telenet

  Group reduced the recorded value of its shares by €4.3 billion. 1-App.150.

  Telenet Group then owed TGH approximately €4.3 billion. Id.

        Step two: TIF LLC becomes a direct subsidiary of TGH. TGH then

  transferred TIF LLC—also a disregarded entity—from one of its disregarded

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  subsidiaries to itself, making TIF LLC its direct subsidiary. 1-App.151. Be-

  cause TIF LLC was disregarded, its loans to Telenet Group were treated as

  belonging to TGH. Supra pp. 13-14.

        Step three: Telenet Group issues NQPS and debt, converts to a cor-

  poration, and is treated as transferring that NQPS and debt to TGH in a

  § 351 exchange, thus causing TGH to recognize gain and increased earn-

  ings and profits. With the components above in place, Telenet Group chose

  to replace some of its common stock with debt and NQPS, which is similar

  to debt and treated as non-stock property for purposes of § 351. See I.R.C.

  § 351(g); 1-App.213-217. Telenet Group then converted from a BVBA to an

  NV/SA under Belgian law. 1-App.152.

        When Telenet Group became an NV/SA, a kind of “Société

  Anonyme,” it became a per se corporation for federal tax purposes under the

  regulations. See 26 C.F.R. § 301.7701-2(b)(8)(i) (“corporation” includes a “So-

  ciété Anonyme”); supra pp. 12-14. And when a disregarded entity becomes

  a corporation, its owner “is deemed” to have “contribute[d] all of the assets

  and liabilities of the entity” to the “new” entity “in exchange for” the new

  entity’s stock. 26 C.F.R. § 301.7701-3(g)(1)(iv); see Rev. Rul. 2004-59. Under

  the regulations, TGH (Telenet Group’s regarded owner) was deemed to


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  contribute all of Telenet Group’s assets and liabilities to the newly formed

  corporation. In exchange, TGH received common stock of post-conversion

  Telenet Group, along with NQPS and a debt instrument. Supra pp. 14-15.

        The upshot was that § 351(b) required TGH to recognize $4.8 billion in

  gain, representing the “fair market value” of (1) NQPS it received from

  Telenet Group and (2) debt that Telenet Group owed to TIF LLC. That gain

  increased TGH’s earnings and profits. See 26 C.F.R. § 1.312-6(b); I.R.C.

  §§ 61(a)(3), 312(f)(1).

        b.     Step four: LGI I sells TGH. Finally, LGI’s foreign subsidiary,

  LGI I, sold its interest in TGH to Liberty Global plc. 1-App.193. LGI I recog-

  nized a $2.4 billion gain from that sale, id.—a gain representing Telenet

  Group’s actual profits and economic value from operating the telecommu-

  nications business. That gain, in turn, was included as a deemed dividend in

  LGI I’s subpart F income to the extent of TGH’s earnings and profits (which,

  after Telenet Group’s conversion, exceeded $2.4 billion). See I.R.C.

  §§ 964(e)(1), 1248(a); supra pp. 19-20. And LGI, as LGI I’s U.S. shareholder,

  was required to include that amount in LGI’s “gross income.” I.R.C.

  § 964(e)(4)(A)(ii). In addition, “the deduction under section 245A shall be al-

  lowable” to LGI “with respect to [that] subpart F income included in gross

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  income.” I.R.C. § 964(e)(4)(A)(iii). The gain from the sale of TGH is the very

  same income that the IRS seeks to tax in this case.

        TGH was sold in December 2018, 1-App.153, nearly six months before

  Treasury issued its temporary regulations, supra p. 20. Under those regula-

  tions, LGI wouldn’t be able to claim a § 245A deduction in connection with

  Project Soy. 1-App.114-115.

        The diagrams on page 29 show Project Soy’s steps, depicted according

  to the legend below:




                                   Legend

                     Gray              Foreign Entity

                     White             Domestic Entity

                                       Corporation

                                       Disregarded Entity

                                       Direct Ownership

                                       Indirect Ownership

                     Dotted Line       Relevant Change at Step




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           Step One                 Step Two                       Step Three

             Liberty                 Liberty                          Liberty
             Global                  Global                           Global
               plc                     plc                              plc



              LGI                     LGI                                LGI




             LGI I                   LGI I                               LGI I

                    56.6%                 56.6%                              56.6%
   Debt
   owed      TGH                      TGH                                TGH



            Telenet                  Telenet                          Telenet
                                                   TIF LLC                           TIF LLC
            Group                    Group                            Group




            TIF LLC


                                        Step Four

                        Liberty
                       Global plc
                                        56.6%


                            LGI                 TGH



                                               Telenet
                            LGI I                              TIF LLC
                                               Group



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        C.    Procedural background

              1.    LGI claims a tax refund in connection with Project Soy
                    and sues in district court.

        LGI timely filed its 2018 tax return in October 2019 and paid the taxes

  the IRS claims it owed. 1-App.13. In December 2019, LGI filed an amended

  return claiming the § 245A deduction in connection with Project Soy and a

  corresponding refund based on the invalidity of the temporary regulations.

  Id.; 1-App.22.

        After the IRS failed to act on its refund claim, LGI sued. See I.R.C.

  §§ 6532(a)(1), 7422. LGI seeks a refund of $104,487,574 in taxes, $2,175,147 in

  penalties the IRS assessed against it, and $2,627,128 in interest. 1-App.12-13.

        The IRS later separately sued LGI, seeking $283,965,223 in additional

  taxes and penalties on the ground that steps one through three of Project Soy

  lacked substance. See Compl. 8-10, Dist. Ct. Doc. 1, No. 1:22-cv-02622 (D.

  Colo. Oct. 7, 2022).

              2.    The district court holds that the temporary Treasury
                    regulations implementing § 245A are invalid because
                    they were promulgated without notice and comment.

        LGI sought summary judgment, arguing that the temporary regula-

  tions, 26 C.F.R. § 1.245A-5T, were invalid and that the IRS could not use them

  to deny LGI’s § 245A deduction. 1-App.45-68. LGI explained that the

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  regulations contravened § 245A’s text, were impermissibly retroactive, and

  violated the Administrative Procedure Act’s notice-and-comment require-

  ment. 1-App.46-47; 1-App.60-68. The district court held the regulations

  invalid, agreeing that Treasury failed to provide notice and an opportunity

  for comment, without good cause, and that the failure wasn’t harmless. 1-

  App.116-120.

              3.    The district court holds that LGI is not entitled to a
                    refund because the IRS could disregard steps one
                    through three under the economic substance doctrine.

        The parties then cross-moved for summary judgment on whether the

  IRS could invoke the economic substance doctrine to invalidate the deduc-

  tion. To avoid § 245A’s mandatory language, the government claimed that

  the court should disregard steps one through three under the economic sub-

  stance doctrine, because they were tax-motivated, produced a result

  contrary to Congress’ intent, and, setting aside tax effects, didn’t meaning-

  fully change LGI’s economic position. 1-App.156; 1-App.169-172. But the

  government didn’t argue that the doctrine invalidated step four (the sale of

  TGH), even though the income resulting from step four triggered the § 245A

  deduction. LGI countered that the economic substance doctrine isn’t “rele-

  vant” to steps one through three, I.R.C. § 7701(o)(1), because the controlling


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  tax laws allow entities to choose, purely for tax purposes, to become re-

  garded corporations—as Telenet Group did when it converted to an NV/SA.

  1-App.134-145. The doctrine also isn’t relevant because businesses can make

  capitalization choices based on anticipated tax consequences. Id.

        Agreeing with the government, the district court held that LGI wasn’t

  entitled to a refund because the economic substance doctrine allowed the

  IRS to disregard steps one through three of Project Soy. The court recognized

  that § 7701(o)(1) states that the doctrine applies “[i]n the case of any transac-

  tion to which [it] is relevant.” Add.7-10. But it ruled that the statute doesn’t

  require any relevance determination. Id. Instead, “[a]t the risk of tautology,”

  the court concluded that the doctrine “applies when a transaction lacks eco-

  nomic substance”—that is, it applies when it applies, and when “the tax

  benefits achieved in the transaction violate congressional intent,” without

  any threshold relevance inquiry. Add.9-12.

        Applying the doctrine, the district court held that the IRS could disre-

  gard steps one through three because they were “interrelated transactions”

  that didn’t change LGI’s “economic position” in “a meaningful way (apart

  from Federal income tax effects)” or have “a substantial non-Federal-in-

  come-tax purpose,” id.; see Add.16-21. In the court’s view, disregarding steps

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  one through three meant the earnings and profits generated at step three

  would be disregarded. Add.21. But it held that step four, which “result[ed]

  in $2.4 billion of taxable gain,” still could be considered. Add.20-21. The court

  thus held that LGI couldn’t claim a § 245A deduction to offset its gain from

  the Belgian profits, so LGI wasn’t entitled to a refund. Add.21. The court

  entered final judgment for the government. Add.22.

                          SUMMARY OF ARGUMENT

        A.    1.    The economic substance doctrine is a tool for interpreting

  statutory or regulatory terms that make economic reality and taxpayer mo-

  tive relevant. The doctrine is “relevant” under § 7701(o), and the statute

  directs how to apply it, when ordinary interpretive tools show that a tax

  term’s application turns on economic reality and taxpayer motive. But

  § 7701(o)(5)(C) underscores that the doctrine is not relevant in all cases, and

  that courts should apply preexisting precedent to determine whether it is.

  Legislative history drives that point home.

        2.    The Supreme Court’s and this Court’s precedents show that the

  economic substance doctrine is relevant for interpreting tax provisions that

  use general terms—like “reorganization,” “interest,” “indebtedness,” or

  “ownership”—that “turn on ‘the objective economic realities’” of a


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  transaction, Boulware v. United States, 552 U.S. 421, 429 (2008). As a canon of

  construction, the doctrine helps courts determine whether a transaction falls

  within the meaning of a statutory or regulatory term.

        3.     But statutes and regulations don’t always make economic reality

  or taxpayer motive relevant. For example, some provisions “are all form and

  no substance,” Summa Holdings, 848 F.3d at 786, meaning they allow taxpay-

  ers to make choices based on tax consequences—that is, without regard to

  economic reality and motivated solely by tax-reduction purposes. And

  sometimes a statute or regulation lacks a hook, under ordinary interpretive

  principles, that makes the taxpayer’s economic position (aside from tax ef-

  fects) relevant. In those circumstances, the IRS and courts may not consider

  economic reality or motive. Instead, they must “effectuate Congress’ nu-

  anced policy judgments” by “apply[ing] each provision as its text requires,”

  without the economic substance doctrine’s gloss. Id. at 788-89. Neither courts

  nor the IRS may “undo transactions that the terms of the Code expressly au-

  thorize.” Id. at 782.

        B.     The IRS cannot use the economic substance doctrine to disallow

  LGI’s § 245A deduction, because ordinary interpretive principles make clear




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  that economic reality and taxpayer motive aren’t relevant to the governing

  statutory and regulatory provisions as they apply to Project Soy.

        1.    The doctrine doesn’t permit disregarding Telenet Group’s con-

  version to a corporation or its capitalization choices in steps one through

  three, including its choice to use NQPS and debt.

        First, the doctrine isn’t relevant to the check-the-box regulations be-

  cause those regulations allow businesses—like Telenet Group—to become

  regarded entities “for federal tax purposes.” 26 C.F.R. § 301.7701-2(b). The

  regulations also “deem[]” a corporate organization to have occurred when a

  disregarded entity becomes a corporation, see id. § 301.7701-3(g)(1)(iv); Rev.

  Rul. 2004-59, and the Code requires recognition of gain when a corporation

  receives NQPS and other non-stock property, see I.R.C. § 351(b), (g). By “de-

  sign” those provisions are “all form and no substance.” Summa, 848 F.3d at

  786. Thus, when Telenet Group became a regarded corporation for tax pur-

  poses, the Tax Code and regulations dictated the consequences. The

  economic substance doctrine can’t override those provisions.

        Second, § 351(g) expressly contemplates taxpayers’ choosing NQPS to

  capitalize their businesses, and establishes the tax consequences of doing so.

  The statutory scheme doesn’t make economic reality or taxpayer motive

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  relevant to the choice to use NQPS, and caselaw provides that taxpayers can

  make capitalization choices—like whether to finance with debt or equity—

  based on tax consequences, anyway. The economic substance doctrine can’t

  undo a business’s financing choices.

        2.    The economic substance doctrine doesn’t allow the IRS to disal-

  low the deduction at step four, either. If steps one through three are

  respected, as they must be, there’s no dispute that LGI satisfied § 245A’s

  plain terms and that the IRS must allow the deduction. But even if steps one

  through three are disregarded, step four would have to be disregarded, too,

  as the step that produced the tax benefit, meaning there wouldn’t be any

  income triggering the deduction or any income for the IRS to tax.

        C.    The district court erred in holding otherwise.

        1.    The court rewrote § 7701(o) by collapsing the statutorily man-

  dated assessment of whether the doctrine is relevant into the test of whether

  the challenged transaction has economic substance. By holding that the

  “doctrine’s relevance is coextensive with the statute’s test for economic sub-

  stance,” Add.8, the district court contravened Congress’ instruction that

  “whether the economic substance doctrine is relevant” “shall be made in the

  same manner as if [§ 7701(o)] had never been enacted.” I.R.C. § 7701(o)(5)(C).

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  The caselaw and legislative history make clear (and the IRS, too, has

  acknowledged) that whether the economic substance doctrine is relevant to

  interpreting and applying a tax provision is a question different from (and

  antecedent to) whether any particular transaction has economic substance.

        2.    The court also improperly dismissed as “artificial” TGH’s earn-

  ings and profits resulting from steps one through three of Project Soy. Add.2.

  Those earnings and profits reflected Telenet Group’s profits and economic

  value from its successful broadband operation. The tax laws unambiguously

  treat those profits as TGH’s profits, too, and the district court wasn’t permit-

  ted to ignore the plain meaning of those laws because LGI “structure[d] [its]

  transactions in unanticipated tax-reducing ways.” Summa Holdings, 848 F.3d

  at 788-89. Besides, § 1248(h) says that even if LGI didn’t “establish[] the

  amount of [TGH’s] earnings and profits,” “all gain” from its sale “shall be

  considered a dividend,” which is deductible under § 245A, I.R.C. § 1248(j).

        3.    Even if steps one through three could be disregarded, step four

  would have to be disregarded, too, because it was necessary to produce the

  tax benefit, and the IRS cannot explain why it can be treated differently.

  Thus, there would be no sale, and no gain for the IRS to tax, and LGI is still

  entitled to a full refund.

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                            STANDARD OF REVIEW

        This Court reviews summary judgment, and decides questions of stat-

  utory construction and economic substance, de novo. Jewell v. United States,

  749 F.3d 1295, 1297 (10th Cir. 2014); Ausmus v. Perdue, 908 F.3d 1248, 1252

  (10th Cir. 2018); Sala v. United States, 613 F.3d 1249, 1252 (10th Cir. 2010).

                                   ARGUMENT

        The IRS cannot use the economic substance doctrine to bar LGI’s

  § 245A deduction. The doctrine is a canon for interpreting statutory and reg-

  ulatory terms that require inquiry into economic reality and taxpayer motive

  to help determine whether a particular transaction falls within the meaning

  of a given term. But the doctrine isn’t “relevant,” I.R.C. § 7701(o)(1), when a

  term’s meaning doesn’t turn on economic reality and taxpayer motive—like

  when a provision is, by design, “all form and no substance.” Summa Hold-

  ings, 848 F.3d at 786. Just so here. The governing statutory and regulatory

  terms here don’t turn on economic reality or taxpayer motive, but instead

  simply dictate the tax consequences of choices that they permit taxpayers to

  make for tax reasons. The Court should reverse.




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        A.    The economic substance doctrine is a tool for interpreting tax
              terms that require inquiry into economic reality and taxpayer
              motive—it cannot be used to override the Tax Code and
              regulations.

        The economic substance doctrine is a tool for interpreting tax terms

  that make economic reality and taxpayer motive “relevant,” I.R.C.

  § 7701(o)(1), so that transactions are taxed based on economic reality rather

  than mere labels. See Summa Holdings, 848 F.3d at 787. The judge-made doc-

  trine traces back to Gregory v. Helvering, 293 U.S. 465 (1935), as a tool for

  interpreting terms, like “reorganization,” “interest,” “indebtedness,” or

  “ownership,” infra pp. 42-47, that “turn on ‘the objective economic realities

  of a transaction rather than … the particular form the parties employed,’”

  Boulware, 552 U.S. at 429. When ordinary tools of construction show that a

  tax term requires inquiry into economic reality and taxpayer motive, the doc-

  trine becomes relevant, and § 7701(o) instructs courts how to apply it. But as

  § 7701(o), caselaw, and legislative history confirm, statutes and regulations

  do not always make economic reality and taxpayer motive relevant, and so

  the doctrine plays no role in those circumstances. In all events, the doctrine

  cannot override statutory or regulatory meaning to make economic reality

  or taxpayer motive relevant where it isn’t. Indeed, the IRS cannot



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  “recharacterize the meaning of statutes” “to ignore … their words, in favor

  of [the IRS’s] perception of their substance.” Id. at 785. Courts must apply

  the Tax Code provisions and regulations as written.

              1.    Section 7701(o) clarifies how courts should apply the
                    economic substance doctrine and reaffirms that the
                    doctrine isn’t relevant to all statutes and regulations.

        a.    In 2010, Congress enacted I.R.C. § 7701(o), clarifying how the

  economic substance doctrine—“the common law doctrine under which [in-

  come] tax benefits … with respect to a transaction are not allowable if the

  transaction does not have economic substance or lacks a business purpose,”

  I.R.C. § 7701(o)(5)(A)—applies when it “is relevant.” I.R.C. § 7701(o)(1). Un-

  der § 7701(o)(1), if “the economic substance doctrine is relevant,” a

  transaction “shall be treated as having economic substance only if” two re-

  quirements are met. First, the transaction must meaningfully change “the

  taxpayer’s economic position,” aside from “Federal income tax effects.” Id.

  § 7701(o)(1)(A). Second, the taxpayer must have had “a substantial” non-tax

  purpose for the transaction. Id. § 7701(o)(1)(B).

        But § 7701(o) underscores that the doctrine isn’t always relevant. “The

  determination of whether the economic substance doctrine is relevant …

  shall be made in the same manner as if [§ 7701(o)] had never been enacted.”


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  I.R.C. § 7701(o)(5)(C). Put differently, Congress left untouched the preexist-

  ing judicial rules for when the doctrine comes into play. Infra pp. 42-52.

  That’s how the IRS has understood § 7701(o), too. See IRS, Notice 2010-62 at

  5 (Oct. 4, 2010), https://www.irs.gov/pub/irs-drop/n-10-62.pdf.

        b.    Section 7701(o)’s legislative history confirms that the doctrine

  cannot override the plain meaning and application of Code provisions to

  make economic reality and taxpayer motive relevant when Congress hasn’t

  done so. For example, the House Budget Committee’s report acknowledged

  that, when “tax benefits are clearly consistent with all applicable provisions

  of the Code and the purposes of such provisions,” the benefits shouldn’t “be

  disallowed if the only reason for such disallowance is that the transaction

  fails the economic substance doctrine.” H.R. Rep. No. 111-443, at 296 n.124

  (2010). The provision thus “does not change current law standards in deter-

  mining when to utilize an economic substance analysis”—i.e. in determining

  when the doctrine “is relevant.” Id. at 295-96. Indeed, § 7701(o) was “not in-

  tended to alter the tax treatment” of certain transactions that “are respected”

  “under longstanding judicial and administrative practice,” even though they

  are “largely or entirely based on comparative tax advantages.” Id. at 296.

  Those transactions include both “the choice between capitalizing a business

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  enterprise with debt or equity” and “the choice to enter a … series of trans-

  actions that constitute a corporate organization” (like a § 351 transaction)—

  choices that are often “entirely based on tax advantages.” Id. When economic

  reality and taxpayer motive aren’t relevant, neither is the doctrine.

              2.    Caselaw makes clear that the economic substance
                    doctrine is a tool for interpreting tax terms that make
                    economic reality and taxpayer motive relevant.

        As caselaw makes clear, the economic substance doctrine is an inter-

  pretive principle for construing tax terms that “turn on ‘the objective

  economic realities of a transaction.’” Boulware, 552 U.S. at 429. Courts devel-

  oped the doctrine because, “[i]n writing the tax laws, Congress uses many

  general terms—‘income,’ ‘indebtedness,’ ‘corporate reorganization’—that

  refer to real-world economic activities, and it assigns tax consequences to

  those activities.” Summa Holdings, 848 F.3d at 785. Economic reality neces-

  sarily informs the meaning of those terms, as the caselaw illustrates.

        Reorganization. Start with Gregory, which addressed the meaning of

  “reorganization.” Based on statutory text and structure, the Court deter-

  mined that the taxpayer’s purpose was relevant because the term

  “reorganization” required consideration of the economic reality of the trans-

  action the taxpayer claimed was a reorganization. The taxpayer had formed


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  a company, used it to sell stock and transfer assets, and dissolved the com-

  pany shortly after transferring the assets to herself. Gregory, 293 U.S. at 467.

  She claimed there was a “reorganization,” which would have allowed her to

  transfer certain property tax-free. Id.

        The Court disagreed. Id. at 469. Another statutory provision required

  the asset distribution to be “in pursuance of a plan of reorganization” to

  qualify for tax-free treatment. Id. at 468. The statute thus made the economic

  reality of the transaction—including the purpose of the plan—relevant to

  determining whether it was a “reorganization.” And because “[n]o other

  business was ever transacted, or intended to be transacted,” by the new com-

  pany, id. at 467, the transaction fell “outside the plain intent of the statute,”

  id. at 469-70. But the Court emphasized that if the “reorganization in reality”

  had been “effected within the meaning of” the relevant provisions, the tax-

  payer’s “motive … to escape payment of a tax” would have been irrelevant.

  Id. at 468-69. That’s because taxpayers undoubtedly may “decrease the

  amount of” their taxes, “or altogether avoid them, by means which the law

  permits.” Id. at 469. Understanding the statute and whether it covered the

  transaction was the task, and the Court looked at the taxpayer’s purpose be-

  cause that’s what the statute required.

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        Interest paid on debt. Knetsch v. United States, 364 U.S. 361, 362-63, 365-

  66 (1960), took the same approach in considering the statutory phrase “in-

  terest paid … on indebtedness.” Because the term turned on economic

  reality, the Court had to examine whether the claimed indebtedness was ac-

  tually debt, meaning it needed to determine whether the taxpayer’s

  economic position had changed. The taxpayer there had labeled cash flows

  with an insurance company “loans,” even though he wasn’t making genuine

  interest payments on debt. Id. at 362-63. Although he made “payments” to

  the company at the beginning of the year for borrowing money, “[w]hat he

  was ostensibly ‘lent’ back was in reality” a refund for the interest payments.

  Id. at 365. If the cash flows from the insurance company were loans under

  the relevant Code provisions, the taxpayer would have been able to claim

  deductions for interest payments. Id. at 362-63. The Court concluded that the

  term “indebtedness” made economic reality relevant. The Court determined

  that the loans were a “façade” because they didn’t “create[] a true obligation

  to pay interest.” Id. at 366-67. That analysis followed from the meaning of

  the terms “interest” and “indebtedness,” which required consideration of

  economic reality.




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        Ownership. In Frank Lyon Co. v. United States, 435 U.S. 561, 580-81, 583-

  84 (1978), the Court considered whether the taxpayer was an “owner” of

  property able to claim deductions based on the property’s depreciation. Be-

  cause “ownership” requires consideration of economic reality, the Court

  assessed whether the taxpayer’s economic position had changed because of

  the transaction and the taxpayer’s purpose for entering into it. Frank Lyon

  had purchased a building from a bank “and simultaneously leased the build-

  ing back to [the bank].” Id. at 562. The government argued that the taxpayer

  couldn’t claim the deduction because it didn’t truly own the property. Id. at

  568. Because the meaning of “owner” turned on economic reality rather than

  labels, the Court considered whether the transaction changed Frank Lyon’s

  economic position and whether Frank Lyon had a non-tax purpose for the

  sale-and-leaseback agreement. The Court concluded that Frank Lyon was

  the owner because it had real obligations with respect to the property, paid

  real “interest,” invested its capital in the building, and had entered into the

  transaction to diversify its business. Id. at 580-83. The Court thus concluded

  that it was required to “honor” Frank Lyon and the bank’s “allocation of

  rights and duties.” Id. at 583-84.




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        This Court, too, has used the economic substance doctrine as a tool for

  understanding whether a transaction qualified for ownership-based deduc-

  tions. See James v. Commissioner, 899 F.2d 905, 905-06, 908-11 (10th Cir. 1990).

        Loss. This Court also has applied the economic substance doctrine to

  interpret the term “loss,” which likewise makes economic reality relevant.

  That’s because, although a taxpayer generally can claim “a deduction [for]

  any loss sustained during the taxable year,” I.R.C. § 165, whether the tax-

  payer actually suffered a “loss” depends on economic reality. Thus, a court

  tasked with deciding whether a taxpayer recognized a loss applies the eco-

  nomic substance doctrine and examines whether the transaction changed the

  taxpayer’s economic position and whether the taxpayer had a substantial

  business purpose.

        For example, in Keeler v. Commissioner, 243 F.3d 1212, 1214-15 (10th Cir.

  2001), the taxpayer had engaged in “straddle trades,” intentionally incurring

  “inflated losses” late in one year and “corresponding gains” early in the next

  “to reduce overall tax liability in a given year to as little as zero.” The Court

  concluded that those “losses” couldn’t support deductions because they

  “were not losses at all” given “their offsetting gain.” Id. at 1218. The tax-

  payer’s economic position hadn’t changed, and allowing the deduction

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  would “violate[] the principle that tax advantages must be linked to actual

  losses.” Id.

        Similarly, in Blum v. Commissioner, 737 F.3d 1303 (10th Cir. 2013), and

  Sala, 613 F.3d at 1253, the Court applied the economic substance doctrine to

  construe the term “loss” and decide whether aspects of the challenged trans-

  actions fell within its scope. In Blum, the Court held that the taxpayer

  couldn’t claim a deduction for a purported $45 million loss because “[t]he

  loss was fictional” and had no “real world effect on [the taxpayer’s] pocket-

  book.” 737 F.3d at 1307-08, 1311. The Court reached the same conclusion in

  Sala, where the taxpayer had “actually profited from the transaction,” and

  so did not actually suffer financial loss. 613 F.3d at 1253-54.

                 3.   The economic substance doctrine isn’t relevant, and
                      plays no role, when the statute or regulation doesn’t
                      require inquiry into economic reality and taxpayer
                      motive.

        The economic substance doctrine isn’t relevant when the meaning of a

  statute or regulation doesn’t turn on economic reality and taxpayer motive.

  That’s because the doctrine is an interpretive canon; it isn’t an override when

  the IRS or courts dislike the result the law produces. It thus has no role when

  interpretive tools show that the provision in question doesn’t turn on



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  economic reality and taxpayer motive. In those circumstances, the IRS and

  courts must “effectuate Congress’ nuanced policy judgments” by “ap-

  ply[ing] each provision as its text requires,” without the doctrine’s gloss.

  Summa Holdings, 848 F.3d at 788-89. Neither courts nor the IRS may “undo

  transactions that the terms of the Code expressly authorize.” Id. at 782.

        a.    Caselaw makes clear that courts cannot use the economic sub-

  stance doctrine to interpret or apply statutory or regulatory provisions that

  do not make economic reality and taxpayer motive relevant. Doing so

  amounts to judicial legislation, overriding laws that by their terms don’t turn

  on economic reality.

        i.    The economic substance doctrine isn’t relevant when ordinary

  interpretive tools show that tax laws don’t turn on economic reality and tax-

  payer motive—like when a provision is, by design, “all form and no

  substance.” Id. at 786.

        In Summa Holdings, for example, the Sixth Circuit held that the tax-

  payer was entitled to the claimed deduction because the tax laws, as written,

  required that result, and economic-substance principles couldn’t change the

  statutes’ meaning. Id. at 781-82. There, taxpayers transferred money from a

  “domestic     international     sales    corporation   (DISC),”    a    type   of

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  “congressionally innovated corporation,” to family members’ Roth IRA ac-

  counts, to take advantage of the tax benefits associated with DISCs and Roth

  IRAs. Id. at 781. The Commissioner “acknowledged that the [taxpayers] had

  complied with the relevant provisions,” but invoked economic-substance

  principles and maintained that Congress didn’t intend the taxpayers to claim

  the tax benefits. Id. at 782, 790.

        The Sixth Circuit rejected that argument. Id. at 785. To be sure, the

  court explained, the IRS can sometimes “recharacterize the economic sub-

  stance of a transaction” to “honor the fiscal realities of what taxpayers have

  done over the form in which they have done it.” Id. That’s because the doc-

  trine “makes sense only when … the taxpayer’s formal characterization of a

  transaction fails to capture economic reality and would distort the meaning

  of the Code in the process.” Id. at 787. But the Commissioner cannot use the

  doctrine to “recharacterize the meaning of statutes.” Id. at 785. When a stat-

  ute allows a transaction—like a contribution from a DISC to a Roth IRA—

  that, by design, is “all form and no substance,” economic-substance princi-

  ples can’t override Congress’ choice. Id. at 786.

        The First Circuit too has concluded that the economic substance doc-

  trine is “a tool of statutory interpretation.” Benenson v. Commissioner, 887 F.3d

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  511, 523 (1st Cir. 2018). Thus, in Benenson, the court applied the provisions

  governing DISCs and Roth IRA as written, “rather than relying on a judi-

  cially crafted common law solution” to reach a different outcome. Id. at 521.

  The Second Circuit has reached the same conclusion. See Benenson v. Com-

  missioner, 910 F.3d 690, 699-701 (2d Cir. 2018).

        ii.   This Court’s precedent aligns with the First, Second, and Sixth

  Circuits’ approach. In St. Charles Investment Co. v. Commissioner, 232 F.3d 773,

  776 (10th Cir. 2000), for example, this Court explained that the statute’s

  “plain language” controlled, even though the IRS claimed it gave the tax-

  payer a windfall, contrary to Congress’ intent.

        In St. Charles, a company converted from a C corporation to an S cor-

  poration. On its tax returns the following year, the company claimed a

  deduction for “passive-activity” loss associated with the previous year un-

  der I.R.C. § 469(b), which allowed such deductions “[e]xcept as otherwise

  provided in this section.” The Commissioner argued that § 1371(b)(1) disal-

  lowed the deduction. That provision provided that “[n]o carryforward, and

  no carryback, arising for a taxable year for which a corporation is a C corpo-

  ration may be carried to a taxable year for which such corporation is an S

  corporation.” I.R.C. § 1371(b)(1).

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        The Court rejected the Commissioner’s argument. “[A]s in all cases re-

  quiring statutory construction,” the Court began “with the plain language of

  the law.” St. Charles, 232 F.3d at 776. The Court held that § 469(b) allowed

  the deduction “[e]xcept as otherwise provided in this section,” so a different

  section couldn’t disallow the deduction. Id. at 776-77. The Court thus “[gave]

  effect to [Congress’] intent as expressed” in the statutory text—no matter

  whether that “create[d] a windfall” for the taxpayer. Id. at 778-79.

        b.    The complexity and highly reticulated design of the Tax Code

  also caution against rewriting tax laws in response to purposive, atextual

  arguments. The Supreme Court has repeatedly held that courts should not

  supplement “comprehensive and reticulated” statutory schemes with “ex-

  tratextual remedies” or “common-law doctrines,” and that common-law

  doctrines “must give way” if they are “inconsistent” with statutory text.

  Hughes Aircraft Co. v. Jacobson, 525 U.S. 432, 447 (1999). If Congress wants

  courts to consider a transaction’s economic reality, it knows how to say so.

        Indeed, “if there is one title of the United States Code most deserving

  of attention to text, it is Title 26.” Summa Holdings, 848 F.3d at 789. The Code

  is “highly reticulated” and “uses language, lots of language, with nearly

  mathematic precision” “to reduc[e] its purpose to text.” Id. Those choices

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  underscore that courts should “apply each provision as its text requires,”

  rather than “elevat[ing] purpose over text when taxpayers structure their

  transactions in unanticipated tax-reducing ways.” Id. at 788-89. Applying the

  economic substance doctrine undermines, rather than effectuates, the Code’s

  meaning unless Congress has made clear that economic reality and the tax-

  payer’s motive are relevant.

        B.    The IRS cannot use the economic substance doctrine to
              disallow LGI’s § 245A deduction, because the applicable
              statutory and regulatory provisions don’t make economic
              reality or taxpayer motive relevant to Project Soy.

        The IRS cannot use the economic substance doctrine to disallow LGI’s

  § 245A deduction, because the statutory and regulatory provisions applica-

  ble to Project Soy don’t turn on economic reality or taxpayer motive. First, at

  steps one through three, the economic substance doctrine doesn’t permit dis-

  regarding Telenet Group’s conversion to a regarded corporation or its

  capitalization choices. As discussed, the doctrine applies only where the

  governing statute or regulations make economic reality and taxpayer motive

  relevant. But as longstanding precedent makes clear, entities can both choose

  corporate status under the Treasury regulations purely for tax reasons and

  decide whether to capitalize with debt or equity—a choice preserved in



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  § 351. Second, with the initial three steps of Project Soy respected, once LGI I

  sold TGH at step four, I.R.C. §§ 245A, 964(e), and 1248(a) require the IRS to

  allow LGI’s deduction. The mandatory mechanics of those statutes expressly

  require LGI to include in its income the deemed dividend resulting from LGI

  I’s sale of TGH. In fact, the government doesn’t even argue that it can use

  the doctrine to invalidate step four, because it needs to respect the sale of

  TGH to create taxable income in the first place.

              1.    The economic substance doctrine doesn’t permit
                    disregarding Telenet Group’s conversion to a
                    corporation or its capitalization choices in steps one
                    through three, because the law permits taxpayers to
                    make those choices based on tax consequences.

        The IRS cannot rely on the economic substance doctrine to disregard

  Telenet Group’s capitalization choices and conversion to a regarded corpo-

  ration—the steps preceding LGI I’s sale of TGH—because neither the check-

  the-box regulations nor § 351 turn on economic reality or taxpayer motive.

        a.    The economic substance doctrine isn’t relevant to the regulations

  governing an entity’s conversion to a per se corporation, so it can’t be used

  to disregard Telenet Group’s conversion to a regarded corporation and the

  mandatory consequences that follow under the Code and regulations.




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        First, the regulations expressly allow businesses to decide, “for federal

  tax purposes” and nothing more, whether to be disregarded or regarded as

  a corporation. See 26 C.F.R. § 301.7701-3(a). Under those regulations, foreign

  entities also may convert into per se corporations—entities the IRS has de-

  termined have features of corporate status warranting their characterization

  as corporations for tax purposes. See id. § 301.7701-2(b)(8); supra pp. 13-14.

  The regulations reflect Treasury’s policy of allowing entities to select how an

  entity is treated for tax purposes by filing a paper with the IRS, or with a

  foreign authority to convert to a per se corporation. Supra pp. 11-13. Indeed,

  as the Tax Court has held, those “elections are specifically authorized ‘for

  federal tax purposes,’” and the taxpayer need not “have a business pur-

  pose.” Dover, 122 T.C. at 351 n.19. Those choices, by design, are “all form and

  no substance,” Summa Holdings, 848 F.3d at 786, so the economic substance

  doctrine plays no role.

        Second, once a business makes such a choice, the regulations deem a

  “corporate organization” to have occurred. The owner of the previously dis-

  regarded entity is considered to have “contribute[d] all of the assets and

  liabilities of [that] entity” to the newly regarded corporation, “in exchange”




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  for that corporation’s stock. 26 C.F.R. § 301.7701-3(g)(1)(iv); see Rev. Rul.

  2004-59.

        For these reasons, the economic substance doctrine doesn’t apply to

  Telenet Group’s conversion to an NV/SA and thus a regarded corporation

  for federal tax purposes, or the resulting § 351 corporate organization—

  choices that taxpayers can make “based on comparative tax advantages.”

  H.R. Rep. No. 111-443, at 296. That conversion meant that Telenet Group’s

  owner, TGH, was “deemed to have contribute[d] all of the assets and liabil-

  ities” of the “old” Telenet Group to the “new” Telenet Group, in exchange

  for new Telenet Group’s common stock, NQPS, and debt. See 26 C.F.R.

  § 301.7701-3(g)(1)(iv); Rev. Rul. 2004-59; supra pp. 14-15. As a result, TGH

  recognized gain, see I.R.C. § 351(b), (g), that increased its “earnings and prof-

  its,” see 26 C.F.R. § 1.312-6(b); I.R.C. §§ 61(a)(3), 312(f)(1); supra pp. 26-27.

        The upshot is simple. The IRS cannot use the economic substance doc-

  trine to disregard Telenet Group’s conversion or the statutory or regulatory

  consequences that follow from that conversion. The doctrine is a tool for con-

  struing and applying tax terms that turn on economic reality and taxpayer

  motive. And ordinary interpretive principles, longstanding precedent, and

  legislative history make clear that economic reality and taxpayer motive are

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  irrelevant to the check-the-box regulations. Telenet Group converted to a re-

  garded corporation, and the Tax Code and the regulations dictate the

  outcome of that conversion.

        b.    Nor can the IRS use the economic substance doctrine to disre-

  gard Telenet Group’s capitalization choices, including its use of debt and

  NQPS. To recap: When Telenet Group converted from a disregarded entity

  to a corporation, it issued NQPS—an instrument that § 351(g) expressly con-

  templates businesses using as a form of capitalization—and debt. Supra

  p. 26. Section 351 expressly allows taxpayers to capitalize with debt and

  NQPS and sets out the tax consequences for doing so. Supra pp. 14-15; see

  IRS Chief Counsel Memorandum 201030024, at 5-6 (Apr. 16, 2010),

  https://www.irs.gov/pub/irs-wd/1030024.pdf (NQPS exchanged under

  § 351(b) triggers gain included as a dividend under § 1248(a)). Nothing in

  the statutory scheme suggests that economic reality or taxpayer motive is

  relevant to those choices—in fact, authorities understand the statute to make

  economic reality and motive irrelevant—and so the economic substance doc-

  trine plays no role.

        What’s more, § 351’s approach of allowing taxpayers to use NQPS no

  matter the reason is consistent with § 7701(o)’s legislative history, supra

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  pp. 41-42, and authorities recognizing more generally that business entities

  can decide how to capitalize based on expected tax consequences, supra

  p. 15. As the Second Circuit has held, the IRS cannot “dictate what portion

  of a corporation’s operations” are financed by equity versus debt, no matter

  whether “the taxpayer has a business purpose” for the choice. Nassau Lens

  Co. v. Commissioner, 308 F.2d 39, 46 (2d Cir. 1962). Thus, the Second Circuit

  in Nassau rejected arguments just like those the government makes here,

  holding that the IRS could not disregard tax benefits arising from the tax-

  payer’s use of debt even though there was “little ‘economic’ difference” to

  the debt-versus-equity decision. Id. Rather, “tax law deliberately … affords

  significance to and honors the type of investment”—whether debt or eq-

  uity—that a taxpayer makes. Kraft Foods, 232 F.2d at 124; see generally IRS

  National Office Field Service Advice Memorandum No. 199922012 (June 4,

  1999) (discussing Kraft Foods and confirming taxpayer’s choice to capitalize

  with real debt). There’s “no possible application of the economic substance

  doctrine” to that choice, Illinois Tool Works Inc. v. Commissioner, 116 T.C.M.

  (CCH) 124, 137 (2018), even if the taxpayer’s “purpose” is “to obtain … a tax

  benefit,” and even if the choice is to use debt among affiliated entities, Kraft

  Foods, 232 F.2d at 122, 124.

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        Telenet Group was entitled to capitalize using NQPS and debt. The IRS

  must honor that choice, and the tax laws dictate its consequences.

              2.    LGI satisfied § 245A’s requirements, and the
                    government doesn’t dispute that if steps one through
                    three are respected, it cannot use the economic
                    substance doctrine to disallow LGI’s claimed § 245A
                    deduction.

        With steps one through three of Project Soy in place, the IRS can’t use

  the economic substance doctrine to disallow the § 245A deduction. Indeed,

  the government hasn’t disputed that step four resulted in gain, e.g., 1-App.-

  171-172, so once steps one through three are respected, LGI qualifies for the

  § 245A deduction under the provision’s plain text. See 1-App.156

        a.    Sections 245A, 964(e), and 1248(a) apply mechanically to require

  the IRS to allow LGI’s claimed § 245A deduction. In the final step of Project

  Soy, LGI I recognized gain when it sold its interest in TGH. Supra pp. 27-28.

  Sections 964(e)(1) and 1248(a) required that LGI I’s gain “be included in [its]

  gross income … as a dividend,” I.R.C. § 964(e)(1), “to the extent of the earn-

  ings and profits” of TGH, I.R.C. § 1248(a). Section 964(e)(4)(A)(i) directed

  that the dividend “shall be treated” as LGI I’s “subpart F income.” LGI, as

  the U.S. shareholder, was required to include its pro rata share of that sub-

  part F income in LGI’s own “gross income.” I.R.C. § 964(e)(4)(A)(ii). Section


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  964(e)(4)(A)(iii) then required that “the deduction under section 245A shall

  be allowable” to LGI “with respect to [that] subpart F income included in

  gross income.”

        The IRS doesn’t dispute the mechanical operation of those provisions

  or otherwise claim, assuming steps one through three are respected, that it

  can use the economic substance doctrine to deny LGI’s deduction. That

  makes sense, because longstanding caselaw establishes that taxpayers can

  sell property to realize gain for tax purposes. See Sun Properties, Inc. v. United

  States, 220 F.2d 171, 175 (5th Cir. 1955). Indeed, Treasury recognized that

  some taxpayers who satisfy § 245A’s requirements could claim the deduc-

  tion even if they “[chose] to generate … income to avail themselves of the

  benefits of the deduction.” 84 Fed. Reg. at 28,400. The Court should apply

  § 245A as Congress wrote it, and require the IRS to allow LGI’s deduction.

        b.    Even if the economic substance doctrine could be used to disre-

  gard steps one through three, it would also require disregarding step four,

  because step four generated the tax benefit here. See Sala, 613 F.3d at 1252.

  Step four generated both the income that the IRS wants to tax as well as the

  deemed dividend producing the § 245A deduction. Thus, disregarding step




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  four means there’s no income to tax, and LGI is entitled to a refund anyway.

  See infra pp. 64-65.

        C.    The district court’s reasoning lacks merit.

        The district court held that the economic substance doctrine prevented

  LGI from claiming a § 245A deduction. That was error. The court rewrote

  § 7701(o) by sidestepping whether the doctrine “is relevant” in the first place.

  And the court fundamentally misunderstood Project Soy and the Code when

  it referred to TGH’s earnings and profits as “artificial.” Add.2. TGH’s earn-

  ings and profits reflect actual earnings and profits, which, under the

  applicable tax rules, triggered TGH’s, and then LGI I’s, real gain. And even

  if the doctrine could apply, it would require disregarding step four, too—

  meaning that LGI’s income from Project Soy would be disregarded alto-

  gether, entitling LGI to a full tax refund.

              1.     The district court wrote the relevance requirement out
                     of § 7701(o).

        The district court held that the economic substance “doctrine’s rele-

  vance is coextensive with [§ 7701(o)’s] test for economic substance,” Add.8,

  meaning that the doctrine “applies when a transaction lacks economic sub-

  stance,” Add.9. That reasoning—which even the district court recognized is



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  a “tautology,” id.—is wrong. It contravenes the statute’s plain text, legisla-

  tive history, common sense, and the government’s prior positions.

        Start with the text. As explained (at 40-41), before the economic sub-

  stance doctrine can apply, § 7701(o)(1) requires a determination that the

  “doctrine is relevant.” And Congress made clear that determining whether

  the doctrine is “relevant” is separate from the question whether a transaction

  meets the two prongs of the doctrine. Congress “clarified” how to apply the

  doctrine, and at the same time said that determining whether the “doctrine

  is relevant” “shall be made in the same manner as if [§ 7701(o)] had never

  been enacted.” I.R.C. § 7701(o)(5)(C). It makes no sense that the test for rele-

  vance would be the same as the statute’s test for economic substance, when

  Congress said that precedent—not the statute—provided the relevance test.

  Indeed, if the doctrine were relevant whenever the statute’s two-pronged

  test was satisfied, § 7701(o)’s reference to relevance would be surplusage. See

  Obduskey v. McCarthy & Holthus LLP, 139 S. Ct. 1029, 1037 (2019). The correct

  test for relevance, as explained, is whether ordinary interpretive tools show

  that the provision in question requires consideration of economic reality and

  taxpayer motive. Whether they do, and whether any particular transaction




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  satisfies the economic substance doctrine and thus falls within the scope of

  a particular provision, are two different questions.

        Section 7701(o)’s legislative history confirms that the doctrine isn’t rel-

  evant to all tax laws, as the IRS too has recognized, see IRS, Notice 2010-62 at

  5. That history notes that the doctrine isn’t relevant to “the choice between

  capitalizing a business enterprise with debt or equity,” even if the choice be-

  tween those “alternatives is largely or entirely based on comparative tax

  advantages.” H.R. Rep. No. 111-443, at 296. That makes sense. Sometimes

  the Tax Code provides favorable treatment for transactions that “[b]y con-

  gressional design” are “all form and no substance.” Summa Holdings, 848

  F.3d at 786. Applying the doctrine to those types of transactions would over-

  ride Congress’ policy judgments by importing questions about a taxpayer’s

  non-tax purpose or changed economic position without any textual basis for

  doing so.

              2.    TGH’s earnings and profits were not “artificial”—they
                    were just as real as the gain the IRS seeks to tax.

        The district court’s characterization of Project Soy was flawed, too. In

  its view, the first three steps could be disregarded because they




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  “generate[d] … artificial earnings and profits,” while the IRS could still tax

  the gain from step four. Add.2. That’s wrong.

        First, TGH’s earnings and profits were real. They reflected Telenet

  Group’s profits and increased economic value from its broadband opera-

  tions. Supra pp. 22-24. That value translated to TGH’s increased earnings and

  profits through the straightforward operation of the tax laws, in particular

  § 351(b). Supra pp. 26-27. The district court failed to grapple with the rele-

  vant Code provisions and the real-world value in the Telenet Group

  corporate family. And whether it “was an oversight” by Congress and Treas-

  ury to allow businesses to decide both how to be classified for tax purposes

  and how to capitalize “makes no difference. It’s what the law allowed.”

  Summa Holdings, 848 F.3d at 786.

        Second, even if the NQPS and debt at step three should be disregarded

  because it produced supposedly “artificial” earnings and profits, the gov-

  ernment respects Telenet Group’s conversion—at least in the related district

  court proceedings where it seeks additional taxes and penalties relating to

  Project Soy. Supra p. 30; Status Report, Dist. Ct. Doc. 42, No. 1:22-cv-02622

  (D. Colo. Mar. 20, 2024). Under the government’s own approach, then,

  Telenet Group’s conversion to a corporation still triggered some earnings

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  and profits, along with a gain and corresponding dividend eligible for the

  § 245A deduction.

        Finally, § 1248(h) makes all of that beside the point anyway. It says that,

  if the taxpayer hasn’t “establishe[d] the amount of the [foreign corporation’s]

  earnings and profits,” then “all gain from the sale” “shall be considered a

  dividend.” And that deemed dividend “shall be treated as a dividend for

  purposes of applying section 245A.” I.R.C. § 1248(j); supra pp. 18-19. So even

  if LGI hadn’t established sufficient earnings and profits in steps one through

  three, the Code still treats the gain as a dividend.

              3.    The government cannot selectively apply the economic
                    substance doctrine.

        The government’s and district court’s reasoning fails even if steps one

  through three could be disregarded. That’s because the IRS cannot selec-

  tively disregard those steps but respect step four—which the IRS needs to

  create the gain that it wants to tax. The government’s own argument refutes

  that approach. The government calls all four steps “a unitary plan” to create

  a tax benefit, 1-App.162, and its complaint is that LGI had no “real business

  goal” in taking steps one through three between related entities, 1-App.171.

  But that criticism—though wrong for the reasons explained—applies



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  equally to all four steps. Thus, the government’s own logic doesn’t let it re-

  spect step four, and only step four, to override the Code and regulations.

  Indeed, caselaw, fairness, and common sense alike make clear that if the eco-

  nomic substance doctrine applies, it must apply to that part of the

  transaction that triggered the tax benefit. Sala, 613 F.3d at 1252. Step four was

  necessary to produce the benefit because it triggered gain—the gain that the

  IRS wants to tax and that leads to the § 245A deduction. Thus, if the economic

  substance doctrine applies, it also requires disregarding the income Project

  Soy produced, necessitating a full refund.

                                 CONCLUSION

        The Court should reverse the grant of summary judgment for the gov-

  ernment and order entry of summary judgment for LGI.

                      REQUEST FOR ORAL ARGUMENT

        This appeal presents an important issue that the district court incor-

  rectly resolved. LGI submits that oral argument would help the Court decide

  this case.




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 Dated: April 30, 2024                     Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

        Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby certify

  that this brief complies with the type-volume limitation of Federal Rule of

  Appellate Procedure 32(a)(7)(B) because, as calculated by Microsoft Word, it

  contains 12,987 words, excluding the parts of the brief exempted by Federal

  Rule of Appellate Procedure 32(f) and Circuit Rule 32(B). I also certify

  that this brief complies with the typeface and type-style requirements of

  Federal Rule of Appellate Procedure 32(a)(5) and (6) and Circuit Rule 32(A)

  because it has been prepared in a proportionally spaced typeface using Mi-

  crosoft Word in a 14-point Book Antiqua font.



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                          CERTIFICATE OF SERVICE

        I hereby certify that on April 30, 2024, I electronically filed this brief

  and addendum with the Clerk of the Court for the United States Court of

  Appeals for the Tenth Circuit by using the CM/ECF system. I certify that all

  participants in the case are registered CM/ECF users and that service will

  be accomplished by the CM/ECF system.



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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                 Senior Judge R. Brooke Jackson

  Civil Action No. 1:20-cv-03501-RBJ

  LIBERTY GLOBAL, INC.,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.




                  ORDER ON CROSS-MOTIONS FOR SUMMARY JUDGMENT


         This matter is before the Court on the parties’ cross-motions for summary judgement.

  Defendant’s motion for summary judgment at ECF No. 75 is DENIED. Plaintiff’s motion for

  summary judgment at ECF No. 76 is GRANTED.

                                          BACKGROUND

         Liberty Global, Inc. (LGI) is a multinational telecommunications company. LGI was

  advised on tax matters by Deloitte, LLC. In June 2018, Deloitte approached LGI about an

  opportunity to exploit a perceived opportunity in the international tax provisions of the 2017 Tax

  Cuts and Jobs Act, Pub. L. No. 115-97, 131 Stat. 2054 (TCJA). This loophole was an apparent

  “mismatch” (as LGI’s tax professionals called it) between (1) the rules for paying tax on global

  intangible low taxed income (GILTI) and subpart F tax on a gain generated by a controlled

  foreign corporation (CFC), and (2) the qualification of an entity as a CFC. See, e.g., ECF No.

  76-4 at 96-97 (deposition of LGI’s “vice president of group tax strategy,” Shawn Penne). In

                                                  1


                                             - Add.1 -
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  short, a foreign corporation not directly owned by any U.S. person might qualify as a CFC for

  U.S. tax purposes because ownership may be “attributed” to a U.S. person, but only CFCs with

  an actual U.S. shareholder on the last day of the taxable year are subject to GILTI or Subpart F.

           With Deloitte’s assistance, LGI planned a four-step series of transactions, code-named

  “Project Soy,” which was specifically designed to take advantage of the TCJA’s “mismatch.”

  Project Soy would allow LGI to avoid GILTI and capital gain taxes on billions of dollars of

  unrealized gain from LGI’s interest in one of its sub-entities. The scheme was designed to

  generate enough artificial earnings and profits (E&P) --which, but for the mismatch, would have

  been taxed under subpart F or GILTI -- to offset LGI’s taxable gain on Step 4 of the plan, “the

  TGH Transaction.”1 In the TGH transaction, which occurred in December 2018, an LGI affiliate

  sold its interest in Telenet Group Holding (TGH), a Belgian company, to LGI’s parent company,

  Liberty Global (based in the UK). The income from the TGH transaction is the income now at

  issue.

           Under the relevant tax laws at the time, LGI was required to recognize income equal to

  its share of gain from the TGH transaction. It sought to deduct that income using § 245A of the

  TCJA.. In June 2019, Treasury issued temporary regulations addressing the international tax

  changes made by the TCJA. LGI filed a consolidated federal income tax return for its 2018 tax

  year on October 11, 2019, then filed an amended return on December 23, 2019. The initial


  1
    In Steps 1-3, LGI manufactured $4.8 billion of E&P for TGH. Steps 1 and 3 generated E&P for TGH
  by issuance of profit certificates from Telenet Group (the operating subsidiary) to TGH. Steps 2 and 3
  generated E&P for TGH by creating “springing to life debt”—by converting Telenet Financing into a
  direct subsidiary of TGH rather than an indirect subsidiary through Telenet Group, and then making
  Telenet Group a separate entity for tax purposes. Generating E&P was important because the proceeds
  from the sale of a CFC (the transfer of LGI’s interest in TGH to Liberty Global in Step 4 of Project Soy)
  could be treated as a dividend “to the extent of the [CFC’s] E&P” under §§ 964(e)(1) and 1248(a). ECF
  No. 76-13 at 3 (quoting an internal LGI memo). In other words, if TGH had sufficient E&P, LGI could
  treat its gain as a dividend and offset the entire $2.4 billion by claiming a § 245A deduction.
                                                      2


                                                 - Add.2 -
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  return reported the fourth step of Project Soy in a manner that was consistent with the temporary

  Treasury regulations. The amended return adopted the position that the regulations were invalid

  and claimed a refund of $95,783,237 as a result.

          LGI claims that it met the requirements to receive the § 245A deduction for the TGH

  transaction. However, because the temporary regulations, adopted in June 2019, were made

  retroactive, LGI did not receive the full deduction. After LGI filed its amended return claiming a

  federal income tax refund, the IRS began to review LGI’s Project Soy transactions. LGI

  produced some, but not all, of the information requested. On November 19, 2020 the IRS issued

  a delinquency notice to LGI regarding the missing information and included a deadline of

  November 27, 2020 to respond to the notice before the IRS might seek to issue and enforce a

  formal summons for the information in a federal court proceeding.

          On November 27, 2020 LGI filed a complaint in federal district court seeking a refund of

  approximately $110 million that it alleges to have overpaid for its 2018 year.2 Because it still

  had not provided the information sought by the IRS, the United States answered that discovery

  was necessary to determine the extent of LGI’s earnings and profits and the nature of the

  transactions.

          On April 4, 2022 this Court granted in part LGI’s motion for summary judgment,

  concluding that the 2019 temporary Treasury regulations did not comply with the requirements

  of the Administrative Procedure Act and therefore did not have valid retroactive effect over the



  2
    Tax litigators apparently are starting to recommend strategies for bypassing the administrative process
  (filing a tax return claiming a benefit and then undergoing an audit if selected) by instead paying the tax
  and then bringing a section 7422 refund suit in federal court. See ECF No. 26 at 2 (citing ECF No. 26-1
  at 4, “Skadden Insights: Challenging Tax Cuts and Jobs Act Regulations and IRS Guidance”
  (1/21/2020)).

                                                       3


                                                  - Add.3 -
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  transactions occurring in LGI’s 2018 tax year, but denying the motion “to the extent that factual

  questions remain on LGI’s compliance with the underlying tax laws in the TGH transactions.”

  Liberty Global, Inc. v. United States, No. 1:20-cv-03501-RBJ, 2022 WL 1001568, at *7 (D.

  Colo. April 4, 2022).

         LGI moved to dismiss the amended complaint in a related case, arguing that the

  government “failed to comply with the statutory prerequisites necessary to bring its lawsuit.”

  Case No. 1:22-cv-02622-RBJ, ECF No. 24 at 1. This Court found that the requirements to which

  LGI referred in that motion did not apply and therefore denied the motion to dismiss. United

  States v. Liberty Global, Inc., No. 1:22-cv-02622-RBJ, 2023 WL 4603954, at *2-5 (D. Colo.

  June 1, 2023).

         The United States now contends that LGI is not entitled to the tax refund that it seeks in

  this proceeding because the economic substance doctrine (or alternatively, the step transaction

  doctrine) dictates that Steps 1-3 of Project Soy should be disregarded when calculating LGI’s tax

  obligations. LGI argues that neither doctrine should apply, and therefore, that the E&P

  generating steps, which permitted the § 245A deduction for the TGH transaction, should be

  given effect. Both parties assert that the facts relevant to the analysis of whether and how the

  economic substance doctrine applies are not contested, and that this lawsuit can be resolved as a

  legal matter. See ECF No. 70 at 2 (joint letter of intent to file for summary judgment).

         I find that the economic substance doctrine does apply, and that its application provides

  that LGI cannot properly claim the § 245A deduction. Therefore, I do not reach analysis as to

  the step transaction doctrine.




                                                   4


                                              - Add.4 -
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                                         LEGAL STANDARD

         Summary judgment is appropriate only when “the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

  R. Civ. P. 56(a). A fact is “material” if it is essential to the proper disposition of the claim under

  the relevant substantive law. Wright v. Abbott Labs., Inc., 259 F.3d 1226, 1231–32 (10th Cir.

  2001). A dispute is “genuine” if the evidence is such that it might lead a reasonable jury to

  return a verdict for the nonmoving party. Allen v. Muskogee, Okl., 119 F.3d 837, 839 (10th Cir.

  1997). When reviewing a motion for summary judgment, a court must view the evidence in the

  light most favorable to the nonmoving party. Id. However, conclusory statements based merely

  on conjecture, speculation, or subjective belief do not constitute competent summary judgment

  evidence. Bones v. Honeywell Int’l, Inc., 366 F.3d 869, 875 (10th Cir. 2004).

         Rather, the nonmoving party must offer “specific facts that would be admissible in

  evidence in the event of trial, from which a rational trier of fact could find for the nonmovant.”

  Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 671 (10th Cir. 1998). Stated differently, the party

  must provide “significantly probative evidence” supported by materials such as “affidavits,

  deposition transcripts, or specific exhibits incorporated therein” that would support a verdict in

  her favor. Jaramillo v. Adams Cnty. Sch. Dist. 14, 680 F.3d 1267, 1269 (10th Cir. 2012). Where

  different ultimate inferences may be drawn from the evidence presented by the parties,

  substituting “the sterile bareness of summary judgment” for the advantages of trial before a live

  jury with live witnesses is not appropriate. Adickes v. S. H. Kress & Co., 398 U.S. 144, 176

  (1970) (Black, J., concurring); see also Brown v. Parker-Hannifin Corp., 746 F.2d 1407, 1411

  (10th Cir. 1984).
                                                    5


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                                                  ANALYSIS

          The United States contends that LGI is not entitled to the tax refund that it seeks in this

  proceeding under the economic substance doctrine or alternatively, the step transaction doctrine.

  ECF No. 76. The economic substance doctrine analysis resolves this dispute.

          The economic substance doctrine is one variation of the common law doctrine of “substance

  over form,” which instructs courts to effectuate the “plain intent of the relevant statutory regime”—in

  this case, the tax code—by viewing transactions in terms of their “objective economic realities”

  rather than their technical compliance with statutory requirements. See Frank Lyon Co. v. United

  States, 435 U.S. 561, 573 (1978) (concluding that the economic substance doctrine applied to a sale-

  and-leaseback transaction by looking “to the objective economic realities of a transaction rather than

  to the particular form the parties employed”). In the tax context, the doctrine permits courts to ignore

  transactions that are “mere device[s]” for tax avoidance. See Gregory v. Helvering, 293 U.S. 465,

  468-70 (1935) (refusing to give effect to a corporate reorganization that “technically complied” with

  statutory requirements but that the Court found had “no business or corporate purpose” other than to

  transfer corporate shares to the petitioner).

          The doctrine is codified in 26 U.S.C. § 7701(o), which provides in relevant part that “[i]n the

  case of any transaction to which the economic substance doctrine is relevant, such transaction shall

  be treated as having economic substance only if (A) the transaction changes in a meaningful way

  (apart from Federal income tax effects) the taxpayer’s economic position, and (B) the taxpayer has a

  substantial purpose (apart from Federal income tax effects) for entering into such transaction.”

          The legislative history of § 7701(o) clarifies that the doctrine “involves a conjunctive

  analysis.” H.R. Rep. 111-443 at 297. In other words, for the economic substance doctrine to apply,

  the transaction must satisfy both prongs of the statutory test—the transaction “must change in a

  meaningful way (apart from Federal income tax effects) the taxpayer’s economic position, and the
                                                      6


                                                  - Add.6 -
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  taxpayer must have a substantial non-Federal-income-tax purpose for entering into such transaction.”

  Id. This clarification in the House Report was intended to “eliminate[] the disparity” in application

  of the doctrine between federal circuit courts that applied the test conjunctively and courts that

  applied the test disjunctively. See id.

          “The ultimate determination of whether a transaction lacks economic substance is a question

  of law.” Sala v. United States, 613 F.3d 1249, 1252 (10th Cir. 2010), as amended on reh’g in part,

  (10th Cir. Nov. 19, 2010) (citing James v. Comm’r, 899 F.2d 905, 909 (10th Cir. 1990) (“[W]e

  review de novo the ultimate characterization of the transactions as shams.”)); see also Frank Lyon,

  435 U.S. at 581 n. 16 (“The general characterization of a transaction for tax purposes is a question of

  law….”).

          Application of the provision here requires resolution of several issues: (1) whether the

  doctrine is “relevant” to this set of facts within the meaning of the statute’s prefatory clause; (2) the

  appropriate level of granularity to be used in selecting the transaction or set of transactions to be

  analyzed; (3) whether any exemptions exist, and if so, whether they apply here; and (4) whether the

  conjunctive test—the transaction had no meaningful non-tax effect and the taxpayer had no

  subjective non-tax purpose—is satisfied here.

              1. Relevance of the doctrine.

          LGI argues in effect that the prefatory clause in § 7701(o)—“[i]n the case of any transaction

  to which the economic substance doctrine is relevant”—should be distinguished from the operative

  clause—“a transaction is disregarded for tax purposes unless … [it meaningfully changes the

  taxpayer’s non-tax economic position and was conducted with a substantial non-tax purpose]”— and

  given independent effect. See ECF No. 75 at 7. LGI would have the Court view the prefatory clause

  as an instruction to conduct a threshold analysis into whether the doctrine is “relevant” to the

  transaction at issue, and then only if the threshold is met, to continue into the two-pronged inquiry set
                                                       7


                                                 - Add.7 -
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  out in the operative clause of the statute. See id. (“For purposes of this motion, LGI is not arguing

  that the Entity Conversion satisfies that two-pronged test. Instead, LGI asks the Court to decide the

  threshold legal question of whether the ESD is ‘relevant’ to the Entity Conversion [step 3 of Project

  Soy]”).

            LGI relies on a House Report for the proposition that the legislative intent was to explicitly

  limit the types of transactions to which the ESD would be “relevant”. See, e.g., ECF No. 75 at 4

  (citing H.R. Rep. No. 111-443, 296 (2010). However, contrary to LGI’s interpretation, the House

  Report emphasizes that “the economic substance doctrine becomes applicable, and a judicial remedy

  is warranted, where a taxpayer seeks to claim tax benefits, unintended by Congress, by means of

  transactions that serve no economic purpose other than tax savings.” H.R. Rep. No 111-443, 292

  (citing ACM P’ship v. Comm’r, 157 F.3d 231 (3d Cir. 1998), aff’d 73 T.C.M. (CCH) 2189 (1997),

  cert. denied 526 U.S. 1017 (1999)) (emphasis added). The ordinary meaning of the report’s

  statement that the doctrine “becomes applicable” under certain circumstances strongly suggests that

  the doctrine is “relevant” within the meaning of the statute under the same circumstances. This

  statement in turn suggests that the doctrine’s relevance is coextensive with the statute’s test for

  economic substance, provided by the operative clause.

            Moreover, the conclusion that there is no threshold “relevance” inquiry that precedes the

  inquiry described in the operative clause—is consistent with the interpretations of the Supreme Court

  and courts in the Tenth Circuit. See, e.g., Blum v. Comm’r, 737 F.3d 1303, 1309 (10th Cir. 2013)

  (citing Jackson v. Comm’r, 966 F.2d 598, 601 (10th Cir. 1992)) (describing the “doctrinal

  framework” of the economic substance doctrine as “fairly straightforward” and instructing courts to

  “ask two questions: (1) what was the taxpayer's “subjective business motivation,” and (2) did the

  transaction have objective economic substance?”). The Tenth Circuit there conspicuously omits any

  mention of a threshold inquiry or a separate or additional question that courts must resolve in
                                                       8


                                                  - Add.8 -
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  applying the economic substance doctrine. To manufacture an additional question here—which as

  LGI argues would then short-circuit the entire statutory analysis—would contravene the Tenth

  Circuit’s instructions and frustrate the purpose of the doctrine itself.

          Instead, courts characterize the ultimate inquiry into economic substance as asking whether a

  transaction’s benefits violate the legislative intent. See, e.g., Gregory, 293 U.S. at 467 (disregarding

  a corporation’s “so-called reorganization” because it “was nothing more than a contrivance” to evade

  taxes, and therefore lay “outside the plain intent of the statute”). Certain circumstances raise “red

  flags” that a transaction lacks economic substance and correspondingly violates Congress’s intent,

  “such as when a transaction produces enormous tax savings without a concomitant economic loss, or

  when something ‘smack[s] of a too-good-to-be-true transaction’ and lacks ‘an appreciable effect,

  other than tax reduction.’” Blum, 737 F.3d at 1310 (quoting James, 899 F.2d at 908).

          The two prongs enumerated in § 7701(o) reflect in the most inclusive terms the situations that

  violate congressional intent for lack of economic substance: when a taxpayer intentionally enters a

  transaction that serves no purpose other than tax evasion with the sole purpose of evading taxes. The

  statutory prongs are not inconsistent with the more specific “red flags” such as those described

  above, and in fact those red flags either rephrase the statutory factors or inform analysis of the two

  statutory prongs as useful sub-inquiries. For example, the fact that a transaction “lacks an

  appreciable effect, other than tax reduction” is equivalent to the statutory prong describing the

  inquiry into the transaction’s objective purpose (or lack thereof), and the fact that a transaction

  “produces enormous tax savings without a concomitant economic loss” is a fact suggestive of both

  the taxpayer’s subjective intent and the objective purpose of the transaction.

          At the risk of tautology, I proceed with the conclusion that the economic substance doctrine

  applies when a transaction lacks economic substance. The question of whether the doctrine lacks

  economic substance is equivalent to the question of whether the tax benefits achieved in the
                                                       9


                                                 - Add.9 -
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  transaction violate congressional intent and is analyzed using the enumerated statutory prongs—

  which are in turn elaborated and informed by the “red flags” that courts have long described. See

  Blum, 737 F.3d at 1310 (quoting James, 899 F.2d at 908-09) (emphasizing that the “two [statutory]

  factors, rather than being independent prerequisites to finding an absence of economic substance, are

  simply ‘more precise factors to consider’ in that analysis”). There is no “threshold” inquiry separate

  from the statutory factors.

              2. Unit of analysis.

           The next question is whether, as LGI argues, the Court’s analysis should isolate Step 3 of

  Project Soy—the “entity conversion” in which Telenet Group converted from a BVBA to an NV

  under Belgian law3—or whether, as the government argues, the analysis should consider the steps of

  Project Soy collectively. Compare ECF No. 75 at 9 with ECF No. 75 at 15; see also Sala, 613 F.3d

  at 1252 (“Before analyzing the question of economic substance, [the] court must first determine

  which transactions control the inquiry.”).

           The transaction to be examined in an economic substance doctrine analysis is “the transaction

  that gave rise to the alleged tax benefit.” Sala, 613 F.3d at 1252 (citing Coltec Indus., Inc. v. United

  States, 454 F.3d 1340, 1356 (Fed. Cir. 2006)). LGI argues here that, because the tax benefit at

  issue—“the generation of E&P”—was “created by the Entity Conversion” at Step 3 of Project Soy,

  that step in isolation “is the transaction to be examined.” ECF No. 75 at 9. This argument is without

  merit.

           First, Step 3 was not the only step in the transaction that generated E&P—Step 2 also

  generated “springing to life debt” that created E&P. Second, generating E&P is not itself a tax



  3
    BVBAs are akin to limited liability companies in the U.S. and usually are not taxed as separate entities
  (i.e., they are “disregarded”); NVs are akin to corporations in the U.S. and are considered separate entities
  for tax purposes. ECF No. 76 at 5-6.
                                                       10


                                                 - Add.10 -
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  benefit. It is a component required to take advantage of the “mismatch” that caused the benefit—in

  which “a corporation might claim CFC status, [and] yet have no U.S. shareholders to pay GILTI and

  subpart F tax at year-end.” ECF No. 76 at 5. The generation of “artificial E&P” that could be used

  to offset the taxable gain on the TGH transaction was economically feasible for LGI only because of

  the mismatch. Creation of the mismatch would not have produced a tax benefit without the

  generation of E&P, and generation of E&P would not have produced a tax benefit without also

  establishing the mismatch. To treat a necessary step of the transaction as sufficient to produce the

  transaction’s full effect, as LGI proposes, would be logically unsound.

          Moreover, to artificially isolate Step 3 from the remainder of the scheme here would

  contravene the legislative intent of § 7701(o), which was for courts to conduct “necessarily flexible”

  analyses to effectuate the tax rules. Blum, 737 F.3d at 1311; see also H.R. Rep 111-443 at 295

  (noting that “a strictly rule-based tax system” cannot prevent all unintended consequences and that

  courts may therefore “supplement tax rules with anti-tax-avoidance standards, such as the economic

  substance doctrine, in order to assure the Congressional purpose is achieved”) (emphasis added).

  Congress emphasized that courts may “aggregate, disaggregate, or otherwise recharacterize a

  transaction when applying the doctrine” to effectuate that purpose. H.R. Rep. 11-443 at 297.

          In Sala, the Tenth Circuit held that the district court had erred in including in the economic

  substance analysis a later segment of Sala’s participation in the “Deerhurst Program,” when the “only

  transaction that relate[d] to the $60 million tax loss Sala [sought] to claim” was an earlier segment of

  participation in the program that had “no connection” to the later segment, there was “a clear break

  between each phase,” and the later phase “had no tax benefits.” 613 F.3d at 1252. Here, by contrast,

  it is appropriate to aggregate the entity conversion step of Project Soy with the other steps of the

  transaction. Cf. id. Unlike the taxpayer’s participation in two phases of the Deerhurst Program in

  Sala, only one of which produced the asserted tax benefit, Steps 1 through 3 here each “related” to
                                                     11


                                               - Add.11 -
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  the tax loss that LGI seeks to claim, since each was a component of the carefully choreographed

  creation of the TCJA mismatch. Cf. id. Far from having “no connection” to one another or being

  divided by “clear break[s]” in time between phases, as in Sala, the steps of Project Soy were

  executed in a four-day period in December 2018 and were “so integrated” that LGI admits that it is

  “unlikely that Steps 1, 2, and 3 would have been taken except in contemplation of the TGH

  transaction in Step 4.” ECF No. 76-8 at 6 (admissions 13(b) and 14(b) by LGI); cf. Sala, 613 F.3d at

  1252-53.

          Just as the Second Circuit in Bank of New York Mellon Corp. v. Commissioner affirmed the

  district court’s authority there to segregate “a routine transaction [from] a transaction lacking

  economic substance” to avoid stymying the doctrine’s purposive application by an arid formalism,

  801 F.3d 104, 121 (2d Cir. 2015), the Court here may use its authority to aggregate interrelated

  transactions to likewise avoid frustrating the doctrine’s purpose. Therefore, the Court rejects LGI’s

  invitation to conduct the economic substance analysis with an artificially narrow focus on Step 3 of

  Project Soy, and instead considers whether Steps 1, 2, and 3 together should be recognized for tax

  purposes (affording LGI the claimed deduction) or disregarded for lack of economic substance.

              3. Exemptions.

          The next question is whether the transaction at issue here is exempted from the economic

  substance doctrine either explicitly or by analogy to statutorily enumerated exceptions. LGI argues

  first by analogy to certain permissible tax-motivated decisions that this business transaction must

  necessarily fall outside the scope of § 7701(o). See ECF No. 75 at 2 (arguing that “in some cases, the

  tax consequences of a transaction are intended to be respected even where the transaction only has

  tax effects” and citing as an example that “married couples can elect to file a joint tax return or

  separate tax returns each year—a purely tax-motivated decision that affects the couple’s tax but is

  nonetheless respected”).
                                                     12


                                                - Add.12 -
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          This argument makes little sense. The economic substance doctrine applies to “transactions

  that have no business purpose or economic substance beyond tax evasion.” Schussel v. Werfel, 758

  F.3d 82, 97 (1st Cir. 2014) (emphasis added); see also Blum, 737 F.3d at 1309 (introducing its

  discussion of the economic substance test by asking “how, exactly, should a court determine whether

  a transaction possessed objective economic substance?”) (emphasis added). Filing taxes—jointly or

  individually—is not a “transaction.” Cf. 26 U.S.C. § 7701(5)(B) (noting that the economic substance

  doctrine does not apply to the personal activities of individuals but rather “only to transactions

  entered into in connection with a trade or business or an activity engaged in for the production of

  income”) (emphasis added).

          Moreover, because filing taxes jointly with one’s spouse for a tax advantage does not “upon

  its face lie[] outside the plain intent” of the tax code, it does not implicate the core purpose of the

  economic substance doctrine: to prevent business organizations from entering schemes to evade taxes

  under circumstances in which Congress would have intended that the laws apply.4 See Gregory, 293

  U.S. at 470. In contrast to the situation in Gregory—in which the Court disregarded a corporate

  reorganization that was a “mere device,” because the new corporation, although validly created, was

  “nothing more than a contrivance” for tax evasion—there is typically no suggestion that a person’s

  marital status is a mere device or contrivance intended solely or primarily for tax benefits. Cf. id.

          Here, like in Gregory and unlike in LGI’s example of spouses filing taxes jointly, the

  transaction at issue violated congressional intent. See ECF No. 46 at 2 (this Court’s explanation that

  § 245A “works in concert with … GILTI” and that “these sections combine to form the basis of the


  4
   Similarly, LGI’s citation to Summa Holdings, Inc. v. Commissioner, 848 F.3d 779, 788 (6th Cir. 2017),
  for the proposition that “a taxpayer has a right (and even a duty) to choose how an entity is taxed ‘based
  solely on tax-reduction considerations,’” ECF No. 75 at 12 (and described by counsel during oral
  argument as LGI’s best case) is unpersuasive. The notion that to limit taxpayers’ abilities to evade taxes
  would infringe upon their rights is simply contrary to the meaning and purpose of the economic substance
  doctrine.
                                                      13


                                                - Add.13 -
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  new participation-exemption tax system”); see also ECF No. 76 at 15-16 (explaining how Project

  Soy was designed to, and does, unlink the § 245A deduction from the “appropriate anti-base erosion

  safeguards” that the legislature intended).

          The related argument that Project Soy is one of the “basic business transactions” that the

  legislature intended to exempt from application of the economic substance doctrine likewise fails

  under minimal scrutiny. See ECF No. 75 at 2-3 (quoting H.R. Rep. No. 111-443 at 296) (noting that

  “the ESD does not apply to ‘basic business transactions that, under longstanding judicial and

  administrative practice are respected, merely because the choice between meaningful economic

  alternatives is largely or entirely based on comparative tax advantages’”) (emphasis added). As

  discussed in the previous section, the transaction at issue here is not merely the entity conversion that

  Telenet Group underwent at Step 3, but rather the full choreography of sub-transactions that occurred

  in Steps 1 through 3. It is absurd to imagine that Deloitte would be consulted to devise and carry out

  a “basic business transaction” within any ordinary or comprehensible use of the phrase, and no

  reasonable factfinder could characterize Project Soy as such.

          LGI argues alternatively that because the entity conversion fits within the exception for

  “organizations of a corporate entity” enumerated in the committee report, the series of transactions

  falls outside the scope of the economic substance doctrine. See ECF No. 75 at 10-11 (citing H.R.

  Rep. 111-443 at 296). This argument is flawed in several respects. First, the statute contains no

  express exceptions, and the list of “exemptions” to which LGI refers appear only in the committee

  report as illustrations of the broader concept of “basic business transactions.”5 As I conclude above,

  Project Soy is not a “basic business transaction,” and therefore, that exception does not apply here.



  5
   The exemptions noted in the report are as follows: (i) choice of capitalization of a business, (ii) choices
  between foreign and domestic entities; (ii) organizations of a corporate entity; and (iv) choice to use
  related parties. H.R. Rep. 111-443 at 296.

                                                       14


                                                 - Add.14 -
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          Second, the committee report states that “a transaction or series of transactions that constitute

  a corporate organization or reorganization” might represent the type of basic transaction exempt from

  application of the doctrine. H.R. Rep. 111-443 at 296. The report does not state or imply that any

  transaction that merely includes a reorganization is likewise exempt. There is no basis to conclude

  from the fact that one step of Project Soy might fall within an exception that the transaction in

  aggregate—the appropriate unit of analysis here—should be excepted.6

          Third, precedent suggests that exceptions are construed narrowly and given limited effect

  when they would contravene effectuation of the doctrine’s purpose. See, e.g., Gregory, 293 U.S. at

  470 (disregarding under the economic substance doctrine a corporate reorganization, notwithstanding

  that the transaction itself constituted the type of “corporate organization” identified by the legislature

  in the committee report as an example of an exception). Here, at most two sub-transactions of

  Project Soy relate to a corporate reorganization (the transfer of subsidiaries and the entity

  conversion), as opposed to the entire transaction in Gregory. Furthermore, here, the explicitly

  admitted tax motivations of the scheme implicate the economic substance doctrine at least as strongly

  as did those in Gregory. I therefore conclude that, as in Gregory, the legislature’s “basic business

  transaction” exception does not preclude application of the economic substance doctrine here. See

  293 U.S. at 470. None of the examples of transactions suggested in the committee report as meriting

  respect notwithstanding their tax motivations or consequences applies here, since Project Soy was



  6
    The government stated at oral argument that its strongest case for the proposition that the economic
  substance doctrine can apply to a corporate reorganization is Coltec Industries, Inc. v. United States, 454
  F.3d 1340 (Fed Cir. 2006). While Coltec could support the notion that a reorganization step somewhere
  in the broader transaction does not preclude application of the economic substance doctrine, the court
  there excluded the corporate reorganization step of the scheme from the economic substance analysis.
  The court there effectively rejected the argument that the doctrine could not apply to a corporate
  reorganization as irrelevant. Here, by contrast, the economic substance inquiry includes the
  reorganization step. This Court—by reference to the legislative history and caselaw emphasizing courts’
  latitude in effectuating Congress’s purpose—reaches the same conclusion as the government on this issue
  but finds Coltec relatively unpersuasive in doing so.
                                                      15


                                                - Add.15 -
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  not merely a simple business operation but rather a coordinated series of simpler steps (as most

  complex transactions are). To apply the exemption for “basic business transactions” here would

  allow the exception to swallow the rule. I decline to do so.

              4. Application of the two-prong test.

          The final question at this stage is whether there is a genuine dispute of fact as to whether

  either “the transaction at issue changed in a meaningful way (apart from Federal income tax effects)

  LGI’s economic position” or whether LGI “had a substantial non-Federal-income-tax purpose for

  entering into such transaction.” See H.R. Rep. 111-443 at 297. Since the statutory test is

  conjunctive, see id., a fact issue as to either prong is sufficient to render summary judgment

  inappropriate.

          On the first prong, LGI admits that each of Steps 1 through 3 “did not change, in a

  meaningful way, LGI’s economic position.” ECF No. 76-8 at 3-4. LGI does qualify those responses

  by noting that Steps 1 through 3 each “had non-tax consequences, including consequences under

  Belgian corporate law.” See id.7 However, the fact that a given operation had some “consequences”

  under Belgian law does not mandate or imply that it “meaningful[ly]” changed LGI’s economic

  position, and while the Court must at summary judgment draw logical inferences in favor of the non-

  movant, it need not gap-fill assertions with unfounded inferences.

          Therefore, the specific admission as to the first prong controls over the gesture to

  unenumerated and unexplained “consequences.” If none of the steps in isolation meaningfully

  changed LGI’s position, and since LGI provides no basis to infer that the steps cohered toward a

  broader, non-tax-related effect, it follows that those steps in aggregate (the focus of analysis here) did




  7
   During the oral argument, however, LGI retreated from that qualification and admitted that both prongs
  of the statutory test do apply to Project Soy.
                                                     16


                                                - Add.16 -
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  not change LGI’s position in a meaningful, non-tax-related way. Thus, there is no genuine dispute of

  fact as to the first statutory prong.

            On the second prong, LGI admits that each of Steps 1 through 3 “served no substantial non-

  tax purpose for LGI.” ECF No. 76-8 at 3-4. The fact that LGI “did not direct Telenet Group Holding

  to enter into” the transaction makes no difference in this analysis. Project Soy was coordinated

  among LGI, Telenet, and TGH. See, e.g., ECF No. 76-3 at 40:16-20 (Magit Archer admitting in a

  deposition that “the idea for profit certificates [came] from Liberty Global,” but that the profit

  certificates were actually “issued by Telenet BVBA”); see also ECF No. 76-7 at 71-72 (Karl

  Abelhausen explaining in a deposition that there was no reason for Telenet Group to reduce TGH’s

  capital in October 2018 other than to facilitate issuance of profit certificates under Project Soy).

  Therefore, it is appropriate to consider LGI’s intent as to the effect of the transaction, even if it did

  not formally execute every step but rather merely orchestrated and facilitated the process.

            LGI in its brief asserts that compliance with “Belgian corporate law requirements” was a

  substantial non-tax purpose for Steps 1 through 3 of Project Soy, within the meaning of the second

  prong. See ECF No. 76-8 at 14-16 (for example, denying the government’s request for admission

  that “conversion of Telenet Group BVBA to Telenet Group NV in Step 3 was not in furtherance of

  any non-tax purpose” and responding that Step 3 “was in furtherance of non-tax purposes, including

  Belgian corporate law requirements”).8 This argument is inadequate to raise a genuine issue of

  material fact as to whether LGI had a substantial non-tax purpose for the transaction in aggregate.

            First, LGI’s response provides no indication what the Belgian law was or how the entity

  conversion, the issuance of profit certificates, or the restructuring of subsidiary entities was necessary

  to promote compliance with that law. Second, the statement that an action was “in furtherance” of



  8
      Again, this position was essentially abandoned during the oral argument. See supra, n. 7.
                                                        17


                                                  - Add.17 -
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  some end does not suggest that the end was a “substantial purpose” for the action, or that the actor

  even knew of the end when initiating the action. It seems here that LGI carefully worded its response

  to the government’s Request for Admission to say the former while suggesting the latter. In fact, the

  evidence suggests that when LGI’s board decided to enter Project Soy, it did not discuss (or

  apparently, even know of) the changes in Belgian law that it now claims the transaction

  “further[ed].” Compare id. (LGI’s response to the government’s Request for Admission) with ECF

  No. 76-7 at 66-68 (LGI’s representative, Karl Abelshausen, testifying at his deposition that the board

  meeting about whether to approve Project Soy did not include any mention of the upcoming changes

  in Belgian law, and that LGI’s legal team brought those changes to the attention of the board at a

  “much later” meeting).

          Similarly, LGI’s gestures to the attendant benefits of the sub-transactions in each of Steps 1

  through 3—such as the ability to issue profit certificates by converting Telenet Group from a BVBA

  to an NV, or the acquisition of preferential distribution rights through the issuance of profit

  certificates—are inadequate to suggest that those consequences were a “substantial purpose” for

  entering the transaction, and moreover, are inconsistent with the “economic realities” of the situation

  that the Court is instructed by precedent to consider. See Gregory, 293 U.S. at 468. For example,

  because TGH owned Telenet Group, it did not need preference against itself, etiolating any need for

  issuance of profit certificates or preferred stock. This reality suggests that achieving distribution

  preference was not a substantial purpose for entering the transaction.

          Instead, it appears that the only substantial purpose of the transaction was tax evasion. See

  ECF No. 76-8 at 5 (LGI admitting that “from its perspective, the primary purpose of Steps 1, 2, and 3

  of the Transactions was to ‘generate earnings and profits’ for use in Step 4” and adding only that

  Step 1 was also undertaken to comply with Belgian law). LGI’s ex post arguments about the possible

  benefits that the profit certificates and entity conversion provided are inadequate to raise a genuine
                                                     18


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  fact issue about whether those consequences were a “substantial purpose” for those operations, when

  the evidence demonstrates that LGI either did not know of the benefit when making the decision, did

  not discuss it as a reason to engage in the overall transaction, or did not achieve the cited benefit

  from the transaction in reality.

          Circumstantial evidence corroborates the admission that LGI’s intent in undertaking Project

  Soy was to obtain tax benefits. See Sala, 613 F.3d at 1253 (holding that it was “clear” that the

  transaction at issue lacked economic substance and emphasizing that the “most compelling” factor

  suggesting the intent to evade taxes was that the “transaction was designed primarily to create a

  reportable tax loss that would almost entirely offset Sala’s 2000 income with little actual economic

  risk”). Here, like in Sala, the transaction was designed to offset the $2.4 billion gain from the TGH

  Transaction by generating a nearly equivalent amount of E&P that could be used to convert the gain

  to a dividend. See ECF 76-3 at 89 (Archer testifying that “there was more E&P than there was gain

  by about $99 million”). The temporal coincidence between the generation of E&P and the sale and

  the close equivalence in their value permit the court to conclude that the project was “structured from

  the outset” not to yield any meaningful economic benefits to the company but rather as an artifice for

  tax benefits. See Sala, 613 F.3d at 1253.

          Finally, even if an isolated step did provide objective benefits for LGI, it does not follow that

  the achievement of that outcome was a “substantial” non-tax purpose for the entire scheme. See ECF

  No. 76-8 at 5 (LGI characterizing Project Soy as a “unitary plan” intended “to achieve [LGI’s]

  expected U.S. federal income tax treatment”) (emphasis added). The economic substance inquiry is

  not a mathematical aggregation of isolated attendant benefits of sub-transactions; it is an inquiry into

  the interactions between the sub-transactions and what those interactions reveal about the

  transaction’s overall purpose. See Blum, 737 F.3d 1312 (rejecting the taxpayers’ argument that

  “because Dr. Hodder testified that each step of OPIS [the transaction] had economic substance, and
                                                     19


                                                - Add.19 -
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  that there was an ‘enormous possible upside’ to OPIS,” the overall transaction presented a reasonable

  chance of turning a profit and therefore had economic substance, because to accept that argument

  would require the court “to look not at the forest but at the trees”); see also WFC Holdings Corp. v.

  United States, 728 F.3d 736, 746 (8th Cir. 2013) (rejecting an effort to justify a basis-inflating

  scheme by “isolat[ing] a kernel of prospective profitability to justify a large, multi-step, multi-

  property transaction”)

          Here, as in Blum and WFC Holdings, even if there was a possible kernel of purpose or a

  prospective “upside” to any of the steps—for example, accepting LGI’s assertion that compliance

  with Belgian law was considered a motivation, or that the profit certificates would allow LGI some

  preference in Telenet’s distribution rights and that this would matter even though LGI owned

  Telenet—the isolated benefits of one step cannot be extrapolated to a conclusion that those benefits

  were even related to the overall purpose of the transaction, let alone that they were a substantial

  purpose for the transaction. See id.

          Such an extrapolation would be particularly unfounded in the context of the “unitary plan” of

  Project Soy. ECF No. 76-8 at 5. There would be little reason for LGI to conceive of the first three

  steps as part of a larger “project” culminating in the sale of TGH to Liberty Global, if those first three

  steps were unrelated to the sale and were in fact in pursuit of entirely separate ends—ranging from

  distribution rights to Belgian corporate compliance. To accept the potential for preferential

  distribution rights, for example, as a rationale for the machinations of reorganization and conversion

  that took place in the same transaction would be similarly to “isolate a kernel” of benefit to the

  taxpayer and extrapolate without any logical or factual basis to an inference about the broader

  transaction. WFC Holdings, 728 F.3d at 746.

          LGI has not created a genuine issue as to whether the entire multi-step transaction took place

  for any substantial reason other than tax evasion. The direct and circumstantial evidence establish
                                                     20


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  only the tax-avoidant purpose for the scheme. LGI’s suggested alternative non-tax purposes for the

  individual steps are contradicted by the testimony of its own representatives, and in any event, simply

  do not make sense as justifications for the full transaction. Therefore, because there is no genuine

  issue of fact as to either the first or second prong, and both prongs resolve in favor of the application

  of the economic substance doctrine, it is appropriate as a matter of law to apply the doctrine here and

  to disregard Steps 1 through 3.

          When Steps 1 through 3 are disregarded, the noneconomic E&P generated in the § 351

  transaction are not recognized and cannot be used to support the § 245A deduction. Step 4, the TGH

  Transaction, would then result in $2.4 billion of taxable gain. As a matter of law, LGI is not entitled

  to the deduction at issue here.



                                                  ORDER

          For the reasons above, the government’s motion for summary judgment at ECF No. 76 is

  GRANTED. LGI’s motion for summary judgment at ECF No. 75 is DENIED. Final judgment

  will enter accordingly.

          DATED this 31st day of October, 2023.



                                                           BY THE COURT:




                                                           ___________________________________
                                                           R. Brooke Jackson
                                                           Senior United States District Judge




                                                     21


                                                - Add.21 -
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-03501-RBJ

  LIBERTY GLOBAL, INC.,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

         Defendant.

  ________________________________________________________________________________

                                          FINAL JUDGMENT

  ________________________________________________________________________________


         This action came on for hearing before the Court on the parties’ cross-motions for summary

  judgment, and the issues having been duly heard and a decision duly rendered, it is

         ORDERED that this civil action is dismissed with prejudice. As the prevailing party, the

  defendant is awarded its reasonable costs, to be taxed by the Clerk pursuant to Fed. R. Civ. P.

  54(d)(1) and D.C.COLO.LCivR 54.1.

         DATED this 31st day of October, 2023.


                                                         BY THE COURT:




                                                         ____________________________________
                                                         R. Brooke Jackson
                                                         Senior United States District Judge




                                              - Add.22 -
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      § 245A                               TITLE 26—INTERNAL REVENUE CODE                                      Page 986

        January 1, 1985, or such later taxable years as the              tion with respect to which any domestic cor-
        Secretary of the Treasury or his delegate may pre-               poration is a United States shareholder with
        scribe.                                                          respect to such corporation.
        ‘‘(3) SECTION 801(d)(10).—The amendment made by sec-
      tion 801(d)(10) [amending section 996 of this title] shall         (2) Exclusion of passive foreign investment
      apply to distributions on or after June 22, 1984.                       companies
        ‘‘(4) SECTION 803.—The amendments made by section                  Such term shall not include any corporation
      803 [amending section 441 of this title] shall apply to            which is a passive foreign investment com-
      taxable years beginning after December 31, 1984.’’
                                                                         pany (as defined in section 1297) with respect
                EFFECTIVE DATE OF 1966 AMENDMENT                         to the shareholder and which is not a con-
        Amendment by Pub. L. 89–809 applicable with respect              trolled foreign corporation.
      to taxable years beginning after Dec. 31, 1966, see sec-         (c) Foreign-source portion
      tion 104(n) of Pub. L. 89–809, set out as a note under sec-        For purposes of this section—
      tion 11 of this title.
                                                                         (1) In general
                EFFECTIVE DATE OF 1962 AMENDMENT
                                                                           The foreign-source portion of any dividend
        Amendment by Pub. L. 87–834 applicable to distribu-              from a specified 10-percent owned foreign cor-
      tions made after Dec. 31, 1962, see section 5(d) of Pub.           poration is an amount which bears the same
      L. 87–834, set out as a note under section 301 of this             ratio to such dividend as—
      title.
                                                                              (A) the undistributed foreign earnings of
                 CONSTRUCTION OF 2015 AMENDMENT                            the specified 10-percent owned foreign cor-
        Pub. L. 114–113, div. Q, title III, § 326(c), Dec. 18, 2015,
                                                                           poration, bears to
      129 Stat. 3104, provided that: ‘‘Nothing contained in this              (B) the total undistributed earnings of
      section [amending this section and enacting provisions               such foreign corporation.
      set out as a note above] or the amendments made by                 (2) Undistributed earnings
      this section shall be construed to create any inference
      with respect to the proper treatment under section 245               The term ‘‘undistributed earnings’’ means
      of the Internal Revenue Code of 1986 of dividends re-              the amount of the earnings and profits of the
      ceived from regulated investment companies or real es-             specified 10-percent owned foreign corporation
      tate investment trusts before the date of the enact-               (computed in accordance with sections 964(a)
      ment of this Act [Dec. 18, 2015].’’                                and 986)—
                                                                              (A) as of the close of the taxable year of
           DIVIDENDS RECEIVED OR ACCRUED DURING 1987
                                                                           the specified 10-percent owned foreign cor-
        Pub. L. 100–647, title I, § 1006(b)(1), Nov. 10, 1988, 102         poration in which the dividend is distrib-
      Stat. 3393, provided that: ‘‘In the case of dividends re-            uted, and
      ceived or accrued during 1987—
                                                                              (B) without diminution by reason of divi-
          ‘‘(A) subparagraph (B) of section 245(c)(1) of the 1986
        Code shall be applied by substituting ‘80 percent’ for             dends distributed during such taxable year.
        the percentage specified therein, and                            (3) Undistributed foreign earnings
          ‘‘(B) subparagraph (B) of section 861(a)(2) of the 1986          The term ‘‘undistributed foreign earnings’’
        Code shall be applied by substituting ‘100⁄80ths’ for the
        fraction specified therein.’’
                                                                         means the portion of the undistributed earn-
                                                                         ings which is attributable to neither—
               PLAN AMENDMENTS NOT REQUIRED UNTIL                             (A) income described in subparagraph (A)
                         JANUARY 1, 1989                                   of section 245(a)(5), nor
        For provisions directing that if any amendments                       (B) dividends described in subparagraph
      made by subtitle A or subtitle C of title XI [§§ 1101–1147           (B) of such section (determined without re-
      and 1171–1177] or title XVIII [§§ 1800–1899A] of Pub. L.             gard to section 245(a)(12)).
      99–514 require an amendment to any plan, such plan               (d) Disallowance of foreign tax credit, etc.
      amendment shall not be required to be made before the
      first plan year beginning on or after Jan. 1, 1989, see            (1) In general
      section 1140 of Pub. L. 99–514, as amended, set out as a             No credit shall be allowed under section 901
      note under section 401 of this title.                              for any taxes paid or accrued (or treated as
                                                                         paid or accrued) with respect to any dividend
      § 245A. Deduction for foreign source-portion of
                                                                         for which a deduction is allowed under this
          dividends received by domestic corporations
                                                                         section.
          from specified 10-percent owned foreign cor-
          porations                                                      (2) Denial of deduction
                                                                           No deduction shall be allowed under this
      (a) In general
                                                                         chapter for any tax for which credit is not al-
        In the case of any dividend received from a                      lowable under section 901 by reason of para-
      specified 10-percent owned foreign corporation                     graph (1) (determined by treating the taxpayer
      by a domestic corporation which is a United                        as having elected the benefits of subpart A of
      States shareholder with respect to such foreign                    part III of subchapter N).
      corporation, there shall be allowed as a deduc-                  (e) Special rules for hybrid dividends
      tion an amount equal to the foreign-source por-                    (1) In general
      tion of such dividend.
                                                                           Subsection (a) shall not apply to any divi-
      (b) Specified 10-percent owned foreign corpora-
                                                                         dend received by a United States shareholder
           tion
                                                                         from a controlled foreign corporation if the
        For purposes of this section—                                    dividend is a hybrid dividend.
        (1) In general                                                   (2) Hybrid dividends of tiered corporations
           The term ‘‘specified 10-percent owned for-                      If a controlled foreign corporation with re-
        eign corporation’’ means any foreign corpora-                    spect to which a domestic corporation is a




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        United States shareholder receives a hybrid                     § 246. Rules applying to deductions for dividends
        dividend from any other controlled foreign                          received
        corporation with respect to which such domes-                   (a) Deduction not allowed for dividends from
        tic corporation is also a United States share-                      certain corporations
        holder, then, notwithstanding any other provi-
                                                                          (1) In general
        sion of this title—
            (A) the hybrid dividend shall be treated for                    The deductions allowed by sections 243 1 245,
          purposes of section 951(a)(1)(A) as subpart F                   and 245A shall not apply to any dividend from
          income of the receiving controlled foreign                      a corporation which, for the taxable year of
          corporation for the taxable year of the con-                    the corporation in which the distribution is
          trolled foreign corporation in which the divi-                  made, or for the next preceding taxable year of
          dend was received, and                                          the corporation, is a corporation exempt from
            (B) the United States shareholder shall in-                   tax under section 501 (relating to certain char-
          clude in gross income an amount equal to                        itable, etc., organizations) or section 521 (re-
          the shareholder’s pro rata share (determined                    lating to farmers’ cooperative associations).
          in the same manner as under section                             (2) Subsection not to apply to certain divi-
          951(a)(2)) of the subpart F income described                         dends of Federal Home Loan Banks
          in subparagraph (A).                                              (A) Dividends out of current earnings and
                                                                                 profits
        (3) Denial of foreign tax credit, etc.
                                                                               In the case of any dividend paid by any
          The rules of subsection (d) shall apply to any                    FHLB out of earnings and profits of the
        hybrid dividend received by, or any amount in-                      FHLB for the taxable year in which such
        cluded under paragraph (2) in the gross income                      dividend was paid, paragraph (1) shall not
        of, a United States shareholder.                                    apply to that portion of such dividend which
                                                                            bears the same ratio to the total dividend
        (4) Hybrid dividend                                                 as—
          The term ‘‘hybrid dividend’’ means an                                  (i) the dividends received by the FHLB
        amount received from a controlled foreign cor-                         from the FHLMC during such taxable year,
        poration—                                                              bears to
            (A) for which a deduction would be allowed                           (ii) the total earnings and profits of the
          under subsection (a) but for this subsection,                        FHLB for such taxable year.
          and                                                               (B) Dividends out of accumulated earnings
            (B) for which the controlled foreign cor-                            and profits
          poration received a deduction (or other tax                          In the case of any dividend which is paid
          benefit) with respect to any income, war                          out of any accumulated earnings and profits
          profits, or excess profits taxes imposed by                       of any FHLB, paragraph (1) shall not apply
          any foreign country or possession of the                          to that portion of the dividend which bears
          United States.                                                    the same ratio to the total dividend as—
                                                                                 (i) the amount of dividends received by
      (f) Special rule for purging distributions of pas-                       such FHLB from the FHLMC which are out
           sive foreign investment companies                                   of earnings and profits of the FHLMC—
         Any amount which is treated as a dividend                                  (I) for taxable years ending after De-
      under section 1291(d)(2)(B) shall not be treated                           cember 31, 1984, and
      as a dividend for purposes of this section.                                   (II) which were not previously treated
                                                                                 as distributed under subparagraph (A) or
      (g) Regulations                                                            this subparagraph, bears to
        The Secretary shall prescribe such regulations                          (ii) the total accumulated earnings and
      or other guidance as may be necessary or appro-                         profits of the FHLB as of the time such
      priate to carry out the provisions of this sec-                         dividend is paid.
      tion, including regulations for the treatment of
                                                                            For purposes of clause (ii), the accumulated
      United States shareholders owning stock of a
                                                                            earnings and profits of the FHLB as of Janu-
      specified 10 percent 1 owned foreign corporation
                                                                            ary 1, 1985, shall be treated as equal to its re-
      through a partnership.
                                                                            tained earnings as of such date.
      (Added Pub. L. 115–97, title I, § 14101(a), Dec. 22,                  (C) Coordination with section 243
      2017, 131 Stat. 2189.)                                                  To the extent that paragraph (1) does not
                                                                            apply to any dividend by reason of subpara-
             Statutory Notes and Related Subsidiaries                       graph (A) or (B) of this paragraph, the re-
                                                                            quirement contained in section 243(a) that
                             EFFECTIVE DATE                                 the corporation paying the dividend be sub-
                                                                            ject to taxation under this chapter shall not
        Pub. L. 115–97, title I, § 14101(f), Dec. 22, 2017, 131 Stat.
      2192, provided that: ‘‘The amendments made by this                    apply.
      section [enacting this section and amending sections                  (D) Definitions
      246, 904, 951, 957, and 1059 of this title] shall apply to dis-         For purposes of this paragraph—
      tributions made after (and, in the case of the amend-
      ments made by subsection (d) [amending section 904 of                   (i) FHLB
      this title], deductions with respect to taxable years                      The term ‘‘FHLB’’ means any Federal
      ending after) December 31, 2017.’’                                      Home Loan Bank.

       1 So in original. Probably should be ‘‘10-percent’’.              1 So in original. Probably should be followed by a comma.




                                                              - Add.24 -
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      made by clause (i) [amending this section] shall apply            plan by the shareholder presenting such stock for re-
      only with respect to distributions after November 30,             demption (or by a predecessor of such shareholder),
      1974.’’                                                             ‘‘(C) the employment of the shareholder presenting
        Pub. L. 94–452, § 2(d)(4), Oct. 2, 1976, 90 Stat. 1512, pro-    the stock for redemption (or the predecessor of such
      vided that: ‘‘The amendment made by subsection (b)                shareholder) by the employer corporation commenced
      [amending this section] shall take effect on October 1,           before January 1, 1971,
      1977, with respect to distributions after December 31,              ‘‘(D) at least 90 percent in value of the assets of the
      1975, in taxable years ending after December 31, 1975.’’          distributing corporation on November 30, 1969, con-
                                                                        sisted of common stock of the employer corporation,
                EFFECTIVE DATE OF 1969 AMENDMENT
                                                                        and
        Pub. L. 91–172, title IX, § 905(c), Dec. 30, 1969, 83 Stat.       ‘‘(E) at least 50 percent of the outstanding voting
      714, as amended by Pub. L. 91–675, Jan. 12, 1971, 84 Stat.        stock of the employer corporation is owned by the
      2059, provided that:                                              distributing corporation at any time within the nine-
        ‘‘(1) Except as provided in paragraphs (2), (3), (4), and       year period ending one year before the date of such
      (5), the amendments made by subsections (a) and (b)               distribution.’’
      [amending this section and sections 301 and 312 of this
      title] shall apply with respect to distributions after No-       § 312. Effect on earnings and profits
      vember 30, 1969.                                                 (a) General rule
        ‘‘(2) The amendments made by subsections (a) and (b)
      shall not apply to a distribution before April 1, 1970,            Except as otherwise provided in this section,
      pursuant to the terms of—                                        on the distribution of property by a corporation
           ‘‘(A) a written contract which was binding on the           with respect to its stock, the earnings and prof-
        distributing corporation on November 30, 1969, and at          its of the corporation (to the extent thereof)
        all times thereafter before the distribution,                  shall be decreased by the sum of—
           ‘‘(B) an offer made by the distributing corporation
        before December 1, 1969,                                           (1) the amount of money,
           ‘‘(C) an offer made in accordance with a request for            (2) the principal amount of the obligations of
        a ruling filed by the distributing corporation with the          such corporation (or, in the case of obligations
        Internal Revenue Service before December 1, 1969, or             having original issue discount, the aggregate
           ‘‘(D) an offer made in accordance with a registra-            issue price of such obligations), and
        tion statement filed with the Securities and Ex-                   (3) the adjusted basis of the other property,
        change Commission before December 1, 1969.                       so distributed.
      For purposes of subparagraphs (B), (C), and (D), an offer
      shall be treated as an offer only if it was in writing and       (b) Distributions of appreciated property
      not revocable by its express terms.                                On the distribution by a corporation, with re-
        ‘‘(3) The amendments made by subsections (a) and (b)           spect to its stock, of any property (other than
      shall not apply to a distribution by a corporation of
                                                                       an obligation of such corporation) the fair mar-
      specific property in redemption of stock outstanding on
      November 30, 1969, if—                                           ket value of which exceeds the adjusted basis
           ‘‘(A) every holder of such stock on such date had           thereof—
        the right to demand redemption of his stock in such                (1) the earnings and profits of the corpora-
        specific property, and                                           tion shall be increased by the amount of such
           ‘‘(B) the corporation had such specific property on           excess, and
        hand on such date in a quantity sufficient to redeem               (2) subsection (a)(3) shall be applied by sub-
        all of such stock.                                               stituting ‘‘fair market value’’ for ‘‘adjusted
      For purposes of the preceding sentence, stock shall be
      considered to have been outstanding on November 30,                basis’’.
      1969, if it could have been acquired on such date                For purposes of this subsection and subsection
      through the exercise of an existing right of conversion          (a), the adjusted basis of any property is its ad-
      contained in other stock held on such date.
                                                                       justed basis as determined for purposes of com-
        ‘‘(4) The amendments made by subsections (a) and (b)
      shall not apply to a distribution by a corporation of            puting earnings and profits.
      property (held on December 1, 1969, by the distributing          (c) Adjustments for liabilities
      corporation or a corporation which was a wholly owned              In making the adjustments to the earnings
      subsidiary of the distributing corporation on such date)
      in redemption of stock outstanding on November 30,
                                                                       and profits of a corporation under subsection (a)
      1969, which is redeemed and canceled before July 31,             or (b), proper adjustment shall be made for—
      1971, if—                                                             (1) the amount of any liability to which the
           ‘‘(A) such redemption is pursuant to a resolution             property distributed is subject, and
        adopted before November 1, 1969, by the Board of Di-                (2) the amount of any liability of the cor-
        rectors authorizing the redemption of a specific                 poration assumed by a shareholder in connec-
        amount of stock constituting more than 10 percent of             tion with the distribution.
        the outstanding stock of the corporation at the time
        of the adoption of such resolution; and                        (d) Certain distributions of stock and securities
           ‘‘(B) more than 40 percent of the stock authorized            (1) In general
        to be redeemed pursuant to such resolution was re-                  The distribution to a distributee by or on be-
        deemed before December 30, 1969, and more than one-
        half of the stock so redeemed was redeemed with
                                                                         half of a corporation of its stock or securities,
        property other than money.                                       of stock or securities in another corporation,
        ‘‘(5) The amendments made by subsections (a) and (b)             or of property, in a distribution to which this
      shall not apply to a distribution of stock, by a corpora-          title applies, shall not be considered a dis-
      tion organized prior to December 1, 1969, for the prin-            tribution of the earnings and profits of any
      cipal purpose of providing an equity participation plan            corporation—
      for employees of the corporation whose stock is being                   (A) if no gain to such distributee from the
      distributed (hereinafter referred to as the ‘employer
                                                                            receipt of such stock or securities, or prop-
      corporation’) if—
           ‘‘(A) the stock being distributed was owned by the               erty, was recognized under this title, or
        distributing corporation on November 30, 1969,                        (B) if the distribution was not subject to
           ‘‘(B) the stock being redeemed was acquired before               tax in the hands of such distributee by rea-
        January 1, 1973, pursuant to such equity participation              son of section 305(a).




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        (2) Stock or securities                                  such basis would, but for section 307(b), be so
           For purposes of this subsection, the term             allocated).
        ‘‘stock or securities’’ includes rights to ac-      (g) Earnings and profits—increase in value ac-
        quire stock or securities.                               crued before March 1, 1913
      [(e) Repealed. Pub. L. 98–369, div. A, title I,            (1) If any increase or decrease in the earn-
           § 61(a)(2)(B), July 18, 1984, 98 Stat. 581]         ings and profits for any period beginning after
                                                               February 28, 1913, with respect to any matter
      (f) Effect on earnings and profits of gain or loss       would be different had the adjusted basis of
           and of receipt of tax-free distributions            the property involved been determined with-
         (1) Effect on earnings and profits of gain or         out regard to its March 1, 1913, value, then, ex-
             loss                                              cept as provided in paragraph (2), an increase
           The gain or loss realized from the sale or          (properly reflecting such difference) shall be
         other disposition (after February 28, 1913) of        made in that part of the earnings and profits
         property by a corporation—                            consisting of increase in value of property ac-
             (A) for the purpose of the computation of         crued before March 1, 1913.
           the earnings and profits of the corporation,          (2) If the application of subsection (f) to a
           shall (except as provided in subparagraph           sale or other disposition after February 28,
           (B)) be determined by using as the adjusted         1913, results in a loss which is to be applied in
           basis the adjusted basis (under the law appli-      decrease of earnings and profits for any period
           cable to the year in which the sale or other        beginning after February 28, 1913, then, not-
           disposition was made) for determining gain,         withstanding subsection (f) and in lieu of the
           except that no regard shall be had to the           rule provided in paragraph (1) of this sub-
           value of the property as of March 1, 1913; but      section, the amount of such loss so to be ap-
             (B) for purposes of the computation of the        plied shall be reduced by the amount, if any,
           earnings and profits of the corporation for         by which the adjusted basis of the property
           any period beginning after February 28, 1913,       used in determining the loss exceeds the ad-
           shall be determined by using as the adjusted        justed basis computed without regard to the
           basis the adjusted basis (under the law appli-      value of the property on March 1, 1913, and if
           cable to the year in which the sale or other        such amount so applied in reduction of the de-
           disposition was made) for determining gain.         crease exceeds such loss, the excess over such
                                                               loss shall increase that part of the earnings
        Gain or loss so realized shall increase or de-         and profits consisting of increase in value of
        crease the earnings and profits to, but not be-        property accrued before March 1, 1913.
        yond, the extent to which such a realized gain
        or loss was recognized in computing taxable         (h) Allocation in certain corporate separations
        income under the law applicable to the year in           and reorganizations
        which such sale or disposition was made.               (1) Section 355
        Where, in determining the adjusted basis used            In the case of a distribution or exchange to
        in computing such realized gain or loss, the           which section 355 (or so much of section 356 as
        adjustment to the basis differs from the ad-           relates to section 355) applies, proper alloca-
        justment proper for the purpose of deter-              tion with respect to the earnings and profits of
        mining earnings and profits, then the latter           the distributing corporation and the con-
        adjustment shall be used in determining the            trolled corporation (or corporations) shall be
        increase or decrease above provided. For pur-          made under regulations prescribed by the Sec-
        poses of this subsection, a loss with respect to       retary.
        which a deduction is disallowed under section          (2) Section 368(a)(1)(C) or (D)
        1091 (relating to wash sales of stock or securi-
        ties), or the corresponding provision of prior           In the case of a reorganization described in
        law, shall not be deemed to be recognized.             subparagraph (C) or (D) of section 368(a)(1),
                                                               proper allocation with respect to the earnings
        (2) Effect on earnings and profits of receipt of       and profits of the acquired corporation shall,
            tax-free distributions                             under regulations prescribed by the Secretary,
          Where a corporation receives (after Feb-             be made between the acquiring corporation
        ruary 28, 1913) a distribution from a second           and the acquired corporation (or any corpora-
        corporation which (under the law applicable to         tion which had control of the acquired cor-
        the year in which the distribution was made)           poration before the reorganization).
        was not a taxable dividend to the shareholders      (i) Distribution of proceeds of loan insured by
        of the second corporation, the amount of such            the United States
        distribution shall not increase the earnings
        and profits of the first corporation in the fol-       If a corporation distributes property with re-
        lowing cases:                                       spect to its stock and if, at the time of distribu-
            (A) no such increase shall be made in re-       tion—
          spect of the part of such distribution which           (1) there is outstanding a loan to such cor-
          (under such law) is directly applied in reduc-       poration which was made, guaranteed, or in-
          tion of the basis of the stock in respect of         sured by the United States (or by any agency
          which the distribution was made; and                 or instrumentality thereof), and
            (B) no such increase shall be made if                (2) the amount of such loan so outstanding
          (under such law) the distribution causes the         exceeds the adjusted basis of the property con-
          basis of the stock in respect of which the dis-      stituting security for such loan,
          tribution was made to be allocated between        then the earnings and profits of the corporation
          such stock and the property received (or          shall be increased by the amount of such excess,




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      and (immediately after the distribution) shall be           a foreign corporation for any taxable year for
      decreased by the amount of such excess. For                 which less than 20 percent of the gross income
      purposes of paragraph (2), the adjusted basis of            from all sources of such corporation is derived
      the property at the time of distribution shall be           from sources within the United States.
      determined without regard to any adjustment                 (5) Basis adjustment not taken into account
      under section 1016(a)(2) (relating to adjustment
      for depreciation, etc.). For purposes of this sub-            In computing the earnings and profits of a
      section, a commitment to make, guarantee, or                corporation for any taxable year, the allow-
      insure a loan shall be treated as the making,               ance for depreciation (and amortization, if
      guaranteeing, or insuring of a loan.                        any) shall be computed without regard to any
      [(j) Repealed. Pub. L. 108–357, title IV, § 413(c)(4),      basis adjustment under section 50(c).
           Oct. 22, 2004, 118 Stat. 1507]                      (l) Discharge of indebtedness income
                                                                  (1) Does not increase earnings and profits if
      (k) Effect of depreciation on earnings and profits              applied to reduce basis
        (1) General rule
                                                                    The earnings and profits of a corporation
          For purposes of computing the earnings and              shall not include income from the discharge of
        profits of a corporation for any taxable year             indebtedness to the extent of the amount ap-
        beginning after June 30, 1972, the allowance for          plied to reduce basis under section 1017.
        depreciation (and amortization, if any) shall
                                                                  (2) Reduction of deficit in earnings and profits
        be deemed to be the amount which would be
        allowable for such year if the straight line                  in certain cases
        method of depreciation had been used for each               If—
        taxable year beginning after June 30, 1972.                   (A) the interest of any shareholder of a
        (2) Exception                                               corporation is terminated or extinguished in
                                                                    a title 11 or similar case (within the mean-
          If for any taxable year a method of deprecia-
        tion was used by the taxpayer which the Sec-                ing of section 368(a)(3)(A)), and
        retary has determined results in a reasonable                 (B) there is a deficit in the earnings and
        allowance under section 167(a) and which is                 profits of the corporation,
        the unit-of-production method or other meth-             then such deficit shall be reduced by an
        od not expressed in a term of years, then the            amount equal to the paid-in capital which is
        adjustment to earnings and profits for depre-            allocable to the interest of the shareholder
        ciation for such year shall be determined                which is so terminated or extinguished.
        under the method so used (in lieu of the               (m) No adjustment for interest paid on certain
        straight line method).                                     registration-required obligations not in reg-
        (3) Exception for tangible property                        istered form
          (A) In general                                         The earnings and profits of any corporation
            Except as provided in subparagraph (B), in         shall not be decreased by any interest with re-
          the case of tangible property to which sec-          spect to which a deduction is not or would not
          tion 168 applies, the adjustment to earnings         be allowable by reason of section 163(f), unless at
          and profits for depreciation for any taxable         the time of issuance the issuer is a foreign cor-
          year shall be determined under the alter-            poration that is not a controlled foreign cor-
          native depreciation system (within the               poration (within the meaning of section 957) and
          meaning of section 168(g)(2)).                       the issuance did not have as a purpose the avoid-
          (B) Treatment of amounts deductible under            ance of section 163(f) of this subsection 1
               section 179, 179B, 179C, 179D, or 179E          (n) Adjustments to earnings and profits to more
            (i) In general                                         accurately reflect economic gain and loss
               For purposes of computing the earnings            For purposes of computing the earnings and
            and profits of a corporation, except as pro-       profits of a corporation, the following adjust-
            vided in clause (ii), any amount deductible        ments shall be made:
            under section 179, 179B, 179C, 179D, or 179E         (1) Construction period carrying charges
            shall be allowed as a deduction ratably
            over the period of 5 taxable years (begin-             (A) In general
            ning with the taxable year for which such                 In the case of any amount paid or incurred
            amount is deductible under section 179,                for construction period carrying charges—
            179B, 179C, 179D, or 179E, as the case may                  (i) no deduction shall be allowed with re-
            be).                                                      spect to such amount, and
            (ii) Special rule                                           (ii) the basis of the property with respect
               In the case of a corporation that is a real            to which such charges are allocable shall
            estate investment trust, any amount de-                   be increased by such amount.
            ductible under section 179D shall be al-               (B) Construction period carrying charges de-
            lowed in the year in which the property                     fined
            giving rise to such deduction is placed in                For purposes of this paragraph, the term
            service (or, in the case of energy efficient           ‘‘construction period carrying charges’’
            building retrofit property, the year in                means all—
            which the qualifying final certification is                 (i) interest paid or accrued on indebted-
            made).                                                    ness incurred or continued to acquire, con-
        (4) Certain foreign corporations                              struct, or carry property,
          The provisions of paragraph (1) shall not
        apply in computing the earnings and profits of          1 Subsec. (m) was enacted without a period at the end.




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               (ii) property taxes, and                               (i) LIFO method
               (iii) similar carrying charges,                           The term ‘‘LIFO method’’ means the
          to the extent such interest, taxes, or charges              method authorized by section 472 (relating
          are attributable to the construction period                 to last-in, first-out inventories).
          for such property and would be allowable as                 (ii) Inventory assets
          a deduction in determining taxable income                      The term ‘‘inventory assets’’ means
          under this chapter for the taxable year in                  stock in trade of the corporation, or other
          which paid or incurred.                                     property of a kind which would properly be
          (C) Construction period                                     included in the inventory of the corpora-
             The term ‘‘construction period’’ has the                 tion if on hand at the close of the taxable
          meaning given the term production period                    year.
          under section 263A(f)(4)(B).2                               (iii) Inventory amount
        (2) Intangible drilling costs and mineral explo-                 The inventory amount of assets under
             ration and development costs                             the first-in, first-out method authorized by
          (A) Intangible drilling costs                               section 471 shall be determined—
             Any amount allowable as a deduction                           (I) if the corporation uses the retail
          under section 263(c) in determining taxable                    method of valuing inventories under sec-
          income (other than costs incurred in connec-                   tion 472, by using such method, or
          tion with a nonproductive well)—                                 (II) if subclause (I) does not apply, by
               (i) shall be capitalized, and                             using cost or market, whichever is lower.
               (ii) shall be allowed as a deduction rat-         (5) Installment sales
             ably over the 60-month period beginning               In the case of any installment sale, earnings
             with the month in which such amount was             and profits shall be computed as if the cor-
             paid or incurred.                                   poration did not use the installment method.
          (B) Mineral exploration and development                (6) Completed contract method of accounting
               costs
                                                                   In the case of a taxpayer who uses the com-
             Any amount allowable as a deduction                 pleted contract method of accounting, earn-
          under section 616(a) or 617 in determining             ings and profits shall be computed as if such
          taxable income—                                        taxpayer used the percentage of completion
               (i) shall be capitalized, and                     method of accounting.
               (ii) shall be allowed as a deduction rat-
                                                                 (7) Redemptions
             ably over the 120-month period beginning
             with the later of—                                    If a corporation distributes amounts in a re-
                  (I) the month in which production from         demption to which section 302(a) or 303 ap-
               the deposit begins, or                            plies, the part of such distribution which is
                  (II) the month in which such amount            properly chargeable to earnings and profits
               was paid or incurred.                             shall be an amount which is not in excess of
        (3) Certain amortization provisions not to               the ratable share of the earnings and profits of
             apply                                               such corporation accumulated after February
                                                                 28, 1913, attributable to the stock so redeemed.
          Sections 173 and 248 shall not apply.
                                                                 (8) Special rule for certain foreign corpora-
        (4) LIFO inventory adjustments                                tions
          (A) In general
                                                                   In the case of a foreign corporation de-
             Earnings and profits shall be increased or          scribed in subsection (k)(4)—
          decreased by the amount of any increase or                  (A) paragraphs (4) and (6) shall apply only
          decrease in the LIFO recapture amount as of              in the case of taxable years beginning after
          the close of each taxable year; except that              December 31, 1985, and
          any decrease below the LIFO recapture                       (B) paragraph (5) shall apply only in the
          amount as of the close of the taxable year               case of taxable years beginning after Decem-
          preceding the 1st taxable year to which this             ber 31, 1987.
          paragraph applies to the taxpayer shall be          (o) Definition of original issue discount and issue
          taken into account only to the extent pro-               price for purposes of subsection (a)(2)
          vided in regulations prescribed by the Sec-
          retary.                                                For purposes of subsection (a)(2), the terms
          (B) LIFO recapture amount                           ‘‘original issue discount’’ and ‘‘issue price’’ have
                                                              the same respective meanings as when used in
             For purposes of this paragraph, the term         subpart A of part V of subchapter P of this chap-
          ‘‘LIFO recapture amount’’ means the                 ter.
          amount (if any) by which—
               (i) the inventory amount of the inven-         (Aug. 16, 1954, ch. 736, 68A Stat. 95; Pub. L. 87–403,
             tory assets under the first-in, first-out        § 3(a), Feb. 2, 1962, 76 Stat. 6; Pub. L. 87–834,
             method authorized by section 471, exceeds        §§ 13(f)(3), 14(b)(1), Oct. 16, 1962, 76 Stat. 1035, 1040;
               (ii) the inventory amount of such assets       Pub. L. 88–272, title II, § 231(b)(3), Feb. 26, 1964, 78
             under the LIFO method.                           Stat. 105; Pub. L. 88–484, § 1(b)(1), Aug. 22, 1964, 78
                                                              Stat. 597; Pub. L. 89–570, § 1(b)(3), Sept. 12, 1966, 80
          (C) Definitions
                                                              Stat. 762; Pub. L. 91–172, title II, § 211(b)(3), title
             For purposes of this paragraph—                  IV, § 442(a), title IX, § 905(b)(2), Dec. 30, 1969, 83
                                                              Stat. 570, 628, 714; Pub. L. 94–455, title II,
       2 See References in Text note below.                   § 205(c)(1)(D), title XIX, §§ 1901(a)(43), (b)(32)(B)(i),




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      1906(b)(13)(A), Oct. 4, 1976, 90 Stat. 1535, 1771, 1800,          section 1246(b)), or a foreign personal holding company
      1834; Pub. L. 95–628, § 3(c), Nov. 10, 1978, 92 Stat.             (within the meaning of section 552)’’ before ‘‘and the
      3627; Pub. L. 96–589, § 5(f), Dec. 24, 1980, 94 Stat.             issuance’’.
                                                                           1997—Subsec. (k)(3)(B). Pub. L. 105–34, in heading sub-
      3406; Pub. L. 97–34, title II, § 206(a), (b), Aug. 13,            stituted ‘‘179 or 179A’’ for ‘‘179’’ and in text substituted
      1981, 95 Stat. 224; Pub. L. 97–248, title II,                     ‘‘section 179 or 179A shall’’ for ‘‘section 179 shall’’ and
      §§ 205(a)(3), 222(e)(3), title III, § 310(b)(3), Sept. 3,         ‘‘section 179 or 179A, as the case may be)’’ for ‘‘section
      1982, 96 Stat. 429, 480, 597; Pub. L. 97–448, title III,          179)’’.
      § 306(a)(6)(B), Jan. 12, 1983, 96 Stat. 2402; Pub. L.                1990—Subsec. (k)(2). Pub. L. 101–508, § 11812(b)(5), sub-
      98–369, div. A, title I, §§ 61(a)–(c)(1), 63(b),                  stituted heading for one which read: ‘‘Exceptions’’ and
      111(e)(5), July 18, 1984, 98 Stat. 579–581, 583, 633;             amended text generally. Prior to amendment, text read
                                                                        as follows: ‘‘If for any taxable year beginning after
      Pub. L. 99–121, title I, § 103(b)(1)(C), Oct. 11, 1985,
                                                                        June 30, 1972, a method of depreciation was used by the
      99 Stat. 509; Pub. L. 99–514, title II, §§ 201(b),                taxpayer which the Secretary has determined results in
      (d)(6), 241(b)(1), title VI, § 631(e)(1), title VIII,             a reasonable allowance under section 167(a), and which
      § 803(b)(3),    title     XVIII,     §§ 1804(f)(1)(A)–(E),        is not—
      1809(a)(2)(C)(ii), Oct. 22, 1986, 100 Stat. 2137, 2141,                ‘‘(A) a declining balance method,
      2181, 2273, 2355, 2804, 2805, 2819; Pub. L. 100–647,                   ‘‘(B) the sum of the years-digit method, or
      title I, §§ 1002(a)(3), 1018(d)(4), (u)(4), Nov. 10, 1988,             ‘‘(C) any other method allowable solely by reason of
      102 Stat. 3353, 3578, 3590; Pub. L. 101–239, title                   the application of subsection (b)(4) or (j)(1)(C) of sec-
                                                                           tion 167,
      VII, §§ 7611(f)(5)(A), 7811(m)(2), Dec. 19, 1989, 103             then the adjustment to earnings and profits for depre-
      Stat. 2373, 2412; Pub. L. 101–508, title XI,                      ciation for such year shall be determined under the
      §§ 11812(b)(5), 11813(b)(14), Nov. 5, 1990, 104 Stat.             method so used (in lieu of under the straight line meth-
      1388–535, 1388–555; Pub. L. 105–34, title XVI,                    od).’’
      § 1604(a)(2), Aug. 5, 1997, 111 Stat. 1097; Pub. L.                  Subsec. (k)(5). Pub. L. 101–508, § 11813(b)(14), sub-
      108–357, title III, § 338(b)(3), title IV, § 413(c)(4),           stituted ‘‘section 50(c)’’ for ‘‘section 48(q)’’.
      (5), Oct. 22, 2004, 118 Stat. 1481, 1507; Pub. L.                    1989—Subsec. (b). Pub. L. 101–239, § 7811(m)(2), made
                                                                        clarifying amendment to directory language of Pub. L.
      109–58, title XIII, §§ 1323(b)(3), 1331(b)(5), Aug. 8,            100–647, § 1018(d)(4), see 1988 Amendment note below.
      2005, 119 Stat. 1015, 1024; Pub. L. 109–432, div. A,                 Subsec. (n)(2)(A)(ii). Pub. L. 101–239, § 7611(f)(5)(A),
      title IV, § 404(b)(2), Dec. 20, 2006, 120 Stat. 2956;             substituted ‘‘in which such amount was paid or in-
      Pub. L. 113–295, div. A, title II, § 221(a)(34)(F),               curred’’ for ‘‘in which the production from the well be-
      (49), Dec. 19, 2014, 128 Stat. 4042, 4045; Pub. L.                gins’’.
      117–169, title I, § 13303(b), Aug. 16, 2022, 136 Stat.               1988—Subsec. (b). Pub. L. 100–647, § 1018(d)(4), as
      1951.)                                                            amended by Pub. L. 101–239, § 7811(m)(2), substituted ‘‘of
                                                                        any property (other than an obligation of such corpora-
                            Editorial Notes                             tion)’’ for ‘‘of any property’’ in introductory provisions.
                                                                           Subsec. (k)(4). Pub. L. 100–647, § 1002(a)(3), substituted
                         REFERENCES IN TEXT                             ‘‘paragraph (1)’’ for ‘‘paragraphs (1) and (3)’’.
                                                                           Subsec. (n)(1)(B). Pub. L. 100–647, § 1018(u)(4), made
        Section 263A(f)(4)(B), referred to in subsec. (n)(1)(C),
                                                                        technical amendment to directory language of Pub. L.
      was redesignated section 263A(f)(5)(B) by Pub. L. 115–97,
                                                                        99–514, § 803(b)(3)(A). See 1986 Amendment note below.
      title I, § 13801(a)(1), Dec. 22, 2017, 131 Stat. 2169.
                                                                           1986—Subsec. (b). Pub. L. 99–514, § 1804(f)(1)(A), amend-
                              AMENDMENTS                                ed subsec. (b) generally, substituting provisions relat-
                                                                        ing to distributions of appreciated property for provi-
         2022—Subsec. (k)(3)(B). Pub. L. 117–169 designated ex-
                                                                        sions relating to distribution of certain inventory as-
      isting provisions as cl. (i), inserted heading, substituted
                                                                        sets.
      ‘‘For purposes of computing the earnings and profits of
                                                                           Subsec. (c). Pub. L. 99–514, § 1804(f)(1)(B), (C), struck
      a corporation, except as provided in clause (ii)’’ for
                                                                        out ‘‘, etc.’’ after ‘‘liabilities’’ in heading and struck
      ‘‘For purposes of computing the earnings and profits of
                                                                        out par. (3) which read as follows: ‘‘any gain recognized
      a corporation’’, and added cl. (ii).
         2014—Subsec. (d)(2), (3). Pub. L. 113–295, § 221(a)(49), re-   to the corporation on the distribution.’’
      designated par. (3) as (2) and struck out former par. (2)            Subsec. (k)(3). Pub. L. 99–514, § 201(b), amended par. (3)
      which read as follows: ‘‘In the case of a distribution of         generally, substituting provisions relating to tangible
      stock or securities, or property, to which section 115(h)         property to which section 168 applies and amounts de-
      of the Internal Revenue Code of 1939 (or the cor-                 ductible under section 179 for provisions relating to re-
      responding provision of prior law) applied, the effect on         covery property within the meaning of section 168,
      earnings and profits of such distribution shall be deter-         amounts deductible under section 179, and flexibility if
      mined under such section 115(h), or the corresponding             a different recovery percentage is elected under section
      provision of prior law, as the case may be.’’                     168 based on a longer recovery period.
         Subsec. (k)(3)(B). Pub. L. 113–295, § 221(a)(34)(F),              Subsec. (k)(3)(A). Pub. L. 99–514, § 1809(a)(2)(C)(ii), in
      struck out ‘‘179A,’’ after ‘‘section 179,’’ in heading and        subpar. (A), struck out ‘‘and rules similar to the rules
      in two places in text.                                            under the next to the last sentence of section
         2006—Subsec. (k)(3)(B). Pub. L. 109–432 substituted            168(b)(2)(A) and section 168(b)(2)(B) shall apply’’ after
      ‘‘179D, or 179E’’ for ‘‘or 179D’’ in heading and two places       ‘‘low-income housing)’’.
      in text.                                                             Subsec. (k)(4). Pub. L. 99–514, § 201(d)(6), struck out
         2005—Subsec. (k)(3)(B). Pub. L. 109–58, § 1331(b)(5), sub-     last sentence ‘‘In determining the earnings and profits
      stituted ‘‘179, 179A, 179B, 179C, or 179D’’ for ‘‘179, 179A,      of such corporation in the case of recovery property
      179B, or 179C’’ in heading and two places in text.                (within the meaning of section 168), the rules of section
         Pub. L. 109–58, § 1323(b)(3), substituted ‘‘179, 179A,         168(f)(2) shall apply.’’
      179B, or 179C’’ for ‘‘179 179A, or 179B’’ in heading and             Subsec. (n)(1)(B). Pub. L. 99–514, § 803(b)(3)(A), as
      two places in text.                                               amended by Pub. L. 100–647, § 1018(u)(4), struck out ‘‘(de-
         2004—Subsec. (j). Pub. L. 108–357, § 413(c)(4), struck out     termined without regard to section 189)’’ after ‘‘in-
      subsec. (j) which related to earnings and profits of for-         curred’’.
      eign investment companies.                                           Subsec. (n)(1)(C). Pub. L. 99–514, § 803(b)(3)(B), added
         Subsec. (k)(3)(B). Pub. L. 108–357, § 338(b)(3), sub-          subpar. (C) and struck out former subpar. (C) which
      stituted ‘‘179A, or 179B’’ for ‘‘or 179A’’ in heading and         read as follows: ‘‘The term ‘construction period’ has
      two places in text.                                               the meaning given such term by section 189(e)(2) (deter-
         Subsec. (m). Pub. L. 108–357, § 413(c)(5), struck out ‘‘, a    mined without regard to any real property limita-
      foreign investment company (within the meaning of                 tion).’’




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         Subsec. (n)(3). Pub. L. 99–514, § 241(b)(1), struck out          and profits of the corporation in the case of recovery
      ‘‘, 177,’’ after ‘‘sections 173’’.                                  property (within the meaning of section 168).
         Subsec. (n)(4). Pub. L. 99–514, § 631(e)(1), amended par.           1980—Subsec. (l). Pub. L. 96–589 added subsec. (l).
      (4) generally. Prior to amendment, par. (4) read as fol-               1978—Subsec. (c)(3). Pub. L. 95–628 substituted ‘‘gain
      lows: ‘‘Earnings and profits shall be increased or de-              recognized to the corporation on the distribution’’ for
      creased by the amount of any increase or decrease in                ‘‘gain to the corporation recognized under subsection
      the LIFO recapture amount (determined under section                 (b), (c), or (d) of section 311, under section 341(f), or
      336(b)(3)) as of the close of each taxable year; except             under section 617(d)(1), 1245(a), 1250(a), 1251(c), 1252(a),
      that any decrease below the LIFO recapture amount as                or 1254(a)’’.
      of the close of the taxable year preceding the first tax-              1976—Subsec. (c)(3). Pub. L. 94–455, § 205(c)(1)(D), sub-
      able year to which this paragraph applies to the tax-               stituted ‘‘1252(a), or 1254(a)’’ for ‘‘or 1252(a)’’.
      payer shall be taken into account only to the extent                   Subsec. (d)(1). Pub. L. 94–455, § 1901(a)(43)(A), sub-
      provided in regulations prescribed by the Secretary.’’              stituted ‘‘this title’’ for ‘‘this Code’’ wherever appear-
         Pub. L. 99–514, § 1804(f)(1)(D), redesignated par. (5) as        ing.
      (4). Former par. (4), relating to certain untaxed appre-               Subsec.     (h).  Pub.    L.     94–455,    §§ 1901(a)(43)(B),
      ciation of distributed property, was struck out.                    1906(b)(13)(A), redesignated subsec. (i) as (h) and struck
         Subsec. (n)(5) to (7). Pub. L. 99–514, § 1804(f)(1)(D), re-      out ‘‘or his delegate’’ after ‘‘Secretary’’. Former sub-
      designated pars. (6) to (8) as (5) to (7), respectively.            sec. (h), which related to earnings and profits of per-
      Former par. (5) redesignated (4).                                   sonal service corporations, was struck out.
         Subsec. (n)(8), (9). Pub. L. 99–514, § 1804(f)(1)(D), (E), re-      Subsec. (i). Pub. L. 94–455, § 1901(a)(43)(B), (C), redesig-
      designated par. (9) as (8) and substituted provisions of            nated subsec. (j) as (i), and, among other changes, sub-
      subpars. (A) and (B) for ‘‘paragraphs (5), (6), and (7)             stituted ‘‘paragraph (2)’’ for ‘‘subparagraph (B) of the
      shall apply only in the case of taxable years beginning             preceding sentence’’ and ‘‘of this subsection’’ for ‘‘of
      after December 31, 1985.’’ Former par. (8) redesignated             this paragraph’’, and struck out provisions relating to
      (7).                                                                the effective date of this subsec. Former subsec. (i) re-
         1985—Subsec. (k)(3)(A). Pub. L. 99–121 substituted ‘‘19-         designated (h).
      year real property’’ for ‘‘18-year real property’’ wher-               Subsec.     (j).  Pub.    L.     94–455,    §§ 1901(a)(43)(D),
      ever appearing.                                                     (b)(32)(B)(i), 1906(b)(13)(A), redesignated subsec. (l) as
         1984—Subsec. (a)(2). Pub. L. 98–369, § 61(c)(1)(A), in-          (j), struck out ‘‘or his delegate’’ after ‘‘Secretary’’ in
      serted ‘‘(or, in the case of obligations having original            par. (1) and in par. (3) provision relating to the effective
      issue discount, the aggregate issue price of such obliga-           date of such paragraph. Former subsec. (j) redesignated
      tions)’’.                                                           (i).
         Subsec. (e). Pub. L. 98–369, § 61(a)(2)(B), struck out              Subsec. (k). Pub. L. 94–455, §§ 1901(b)(32)(B)(i),
      subsec. (e) which provided: ‘‘In the case of amounts dis-           1906(b)(13)(A), redesignated subsec. (m) as (k) and
      tributed in a redemption to which section 302(a) or 303             struck out ‘‘or his delegate’’ after ‘‘Secretary’’ in par.
      applies, the part of such distribution which is properly            (2). Former subsec. (k), relating to special adjustment
      chargeable to capital account shall not be treated as a             on disposition of antitrust stock received as a dividend,
      distribution of earnings and profits.’’                             was struck out.
         Subsec. (h). Pub. L. 98–369, § 63(b), amended subsec. (h)           Subsec. (l). Pub. L. 94–455, § 1901(b)(32)(B)(i), redesig-
      generally, designating existing provisions as par. (1)              nated subsec. (l) as (j).
      and adding par. (2).                                                   Subsec. (m). Pub. L. 94–455, § 1901(b)(32)(B)(i), redesig-
         Subsec. (j)(3). Pub. L. 98–369, § 61(a)(2)(A), struck out        nated subsec. (m) as (k).
      par. (3) which provided: ‘‘If a foreign investment com-                1969—Subsec. (c)(3). Pub. L. 91–172, §§ 211(b)(3),
      pany (as defined in section 1246) distributes amounts in            905(b)(2), substituted ‘‘1250(a), 1251(c), or 1252(a)’’, for
      a redemption to which section 302(a) or 303 applies, the            ‘‘or 1250(a)’’ and inserted reference to section 311(d).
      part of such distribution which is properly chargeable                 Subsec. (m). Pub. L. 91–172, § 442(a), added subsec. (m).
      to earnings and profits shall be an amount which is not                1966—Subsec. (c)(3). Pub. L. 89–570 inserted reference
      in excess of the ratable share of the earnings and prof-            to section 617(d)(1).
      its of the company accumulated after February 28, 1913,                1964—Subsec. (c)(3). Pub. L. 88–484 authorized adjust-
      attributable to the stock so redeemed.’’                            ment for amount of gain recognized under section
         Subsec. (k)(3)(A). Pub. L. 98–369, § 111(e)(5), sub-             341(f).
      stituted ‘‘18-year real property and low-income hous-                  Pub. L. 88–272 inserted reference to section 1250(a).
      ing’’ for ‘‘15-year real property’’ in three places.                   1962—Subsec. (c)(3). Pub. L. 87–834, § 13(f)(3), included
         Pub. L. 98–369, § 61(b), substituted ‘‘40 years’’ for ‘‘35       any gain recognized under section 1245(a).
      years’’ in table item relating to 15-year real property.               Subsec. (k). Pub. L. 87–403 added subsec. (k).
      Directory language that table be amended by sub-                       Subsec. (l). Pub. L. 87–834, § 14(b)(1), added subsec. (l).
      stituting ‘‘40 years’’ for ‘‘35 years’’ in item relating to
      15-year real property and 20-year real property, was ex-
                                                                                 Statutory Notes and Related Subsidiaries
      ecuted by making the substitution in item relating to
      15-year real property. The table contained no item re-                        EFFECTIVE DATE OF 2022 AMENDMENT
      lating to 20-year real property.
         Subsec. (n). Pub. L. 98–369, § 61(a)(1), added subsec. (n).        Amendment by Pub. L. 117–169 applicable to taxable
         Subsec. (o). Pub. L. 98–369, § 61(c)(1)(B), added subsec.        years beginning after Dec. 31, 2022, see section
      (o).                                                                13303(d)(1) of Pub. L. 117–169, set out as a note under
         1983—Subsec. (j)(3). Pub. L. 97–448 substituted ‘‘Re-            section 179D of this title.
      demptions’’ for ‘‘Partial liquidations and redemptions’’                      EFFECTIVE DATE OF 2014 AMENDMENT
      in heading, and in text struck out ‘‘in partial liquida-
      tion or’’ after ‘‘distributes amounts’’.                              Amendment by Pub. L. 113–295 effective Dec. 19, 2014,
         1982—Subsec. (e). Pub. L. 97–248, § 222(e)(3), struck out        subject to a savings provision, see section 221(b) of Pub.
      ‘‘partial liquidations and’’ in heading, and in text                L. 113–295, set out as a note under section 1 of this title.
      struck out ‘‘in partial liquidation (whether before, on,                      EFFECTIVE DATE OF 2006 AMENDMENT
      or after June 22, 1954) or’’ after ‘‘amounts distributed’’.
         Subsec. (k)(5). Pub. L. 97–248, § 205(a)(3), added par. (5).       Amendment by Pub. L. 109–432 applicable to costs
         Subsec. (m). Pub. L. 97–248, § 310(b)(3), added subsec.          paid or incurred after Dec. 20, 2006, see section 404(c) of
      (m).                                                                Pub. L. 109–432, set out as an Effective Date note under
         1981—Subsec. (k)(3), (4). Pub. L. 97–34 added par. (3),          section 179E of this title.
      redesignated former par. (3) as (4) substituted ‘‘The pro-
                                                                                    EFFECTIVE DATE OF 2005 AMENDMENT
      visions of paragraphs (1) and (3)’’ for ‘‘The provisions of
      paragraph (1)’’, and inserted provision that the rules of             Amendment by section 1323(b)(3) of Pub. L. 109–58 ap-
      section 168(f)(2) shall apply in determining the earnings           plicable to properties placed in service after Aug. 8,




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      2005, see section 1323(c) of Pub. L. 109–58, set out as an    nal Revenue Code of 1954 (as in effect before its repeal
      Effective Date note under section 179C of this title.         by section 803 of Pub. L. 99–514) or, if applicable, section
        Amendment by section 1331(b)(5) of Pub. L. 109–58 ap-       266 of such Code, see section 7831(d)(2) of Pub. L. 101–239,
      plicable to property placed in service after Dec. 31, 2005,   set out as an Effective Date note under section 263A of
      see section 1331(d) of Pub. L. 109–58, set out as an Effec-   this title.
      tive Date note under section 179D of this title.                Amendment by section 201(b), (d)(6) of Pub. L. 99–514
                                                                    applicable to property placed in service after Dec. 31,
               EFFECTIVE DATE OF 2004 AMENDMENT                     1986, in taxable years ending after such date, with ex-
        Amendment by section 338(b)(3) of Pub. L. 108–357 ap-       ceptions, see sections 203 and 204 of Pub. L. 99–514, set
      plicable to expenses paid or incurred after Dec. 31, 2002,    out as a note under section 168 of this title.
      in taxable years ending after such date, see section            Amendment by section 201(b), (d)(6) of Pub. L. 99–514
      338(c) of Pub. L. 108–357, set out as an Effective Date       not applicable to any property placed in service before
      note under section 179B of this title.                        Jan. 1, 1994, if such property placed in service as part
        Amendment by section 413(c)(4), (5) of Pub. L. 108–357      of specified rehabilitations, and not applicable to cer-
      applicable to taxable years of foreign corporations be-       tain additional rehabilitations, see section 251(d)(2), (3)
      ginning after Dec. 31, 2004, and to taxable years of          of Pub. L. 99–514, set out as a note under section 46 of
      United States shareholders with or within which such          this title.
      taxable years of foreign corporations end, see section          Amendment by section 241(b)(1) of Pub. L. 99–514 ap-
      413(d)(1) of Pub. L. 108–357, set out as an Effective and     plicable to expenditures paid or incurred after Dec. 31,
      Termination Dates of 2004 Amendments note under sec-          1986, except as otherwise provided, see section 241(c) of
      tion 1 of this title.                                         Pub. L. 99–514, set out as an Effective Date of Repeal
                                                                    note under former section 177 of this title.
               EFFECTIVE DATE OF 1997 AMENDMENT                       Amendment by section 631(e)(1) of Pub. L. 99–514 ap-
                                                                    plicable to any distribution in complete liquidation,
        Amendment by Pub. L. 105–34 effective as if included        and any sale or exchange, made by a corporation after
      in the amendments made by section 1913 of the Energy          July 31, 1986, unless such corporation is completely liq-
      Policy Act of 1992, Pub. L. 102–486, see section 1604(a)(4)   uidated before Jan. 1, 1987, any transaction described in
      of Pub. L. 105–34, set out as a note under section 263 of     section 338 of this title for which the acquisition date
      this title.                                                   occurs after Dec. 31, 1986, and any distribution, not in
               EFFECTIVE DATE OF 1990 AMENDMENT                     complete liquidation, made after Dec. 31, 1986, with ex-
                                                                    ceptions and special and transitional rules, see section
         Amendment by section 11812(b)(5) of Pub. L. 101–508        633 of Pub. L. 99–514, set out as an Effective Date note
      applicable to property placed in service after Nov. 5,        under section 336 of this title.
      1990, but not applicable to any property to which sec-          Amendment by section 803(b)(3) of Pub. L. 99–514 ap-
      tion 168 of this title does not apply by reason of subsec.    plicable to costs incurred after Dec. 31, 1986, in taxable
      (f)(5) of section 168, and not applicable to rehabilitation   years ending after such date, except as otherwise pro-
      expenditures described in section 252(f)(5) of Pub. L.        vided, see section 803(d) of Pub. L. 99–514, set out as an
      99–514, see section 11812(c) of Pub. L. 101–508, set out as   Effective Date note under section 263A of this title.
      a note under section 42 of this title.                          Amendment         by   sections     1804(f)(1)(A)–(E)    and
         Amendment by section 11813(b)(14) of Pub. L. 101–508       1809(a)(2)(C)(ii) of Pub. L. 99–514 effective, except as oth-
      applicable to property placed in service after Dec. 31,       erwise provided, as if included in the provisions of the
      1990, but not applicable to any transition property (as       Tax Reform Act of 1984, Pub. L. 98–369, div. A, to which
      defined in section 49(e) of this title), any property with    such amendment relates, see section 1881 of Pub. L.
      respect to which qualified progress expenditures were         99–514, set out as a note under section 48 of this title.
      previously taken into account under section 46(d) of            Pub. L. 99–514, title XVIII, § 1804(f)(3), Oct. 22, 1986, 100
      this title, and any property described in section             Stat. 2805, provided that: ‘‘Paragraph (7) of section
      46(b)(2)(C) of this title, as such sections were in effect    312(n) of the Internal Revenue Code of 1954 [now 1986]
      on Nov. 4, 1990, see section 11813(c) of Pub. L. 101–508,     (as redesignated by paragraph (1)(D) of this subsection),
      set out as a note under section 45K of this title.            and the amendments made by section 61(a)(2) of the
                                                                    Tax Reform Act of 1984 [amending this section], shall
               EFFECTIVE DATE OF 1989 AMENDMENT                     apply to distributions in taxable years beginning after
        Amendment by section 7611(f)(5)(A) of Pub. L. 101–239       September 30, 1984.’’
      applicable to costs paid or incurred in taxable years be-               EFFECTIVE DATE OF 1985 AMENDMENT
      ginning after Dec. 31, 1989, see section 7611(g)(2) of Pub.
      L. 101–239, set out as a note under section 56 of this          Amendment by Pub. L. 99–121 applicable with respect
      title.                                                        to property placed in service by the taxpayer after May
        Amendment by section 7811(m)(2) of Pub. L. 101–239          8, 1985, with specified exceptions, see section 105(b) of
      effective, except as otherwise provided, as if included in    Pub. L. 99–121, set out as a note under section 168 of
      the provision of the Technical and Miscellaneous Rev-         this title.
      enue Act of 1988, Pub. L. 100–647, to which such amend-                 EFFECTIVE DATE OF 1984 AMENDMENT
      ment relates, see section 7817 of Pub. L. 101–239, set out
      as a note under section 1 of this title.                        Pub. L. 98–369, div. A, title I, § 61(e)(1)–(3), July 18,
                                                                    1984, 98 Stat. 582, 583, as amended by Pub. L. 99–514, § 2,
               EFFECTIVE DATE OF 1988 AMENDMENT                     Oct. 22, 1986, 100 Stat. 2095, provided that:
                                                                      ‘‘(1) ADJUSTMENTS TO EARNINGS AND PROFITS.—
        Amendment by Pub. L. 100–647 effective, except as                ‘‘(A) PARAGRAPHS (1), (2), AND (3) OF SECTION 312(n).—
      otherwise provided, as if included in the provision of          The provisions of paragraphs (1), (2), and (3) of section
      the Tax Reform Act of 1986, Pub. L. 99–514, to which            312(n) of the Internal Revenue Code of 1986 [formerly
      such amendment relates, see section 1019(a) of Pub. L.          I.R.C. 1954] (as added by subsection (a)) shall apply to
      100–647, set out as a note under section 1 of this title.       amounts paid or incurred in taxable years beginning
               EFFECTIVE DATE OF 1986 AMENDMENT                       after September 30, 1984.
                                                                         ‘‘(B) PARAGRAPH (4) OF SECTION 312(n).—The provi-
        If any interest costs incurred after Dec. 31, 1986, are       sions of paragraph (4) of section 312(n) of such Code
      attributable to costs incurred before Jan. 1, 1987, the         (as so added) shall apply to distributions after Sep-
      amendment by section 803(b)(3) of Pub. L. 99–514 is ap-         tember 30, 1984; except that such provisions shall not
      plicable to such interest costs only to the extent such         apply to any distribution to which the amendments
      interest costs are attributable to costs which were re-         made by section 54(a) of this Act [amending section
      quired to be capitalized under section 263 of the Inter-        311 of this title] do not apply.
      nal Revenue Code of 1954 and which would have been                 ‘‘(C) LIFO INVENTORY.—The provisions of paragraph
      taken into account in applying section 189 of the Inter-        (5) of section 312(n) of such Code (as so added) shall




                                                         - Add.31 -
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        apply to taxable years beginning after September 30,           transactions which occur in proceedings in bankruptcy
        1984.                                                          cases or similar judicial proceedings or in proceedings
           ‘‘(D) INSTALLMENT SALES.—The provisions of para-            under Title 11, Bankruptcy, commencing on or before
        graph (6) of section 312(n) of such Code (as so added)         Dec. 31, 1980, except as otherwise provided, see section
        shall apply to sales after September 30, 1984, in tax-         7 of Pub. L. 96–589, set out as a note under section 108
        able years ending after such date.                             of this title.
           ‘‘(E) COMPLETED CONTRACT METHOD.—The provisions
        of paragraph (7) of section 312(n) of such Code (as so                   EFFECTIVE DATE OF 1978 AMENDMENT
        added) shall apply to contracts entered into after               Amendment by Pub. L. 95–628 applicable to distribu-
        September 30, 1984, in taxable years ending after such         tions made after Nov. 10, 1978, see section 3(d) of Pub.
        date.                                                          L. 95–628, set out as a note under section 301 of this
        ‘‘(2) SUBSECTION (b).—The amendments made by sub-              title.
      section (b) [amending this section] shall apply to prop-
      erty placed in service in taxable years beginning after                    EFFECTIVE DATE OF 1976 AMENDMENT
      September 30, 1984.                                                Amendment by section 205(c)(1)(D) of Pub. L. 94–455
        ‘‘(3) SUBSECTION (c).—The amendments made by sub-              effective for taxable years ending after Dec. 31, 1975, see
      section (c) [amending this section and section 1275 of           section 205(e) of Pub. L. 94–455, set out as a note under
      this title] shall apply with respect to distributions de-        section 1254 of this title.
      clared after March 15, 1984, in taxable years ending               Amendment by section 1901(a)(43) of Pub. L. 94–455 ef-
      after such date.’’                                               fective for taxable years beginning after Dec. 31, 1976,
        Amendment by section 61(a)(2) of Pub. L. 98–369 appli-         see section 1901(d) of Pub. L. 94–455, set out as a note
      cable to distributions in taxable years beginning after          under section 2 of this title.
      Sept. 30, 1984, see section 1804(f)(3) of Pub. L. 99–514, set      Amendment by section 1901(b)(32) of Pub. L. 94–455 ef-
      out as an Effective Date of 1986 Amendment note above.           fective for taxable years beginning after Dec. 31, 1976,
        Pub. L. 99–514, title XVIII, § 1804(f)(1)(F), Oct. 22, 1986,   see section 1901(d) of Pub. L. 94–455, set out as a note
      100 Stat. 2805, provided that: ‘‘Any reference in sub-           under section 2 of this title.
      section (e) of section 61 of the Tax Reform Act of 1984
      [set out above] to a paragraph of section 312(n) of the                    EFFECTIVE DATE OF 1969 AMENDMENT
      Internal Revenue Code of 1954 [now 1986] shall be treat-
      ed as a reference to such paragraph as in effect before            Amendment by section 211(b)(3) of Pub. L. 91–172 ap-
      its redesignation by subparagraph (D) [see 1986 Amend-           plicable to taxable years beginning after December 31,
      ment note above].’’                                              1969, see section 211(c) of Pub. L. 91–172, set out as a
        Pub. L. 98–369, div. A, title I, § 63(c), July 18, 1984, 98    note under section 301 of this title.
      Stat. 584, provided that: ‘‘The amendment made by this             Amendment by section 905(b)(2) Pub. L. 91–172 effec-
      section [amending this section and section 368 of this           tive with respect to distributions made after Nov. 30,
      title] shall apply to transactions pursuant to plans             1969, see section 905(c) of Pub. L. 91–172, set out as a
      adopted after the date of the enactment of this Act              note under section 311 of this title.
      [July 18, 1984].’’                                                         EFFECTIVE DATE OF 1966 AMENDMENT
        Amendment by section 111(e)(5) of Pub. L. 98–369 ap-
      plicable with respect to property placed in service by             Amendment by Pub. L. 89–570 applicable to taxable
      the taxpayer after Mar. 15, 1984, subject to certain ex-         years ending after Sept. 12, 1966, but only in respect of
      ceptions, see section 111(g) of Pub. L. 98–369, set out as       expenditures paid or incurred after such date, see sec-
      a note under section 168 of this title.                          tion 3 of Pub. L. 89–570, set out as an Effective Date
                                                                       note under section 617 of this title.
                EFFECTIVE DATE OF 1983 AMENDMENT
                                                                                 EFFECTIVE DATE OF 1964 AMENDMENT
        Amendment by Pub. L. 97–448 effective as if included
      in the provisions of the Tax Equity and Fiscal Respon-             Amendment by Pub. L. 88–484 applicable with respect
      sibility Act of 1982, Pub. L. 97–248, to which such              to transactions after Aug. 22, 1964 in taxable years end-
      amendment relates, see section 311(d) of Pub. L. 97–448,         ing after such date, see section 2 of Pub. L. 88–484, set
      set out as a note under section 31 of this title.                out as a note under section 301 of this title.
                                                                         Amendment by Pub. L. 88–272 applicable to disposi-
                EFFECTIVE DATE OF 1982 AMENDMENT                       tions after Dec. 31, 1963, in taxable years ending after
        Amendment by section 205(a)(3) of Pub. L. 97–248 ap-           such date, see section 231(c) of Pub. L. 88–272, set out as
      plicable to periods after Dec. 31, 1982, under rules simi-       an Effective Date note under section 1250 of this title.
      lar to the rules of section 48(m) of this title, with cer-
                                                                                 EFFECTIVE DATE OF 1962 AMENDMENT
      tain qualifications, see section 205(c)(1) of Pub. L.
      97–248, set out as an Effective Date note under section             Amendment by section 13(f)(3) of Pub. L. 87–834 appli-
      196 of this title.                                               cable to taxable years beginning after Dec. 31, 1962, see
        Amendment by section 222(e)(3) of Pub. L. 97–248 ap-           section 13(g) of Pub. L. 87–834, set out as an Effective
      plicable to distributions after Aug. 31, 1982, with excep-       Date note under section 1245 of this title.
      tions for certain partial liquidations, see section 222(f)          Pub. L. 87–834, § 14(c), Oct. 16, 1962, 76 Stat. 1041, pro-
      of Pub. L. 97–248, set out as a note under section 302 of        vided that: ‘‘The amendments made by this section [en-
      this title.                                                      acting sections 1246 and 1247 of this title and amending
        Amendment by section 310(b)(3) of Pub. L. 97–248 ap-           this section and sections 751 and 1223 of this title] shall
      plicable to obligations issued after Dec. 31, 1982, with         apply with respect to taxable years beginning after De-
      exceptions for certain warrants, see section 310(d) of           cember 31, 1962.’’
      Pub. L. 97–248, set out as a note under section 103 of              Pub. L. 87–403, § 3(g), Feb. 2, 1962, 76 Stat. 8, provided
      this title.                                                      that: ‘‘The amendments made by this section [amend-
                                                                       ing this section and sections 535, 543, 545, 556 and 561 of
                EFFECTIVE DATE OF 1981 AMENDMENT                       this title] shall apply only with respect to distributions
        Amendment by Pub. L. 97–34 applicable to property              made after the date of the enactment of this Act [Feb.
      placed in service after Dec. 31, 1980, in taxable years          2, 1962].’’
      ending after that date, see section 209(a) of Pub. L.
      97–34, set out as an Effective Date note under section                               SAVINGS PROVISION
      168 of this title.                                                 For provisions that nothing in amendment by Pub. L.
                                                                       101–508 be construed to affect treatment of certain
                EFFECTIVE DATE OF 1980 AMENDMENT
                                                                       transactions occurring, property acquired, or items of
        Amendment by Pub. L. 96–589 applicable to trans-               income, loss, deduction, or credit taken into account
      actions which occur after Dec. 31, 1980, other than              prior to Nov. 5, 1990, for purposes of determining liabil-




                                                            - Add.32 -
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      ity for tax for periods ending after Nov. 5, 1990, see sec-       dend as defined in subsection (a)) made by
      tion 11821(b) of Pub. L. 101–508, set out as a note under         the corporation to its shareholders, to the
      section 45K of this title.                                        extent of its undistributed personal holding
               PLAN AMENDMENTS NOT REQUIRED UNTIL                       company income (determined under section
                         JANUARY 1, 1989                                545 without regard to distributions under
        For provisions directing that if any amendments                 this paragraph) for such year.
      made by subtitle A or subtitle C of title XI [§§ 1101–1147          (B) For purposes of subparagraph (A), the
      and 1171–1177] or title XVIII [§§ 1800–1899A] of Pub. L.          term ‘‘distribution of property’’ includes a
      99–514 require an amendment to any plan, such plan                distribution in complete liquidation occur-
      amendment shall not be required to be made before the             ring within 24 months after the adoption of
      first plan year beginning on or after Jan. 1, 1989, see           a plan of liquidation, but—
      section 1140 of Pub. L. 99–514, as amended, set out as a
                                                                            (i) only to the extent of the amounts dis-
      note under section 401 of this title.
                                                                          tributed to distributees other than cor-
             SUBPART C—DEFINITIONS; CONSTRUCTIVE                          porate shareholders, and
                     OWNERSHIP OF STOCK                                     (ii) only to the extent that the corpora-
                                                                          tion designates such amounts as a dividend
      Sec.
                                                                          distribution and duly notifies such
      316.       Dividend defined.
      317.       Other definitions.                                       distributees of such designation, under
      318.       Constructive ownership of stock.                         regulations prescribed by the Secretary,
                                                                          but
      § 316. Dividend defined                                               (iii) not in excess of the sum of such
      (a) General rule                                                    distributees’ allocable share of the undis-
                                                                          tributed personal holding company income
        For purposes of this subtitle, the term ‘‘divi-
                                                                          for such year, computed without regard to
      dend’’ means any distribution of property made
                                                                          this subparagraph or section 562(b).
      by a corporation to its shareholders—
          (1) out of its earnings and profits accumu-                 (3) Deficiency dividend distributions by a regu-
        lated after February 28, 1913, or                                 lated investment company or real estate in-
          (2) out of its earnings and profits of the tax-                 vestment trust
        able year (computed as of the close of the tax-                 The term ‘‘dividend’’ also means any dis-
        able year without diminution by reason of any                 tribution of property (whether or not a divi-
        distributions made during the taxable year),                  dend as defined in subsection (a)) which con-
        without regard to the amount of the earnings                  stitutes a ‘‘deficiency dividend’’ as defined in
        and profits at the time the distribution was                  section 860(f).
        made.                                                         (4) Certain distributions by regulated invest-
      Except as otherwise provided in this subtitle,                      ment companies in excess of earnings and
      every distribution is made out of earnings and                      profits
      profits to the extent thereof, and from the most                  In the case of a regulated investment com-
      recently accumulated earnings and profits. To                   pany that has a taxable year other than a cal-
      the extent that any distribution is, under any                  endar year, if the distributions by the com-
      provision of this subchapter, treated as a dis-                 pany with respect to any class of stock of such
      tribution of property to which section 301 ap-                  company for the taxable year exceed the com-
      plies, such distribution shall be treated as a dis-             pany’s current and accumulated earnings and
      tribution of property for purposes of this sub-                 profits which may be used for the payment of
      section.                                                        dividends on such class of stock, the com-
      (b) Special rules                                               pany’s current earnings and profits shall, for
        (1) Certain insurance company dividends                       purposes of subsection (a), be allocated first to
          The definition in subsection (a) shall not                  distributions with respect to such class of
        apply to the term ‘‘dividend’’ as used in sub-                stock made during the portion of the taxable
        chapter L in any case where the reference is to               year which precedes January 1.
        dividends of insurance companies paid to pol-               (Aug. 16, 1954, ch. 736, 68A Stat. 98; Mar. 13, 1956,
        icyholders as such.                                         ch. 83, § 5(1), 70 Stat. 49; Pub. L. 88–272, title II,
        (2) Distributions by personal holding compa-                § 225(f)(1), Feb. 26, 1964, 78 Stat. 87; Pub. L. 94–455,
             nies                                                   title XVI, § 1601(d), title XIX, § 1906(b)(13)(A),
             (A) In the case of a corporation which—                Oct. 4, 1976, 90 Stat. 1746, 1834; Pub. L. 95–600,
               (i) under the law applicable to the tax-             title III, § 362(d)(1), Nov. 6, 1978, 92 Stat. 2851;
             able year in which the distribution is                 Pub. L. 111–325, title III, § 305(a), Dec. 22, 2010, 124
             made, is a personal holding company (as                Stat. 3549.)
             defined in section 542), or
                                                                                          Editorial Notes
               (ii) for the taxable year in respect of
             which the distribution is made under sec-                                     AMENDMENTS
             tion 563(b) (relating to dividends paid after             2010—Subsec. (b)(4). Pub. L. 111–325 added par. (4).
             the close of the taxable year), or section                1978—Subsec. (b)(3). Pub. L. 95–600 inserted ‘‘regulated
             547 (relating to deficiency dividends), or             investment company or’’ after ‘‘distributions by a’’ in
             the corresponding provisions of prior law,             heading and substituted in text ‘‘section 860(f)’’ for
             is a personal holding company under the                ‘‘section 859(d)’’.
             law applicable to such taxable year,                      1976—Subsec.       (b)(2)(B)(ii).  Pub.      L.    94–455,
                                                                    § 1906(b)(13)(A), struck out ‘‘or his delegate’’ after ‘‘Sec-
             the term ‘‘dividend’’ also means any dis-              retary’’.
             tribution of property (whether or not a divi-             Subsec. (b)(3). Pub. L. 94–455, § 1601(d), added par. (3).




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      provision of law or regulations (including the                     PART III—CORPORATE ORGANIZATIONS
      consolidated return regulations).                                         AND REORGANIZATIONS
      (Aug. 16, 1954, ch. 736, 68A Stat. 110; Pub. L.               Subpart
      97–248, title II, § 222(d), Sept. 3, 1982, 96 Stat. 479;      A.        Corporate organizations.
      Pub. L. 99–514, title VI, § 631(e)(7), Oct. 22, 1986,         B.        Effects on shareholders and security holders.
      100 Stat. 2273.)                                              C.        Effects on corporations.
                                                                    D.        Special rule; definitions.
                           Editorial Notes                                 SUBPART A—CORPORATE ORGANIZATIONS
                        REFERENCES IN TEXT
                                                                    Sec.
        Subsections (a) and (b) of section 222 of the Tax Eq-       351.      Transfer to corporation controlled by trans-
      uity and Fiscal Responsibility Act of 1982, referred to                  feror.
      in subsec. (b), are subsecs. (a) and (b) of Pub. L. 97–248,
      title II, § 222, Sept. 3, 1982, 96 Stat. 478, which amended   § 351. Transfer to corporation controlled by
      sections 331(a) and 336(a) of this title.                         transferor
                            AMENDMENTS                              (a) General rule
        1986—Subsec. (b). Pub. L. 99–514 struck out ‘‘337,’’          No gain or loss shall be recognized if property
      after ‘‘351,’’.                                               is transferred to a corporation by one or more
        1982—Subsec. (a). Pub. L. 97–248 substituted provision      persons solely in exchange for stock in such cor-
      that a distribution shall be treated as in complete liq-      poration and immediately after the exchange
      uidation if the distribution is one of a series in redemp-
      tion of all the stock pursuant to a plan for provision
                                                                    such person or persons are in control (as defined
      that a distribution was to be treated as in partial liq-      in section 368(c)) of the corporation.
      uidation if the distribution was one of a series in re-       (b) Receipt of property
      demption of all the stock pursuant to a plan, or the dis-       If subsection (a) would apply to an exchange
      tribution was not essentially equivalent to a dividend,
      was in redemption of part of the stock pursuant to a
                                                                    but for the fact that there is received, in addi-
      plan, and occurred within the taxable year or the next        tion to the stock permitted to be received under
      taxable year of the plan being adopted, including but         subsection (a), other property or money, then—
      not limited to a distribution which met the require-              (1) gain (if any) to such recipient shall be
      ments of former subsec. (b) of this section, and that for       recognized, but not in excess of—
      the purposes of sections 562(b) and 6043 of this title, a           (A) the amount of money received, plus
      partial liquidation included a redemption of stock to               (B) the fair market value of such other
      which section 302 of this title applied.                          property received; and
        Subsec. (b). Pub. L. 97–248 added subsec. (b) and
      struck out former subsec. (b) which provided that a dis-          (2) no loss to such recipient shall be recog-
      tribution was to be treated as in partial liquidation of        nized.
      a corporation if the distribution was attributable to         (c) Special rules where distribution to share-
      the cessation of a business which had been carried on
      for the previous 5-year period and had not been ac-
                                                                        holders
      quired by the corporation in a transaction involving            (1) In general
      recognition of gain or loss during that time, and if the          In determining control for purposes of this
      distributing corporation was actively involved in a             section, the fact that any corporate transferor
      trade or business immediately after the distribution
      under the terms described above for the business being
                                                                      distributes part or all of the stock in the cor-
      liquidated, and that compliance with the above require-         poration which it receives in the exchange to
      ments would be determined without regard to whether             its shareholders shall not be taken into ac-
      or not the distribution was pro rata with respect to all        count.
      the shareholders of the corporation.                            (2) Special rule for section 355
        Subsec. (c). Pub. L. 97–248 struck out subsec. (c)
      which provided that the fact that, with respect to a              If the requirements of section 355 (or so
      shareholder, a distribution qualified under section             much of section 356 as relates to section 355)
      302(a) by reason of section 302(b) would not be taken           are met with respect to a distribution de-
      into account in determining whether the distribution,           scribed in paragraph (1), then, solely for pur-
      with respect to such shareholder, was also a distribu-          poses of determining the tax treatment of the
      tion in partial liquidation of the corporation.                 transfers of property to the controlled cor-
                                                                      poration by the distributing corporation, the
             Statutory Notes and Related Subsidiaries
                                                                      fact that the shareholders of the distributing
               EFFECTIVE DATE OF 1986 AMENDMENT                       corporation dispose of part or all of the dis-
        Amendment by Pub. L. 99–514 applicable to any dis-            tributed stock, or the fact that the corpora-
      tribution in complete liquidation, and any sale or ex-          tion whose stock was distributed issues addi-
      change, made by a corporation after July 31, 1986, un-          tional stock, shall not be taken into account
      less such corporation is completely liquidated before           in determining control for purposes of this
      Jan. 1, 1987, any transaction described in section 338 of       section.
      this title for which the acquisition date occurs after
      Dec. 31, 1986, and any distribution, not in complete liq-     (d) Services, certain indebtedness, and accrued
      uidation, made after Dec. 31, 1986, with exceptions and           interest not treated as property
      special and transitional rules, see section 633 of Pub. L.      For purposes of this section, stock issued for—
      99–514, set out as an Effective Date note under section           (1) services,
      336 of this title.                                                (2) indebtedness of the transferee corpora-
               EFFECTIVE DATE OF 1982 AMENDMENT                       tion which is not evidenced by a security, or
        Amendment by Pub. L. 97–248 applicable to distribu-             (3) interest on indebtedness of the transferee
      tions after Aug. 31, 1982, with exceptions for certain          corporation which accrued on or after the be-
      partial liquidations, see section 222(f) of Pub. L. 97–248,     ginning of the transferor’s holding period for
      set out as a note under section 302 of this title.              the debt,




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      shall not be considered as issued in return for          with respect to which gain or loss is not recog-
      property.                                                nized (in whole or in part) to the transferor
      (e) Exceptions                                           under this section, and
                                                                 (2) such exchange is not in pursuance of a
        This section shall not apply to—
                                                               plan of reorganization,
        (1) Transfer of property to an investment com-
            pany                                             section 311 shall apply to any transfer in such
                                                             exchange by the controlled corporation in the
          A transfer of property to an investment            same manner as if such transfer were a distribu-
        company. For purposes of the preceding sen-          tion to which subpart A of part I applies.
        tence, the determination of whether a com-
        pany is an investment company shall be               (g) Nonqualified preferred stock not treated as
        made—                                                    stock
            (A) by taking into account all stock and           (1) In general
          securities held by the company, and                    In the case of a person who transfers prop-
            (B) by treating as stock and securities—           erty to a corporation and receives non-
              (i) money,                                       qualified preferred stock—
              (ii) stocks and other equity interests in a           (A) subsection (a) shall not apply to such
            corporation, evidences of indebtedness, op-          transferor, and
            tions, forward or futures contracts, no-                (B) if (and only if) the transferor receives
            tional principal contracts and derivatives,          stock other than nonqualified preferred
              (iii) any foreign currency,                        stock—
              (iv) any interest in a real estate invest-               (i) subsection (b) shall apply to such
            ment trust, a common trust fund, a regu-                transferor; and
            lated investment company, a publicly-                      (ii) such nonqualified preferred stock
            traded partnership (as defined in section               shall be treated as other property for pur-
            7704(b)) or any other equity interest (other            poses of applying subsection (b).
            than in a corporation) which pursuant to           (2) Nonqualified preferred stock
            its terms or any other arrangement is
            readily convertible into, or exchangeable            For purposes of paragraph (1)—
            for, any asset described in any preceding            (A) In general
            clause, this clause or clause (v) or (viii),            The term ‘‘nonqualified preferred stock’’
              (v) except to the extent provided in regu-         means preferred stock if—
            lations prescribed by the Secretary, any                   (i) the holder of such stock has the right
            interest in a precious metal, unless such               to require the issuer or a related person to
            metal is used or held in the active conduct             redeem or purchase the stock,
            of a trade or business after the contribu-                 (ii) the issuer or a related person is re-
            tion,                                                   quired to redeem or purchase such stock,
              (vi) except as otherwise provided in regu-               (iii) the issuer or a related person has
            lations prescribed by the Secretary, inter-             the right to redeem or purchase the stock
            ests in any entity if substantially all of              and, as of the issue date, it is more likely
            the assets of such entity consist (directly             than not that such right will be exercised,
            or indirectly) of any assets described in               or
            any preceding clause or clause (viii),                     (iv) the dividend rate on such stock var-
              (vii) to the extent provided in regula-               ies in whole or in part (directly or indi-
            tions prescribed by the Secretary, any in-              rectly) with reference to interest rates,
            terest in any entity not described in clause            commodity prices, or other similar indi-
            (vi), but only to the extent of the value of            ces.
            such interest that is attributable to assets         (B) Limitations
            listed in clauses (i) through (v) or clause
            (viii), or                                              Clauses (i), (ii), and (iii) of subparagraph
              (viii) any other asset specified in regula-        (A) shall apply only if the right or obligation
            tions prescribed by the Secretary.                   referred to therein may be exercised within
                                                                 the 20-year period beginning on the issue
         The Secretary may prescribe regulations that,           date of such stock and such right or obliga-
         under appropriate circumstances, treat any              tion is not subject to a contingency which,
         asset described in clauses (i) through (v) as not       as of the issue date, makes remote the like-
         so listed.                                              lihood of the redemption or purchase.
         (2) Title 11 or similar case                            (C) Exceptions for certain rights or obliga-
           A transfer of property of a debtor pursuant                 tions
         to a plan while the debtor is under the juris-             (i) In general
         diction of a court in a title 11 or similar case
                                                                       A right or obligation shall not be treated
         (within the meaning of section 368(a)(3)(A)), to
                                                                    as described in clause (i), (ii), or (iii) of
         the extent that the stock received in the ex-
                                                                    subparagraph (A) if—
         change is used to satisfy the indebtedness of
                                                                          (I) it may be exercised only upon the
         such debtor.
                                                                       death, disability, or mental incom-
      (f) Treatment of controlled corporation                          petency of the holder, or
         If—                                                              (II) in the case of a right or obligation
           (1) property is transferred to a corporation                to redeem or purchase stock transferred
         (hereinafter in this subsection referred to as                in connection with the performance of
         the ‘‘controlled corporation’’) in an exchange                services for the issuer or a related person




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               (and which represents reasonable com-             (B), Oct. 4, 1976, 90 Stat. 1772; Pub. L. 96–589,
               pensation), it may be exercised only              § 5(e), Dec. 24, 1980, 94 Stat. 3406; Pub. L. 97–248,
               upon the holder’s separation from serv-           title II, § 226(a)(1)(B), Sept. 3, 1982, 96 Stat. 491;
               ice from the issuer or a related person.          Pub. L. 100–647, title I, § 1018(d)(5)(G), Nov. 10,
            (ii) Exception                                       1988, 102 Stat. 3580; Pub. L. 101–239, title VII,
                                                                 § 7203(a), (b), Dec. 19, 1989, 103 Stat. 2333; Pub. L.
               Clause (i)(I) shall not apply if the stock        101–508, title XI, § 11704(a)(3), Nov. 5, 1990, 104
            relinquished in the exchange, or the stock           Stat. 1388–518; Pub. L. 105–34, title X, §§ 1002(a),
            acquired in the exchange is in—                      1012(c)(1), 1014(a), Aug. 5, 1997, 111 Stat. 909, 916,
                 (I) a corporation if any class of stock         919; Pub. L. 105–206, title VI, § 6010(c)(3)(A), (e)(1),
               in such corporation or a related party is         July 22, 1998, 112 Stat. 813, 814; Pub. L. 105–277,
               readily tradable on an established secu-          div. J, title IV, § 4003(f)(1), Oct. 21, 1998, 112 Stat.
               rities market or otherwise, or                    2681–910; Pub. L. 106–36, title III, § 3001(d)(1), June
                 (II) any other corporation if such ex-          25, 1999, 113 Stat. 183; Pub. L. 107–147, title IV,
               change is part of a transaction or series         § 417(9), Mar. 9, 2002, 116 Stat. 56; Pub. L. 108–357,
               of transactions in which such corpora-            title VIII, § 899(a), Oct. 22, 2004, 118 Stat. 1649;
               tion is to become a corporation described         Pub. L. 109–135, title IV, § 403(kk), Dec. 21, 2005,
               in subclause (I).                                 119 Stat. 2632.)
        (3) Definitions
          For purposes of this subsection—                                             Editorial Notes

          (A) Preferred stock                                                            AMENDMENTS

            The term ‘‘preferred stock’’ means stock                2005—Subsec. (g)(3)(A). Pub. L. 109–135 inserted at end
                                                                 ‘‘If there is not a real and meaningful likelihood that
          which is limited and preferred as to divi-
                                                                 dividends beyond any limitation or preference will ac-
          dends and does not participate in corporate            tually be paid, the possibility of such payments will be
          growth to any significant extent. Stock                disregarded in determining whether stock is limited
          shall not be treated as participating in cor-          and preferred as to dividends.’’
          porate growth to any significant extent un-               2004—Subsec. (g)(3)(A). Pub. L. 108–357 inserted at end
          less there is a real and meaningful likeli-            ‘‘Stock shall not be treated as participating in cor-
          hood of the shareholder actually partici-              porate growth to any significant extent unless there is
          pating in the earnings and growth of the cor-          a real and meaningful likelihood of the shareholder ac-
                                                                 tually participating in the earnings and growth of the
          poration. If there is not a real and meaning-          corporation.’’
          ful likelihood that dividends beyond any                  2002—Subsec. (h)(1). Pub. L. 107–147 inserted comma
          limitation or preference will actually be              after ‘‘liability’’.
          paid, the possibility of such payments will               1999—Subsec. (h)(1). Pub. L. 106–36 struck out ‘‘, or
          be disregarded in determining whether stock            acquires property subject to a liability,’’ after ‘‘liabil-
          is limited and preferred as to dividends.              ity’’.
                                                                    1998—Subsec. (c). Pub. L. 105–206, § 6010(c)(3)(A), reen-
          (B) Related person                                     acted heading without change and amended text gen-
            A person shall be treated as related to an-          erally. Prior to amendment, text read as follows: ‘‘In
          other person if they bear a relationship to            determining control for purposes of this section—
                                                                       ‘‘(1) the fact that any corporate transferor distrib-
          such other person described in section 267(b)             utes part or all of the stock in the corporation which
          or 707(b).                                                it receives in the exchange to its shareholders shall
        (4) Regulations                                             not be taken into account, and
                                                                       ‘‘(2) if the requirements of section 355 are met with
          The Secretary may prescribe such regula-                  respect to such distribution, the shareholders shall be
        tions as may be necessary or appropriate to                 treated as in control of such corporation immediately
        carry out the purposes of this subsection and               after the exchange if the shareholders own (imme-
        sections 354(a)(2)(C), 355(a)(3)(D), and 356(e).            diately after the distribution) stock possessing—
        The Secretary may also prescribe regulations,                     ‘‘(A) more than 50 percent of the total combined
        consistent with the treatment under this sub-                  voting power of all classes of stock of such corpora-
                                                                       tion entitled to vote, and
        section and such sections, for the treatment of                   ‘‘(B) more than 50 percent of the total value of
        nonqualified preferred stock under other pro-                  shares of all classes of stock of such corporation.’’
        visions of this title.                                      Subsec. (c)(2). Pub. L. 105–277 inserted ‘‘, or the fact
      (h) Cross references                                       that the corporation whose stock was distributed issues
                                                                 additional stock,’’ after ‘‘dispose of part or all of the
           (1) For special rule where another party to the ex-   distributed stock’’.
         change assumes a liability, see section 357.               Subsec. (g)(1)(A) to (C). Pub. L. 105–206, § 6010(e)(1), in-
           (2) For the basis of stock or property received in    serted ‘‘and’’ at end of subpar. (A), added subpar. (B),
         an exchange to which this section applies, see sec-     and struck out former subpars. (B) and (C) which read
         tions 358 and 362.                                      as follows:
           (3) For special rule in the case of an exchange de-      ‘‘(B) subsection (b) shall apply to such transferor, and
         scribed in this section but which results in a gift,       ‘‘(C) such nonqualified preferred stock shall be treat-
         see section 2501 and following.                         ed as other property for purposes of applying sub-
           (4) For special rule in the case of an exchange de-   section (b).’’
         scribed in this section but which has the effect of        1997—Subsec. (c). Pub. L. 105–34, § 1012(c)(1), amended
         the payment of compensation by the corporation or       heading and text of subsec. (c) generally. Prior to
         by a transferor, see section 61(a)(1).                  amendment, text read as follows: ‘‘In determining con-
           (5) For coordination of this section with section     trol, for purposes of this section, the fact that any cor-
         304, see section 304(b)(3).                             porate transferor distributes part or all of the stock
                                                                 which it receives in the exchange to its shareholders
      (Aug. 16, 1954, ch. 736, 68A Stat. 111; Pub. L.            shall not be taken into account.’’
      89–809, title II, § 203(a), (b), Nov. 13, 1966, 80 Stat.      Subsec. (e)(1). Pub. L. 105–34, § 1002(a), inserted last
      1577; Pub. L. 94–455, title XIX, § 1901(a)(48)(A),         two sentences.




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         Subsecs. (g), (h). Pub. L. 105–34, § 1014(a), added sub-         ‘‘(1) IN GENERAL.—The amendment made by sub-
      sec. (g) and redesignated former subsec. (g) as (h).             section (a) [amending this section] shall apply to trans-
         1990—Subsec. (e)(2). Pub. L. 101–508 substituted ‘‘is         fers after June 8, 1997, in taxable years ending after
      used’’ for ‘‘are used’’.                                         such date.
         1989—Subsec. (a). Pub. L. 101–239, § 7203(a), struck out         ‘‘(2) BINDING CONTRACTS.—The amendment made by
      ‘‘or securities’’ after ‘‘stock’’.                               subsection (a) shall not apply to any transfer pursuant
         Subsecs. (b), (d), (e)(2). Pub. L. 101–239, § 7203(b)(1),     to a written binding contract in effect on June 8, 1997,
      struck out ‘‘or securities’’ after ‘‘stock’’.                    and at all times thereafter before such transfer if such
         Subsec. (g)(2). Pub. L. 101–239, § 7203(b)(2), substituted    contract provides for the transfer of a fixed amount of
      ‘‘stock or property’’ for ‘‘stock, securities, or prop-          property.’’
      erty’’.                                                             Pub. L. 105–34, title X, § 1012(d), Aug. 5, 1997, 111 Stat.
         1988—Subsecs. (f), (g). Pub. L. 100–647 added subsec. (f)     917, as amended by Pub. L. 105–206, title VI, § 6010(c)(1),
      and redesignated former subsec. (f) as (g).                      July 22, 1998, 112 Stat. 813, provided that:
         1982—Subsec. (f)(5). Pub. L. 97–248 added par. (5).              ‘‘(1) SECTION 355 RULES.—The amendments made by
         1980—Subsec. (a). Pub. L. 96–589, § 5(e)(2), struck out       subsections (a) and (b) [amending sections 355 and 358 of
      provision that stock or securities issued for services           this title] shall apply to distributions after April 16,
      shall not be considered as issued in return for property         1997; except that the amendment made by subsection
      for purposes of this section.                                    (a) [amending section 355 of this title] shall apply to
         Subsec. (d). Pub. L. 96–589, § 5(e)(1), added subsec. (d).    such distributions only if pursuant to a plan (or series
      Former subsec. (d) redesignated (e)(1).                          of related transactions) which involves an acquisition
         Subsec. (e). Pub. L. 96–589, § 5(e)(2), redesignated          described in section 355(e)(2)(A)(ii) of the Internal Rev-
      former subsec. (d) as par. (1) and added par. (2). Former        enue Code of 1986 occurring after such date.
      subsec. (e) redesignated (f).                                       ‘‘(2) DIVISIVE TRANSACTIONS.—The amendments made
         Subsec. (f). Pub. L. 96–589, § 5(e)(1), redesignated          by subsection (c) [amending this section and section 368
      former subsec. (e) as (f).                                       of this title] shall apply to transfers after the date of
         1976—Subsec. (a). Pub. L. 94–455, § 1901(a)(48)(A),           the enactment of this Act [Aug. 5, 1997].
      struck out ‘‘(including, in the case of transfers made on           ‘‘(3) TRANSITION RULE.—The amendments made by
      or before June 30, 1967, an investment company)’’ after          this section [amending this section and sections 355,
      ‘‘property is transferred to a corporation’’.                    358, and 368 of this title] shall not apply to any distribu-
         Subsec. (d). Pub. L. 94–455, § 1901(a)(48)(B), among          tion pursuant to a plan (or series of related trans-
      other changes, substituted ‘‘Exception’’ for ‘‘Applica-          actions) which involves an acquisition described in sec-
      tion of June 30, 1967, date’’ in heading and in text provi-      tion 355(e)(2)(A)(ii) of the Internal Revenue Code of 1986
      sion that this section does not apply to a transfer of           (or, in the case of the amendments made by subsection
      property to an investment company for provisions re-             (c), any transfer) occurring after April 16, 1997, if such
      lating to treatment of a transfer of property to an in-          acquisition or transfer is—
      vestment company as made on or before June 30, 1967.                   ‘‘(A) made pursuant to an agreement which was
         1966—Subsec. (a). Pub. L. 89–809, § 203(a), inserted ‘‘(in-      binding on such date and at all times thereafter,
      cluding, in the case of transfers made on or before June               ‘‘(B) described in a ruling request submitted to the
      30, 1967, an investment company)’’ after ‘‘if property is           Internal Revenue Service on or before such date, or
      transferred to a corporation’’.                                        ‘‘(C) described on or before such date in a public an-
         Subsecs. (d), (e). Pub. L. 89–809, § 203(b), added subsec.       nouncement or in a filing with the Securities and Ex-
      (d) and redesignated former subsec. (d) as (e).                     change Commission required solely by reason of the
                                                                          acquisition or transfer.
              Statutory Notes and Related Subsidiaries                 This paragraph shall not apply to any agreement, rul-
                EFFECTIVE DATE OF 2005 AMENDMENT                       ing request, or public announcement or filing unless it
                                                                       identifies the acquirer of the distributing corporation
        Amendment by Pub. L. 109–135 effective as if included          or any controlled corporation, or the transferee, which-
      in the provision of the American Jobs Creation Act of            ever is applicable.’’
      2004, Pub. L. 108–357, to which such amendment relates,             Pub. L. 105–34, title X, § 1014(f), Aug. 5, 1997, 111 Stat.
      see section 403(nn) of Pub. L. 109–135, set out as a note        921, provided that:
      under section 26 of this title.                                     ‘‘(1) IN GENERAL.—The amendments made by this sec-
                EFFECTIVE DATE OF 2004 AMENDMENT                       tion [amending this section and sections 354 to 356 and
                                                                       1036 of this title] shall apply to transactions after June
        Pub. L. 108–357, title VIII, § 899(b), Oct. 22, 2004, 118      8, 1997.
      Stat. 1649, provided that: ‘‘The amendment made by                  ‘‘(2) TRANSITION RULE.—The amendments made by
      this section [amending this section] shall apply to              this section shall not apply to any transaction after
      transactions after May 14, 2003.’’                               June 8, 1997, if such transaction is—
                EFFECTIVE DATE OF 1999 AMENDMENT                             ‘‘(A) made pursuant to a written agreement which
                                                                          was binding on such date and at all times thereafter,
        Pub. L. 106–36, title III, § 3001(e), June 25, 1999, 113             ‘‘(B) described in a ruling request submitted to the
      Stat. 184, provided that: ‘‘The amendments made by                  Internal Revenue Service on or before such date, or
      this section [amending this section and sections 357,                  ‘‘(C) described on or before such date in a public an-
      358, 362, 368, 584, and 1031 of this title] shall apply to          nouncement or in a filing with the Securities and Ex-
      transfers after October 18, 1998.’’                                 change Commission required solely by reason of the
                                                                          transaction.’’
               EFFECTIVE DATE OF 1998 AMENDMENTS
        Amendment by Pub. L. 105–277 effective as if included                    EFFECTIVE DATE OF 1989 AMENDMENT
      in the provision of the Taxpayer Relief Act of 1997, Pub.           Pub. L. 101–239, title VII, § 7203(c), Dec. 19, 1989, 103
      L. 105–34, to which such amendment relates, see section          Stat. 2334, provided that:
      4003(l) of Pub. L. 105–277, set out as a note under section         ‘‘(1) IN GENERAL.—Except as provided in this sub-
      86 of this title.                                                section, the amendments made by this section [amend-
        Amendment by Pub. L. 105–206 effective, except as              ing this section] shall apply to transfers after October
      otherwise provided, as if included in the provisions of          2, 1989, in taxable years ending after such date.
      the Taxpayer Relief Act of 1997, Pub. L. 105–34, to which           ‘‘(2) BINDING CONTRACT.—The amendments made by
      such amendment relates, see section 6024 of Pub. L.              this section shall not apply to any transfer pursuant to
      105–206, set out as a note under section 1 of this title.        a written binding contract in effect on October 2, 1989,
                                                                       and at all times thereafter before such transfer.
                EFFECTIVE DATE OF 1997 AMENDMENT
                                                                          ‘‘(3) CORPORATE TRANSFERS.—In the case of property
        Pub. L. 105–34, title X, § 1002(b), Aug. 5, 1997, 111 Stat.    transferred (directly or indirectly through a partner-
      909, provided that:                                              ship or otherwise) by a C corporation, paragraphs (1)




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      and (2) shall be applied by substituting ‘July 11, 1989’               amount of any such securities surrendered,
      for ‘October 2, 1989’. The preceding sentence shall not                or
      apply where the corporation meets the requirements of                    (ii) any such securities are received and
      section 1504(a)(2) of the Internal Revenue Code of 1986
      with respect to the transferee corporation (and where
                                                                             no such securities are surrendered.
      the transfer is not part of a plan pursuant to which the             (B) Property attributable to accrued interest
      transferor subsequently fails to meet such require-
      ments).’’                                                              Neither paragraph (1) nor so much of sec-
                                                                           tion 356 as relates to paragraph (1) shall
                EFFECTIVE DATE OF 1988 AMENDMENT                           apply to the extent that any stock (includ-
        Pub. L. 100–647, title I, § 1018(d)(5)(G), Nov. 10, 1988, 102      ing nonqualified preferred stock, as defined
      Stat. 3580, provided that the amendment made by that                 in section 351(g)(2)), securities, or other
      section is effective with respect to transfers on or after           property received is attributable to interest
      June 21, 1988.                                                       which has accrued on securities on or after
                EFFECTIVE DATE OF 1982 AMENDMENT                           the beginning of the holder’s holding period.
        Amendment by Pub. L. 97–248 applicable to transfers                (C) Nonqualified preferred stock
      occurring after Aug. 31, 1982, except for certain trans-               (i) In general
      fers pursuant to an application to form a BHC filed
      with the Federal Reserve Board before Aug. 16, 1982, see                  Nonqualified preferred stock (as defined
      section 226(c) of Pub. L. 97–248, set out as a note under              in section 351(g)(2)) received in exchange
      section 304 of this title.                                             for stock other than nonqualified preferred
                EFFECTIVE DATE OF 1980 AMENDMENT
                                                                             stock (as so defined) shall not be treated
                                                                             as stock or securities.
        Amendment by Pub. L. 96–589 applicable to trans-
      actions which occur after Dec. 31, 1980, other than                    (ii) Recapitalizations of family-owned cor-
      transactions which occur in proceedings in bankruptcy                       porations
      cases or similar judicial proceedings or in proceedings
                                                                                (I) In general
      under Title 11, Bankruptcy, commencing on or before
      Dec. 31, 1980, except as otherwise provided, see section                    Clause (i) shall not apply in the case of
      7 of Pub. L. 96–589, set out as a note under section 108                  a     recapitalization    under    section
      of this title.                                                            368(a)(1)(E) of a family-owned corpora-
                EFFECTIVE DATE OF 1976 AMENDMENT                                tion.
        Pub. L. 94–455, title XIX, § 1901(a)(48)(C), Oct. 4, 1976,              (II) Family-owned corporation
      90 Stat. 1772, provided that: ‘‘The amendments made by                      For purposes of this clause, except as
      this paragraph [amending this section] shall take effect                  provided in regulations, the term ‘‘fam-
      with respect to transfers of property occurring after
                                                                                ily-owned corporation’’ means any cor-
      the date of the enactment of this Act [Oct. 4, 1976].’’
                                                                                poration which is described in clause (i)
                EFFECTIVE DATE OF 1966 AMENDMENT                                of section 447(d)(2)(C) 1 throughout the 8-
        Pub. L. 89–809, title II, § 203(c), Nov. 13, 1966, 80 Stat.             year period beginning on the date which
      1577, provided that: ‘‘The amendments made by sub-                        is 5 years before the date of the recapi-
      sections (a) and (b) [amending this section] shall apply                  talization. For purposes of the preceding
      with respect to transfers of property to investment                       sentence, stock shall not be treated as
      companies whether made before, on, or after the date of                   owned by a family member during any
      the enactment of this Act [Nov. 13, 1966].’’                              period described in section 355(d)(6)(B).
        SUBPART B—EFFECTS ON SHAREHOLDERS AND                                   (III) Extension of statute of limitations
                  SECURITY HOLDERS                                                The statutory period for the assess-
      Sec.                                                                      ment of any deficiency attributable to a
      354.      Exchanges of stock and securities in certain                    corporation failing to be a family-owned
                 reorganizations.                                               corporation shall not expire before the
      355.      Distribution of stock and securities of a con-                  expiration of 3 years after the date the
                 trolled corporation.                                           Secretary is notified by the corporation
      356.      Receipt of additional consideration.                            (in such manner as the Secretary may
      357.      Assumption of liability.
                                                                                prescribe) of such failure, and such defi-
      358.      Basis to distributees.
                                                                                ciency may be assessed before the expi-
      § 354. Exchanges of stock and securities in cer-                          ration of such 3-year period notwith-
          tain reorganizations                                                  standing the provisions of any other law
                                                                                or rule of law which would otherwise pre-
      (a) General rule                                                          vent such assessment.
        (1) In general
                                                                        (3) Cross references
          No gain or loss shall be recognized if stock
                                                                            (A) For treatment of the exchange if any property
        or securities in a corporation a party to a re-                   is received which is not permitted to be received
        organization are, in pursuance of the plan of                     under this subsection (including nonqualified pre-
        reorganization, exchanged solely for stock or                     ferred stock and an excess principal amount of se-
        securities in such corporation or in another                      curities received over securities surrendered, but
        corporation a party to the reorganization.                        not including property to which paragraph (2)(B)
                                                                          applies), see section 356.
        (2) Limitation
                                                                            (B) For treatment of accrued interest in the case
          (A) Excess principal amount                                     of an exchange described in paragraph (2)(B), see
             Paragraph (1) shall not apply if—                            section 61.
               (i) the principal amount of any such se-
             curities received exceeds the principal                    1 See References in Text note below.




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        Amendment by section 1601(e) of Pub. L. 105–34 effec-        title I, § 1703(i)(2), (3), Aug. 20, 1996, 110 Stat. 1876, re-
      tive as if included in the provisions of the Small Busi-       lated to earnings invested in excess passive assets.
      ness Job Protection Act of 1996, Pub. L. 104–188, to
      which it relates, see section 1601(j) of Pub. L. 105–34, set          Statutory Notes and Related Subsidiaries
      out as a note under section 23 of this title.
                                                                                    EFFECTIVE DATE OF REPEAL
                EFFECTIVE DATE OF 1996 AMENDMENT                       Repeal by Pub. L. 104–188 applicable to taxable years
        Amendment by Pub. L. 104–188 applicable to taxable           of foreign corporations beginning after Dec. 31, 1996,
      years of foreign corporations beginning after Dec. 31,         and to taxable years of United States shareholders
      1996, and to taxable years of United States shareholders       within which or with which such taxable years of for-
      within which or with which such taxable years of for-          eign corporations end, see section 1501(d) of Pub. L.
      eign corporations end, see section 1501(d) of Pub. L.          104–188, set out as an Effective Date of 1996 Amendment
      104–188, set out as a note under section 904 of this title.    note under section 904 of this title.

                EFFECTIVE DATE OF 1993 AMENDMENT                     § 957. Controlled foreign corporations; United
        Amendment by Pub. L. 103–66 applicable to taxable                States persons
      years of controlled foreign corporations beginning after       (a) General rule
      Sept. 30, 1993, and to taxable years of United States
      shareholders in which or with which such taxable years           For purposes of this title, the term ‘‘con-
      of controlled foreign corporations end, see section            trolled foreign corporation’’ means any foreign
      13232(d) of Pub. L. 103–66, set out as a note under sec-       corporation if more than 50 percent of—
      tion 951 of this title.                                            (1) the total combined voting power of all
                                                                       classes of stock of such corporation entitled to
                EFFECTIVE DATE OF 1986 AMENDMENT
                                                                       vote, or
        Amendment by Pub. L. 99–514 effective, except as oth-            (2) the total value of the stock of such cor-
      erwise provided, as if included in the provisions of the         poration,
      Tax Reform Act of 1984, Pub. L. 98–369, div. A, to which
      such amendment relates, see section 1881 of Pub. L.            is owned (within the meaning of section 958(a)),
      99–514, set out as a note under section 48 of this title.      or is considered as owned by applying the rules
                                                                     of ownership of section 958(b), by United States
                EFFECTIVE DATE OF 1984 AMENDMENT
                                                                     shareholders on any day during the taxable year
        Amendment by section 123(b) of Pub. L. 98–369 appli-         of such foreign corporation.
      cable to accounts receivable and evidences of indebted-
      ness transferred after Mar. 1, 1984, in taxable years end-
                                                                     (b) Special rule for insurance
      ing after such date, with an exception, see section              For purposes only of taking into account in-
      123(c) of Pub. L. 98–369, set out as a note under section      come described in section 953(a) (relating to in-
      864 of this title.                                             surance income), the term ‘‘controlled foreign
        Amendment by section 801(d)(8) of Pub. L. 98–369 ap-         corporation’’ includes not only a foreign cor-
      plicable to transactions after Dec. 31, 1984, in taxable
      years ending after such date, see section 805(a)(1) of
                                                                     poration as defined by subsection (a) but also
      Pub. L. 98–369, as amended, set out as a note under sec-       one of which more than 25 percent of the total
      tion 245 of this title.                                        combined voting power of all classes of stock (or
                                                                     more than 25 percent of the total value of stock)
                EFFECTIVE DATE OF 1976 AMENDMENT                     is owned (within the meaning of section 958(a)),
        Pub. L. 94–455, title X, § 1021(c), Oct. 4, 1976, 90 Stat.   or is considered as owned by applying the rules
      1619, as amended by Pub. L. 99–514, § 2, Oct. 22, 1986, 100    of ownership of section 958(b), by United States
      Stat. 2095, provided that: ‘‘The amendments made by            shareholders on any day during the taxable year
      this section [amending this section and section 958 of         of such corporation, if the gross amount of pre-
      this title] shall apply to taxable years of foreign cor-       miums or other consideration in respect of the
      porations beginning after December 31, 1975, and to tax-
      able years of United States shareholders (within the
                                                                     reinsurance or the issuing of insurance or annu-
      meaning of section 951(b) of the Internal Revenue Code         ity contracts not described in section 953(e)(2)
      of 1986 [formerly I.R.C. 1954]) within which or with           exceeds 75 percent of the gross amount of all
      which such taxable years of such foreign corporations          premiums or other consideration in respect of
      end. In determining for purposes of any taxable year re-       all risks.
      ferred to in the preceding sentence the amount referred        (c) United States person
      to in section 956(a)(2)(A) of the Internal Revenue Code
      of 1986 for the last taxable year of a corporation begin-        For purposes of this subpart, the term ‘‘United
      ning before January 1, 1976, the amendments made by            States person’’ has the meaning assigned to it
      this section shall be deemed also to apply to such last        by section 7701(a)(30) except that—
      taxable year.’’                                                     (1) with respect to a corporation organized
             PLAN AMENDMENTS NOT REQUIRED UNTIL                        under the laws of the Commonwealth of Puer-
                       JANUARY 1, 1989                                 to Rico, such term does not include an indi-
                                                                       vidual who is a bona fide resident of Puerto
        For provisions directing that if any amendments
      made by subtitle A or subtitle C of title XI [§§ 1101–1147
                                                                       Rico, if a dividend received by such individual
      and 1171–1177] or title XVIII [§§ 1800–1899A] of Pub. L.         during the taxable year from such corporation
      99–514 require an amendment to any plan, such plan               would, for purposes of section 933(1), be treated
      amendment shall not be required to be made before the            as income derived from sources within Puerto
      first plan year beginning on or after Jan. 1, 1989, see          Rico, and
      section 1140 of Pub. L. 99–514, as amended, set out as a            (2) with respect to a corporation organized
      note under section 401 of this title.                            under the laws of Guam, American Samoa, or
                                                                       the Northern Mariana Islands—
      [§ 956A. Repealed. Pub. L. 104–188, title                 I,
                                                                            (A) 80 percent or more of the gross income
           § 1501(a)(2), Aug. 20, 1996, 110 Stat. 1825]
                                                                          of which for the 3-year period ending at the
       Section, added Pub. L. 103–66, title XIII, § 13231(b),             close of the taxable year (or for such part of
      Aug. 10, 1993, 107 Stat. 496; amended Pub. L. 104–188,              such period as such corporation or any pred-




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          ecessor has been in existence) was derived                 term does not include an individual who is a bona fide
          from sources within such a possession or was               resident of any such other possession and whose income
          effectively connected with the conduct of a                derived from sources within possessions of the United
                                                                     States is not, by reason of section 931(a), includible in
          trade or business in such a possession, and
                                                                     gross income under this subtitle for the taxable year.’’
            (B) 50 percent or more of the gross income                 Pub. L. 99–514, § 1224(a), redesignated subsec. (d) as (c)
          of which for such period (or part) was de-                 and struck out former subsec. (c) which provided cir-
          rived from the active conduct of a trade or                cumstances under which for purposes of this subpart,
          business within such a possession,                         the term ‘‘controlled foreign corporation’’ would not
                                                                     include certain corporations created or organized in
        such term does not include an individual who                 Puerto Rico or a possession of the United States or
        is a bona fide resident of Guam, American                    under the laws of Puerto Rico or a possession of the
        Samoa, or the Northern Mariana Islands.                      United States.
      For purposes of subparagraphs (A) and (B) of                     Subsec. (d). Pub. L. 99–514, § 1224(a), redesignated sub-
                                                                     sec. (d) as (c).
      paragraph (2), the determination as to whether
                                                                       1976—Subsec. (c) Pub. L. 94–455 struck out ‘‘or his del-
      income was derived from the active conduct of a                egate’’ after ‘‘Secretary’’.
      trade or business within a possession shall be
      made under regulations prescribed by the Sec-                         Statutory Notes and Related Subsidiaries
      retary.
                                                                              EFFECTIVE DATE OF 2017 AMENDMENT
      (Added Pub. L. 87–834, § 12(a), Oct. 16, 1962, 76
                                                                       Amendment by Pub. L. 115–97 applicable to distribu-
      Stat. 1017; amended Pub. L. 94–455, title XIX,                 tions made after Dec. 31, 2017, see section 14101(f) of
      § 1906(b)(13)(A), Oct. 4, 1976, 90 Stat. 1834; Pub. L.         Pub. L. 115–97, set out as an Effective Date note under
      99–514, title XII, §§ 1221(b)(3)(C), 1222(a), 1224(a),         section 245A of this title.
      1273(a), Oct. 22, 1986, 100 Stat. 2553, 2556, 2558,
      2595; Pub. L. 108–357, title VIII, § 908(c)(5), Oct. 22,                EFFECTIVE DATE OF 2004 AMENDMENT
      2004, 118 Stat. 1656; Pub. L. 115–97, title I,                   Amendment by Pub. L. 108–357 applicable to taxable
      § 14101(e)(2), Dec. 22, 2017, 131 Stat. 2192; Pub. L.          years ending after Oct. 22, 2004, see section 908(d)(1) of
      115–141, div. U, title IV, § 401(a)(164), Mar. 23, 2018,       Pub. L. 108–357, set out as an Effective Date note under
      132 Stat. 1192.)                                               section 937 of this title.
                                                                              EFFECTIVE DATE OF 1986 AMENDMENT
                           Editorial Notes
                                                                       Amendment by section 1221(b)(3)(C) of Pub. L. 99–514
                            AMENDMENTS                               applicable to taxable years of foreign corporations be-
        2018—Subsec. (b). Pub. L. 115–141 substituted ‘‘con-         ginning after Dec. 31, 1986, except as otherwise pro-
      tracts not described in section 953(e)(2)’’ for ‘‘contracts    vided, see section 1221(g) of Pub. L. 99–514, set out as a
      described in section 953(a)(1)’’.                              note under section 954 of this title.
        2017—Subsec. (a). Pub. L. 115–97 substituted ‘‘title’’         Pub. L. 99–514, title XII, § 1222(c), Oct. 22, 1986, 100
      for ‘‘subpart’’ in introductory provisions.                    Stat. 2557, provided that:
        2004—Subsec. (c). Pub. L. 108–357, § 908(c)(5)(B), struck      ‘‘(1) IN GENERAL.—The amendments made by this sec-
      out ‘‘derived from sources within a possession, was ef-        tion [amending this section and section 552 of this title]
      fectively connected with the conduct of a trade or busi-       shall apply to taxable years of foreign corporations be-
      ness within a possession, or’’ after ‘‘whether income          ginning after December 31, 1986; except that for pur-
      was’’ in concluding provisions.                                poses of applying sections 951(a)(1)(B) and 956 of the In-
        Subsec. (c)(2)(B). Pub. L. 108–357, § 908(c)(5)(A), sub-     ternal Revenue Code of 1986, such amendments shall
      stituted ‘‘active conduct of a’’ for ‘‘conduct of an ac-       take effect on August 16, 1986.
      tive’’.                                                          ‘‘(2) TRANSITIONAL RULE.—In the case of any corpora-
        1986—Subsec. (a). Pub. L. 99–514, § 1222(a)(1), amended      tion treated as a controlled foreign corporation by rea-
      subsec. (a) generally. Prior to amendment, subsec. (a)         son of the amendments made by this section, property
      read as follows: ‘‘For purposes of this subpart, the term      acquired before August 16, 1986, shall not be taken into
      ‘controlled foreign corporation’ means any foreign cor-        account under section 956(b) of the Internal Revenue
      poration of which more than 50 percent of the total            Code of 1986.
      combined voting power of all classes of stock entitled           ‘‘(3) SPECIAL RULE FOR BENEFICIARY OF TRUST.—In the
      to vote is owned (within the meaning of section 958(a)),       case of an individual—
      or is considered as owned by applying the rules of own-             ‘‘(A) who is a beneficiary of a trust which was es-
      ership of section 958(b), by United States shareholders          tablished on December 7, 1979, under the laws of a for-
      on any day during the taxable year of such foreign cor-          eign jurisdiction, and
      poration.’’                                                         ‘‘(B) who was not a citizen or resident of the United
        Subsec. (b). Pub. L. 99–514, § 1222(a)(2), inserted ‘‘(or      States on the date the trust was established,
      more than 25 percent of the total value of stock)’’.           amounts which are included in the gross income of such
        Pub. L. 99–514, § 1221(b)(3)(C), substituted ‘‘insurance     beneficiary under section 951(a) of the Internal Revenue
      income’’ for ‘‘income derived from insurance of United         Code of 1986 with respect to stock held by the trust (and
      States risks’’.                                                treated as distributed to the trust) shall be treated as
        Subsec. (c). Pub. L. 99–514, § 1273(a), added par. (2) and   the first amounts which are distributed by the trust to
      concluding provisions and struck out former pars. (2)          such beneficiary and as amounts to which section 959(a)
      and (3) which read as follows:                                 of such Code applies.’’
        ‘‘(2) with respect to a corporation organized under the        Pub. L. 99–514, title XII, § 1224(b), Oct. 22, 1986, 100
      laws of the Virgin Islands, such term does not include         Stat. 2558, provided that:
      an individual who is a bona fide resident of the Virgin          ‘‘(1) IN GENERAL.—The amendment made by sub-
      Islands and whose income tax obligation under this             section (a) [amending this section] shall apply to tax-
      subtitle for the taxable year is satisfied pursuant to         able years of foreign corporations beginning after De-
      section 28(a) of the Revised Organic Act of the Virgin         cember 31, 1986; except that for purposes of applying
      Islands, approved July 22, 1954 (48 U.S.C. 1642), by pay-      sections 951(a)(1)(B) and 956 of the Internal Revenue
      ing tax on income derived from all sources both within         Code of 1986, such amendments shall take effect on Au-
      and outside the Virgin Islands into the treasury of the        gust 16, 1986.
      Virgin Islands, and                                              ‘‘(2) TRANSITIONAL RULE.—In the case of any corpora-
        ‘‘(3) with respect to a corporation organized under the      tion treated as a controlled foreign corporation by rea-
      laws of any other possession of the United States, such        son of the amendment made by subsection (a), property




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      acquired before August 16, 1986, shall not be taken into      poration as not owned by a United States share-
      account under section 956(b) of the Internal Revenue          holder.
      Code of 1986.’’
        Amendment by section 1273(a) of Pub. L. 99–514 appli-       (Added Pub. L. 87–834, § 12(a), Oct. 16, 1962, 76
      cable to taxable years beginning after Dec. 31, 1986,         Stat. 1018; amended Pub. L. 88–554, § 4(b)(5), Aug.
      with certain exceptions and qualifications, see section       31, 1964, 78 Stat. 763; Pub. L. 94–455, title X,
      1277 of Pub. L. 99–514, set out as a note under section 931   § 1021(b), Oct. 4, 1976, 90 Stat. 1619; Pub. L.
      of this title.
                                                                    104–188, title I, §§ 1703(i)(4), 1704(t)(7), Aug. 20,
      § 958. Rules for determining stock ownership                  1996, 110 Stat. 1876, 1887; Pub. L. 115–97, title I,
                                                                    §§ 14213(a), 14301(c)(31), Dec. 22, 2017, 131 Stat.
      (a) Direct and indirect ownership
                                                                    2217, 2224.)
        (1) General rule
          For purposes of this subpart (other than sec-                                   Editorial Notes
        tion 960), stock owned means—                                                       AMENDMENTS
            (A) stock owned directly, and
            (B) stock owned with the application of                    2017—Subsec. (a)(1). Pub. L. 115–97, § 14301(c)(31), sub-
          paragraph (2).                                            stituted ‘‘960’’ for ‘‘960(a)(1)’’ in introductory provi-
                                                                    sions.
        (2) Stock ownership through foreign entities                   Subsec. (b). Pub. L. 115–97, § 14213(a)(2), substituted
          For purposes of subparagraph (B) of para-                 ‘‘Paragraph (1)’’ for ‘‘Paragraphs (1) and (4)’’ in con-
        graph (1), stock owned, directly or indirectly,             cluding provisions.
        by or for a foreign corporation, foreign part-                 Subsec. (b)(4). Pub. L. 115–97, § 14213(a)(1), struck out
        nership, or foreign trust or foreign estate                 par. (4) which read as follows: ‘‘Subparagraphs (A), (B),
                                                                    and (C) of section 318(a)(3) shall not be applied so as to
        (within the meaning of section 7701(a)(31))
                                                                    consider a United States person as owning stock which
        shall be considered as being owned proportion-              is owned by a person who is not a United States per-
        ately by its shareholders, partners, or bene-               son.’’
        ficiaries. Stock considered to be owned by a                   1996—Subsec. (a)(1). Pub. L. 104–188, § 1704(t)(7), sub-
        person by reason of the application of the pre-             stituted ‘‘section 960(a)(1)’’ for ‘‘sections 955(b)(1)(A)
        ceding sentence shall, for purposes of applying             and (B), 955(c)(2)(A)(ii), and 960(a)(1)’’ in introductory
        such sentence, be treated as actually owned by              provisions.
        such person.                                                   Subsec. (b). Pub. L. 104–188, § 1703(i)(4), substituted
                                                                    ‘‘956(c)(2)’’ for ‘‘956(b)(2)’’ wherever appearing in intro-
        (3) Special rule for mutual insurance compa-                ductory and closing provisions.
            nies                                                       1976—Subsec. (b). Pub. L. 94–455 inserted ‘‘956(b)(2)’’
          For purposes of applying paragraph (1) in the             after ‘‘purposes of sections 951(b), 954(d)(3),’’, ‘‘to treat
        case of a foreign mutual insurance company,                 the stock of a domestic corporation as owned by a
        the term ‘‘stock’’ shall include any certificate            United States shareholder of the controlled foreign cor-
                                                                    poration for purposes of section 956(b)(2)’’ after ‘‘mean-
        entitling the holder to voting power in the                 ing of section 954(d)(3)’’ and ‘‘Paragraphs (1) and (4)
        corporation.                                                shall not apply for purposes of section 956(b)(2) to treat
      (b) Constructive ownership                                    stock of a domestic corporation as not owned by a
        For purposes of sections 951(b), 954(d)(3),                 United States shareholder’’ following subpar. (4).
                                                                       1964—Subsec. (b). Pub. L. 88–554 redesignated pars. (4)
      956(c)(2), and 957, section 318(a) (relating to con-
                                                                    and (5) as (3) and (4), respectively, struck out former
      structive ownership of stock) shall apply to the              par. (3) which related to ownership of stock by a part-
      extent that the effect is to treat any United                 nership, estate, trust, or corporation for purposes of ap-
      States person as a United States shareholder                  plying first sentence of subpars. (A) and (B), and sub-
      within the meaning of section 951(b), to treat a              par. (C)(i) of section 318(a)(2) of this title, and made
      person as a related person within the meaning of              amendments throughout subsec. (b) to conform to
      section 954(d)(3), to treat the stock of a domestic           changes made in section 318 of this title by Pub. L.
      corporation as owned by a United States share-                88–554.
      holder of the controlled foreign corporation for
                                                                           Statutory Notes and Related Subsidiaries
      purposes of section 956(c)(2), or to treat a foreign
      corporation as a controlled foreign corporation                         EFFECTIVE DATE OF 2017 AMENDMENT
      under section 957, except that—                                 Pub. L. 115–97, title I, § 14213(b), Dec. 22, 2017, 131 Stat.
          (1) In applying paragraph (1)(A) of section               2217, provided that: ‘‘The amendments made by this
        318(a), stock owned by a nonresident alien in-              section [amending this section] shall apply to—
        dividual (other than a foreign trust or foreign                 ‘‘(1) the last taxable year of foreign corporations
        estate) shall not be considered as owned by a                 beginning before January 1, 2018, and each subsequent
        citizen or by a resident alien individual.                    taxable year of such foreign corporations, and
          (2) In applying subparagraphs (A), (B), and                   ‘‘(2) taxable years of United States shareholders in
        (C) of section 318(a)(2), if a partnership, estate,           which or with which such taxable years of foreign
        trust, or corporation owns, directly or indi-                 corporations end.’’
                                                                      Amendment by section 14301(c)(31) of Pub. L. 115–97
        rectly, more than 50 percent of the total com-              applicable to taxable years of foreign corporations be-
        bined voting power of all classes of stock enti-            ginning after Dec. 31, 2017, and to taxable years of
        tled to vote of a corporation, it shall be con-             United States shareholders in which or with which such
        sidered as owning all the stock entitled to                 taxable years of foreign corporations end, see section
        vote.                                                       14301(d) of Pub. L. 115–97, set out as a note under sec-
          (3) In applying subparagraph (C) of section               tion 78 of this title.
        318(a)(2), the phrase ‘‘10 percent’’ shall be sub-                    EFFECTIVE DATE OF 1996 AMENDMENT
        stituted for the phrase ‘‘50 percent’’ used in
        subparagraph (C).                                             Amendment by section 1703(i)(4) of Pub. L. 104–188 ef-
                                                                    fective as if included in the provision of the Revenue
      Paragraph (1) shall not apply for purposes of sec-            Reconciliation Act of 1993, Pub. L. 103–66, §§ 13001–13444,
      tion 956(c)(2) to treat stock of a domestic cor-              to which such amendment relates, see section 1703(o) of




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      Pub. L. 104–188, set out as a note under section 39 of       (c) Allocation of distributions
      this title.
                                                                     For purposes of subsections (a) and (b), section
               EFFECTIVE DATE OF 1976 AMENDMENT                    316(a) shall be applied by applying paragraph (2)
                                                                   thereof, and then paragraph (1) thereof—
        Amendment by Pub. L. 94–455 applicable to taxable              (1) first to the aggregate of—
      years of foreign corporations beginning after Dec. 31,              (A) earnings and profits attributable to
      1975, and to taxable years of United States shareholders         amounts included in gross income under sec-
      within which or with which such taxable years of such
                                                                       tion 951(a)(1)(B) (or which would have been
      corporations end, see section 1021(c) of Pub. L. 94–455,
      set out as a note under section 956 of this title.               included except for subsection (a)(2) of this
                                                                       section), and
               EFFECTIVE DATE OF 1964 AMENDMENT                           (B) earnings and profits attributable to
                                                                       amounts included in gross income under sec-
        Amendment by Pub. L. 88–554 effective Aug. 31, 1964,           tion 951(a)(1)(C) (or which would have been
      except that for purposes of sections 302 and 304 of this
      title, such amendments shall not apply to distributions
                                                                       included except for subsection (a)(3) of this
      in payment for stock acquisitions or redemptions, if             section),
      such acquisitions or redemptions occurred before Aug.          with any distribution being allocated between
      31, 1964, see section 4(c) of Pub. L. 88–554, set out as a     earnings and profits described in subparagraph
      note under section 318 of this title.                          (A) and earnings and profits described in sub-
                                                                     paragraph (B) proportionately on the basis of
      § 959. Exclusion from gross income of previously               the respective amounts of such earnings and
          taxed earnings and profits                                 profits,
                                                                       (2) then to earnings and profits attributable
      (a) Exclusion from gross income of United States               to amounts included in gross income under
          persons                                                    section 951(a)(1)(A) (but reduced by amounts
        For purposes of this chapter, the earnings and               not included under subparagraph (B) or (C) of
      profits of a foreign corporation attributable to               section 951(a)(1) because of the exclusions in
      amounts which are, or have been, included in                   paragraphs (2) and (3) of subsection (a) of this
      the gross income of a United States shareholder                section), and
      under section 951(a) shall not, when—                            (3) then to other earnings and profits.
          (1) such amounts are distributed to, or                  References in this subsection to section
          (2) such amounts would, but for this sub-                951(a)(1)(C) and subsection (a)(3) shall be treated
        section, be included under section 951(a)(1)(B)            as references to such provisions as in effect on
        in the gross income of,                                    the day before the date of the enactment of the
      such shareholder (or any other United States                 Small Business Job Protection Act of 1996.
      person who acquires from any person any por-                 (d) Distributions excluded from gross income not
      tion of the interest of such United States share-                 to be treated as dividends
      holder in such foreign corporation, but only to                 Any distribution excluded from gross income
      the extent of such portion, and subject to such              under subsection (a) shall be treated, for pur-
      proof of the identity of such interest as the Sec-           poses of this chapter, as a distribution which is
      retary may by regulations prescribe) directly or             not a dividend; except that such distributions
      indirectly through a chain of ownership de-                  shall immediately reduce earnings and profits.
      scribed under section 958(a), be again included in           (e) Coordination with amounts previously taxed
      the gross income of such United States share-                     under section 1248
      holder (or of such other United States person).
      The rules of subsection (c) shall apply for pur-                For purposes of this section and section 960(c),
      poses of paragraph (1) of this subsection and the            any amount included in the gross income of any
      rules of subsection (f) shall apply for purposes of          person as a dividend by reason of subsection (a)
      paragraph (2) of this subsection.                            or (f) of section 1248 shall be treated as an
                                                                   amount included in the gross income of such
      (b) Exclusion from gross income of certain for-              person (or, in any case to which section 1248(e)
          eign subsidiaries                                        applies, of the domestic corporation referred to
        For purposes of section 951(a), the earnings               in section 1248(e)(2)) under section 951(a)(1)(A).
      and profits of a controlled foreign corporation              (f) Allocation rules for certain inclusions
      attributable to amounts which are, or have                      (1) In general
      been, included in the gross income of a United                    For purposes of this section, amounts that
      States shareholder under section 951(a), shall                  would be included under subparagraph (B) of
      not, when distributed through a chain of owner-                 section 951(a)(1) (determined without regard to
      ship described under section 958(a), be also in-                this section) shall be treated as attributable
      cluded in the gross income of another controlled                first to earnings described in subsection (c)(2),
      foreign corporation in such chain for purposes of               and then to earnings described in subsection
      the application of section 951(a) to such other                 (c)(3).
      controlled foreign corporation with respect to                  (2) Treatment of distributions
      such United States shareholder (or to any other
      United States shareholder who acquires from                       In applying this section, actual distributions
      any person any portion of the interest of such                  shall be taken into account before amounts
      United States shareholder in the controlled for-                that would be included under section
      eign corporation, but only to the extent of such                951(a)(1)(B) (determined without regard to this
      portion, and subject to such proof of identity of               section).
      such interest as the Secretary may prescribe by              (Added Pub. L. 87–834, § 12(a), Oct. 16, 1962, 76
      regulations).                                                Stat. 1019; amended Pub. L. 94–455, title XIX,




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        1975—Subsec. (c). Pub. L. 94–164 substituted ‘‘same             its or to increase such deficit. The payments re-
      ratio to the surtax exemption’’ for ‘‘same ratio to               ferred to in the preceding sentence are payments
      $25,000’’ in subsec. (c) as such subsec. (c) is in effect for     which would be unlawful under the Foreign Cor-
      taxable years ending after Dec. 31, 1975.
        Pub. L. 94–12 substituted ‘‘$50,000’’ for ‘‘$25,000’’.
                                                                        rupt Practices Act of 1977 if the payor were a
                                                                        United States person.
               Statutory Notes and Related Subsidiaries                 (b) Blocked foreign income
                 EFFECTIVE DATE OF 2017 AMENDMENT                         Under regulations prescribed by the Secretary,
                                                                        no part of the earnings and profits of a con-
        Amendment by Pub. L. 115–97 applicable to taxable               trolled foreign corporation for any taxable year
      years beginning after Dec. 31, 2017, see section 12001(c)
                                                                        shall be included in earnings and profits for pur-
      of Pub. L. 115–97, set out as a note under section 11 of
      this title.                                                       poses of sections 952 and 956, if it is established
                                                                        to the satisfaction of the Secretary that such
                 EFFECTIVE DATE OF 1988 AMENDMENT                       part could not have been distributed by the con-
        Amendment by Pub. L. 100–647 effective, except as               trolled foreign corporation to United States
      otherwise provided, as if included in the provision of            shareholders who own (within the meaning of
      the Tax Reform Act of 1986, Pub. L. 99–514, to which              section 958(a)) stock of such controlled foreign
      such amendment relates, see section 1019(a) of Pub. L.            corporation because of currency or other restric-
      100–647, set out as a note under section 1 of this title.         tions or limitations imposed under the laws of
                 EFFECTIVE DATE OF 1978 AMENDMENT                       any foreign country.
        Amendment by Pub. L. 95–600 applicable to taxable               (c) Records and accounts of United States share-
      years beginning after Dec. 31, 1978, see section 301(c) of             holders
      Pub. L. 95–600, set out as a note under section 11 of this          (1) Records and accounts to be maintained
      title.
                                                                             The Secretary may by regulations require
            EFFECTIVE AND TERMINATION DATES OF 1975                       each person who is, or has been, a United
                          AMENDMENTS                                      States shareholder of a controlled foreign cor-
        Amendment by Pub. L. 94–164 applicable to taxable                 poration to maintain such records and ac-
      years beginning after Dec. 31, 1975, see section 4(e) of            counts as may be prescribed by such regula-
      Pub. L. 94–164, set out as a note under section 11 of this          tions as necessary to carry out the provisions
      title.                                                              of this subpart and subpart G.
        Amendment by Pub. L. 94–12 applicable to taxable                  (2) Two or more persons required to maintain
      years ending after Dec. 31, 1974, but to cease to apply
      for taxable years ending after Dec. 31, 1975, see section
                                                                               or furnish the same records and accounts
      305(b)(1) of Pub. L. 94–12, set out as a note under section              with respect to the same foreign corpora-
      11 of this title.                                                        tion
                                                                             Where, but for this paragraph, two or more
      [§ 963. Repealed. Pub. L. 94–12, title                     VI,      United States persons would be required to
           § 602(a)(1), Mar. 29, 1975, 89 Stat. 58]                       maintain or furnish the same records and ac-
        Section, added Pub. L. 87–834, § 12(a), Oct. 16, 1962, 76         counts as may by regulations be required
      Stat. 1023; amended Pub. L. 88–272, title I, § 123(b), Feb.         under paragraph (1) with respect to the same
      26, 1964, 78 Stat. 29; Pub. L. 90–364, title I, § 102(b), June      controlled foreign corporation for the same pe-
      28, 1968, 82 Stat. 255; Pub. L. 91–53, § 5(b), Aug. 7, 1969, 83     riod, the Secretary may by regulations pro-
      Stat. 95; Pub. L. 91–172, title VII, § 701(b), Dec. 30, 1969,       vide that the maintenance or furnishing of
      83 Stat. 659, dealt with the receipt of minimum dis-
                                                                          such records and accounts by only one such
      tributions by domestic corporations.
                                                                          person shall satisfy the requirements of para-
               Statutory Notes and Related Subsidiaries
                                                                          graph (1) for such other persons.
                                                                        (d) Treatment of certain branches
                     EFFECTIVE DATE OF REPEAL
                                                                          (1) In general
        Repeal effective with respect to taxable years for for-
                                                                             For purposes of this chapter, section 6038,
      eign corporations beginning after Dec. 31, 1975, and to
      taxable years of United States shareholders (within the             section 6046, and such other provisions as may
      meaning of section 951(b) of this title) within which or            be specified in regulations—
      with which such taxable years of such foreign corpora-                   (A) a qualified insurance branch of a con-
      tions end, see section 602(f) of Pub. L. 94–12, set out as             trolled foreign corporation shall be treated
      an Effective Date note under section 954 of this title.                as a separate foreign corporation created
                                                                             under the laws of the foreign country with
      § 964. Miscellaneous provisions                                        respect to which such branch qualifies under
      (a) Earnings and profits                                               paragraph (2), and
                                                                               (B) except as provided in regulations, any
        Except as provided in section 312(k)(4), for pur-
                                                                             amount directly or indirectly transferred or
      poses of this subpart, the earnings and profits of
                                                                             credited from such branch to one or more
      any foreign corporation, and the deficit in earn-
                                                                             other accounts of such controlled foreign
      ings and profits of any foreign corporation, for
                                                                             corporation shall be treated as a dividend
      any taxable year shall be determined according
                                                                             paid to such controlled foreign corporation.
      to rules substantially similar to those applica-
      ble to domestic corporations, under regulations                     (2) Qualified insurance branch
      prescribed by the Secretary. In determining                            For purposes of paragraph (1), the term
      such earnings and profits, or the deficit in such                   ‘‘qualified insurance branch’’ means any
      earnings and profits, the amount of any illegal                     branch of a controlled foreign corporation
      bribe, kickback, or other payment (within the                       which is licensed and predominantly engaged
      meaning of section 162(c)) shall not be taken                       on a permanent basis in the active conduct of
      into account to decrease such earnings and prof-                    an insurance business in a foreign country if—




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            (A) separate books and accounts are main-              amount equal to the shareholder’s pro rata
          tained for such branch,                                  share (determined in the same manner as
            (B) the principal place of business of such            under section 951(a)(2)) of the amount
          branch is in such foreign country,                       treated as subpart F income under clause
            (C) such branch would be taxable under                 (i), and
          subchapter L if it were a separate domestic                 (iii) the deduction under section 245A(a)
          corporation, and                                         shall be allowable to the United States
            (D) an election under this paragraph ap-               shareholder with respect to the subpart F
          plies to such branch.                                    income included in gross income under
        An election under this paragraph shall apply               clause (ii) in the same manner as if such
        to the taxable year for which made and all                 subpart F income were a dividend received
        subsequent taxable years unless revoked with               by the shareholder from the selling con-
        the consent of the Secretary.                              trolled foreign corporation.
        (3) Regulations                                          (B) Application of basis or similar adjust-
                                                                      ment
          The Secretary shall prescribe such regula-
        tions as may be necessary or appropriate to                For purposes of this title, in the case of a
        carry out the purposes of this subsection.               sale or exchange by a controlled foreign cor-
                                                                 poration of stock in another foreign corpora-
      (e) Gain on certain stock sales by controlled for-         tion in a taxable year of the selling con-
          eign corporations treated as dividends                 trolled foreign corporation beginning after
        (1) In general                                           December 31, 2017, rules similar to the rules
          If a controlled foreign corporation sells or           of section 961(d) shall apply.
        exchanges stock in any other foreign corpora-            (C) Foreign-source portion
        tion, gain recognized on such sale or exchange
                                                                   For purposes of this paragraph, the for-
        shall be included in the gross income of such
                                                                 eign-source portion of any amount treated
        controlled foreign corporation as a dividend to
                                                                 as a dividend under paragraph (1) shall be de-
        the same extent that it would have been so in-
                                                                 termined in the same manner as under sec-
        cluded under section 1248(a) if such controlled
                                                                 tion 245A(c).
        foreign corporation were a United States per-
        son. For purposes of determining the amount          (Added Pub. L. 87–834, § 12(a), Oct. 16, 1962, 76
        which would have been so includible, the de-         Stat. 1027; amended Pub. L. 91–172, title IV,
        termination of whether such other foreign cor-       § 442(b)(1), Dec. 30, 1969, 83 Stat. 628; Pub. L.
        poration was a controlled foreign corporation        94–455,      title    X,     § 1065(b),   title     XIX,
        shall be made without regard to the preceding        §§ 1901(b)(32)(B)(iii), 1906(b)(13)(A), Oct. 4, 1976, 90
        sentence.                                            Stat. 1654, 1800, 1834; Pub. L. 97–34, title II,
        (2) Same country exception not applicable            § 206(c), Aug. 13, 1981, 95 Stat. 225; Pub. L. 97–248,
                                                             title II, § 288(b)(2), Sept. 3, 1982, 96 Stat. 571; Pub.
          Clause (i) of section 954(c)(3)(A) shall not       L. 100–647, title VI, § 6129(a), Nov. 10, 1988, 102
        apply to any amount treated as a dividend by         Stat. 3716; Pub. L. 105–34, title XI, § 1111(a), Aug.
        reason of paragraph (1).                             5, 1997, 111 Stat. 968; Pub. L. 115–97, title I,
        (3) Clarification of deemed sales                    §§ 14102(c)(1), 14212(b)(4), Dec. 22, 2017, 131 Stat.
          For purposes of this subsection, a controlled      2193, 2217.)
        foreign corporation shall be treated as having
        sold or exchanged any stock if, under any pro-                             Editorial Notes
        vision of this subtitle, such controlled foreign                        REFERENCES IN TEXT
        corporation is treated as having gain from the
                                                               The Foreign Corrupt Practices Act of 1977, referred to
        sale or exchange of such stock.                      in subsec. (a), is title I of Pub. L. 95–213, Dec. 19, 1977,
        (4) Coordination with dividends received de-         91 Stat. 1494, which enacted sections 78dd–1 to 78dd–3 of
             duction                                         Title 15, Commerce and Trade, and amended sections
          (A) In general                                     78m and 78ff of Title 15. For complete classification of
                                                             this Act to the Code, see Short Title of 1977 Amend-
             If, for any taxable year of a controlled for-   ment note set out under section 78a of Title 15 and Ta-
          eign corporation beginning after December          bles.
          31, 2017, any amount is treated as a dividend                             AMENDMENTS
          under paragraph (1) by reason of a sale or ex-
          change by the controlled foreign corporation         2017—Subsec. (b). Pub. L. 115–97, § 14212(b)(4), struck
          of stock in another foreign corporation held       out ‘‘, 955,’’ after ‘‘sections 952’’.
                                                               Subsec. (e)(4). Pub. L. 115–97, § 14102(c)(1), added par.
          for 1 year or more, then, notwithstanding          (4).
          any other provision of this title—                   1997—Subsec. (e). Pub. L. 105–34 added subsec. (e).
               (i) the foreign-source portion of such div-     1988—Subsec. (d). Pub. L. 100–647 added subsec. (d).
             idend shall be treated for purposes of sec-       1982—Subsec. (a). Pub. L. 97–248 inserted provision
             tion 951(a)(1)(A) as subpart F income of the    that payments referred to in sentence beginning ‘‘In de-
             selling controlled foreign corporation for      termining such earnings and profits’’ are payments
             such taxable year,                              which would be unlawful under the Foreign Corrupt
               (ii) a United States shareholder with re-     Practices Act of 1977 if the payor were a United States
                                                             person.
             spect to the selling controlled foreign cor-      1981—Subsec. (a). Pub. L. 97–34 substituted ‘‘section
             poration shall include in gross income for      312(k)(4)’’ for ‘‘section 312(k)(3)’’.
             the taxable year of the shareholder with or       1976—Subsec.        (a).   Pub.     L. 94–455,   §§ 1065(b),
             within which such taxable year of the con-      1901(b)(32)(B)(ii), 1906(b)(13)(A), struck out ‘‘or his dele-
             trolled foreign corporation ends an             gate’’ after ‘‘Secretary’’, inserted second sentence, and




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      substituted ‘‘312(k)(3)’’ for ‘‘312(m)(3)’’ after ‘‘provided     (b) Reduction in amounts included in gross in-
      in section’’.                                                        come of United States shareholders of speci-
        Subsecs. (b), (c)(1), (2). Pub. L. 94–455, § 1906(b)(13)(A),       fied foreign corporations with deficits in
      struck out ‘‘or his delegate’’ after ‘‘Secretary’’ when-
                                                                           earnings and profits
      ever appearing.
        1969—Subsec. (a). Pub. L. 91–172 inserted reference to           (1) In general
      the exception provided for in section 312(m)(3).                     In the case of a taxpayer which is a United
                                                                         States shareholder with respect to at least one
              Statutory Notes and Related Subsidiaries                   deferred foreign income corporation and at
                                                                         least one E&P deficit foreign corporation, the
                EFFECTIVE DATE OF 2017 AMENDMENT                         amount which would (but for this subsection)
        Pub. L. 115–97, title I, § 14102(c)(2), Dec. 22, 2017, 131       be taken into account under section 951(a)(1)
      Stat. 2193, provided that: ‘‘The amendments made by                by reason of subsection (a) as such United
      this subsection [amending this section] shall apply to             States shareholder’s pro rata share of the sub-
      sales or exchanges after December 31, 2017.’’                      part F income of each deferred foreign income
        Amendment by section 14212(b)(4) of Pub. L. 115–97 ap-           corporation shall be reduced by the amount of
      plicable to taxable years of foreign corporations begin-           such United States shareholder’s aggregate
      ning after Dec. 31, 2017, and to taxable years of United
      States shareholders in which or with which such tax-
                                                                         foreign E&P deficit which is allocated under
      able years of foreign corporations end, see section                paragraph (2) to such deferred foreign income
      14212(c) of Pub. L. 115–97, set out as a note under section        corporation.
      851 of this title.                                                 (2) Allocation of aggregate foreign E&P deficit
                EFFECTIVE DATE OF 1997 AMENDMENT
                                                                           The aggregate foreign E&P deficit of any
                                                                         United States shareholder shall be allocated
        Pub. L. 105–34, title XI, § 1111(c)(1), Aug. 5, 1997, 111        among the deferred foreign income corpora-
      Stat. 969, provided that: ‘‘The amendment made by sub-             tions of such United States shareholder in an
      section (a) [amending this section] shall apply to gain
                                                                         amount which bears the same proportion to
      recognized on transactions occurring after the date of
      the enactment of this Act [Aug. 5, 1997].’’                        such aggregate as—
                                                                              (A) such United States shareholder’s pro
                EFFECTIVE DATE OF 1988 AMENDMENT                           rata share of the accumulated post-1986 de-
                                                                           ferred foreign income of each such deferred
        Pub. L. 100–647, title VI, § 6129(b), Nov. 10, 1988, 102
      Stat. 3716, provided that: ‘‘The amendment made by
                                                                           foreign income corporation, bears to
      subsection (a) [amending this section] shall apply to
                                                                              (B) the aggregate of such United States
      taxable years of foreign corporations beginning after                shareholder’s pro rata share of the accumu-
      December 31, 1988.’’                                                 lated post-1986 deferred foreign income of all
                                                                           deferred foreign income corporations of such
                EFFECTIVE DATE OF 1982 AMENDMENT                           United States shareholder.
        Amendment by Pub. L. 97–248 applicable to payments               (3) Definitions related to E&P deficits
      made after Sept. 3, 1982, see section 288(c) of Pub. L.              For purposes of this subsection—
      97–248, set out as a note under section 162 of this title.
                                                                           (A) Aggregate foreign E&P deficit
                EFFECTIVE DATE OF 1981 AMENDMENT                              (i) In general
        Amendment by Pub. L. 97–34 applicable to property                        The term ‘‘aggregate foreign E&P def-
      placed in service after Dec. 31, 1980, in taxable years                 icit’’ means, with respect to any United
      ending after that date, see section 209(a) of Pub. L.                   States shareholder, the lesser of—
      97–34, set out as an Effective Date note under section                       (I) the aggregate of such shareholder’s
      168 of this title.                                                         pro rata shares of the specified E&P defi-
                                                                                 cits of the E&P deficit foreign corpora-
                EFFECTIVE DATE OF 1976 AMENDMENT
                                                                                 tions of such shareholder, or
        Amendment by section 1065(b) of Pub. L. 94–455 appli-                      (II) the amount determined under
      cable to payments described in section 162(c) of this                      paragraph (2)(B).
      title made more than 30 days after Oct. 4, 1976, see sec-               (ii) Allocation of deficit
      tion 1066(b) of Pub. L. 94–455, set out as a note under
      section 952 of this title.                                                 If the amount described in clause (i)(II)
                                                                              is less than the amount described in clause
      § 965. Treatment of deferred foreign income upon                        (i)(I), then the shareholder shall designate,
          transition to participation exemption system                        in such form and manner as the Secretary
          of taxation                                                         determines—
                                                                                   (I) the amount of the specified E&P
      (a) Treatment of deferred foreign income as sub-                           deficit which is to be taken into account
          part F income                                                          for each E&P deficit corporation with re-
        In the case of the last taxable year of a de-                            spect to the taxpayer, and
      ferred foreign income corporation which begins                               (II) in the case of an E&P deficit cor-
      before January 1, 2018, the subpart F income of                            poration which has a qualified deficit (as
      such foreign corporation (as otherwise deter-                              defined in section 952), the portion (if
      mined for such taxable year under section 952)                             any) of the deficit taken into account
      shall be increased by the greater of—                                      under subclause (I) which is attributable
          (1) the accumulated post-1986 deferred for-                            to a qualified deficit, including the
        eign income of such corporation determined as                            qualified activities to which such por-
        of November 2, 2017, or                                                  tion is attributable.
          (2) the accumulated post-1986 deferred for-                      (B) E&P deficit foreign corporation
        eign income of such corporation determined as                         The term ‘‘E&P deficit foreign corpora-
        of December 31, 2017.                                              tion’’ means, with respect to any taxpayer,




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      § 1402(b)(1)(X), (2), title XIX, §§ 1901(b)(33)(P), (R),            in gross income of a United States share-
      1906(b)(13)(A), Oct. 4, 1976, 90 Stat. 1732, 1802, 1834; Pub.       holder under section 951, over
      L. 98–369, div. A, title X, § 1001(b)(21), (e), July 18, 1984,        (B) the income, war profits, or excess prof-
      98 Stat. 1012, related to election by foreign investment
      companies to distribute income currently.
                                                                          its taxes paid by the foreign corporation
                                                                          with respect to such income; and
             Statutory Notes and Related Subsidiaries                      (2) an amount equal to the tax that would
                     EFFECTIVE DATE OF REPEAL                            result by including in gross income, as gain
                                                                         from the sale or exchange of a capital asset
        Repeal applicable to taxable years of foreign corpora-
      tions beginning after Dec. 31, 2004, and to taxable years
                                                                         held for more than 1 year, an amount equal to
      of United States shareholders with or within which                 the excess of (A) the amount included in gross
      such taxable years of foreign corporations end, see sec-           income as a dividend under subsection (a),
      tion 413(d)(1) of Pub. L. 108–357, set out as an Effective         over (B) the amount determined under para-
      and Termination Dates of 2004 Amendments note under                graph (1).
      section 1 of this title.
                                                                       (c) Determination of earnings and profits
      § 1248. Gain from certain sales or exchanges of                    (1) In general
          stock in certain foreign corporations
                                                                           Except as provided in section 312(k)(4), for
      (a) General rule                                                   purposes of this section, the earnings and prof-
        If—                                                              its of any foreign corporation for any taxable
          (1) a United States person sells or exchanges                  year shall be determined according to rules
        stock in a foreign corporation, and                              substantially similar to those applicable to
          (2) such person owns, within the meaning of                    domestic corporations, under regulations pre-
        section 958(a), or is considered as owning by                    scribed by the Secretary.
        applying the rules of ownership of section                       (2) Earnings and profits of subsidiaries of for-
        958(b), 10 percent or more of the total com-                          eign corporations
        bined voting power of all classes of stock enti-
                                                                           If—
        tled to vote of such foreign corporation at any
                                                                              (A) subsection (a) or (f) applies to a sale,
        time during the 5-year period ending on the
                                                                           exchange, or distribution by a United States
        date of the sale or exchange when such foreign
                                                                           person of stock of a foreign corporation and,
        corporation was a controlled foreign corpora-
                                                                           by reason of the ownership of the stock sold
        tion (as defined in section 957),
                                                                           or exchanged, such person owned within the
      then the gain recognized on the sale or exchange                     meaning of section 958(a)(2) stock of any
      of such stock shall be included in the gross in-                     other foreign corporation; and
      come of such person as a dividend, to the extent                        (B) such person owned, within the meaning
      of the earnings and profits of the foreign cor-                      of section 958(a), or was considered as own-
      poration attributable (under regulations pre-                        ing by applying the rules of ownership of
      scribed by the Secretary) to such stock which                        section 958(b), 10 percent or more of the total
      were accumulated in taxable years of such for-                       combined voting power of all classes of stock
      eign corporation beginning after December 31,                        entitled to vote of such other foreign cor-
      1962, and during the period or periods the stock                     poration at any time during the 5-year pe-
      sold or exchanged was held by such person while                      riod ending on the date of the sale or ex-
      such foreign corporation was a controlled for-                       change when such other foreign corporation
      eign corporation. For purposes of this section, a                    was a controlled foreign corporation (as de-
      United States person shall be treated as having                      fined in section 957),
      sold or exchanged any stock if, under any provi-
                                                                        then, for purposes of this section, the earnings
      sion of this subtitle, such person is treated as re-
                                                                        and profits of the foreign corporation the
      alizing gain from the sale or exchange of such
                                                                        stock of which is sold or exchanged which are
      stock.
                                                                        attributable to the stock sold or exchanged
      (b) Limitation on tax applicable to individuals                   shall be deemed to include the earnings and
        In the case of an individual, if the stock sold                 profits of such other foreign corporation
      or exchanged is a capital asset (within the                       which—
      meaning of section 1221) and has been held for                        (C) are attributable (under regulations pre-
      more than 1 year, the tax attributable to an                        scribed by the Secretary) to the stock of
      amount included in gross income as a dividend                       such other foreign corporation which such
      under subsection (a) shall not be greater than a                    person owned within the meaning of section
      tax equal to the sum of—                                            958(a)(2) (by reason of his ownership within
          (1) a pro rata share of the excess of—                          the meaning of section 958(a)(1)(A) of the
            (A) the taxes that would have been paid by                    stock sold or exchanged) on the date of such
          the foreign corporation with respect to its                     sale or exchange (or on the date of any sale
          income had it been taxed under this chapter                     or exchange of the stock of such other for-
          as a domestic corporation (but without al-                      eign corporation occurring during the 5-year
          lowance for deduction of, or credit for, taxes                  period ending on the date of the sale or ex-
          described in subparagraph (B)), for the pe-                     change of the stock of such foreign corpora-
          riod or periods the stock sold or exchanged                     tion, to the extent not otherwise taken into
          was held by the United States person in tax-                    account under this section but not in excess
          able years beginning after December 31, 1962,                   of the fair market value of the stock of such
          while the foreign corporation was a con-                        other foreign corporation sold or exchanged
          trolled foreign corporation, adjusted for dis-                  over the basis of such stock (for determining
          tributions and amounts previously included                      gain) in the hands of the transferor); and




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            (D) were accumulated in taxable years of         reference in this paragraph to section 922, 923,
          such other corporation beginning after De-         or 927 shall be treated as a reference to such
          cember 31, 1962, and during the period or pe-      section as in effect before its repeal by the
          riods—                                             FSC Repeal and Extraterritorial Income Ex-
               (i) such other corporation was a con-         clusion Act of 2000.
            trolled foreign corporation, and                 (6) Amounts included in gross income under
               (ii) such person owned within the mean-           section 1293
            ing of section 958(a) the stock of such
                                                               Earnings and profits of the foreign corpora-
            other foreign corporation.
                                                             tion attributable to any amount previously in-
      (d) Exclusions from earnings and profits               cluded in the gross income of such person
        For purposes of this section, the following          under section 1293 with respect to the stock
      amounts shall be excluded, with respect to any         sold or exchanged, but only to the extent the
      United States person, from the earnings and            inclusion of such amount did not result in an
      profits of a foreign corporation:                      exclusion of an amount under section 1293(c).
        (1) Amounts included in gross income under         (e) Sales or exchanges of stock in certain domes-
            section 951                                        tic corporations
          Earnings and profits of the foreign corpora-       Except as provided in regulations prescribed
        tion attributable to any amount previously in-     by the Secretary, if—
        cluded in the gross income of such person              (1) a United States person sells or exchanges
        under section 951, with respect to the stock         stock of a domestic corporation, and
        sold or exchanged, but only to the extent the          (2) such domestic corporation was formed or
        inclusion of such amount did not result in an        availed of principally for the holding, directly
        exclusion of an amount from gross income             or indirectly, of stock of one or more foreign
        under section 959.                                   corporations,
        [(2) Repealed. Pub. L. 100–647, title I,           such sale or exchange shall, for purposes of this
            § 1006(e)(14)(A), Nov. 10, 1988, 102 Stat.     section, be treated as a sale or exchange of the
            3402]                                          stock of the foreign corporation or corporations
                                                           held by the domestic corporation.
        (3) Less developed country corporations under
            prior law                                      (f) Certain nonrecognition transactions
          Earnings and profits of a foreign corporation       Except as provided in regulations prescribed
        which were accumulated during any taxable          by the Secretary—
        year beginning before January 1, 1976, while          (1) In general
        such corporation was a less developed country           If—
        corporation under section 902(d) as in effect              (A) a domestic corporation satisfies the
        before the enactment of the Tax Reduction               stock ownership requirements of subsection
        Act of 1975.                                            (a)(2) with respect to a foreign corporation,
        (4) United States income                                and
                                                                   (B) such domestic corporation distributes
          Any item includible in gross income of the
                                                                stock of such foreign corporation in a dis-
        foreign corporation under this chapter—
                                                                tribution to which section 311(a), 337,
            (A) for any taxable year beginning before
                                                                355(c)(1), or 361(c)(1) applies,
          January 1, 1967, as income derived from
          sources within the United States of a foreign     then, notwithstanding any other provision of
          corporation engaged in trade or business          this subtitle, an amount equal to the excess of
          within the United States, or                      the fair market value of such stock over its
            (B) for any taxable year beginning after        adjusted basis in the hands of the domestic
          December 31, 1966, as income effectively con-     corporation shall be included in the gross in-
          nected with the conduct by such corporation       come of the domestic corporation as a divi-
          of a trade or business within the United          dend to the extent of the earnings and profits
          States.                                           of the foreign corporation attributable (under
                                                            regulations prescribed by the Secretary) to
        This paragraph shall not apply with respect to
                                                            such stock which were accumulated in taxable
        any item which is exempt from taxation (or is
                                                            years of such foreign corporation beginning
        subject to a reduced rate of tax) pursuant to a
                                                            after December 31, 1962, and during the period
        treaty obligation of the United States.
                                                            or periods the stock was held by such domestic
        (5) Foreign trade income                            corporation while such foreign corporation
          Earnings and profits of the foreign corpora-      was a controlled foreign corporation. For pur-
        tion attributable to foreign trade income of a      poses of subsections (c)(2), (d), and (h), a dis-
        FSC (as defined in section 922) other than for-     tribution of stock to which this subsection ap-
        eign trade income which—                            plies shall be treated as a sale of stock to
            (A) is section 923(a)(2) non-exempt income      which subsection (a) applies.
          (within the meaning of section 927(d)(6)), or     (2) Exception for certain distributions
            (B) would not (but for section 923(a)(4)) be
                                                              In the case of any distribution of stock of a
          treated as exempt foreign trade income.
                                                            foreign corporation, paragraph (1) shall not
        For purposes of the preceding sentence, the         apply if such distribution is to a domestic cor-
        terms ‘‘foreign trade income’’ and ‘‘exempt         poration—
        foreign trade income’’ have the respective              (A) which is treated under this section as
        meanings given such terms by section 923. Any         holding such stock for the period for which




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           the stock was held by the distributing cor-      held for 1 year or more, any amount received by
           poration, and                                    the domestic corporation which is treated as a
              (B) which, immediately after the distribu-    dividend by reason of this section shall be treat-
           tion, satisfies the stock ownership require-     ed as a dividend for purposes of applying section
           ments of subsection (a)(2) with respect to       245A.
           such foreign corporation.                        (k) Cross reference
         (3) Application to cases described in subsection         For provision excluding amounts previously taxed
              (e)                                               under this section from gross income when subse-
           To the extent that earnings and profits are          quently distributed, see section 959(e).
         taken into account under this subsection, they     (Added Pub. L. 87–834, § 15(a), Oct. 16, 1962, 76
         shall be excluded and not taken into account       Stat. 1041; amended Pub. L. 89–809, title I,
         for purposes of subsection (e).                    § 104(k), Nov. 13, 1966, 80 Stat. 1562; Pub. L. 91–172,
      (g) Exceptions                                        title IV, § 442(b)(2), Dec. 30, 1969, 83 Stat. 628;
         This section shall not apply to—                   Pub. L. 94–455, title X, §§ 1022(a), 1042(b), (c)(1),
           (1) distributions to which section 303 (relat-   (3), title XIV, § 1402(b)(1)(Y), (2), title XIX,
         ing to distributions in redemption of stock to     §§ 1901(b)(3)(H), (32)(B)(iii), 1906(b)(13)(A), Oct. 4,
         pay death taxes) applies; or                       1976, 90 Stat. 1619, 1636, 1637, 1732, 1793, 1800, 1834;
           (2) any amount to the extent that such           Pub. L. 97–448, title I, § 102(c)(1), Jan. 12, 1983, 96
         amount is, under any other provision of this       Stat. 2370; Pub. L. 98–369, div. A, title I, § 133(a),
         title, treated as—                                 (b)(2), (c), title VIII, § 801(d)(6), title X,
              (A) a dividend (other than an amount          § 1001(b)(22), (e), July 18, 1984, 98 Stat. 667, 668,
           treated as a dividend under subsection (f)),     996, 1012; Pub. L. 99–514, title VI, § 631(d)(2), title
              (B) ordinary income, or                       XVIII, §§ 1810(i)(1), 1875(g)(1), 1876(a)(2), Oct. 22,
              (C) gain from the sale of an asset held for   1986, 100 Stat. 2272, 2829, 2897; Pub. L. 100–647,
           not more than 1 year.                            title I, §§ 1006(e)(14), 1012(p)(19), Nov. 10, 1988, 102
                                                            Stat. 3402, 3518; Pub. L. 104–188, title I,
      (h) Taxpayer to establish earnings and profits
                                                            § 1702(g)(1), Aug. 20, 1996, 110 Stat. 1872; Pub. L.
         Unless the taxpayer establishes the amount of      108–357, title IV, § 413(c)(22), Oct. 22, 2004, 118
      the earnings and profits of the foreign corpora-      Stat. 1509; Pub. L. 110–172, § 11(g)(17), Dec. 29,
      tion to be taken into account under subsection        2007, 121 Stat. 2491; Pub. L. 115–97, title I,
      (a) or (f), all gain from the sale or exchange        § 14102(a)(1), Dec. 22, 2017, 131 Stat. 2192.)
      shall be considered a dividend under subsection
      (a) or (f), and unless the taxpayer establishes the                         Editorial Notes
      amount of foreign taxes to be taken into ac-                            REFERENCES IN TEXT
      count under subsection (b), the limitation of
      such subsection shall not apply.                        Section 902(d) as in effect before the enactment of the
                                                            Tax Reduction Act of 1975, referred to in subsec. (d)(3),
      (i) Treatment of certain indirect transfers           means section 902(d) of this title as in effect before the
         (1) In general                                     amendment made by Pub. L. 94–12, title VI, § 602(c)(6),
                                                            Mar. 29, 1975, 89 Stat. 59. Section 902 was subsequently
           If any shareholder of a 10-percent corporate     amended generally by Pub. L. 99–514, title XII, § 1202(a),
         shareholder of a foreign corporation exchanges     Oct. 22, 1986, 100 Stat. 2528, and repealed by Pub. L.
         stock of the 10-percent corporate shareholder      115–97, title I, § 14301(a), Dec. 22, 2017, 131 Stat. 2221.
         for stock of the foreign corporation, such 10-       The FSC Repeal and Extraterritorial Income Exclu-
         percent corporate shareholder shall recognize      sion Act of 2000, referred to in subsec. (d)(5), is Pub. L.
         gain in the same manner as if the stock of the     106–519, Nov. 15, 2000, 114 Stat. 2423. For complete classi-
         foreign corporation received in such exchange      fication of this Act to the Code, see Short Title of 2000
         had been—                                          Amendments note set out under section 1 of this title
                                                            and Tables.
              (A) issued to the 10-percent corporate
           shareholder, and                                                        AMENDMENTS
              (B) then distributed by the 10-percent cor-     2017—Subsecs. (j), (k). Pub. L. 115–97 added subsec. (j)
           porate shareholder to such shareholder in re-    and redesignated former subsec. (j) as (k).
           demption or liquidation (whichever is appro-       2007—Subsec. (d)(5). Pub. L. 110–172 inserted ‘‘(as de-
           priate).                                         fined in section 922)’’ after ‘‘a FSC’’ in introductory
                                                            provisions and inserted second sentence in concluding
         The amount of gain recognized by such 10-per-      provisions.
         cent corporate shareholder under the pre-            2004—Subsec. (d)(5) to (7). Pub. L. 108–357 redesignated
         ceding sentence shall not exceed the amount        pars. (6) and (7) as (5) and (6), respectively, and struck
         treated as a dividend under this section.          out heading and text of former par. (5). Text read as fol-
                                                            lows: ‘‘If the United States person whose stock is sold
         (2) 10-percent corporate shareholder defined       or exchanged was a qualified shareholder (as defined in
            For purposes of this subsection, the term       section 1247(c)) of a foreign corporation which was a
         ‘‘10-percent corporate shareholder’’ means any     foreign investment company (as described in section
         domestic corporation which, as of the day be-      1246(b)(1)), the earnings and profits of the foreign cor-
                                                            poration for taxable years in which such person was a
         fore the exchange referred to in paragraph (1),
                                                            qualified shareholder.’’
         satisfies the stock ownership requirements of        1996—Subsec. (a). Pub. L. 104–188, § 1702(g)(1)(A)(ii), in
         subsection (a)(2) with respect to the foreign      closing provisions inserted at end ‘‘For purposes of this
         corporation.                                       section, a United States person shall be treated as hav-
      (j) Coordination with dividends received deduc-       ing sold or exchanged any stock if, under any provision
            tion                                            of this subtitle, such person is treated as realizing gain
                                                            from the sale or exchange of such stock.’’
         In the case of the sale or exchange by a domes-      Subsec. (a)(1). Pub. L. 104–188, § 1702(g)(1)(A)(i), struck
      tic corporation of stock in a foreign corporation     out ‘‘, or if a United States person receives a distribu-




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      tion from a foreign corporation which, under section                 1976—Subsec. (a). Pub. L. 94–455, § 1906(b)(13)(A),
      302 or 331, is treated as an exchange of stock’’ after ‘‘in       struck out ‘‘or his delegate’’ after ‘‘Secretary’’.
      a foreign corporation’’.                                             Subsec. (b). Pub. L. 94–455, § 1402(b)(2), provided that
         Subsec. (e)(1). Pub. L. 104–188, § 1702(g)(1)(B), struck       ‘‘9 months’’ would be changed to ‘‘1 year’’.
      out ‘‘, or receives a distribution from a domestic cor-              Pub. L. 94–455, § 1402(b)(1)(Y), provided that ‘‘6
      poration which, under section 302 or 331, is treated as           months’’ would be changed to ‘‘9 months’’ for taxable
      an exchange of stock’’ after ‘‘of a domestic corpora-             years beginning in 1977.
      tion’’.                                                              Subsec. (c)(1). Pub. L. 94–455, §§ 1901(b)(32)(B)(iii),
         Subsec. (f)(1)(B). Pub. L. 104–188, § 1702(g)(1)(C), sub-      1906(b)(13(A), substituted ‘‘section 312(k)’’ for ‘‘section
      stituted ‘‘355(c)(1), or 361(c)(1)’’ for ‘‘or 361(c)(1)’’.        312(m)(3)’’, and struck out ‘‘or his delegate’’ after ‘‘Sec-
         Subsec. (i)(1). Pub. L. 104–188, § 1702(g)(1)(D), reenacted    retary’’.
      heading without change and amended text generally.                   Subsec. (c)(2)(A). Pub. L. 94–455, § 1042(c)(3)(A), sub-
      Prior to amendment, text read as follows: ‘‘If any                stituted ‘‘subsection (a) or (f) applies to a sale, ex-
      shareholder of a 10-percent corporate shareholder of a            change, or distribution’’ for ‘‘subsection (a) applies to
      foreign corporation exchanges stock of the 10-percent             a sale or exchange’’.
      corporate shareholder for stock of the foreign corpora-              Subsec. (c)(2)(C). Pub. L. 94–455, § 1042(b), inserted ‘‘(or
      tion, for purposes of this section, the stock of the for-         on the date of any sale or exchange of the stock of such
      eign corporation received in such exchange shall be               other foreign corporation occurring during the 5–year
      treated as if it had been—                                        period ending on the date of the sale or exchange of the
           ‘‘(A) issued to the 10-percent corporate shareholder,        stock of such foreign corporation, to the extent not
         and                                                            otherwise taken into account under this section but
           ‘‘(B) then distributed by the 10-percent corporate           not in excess of the fair market value of the stock of
         shareholder to such shareholder in redemption or liq-          such other foreign corporation sold or exchanged over
         uidation (whichever is appropriate).’’                         the basis of such stock (for determining gain) in the
         1988—Subsec. (d)(2). Pub. L. 100–647, § 1006(e)(14)(A),        hands of the transferor)’’. § 1906(b)(13)(A), struck out
      struck out par. (2) which related to gain realized from           ‘‘or his delegate’’ after ‘‘Secretary’’.
      sale or exchange of property in pursuance of plan of                 Subsec. (d)(2). Pub. L. 94–455, § 1906(b)(13)(A), struck
      complete liquidation.                                             out ‘‘or his delegate’’ after ‘‘Secretary’’.
         Subsec. (d)(7). Pub. L. 100–647, § 1012(p)(19), added par.        Subsec. (d)(3). Pub. L. 94–455, § 1022(a), substituted
      (7).                                                              provisions of par. (3) relating to ‘‘Less developed coun-
         Subsec. (f). Pub. L. 100–647, § 1006(e)(14)(E), substituted    try corporations under prior law’’ and reading ‘‘Earn-
      ‘‘nonrecognition’’ for ‘‘section 311, 336, or 337’’ in head-      ings and profits of a foreign corporation which were ac-
      ing.                                                              cumulated during any taxable year beginning before
         Subsec. (f)(1). Pub. L. 100–647, § 1006(e)(14)(C), struck      January 1, 1976, while such corporation was a less de-
      out ‘‘, sale, or exchange’’ after ‘‘(h), a distribution’’ in      veloped country corporation under section 902(d) as in
      last sentence.                                                    effect before the enactment of the Tax Reduction Act
         Subsec. (f)(1)(B). Pub. L. 100–647, § 1006(e)(14)(B),          of 1975’’ for prior par. (3) relating to ‘‘Less developed
      amended subpar. (B) generally. Prior to amendment,                country corporations’’ and reading ‘‘Earnings and prof-
      subpar. (B) read as follows: ‘‘such domestic corporation          its accumulated by a foreign corporation while it was
      distributes, sells, or exchanges stock of such foreign            a less developed country corporation (as defined in sec-
      corporation in a transaction to which section 311, 336,           tion 902(d)), if the stock sold or exchanged was owned
      or 337 applies,’’.                                                for a continuous period of at least 10 years, ending with
         Subsec. (f)(3), (4). Pub. L. 100–647, § 1006(e)(14)(D), re-    the date of the sale or exchange, by the United States
      designated par. (4) as (3) and struck out former par. (3)         person who sold or exchanged such stock. In the case of
      which related to nonapplication of paragraph (1) in cer-          stock sold or exchanged by a corporation, if United
      tain cases.                                                       States persons who are individuals, estates, or trusts
         1986—Subsec. (d)(6). Pub. L. 99–514, § 1876(a)(2), amend-
                                                                        (each of whom owned within the meaning of section
      ed par. (6) generally. Prior to amendment, par. (6) read
                                                                        958(a), or were considered as owning by applying the
      as follows: ‘‘Earnings and profits of the foreign corpora-
                                                                        rules of ownership of section 958(b), 10 percent or more
      tion attributable to foreign trade income (within the
                                                                        of the total combined voting power of all classes of
      meaning of section 923(b)) of a FSC.’’
                                                                        stock entitled to vote of such corporation) owned, or
         Subsec. (e). Pub. L. 99–514, § 631(d)(2)(A), substituted
                                                                        were considered as owning, at any time during the 10-
      ‘‘Except as provided in regulations’’ for ‘‘Under regula-
                                                                        year period ending on the date of the sale or exchange
      tions’’.
         Subsec. (f). Pub. L. 99–514, § 631(d)(2)(B), inserted ‘‘Ex-    more than 50 percent of the total combined voting
      cept as provided in regulations prescribed by the Sec-            power of all classes of stock entitled to vote such cor-
      retary—’’ after heading.                                          poration, this paragraph shall apply only if such United
         Subsec. (g). Pub. L. 99–514, § 1875(g)(1), inserted ‘‘or’’     States persons owned, or were considered as owning, at
      at end of par. (1), redesignated par. (3) as (2), and struck      all times during the remainder of such 10-year period
      out former par. (2) which read as follows: ‘‘gain realized        more than 50 percent of the total combined voting
      on exchanges to which section 356 (relating to receipt            power of all classes of stock entitled to vote of such
      of additional consideration in certain reorganizations)           corporation. For purposes of this paragraph, stock
      applies; or’’.                                                    owned by a United States person who is an individual,
         Subsec. (i)(1)(B). Pub. L. 99–514, § 1810(i)(1), sub-          estate, or trust which was acquired by reason of the
      stituted ‘‘in redemption or liquidation (whichever is             death of the predecessor in interest of such United
      appropriate)’’ for ‘‘in redemption of his stock’’.                States person shall be considered as owned by such
         1984—Subsec. (b). Pub. L. 98–369, § 1001(b)(22), (e), sub-     United States person during the period such stock was
      stituted ‘‘6 months’’ for ‘‘1 year’’, applicable to prop-         owned by such predecessor in interest, and during the
      erty acquired after June 22, 1984, and before Jan. 1, 1988.       period such stock was owned by any other predecessor
      See Effective Date of 1984 Amendment note below.                  in interest if between such United States person and
         Subsec. (c)(2)(D). Pub. L. 98–369, § 133(c), substituted       such other predecessor in interest there was no transfer
      ‘‘section 958(a)’’ for ‘‘section 958(a)(2)’’.                     other than by reason of the death of an individual.’’
         Subsec. (d)(6). Pub. L. 98–369, § 801(d)(6), added par. (6).      Subsec. (e). Pub. L. 94–455, § 1906(b)(13)(A), struck out
         Subsec. (g)(3)(C). Pub. L. 98–369, § 1001(b)(22), (e), sub-    ‘‘or his delegate’’ after ‘‘Secretary’’.
      stituted ‘‘6 months’’ for ‘‘1 year’’, applicable to prop-            Subsec. (f). Pub. L. 94–455, § 1042(c)(1), added subsec.
      erty acquired after June 22, 1984, and before Jan. 1, 1988.       (f). Former subsec. (f) redesignated (g).
      See Effective Date of 1984 Amendment note below.                     Subsec. (g). Pub. L. 94–455, §§ 1042(c)(1), (3)(B),
         Subsec. (i). Pub. L. 98–369, § 133(a), added subsec. (i).      1901(b)(3)(H), redesignated former subsec. (f) as (g); in-
         Subsec. (j). Pub. L. 98–369, § 133(b)(2), added subsec. (j).   serted ‘‘(other than an amount treated as a dividend
         1983—Subsec. (c)(1). Pub. L. 97–448 substituted ‘‘sec-         under subsection (f))’’ in par. (3)(A); and substituted in
      tion 312(k)(4)’’ for ‘‘section 312(k)(3)’’.                       par. (3)(B) ‘‘ordinary income’’ for ‘‘gain from the sale of




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      an asset which is not a capital asset’’, respectively.            subsection (a) [amending this section] shall apply to
      Former subsec. (g) redesignated (h).                              exchanges after the date of the enactment of this Act
        Subsec. (g)(3)(C). Pub. L. 94–455, § 1402(b)(2), provided       [July 18, 1984] in taxable years ending after such date.’’
      that ‘‘9 months’’ would be changed to ‘‘1 year’’.                   Amendment by section 133(b)(2), (c) of Pub. L. 98–369
        Pub. L. 94–455, § 1402(b)(1)(Y), provided that ‘‘6              applicable with respect to transactions to which sub-
      months’’ would be changed to ‘‘9 months’’ for taxable             sec. (a) or (f) of this section applies occurring after
      years beginning in 1977.                                          July 18, 1984, with election of earlier date for certain
        Subsec. (h). Pub. L. 94–455, § 1042(c)(1), (3)(C), redesig-     transactions, see section 133(d)(2), (3) of Pub. L. 98–369,
      nated former subsec. (g) as (h) and inserted reference to         set out as a note under section 959 of this title.
      subsec. (f) in two places.                                          Amendment by section 801(d)(6) of Pub. L. 98–369 ap-
        1969—Subsec. (c)(1). Pub. L. 91–172 inserted reference          plicable to transactions after Dec. 31, 1984, in taxable
      to the exception provided for in section 312(m)(3).               years ending after such date, see section 805(a)(1) of
        1966—Subsec. (d)(4). Pub. L. 89–809 provided that for           Pub. L. 98–369, as amended, set out as a note under sec-
      taxable years beginning after December 31, 1966, the              tion 245 of this title.
      earnings and profits of the foreign corporation, for pur-           Amendment by section 1001(b)(22) of Pub. L. 98–369 ap-
      poses of this section, is not to include income effec-            plicable to property acquired after June 22, 1984, and
      tively connected with the conduct of a trade or busi-             before Jan. 1, 1988, see section 1001(e) of Pub. L. 98–369,
      ness within the United States, and inserted provision             set out as a note under section 166 of this title.
      that the exclusion does not apply to income which is
      exempt from tax or subject to a reduced rate of tax pur-                    EFFECTIVE DATE OF 1983 AMENDMENT
      suant to a treaty.
                                                                          Amendment by Pub. L. 97–448 effective, except as oth-
                                                                        erwise provided, as if it had been included in the provi-
             Statutory Notes and Related Subsidiaries
                                                                        sion of the Economic Recovery Tax Act of 1981, Pub. L.
                EFFECTIVE DATE OF 2017 AMENDMENT                        97–34, to which such amendment relates, see section 109
        Pub. L. 115–97, title I, § 14102(a)(2), Dec. 22, 2017, 131      of Pub. L. 97–448, set out as a note under section 1 of
      Stat. 2192, provided that: ‘‘The amendments made by               this title.
      this subsection [amending this section] shall apply to                      EFFECTIVE DATE OF 1976 AMENDMENT
      sales or exchanges after December 31, 2017.’’
                                                                          Pub. L. 94–455, title X, § 1022(b), Oct. 4, 1976, 90 Stat.
                EFFECTIVE DATE OF 2004 AMENDMENT                        1619, provided that: ‘‘The amendment made by sub-
        Amendment by Pub. L. 108–357 applicable to taxable              section (a) [amending this section] shall apply to tax-
      years of foreign corporations beginning after Dec. 31,            able years beginning after December 31, 1975.’’
      2004, and to taxable years of United States shareholders            For effective date of amendment by section 1042 of
      with or within which such taxable years of foreign cor-           Pub. L. 94–455, see section 1042(e) of Pub. L. 94–455, set
      porations end, see section 413(d)(1) of Pub. L. 108–357,          out as a note under section 367 of this title.
      set out as an Effective and Termination Dates of 2004               Pub. L. 94–455, title XIV, § 1402(b)(1), Oct. 4, 1976, 90
      Amendments note under section 1 of this title.                    Stat. 1731, provided that the amendment made by that
                                                                        section is effective with respect to taxable years begin-
                EFFECTIVE DATE OF 1996 AMENDMENT                        ning in 1977.
        Amendment by Pub. L. 104–188 effective, except as                 Pub. L. 94–455, title XIV, § 1402(b)(2), Oct. 4, 1976, 90
      otherwise expressly provided, as if included in the pro-          Stat. 1732, provided that the amendment made by that
      vision of the Revenue Reconciliation Act of 1990, Pub.            section is effective with respect to taxable years begin-
      L. 101–508, title XI, to which such amendment relates,            ning after Dec. 31, 1977.
      see section 1702(i) of Pub. L. 104–188, set out as a note           Amendment by section 1901(b)(3)(H), (32)(B)(iii) of
      under section 38 of this title.                                   Pub. L. 94–455 effective for taxable years beginning
                                                                        after Dec. 31, 1976, see section 1901(d) of Pub. L. 94–455,
                EFFECTIVE DATE OF 1988 AMENDMENT                        set out as a note under section 2 of this title.
        Amendment by Pub. L. 100–647 effective, except as
      otherwise provided, as if included in the provision of                      EFFECTIVE DATE OF 1966 AMENDMENT
      the Tax Reform Act of 1986, Pub. L. 99–514, to which                Amendment by Pub. L. 89–809 applicable with respect
      such amendment relates, see section 1019(a) of Pub. L.            to sales or exchanges occurring after Dec. 31, 1966, see
      100–647, set out as a note under section 1 of this title.         section 104(n) of Pub. L. 89–809, set out as a note under
                                                                        section 11 of this title.
                EFFECTIVE DATE OF 1986 AMENDMENT
        Amendment by section 631(d)(2) of Pub. L. 99–514 ap-                                  EFFECTIVE DATE
      plicable to any distribution in complete liquidation,               Pub. L. 87–834, § 15(c), Oct. 16, 1962, 76 Stat. 1044, pro-
      and any sale or exchange, made by a corporation after             vided that: ‘‘The amendments made by this section [en-
      July 31, 1986, unless such corporation is completely liq-         acting this section] shall apply with respect to sales or
      uidated before Jan. 1, 1987, any transaction described in         exchanges occurring after December 31, 1962.’’
      section 338 of this title for which the acquisition date
      occurs after Dec. 31, 1986, and any distribution, not in                  PLAN AMENDMENTS NOT REQUIRED UNTIL
      complete liquidation, made after Dec. 31, 1986, with ex-                            JANUARY 1, 1989
      ceptions and special and transitional rules, see section
      633 of Pub. L. 99–514, set out as an Effective Date note            For provisions directing that if any amendments
      under section 336 of this title.                                  made by subtitle A or subtitle C of title XI [§§ 1101–1147
        Pub. L. 99–514, title XVIII, § 1875(g)(2), Oct. 22, 1986, 100   and 1171–1177] or title XVIII [§§ 1800–1899A] of Pub. L.
      Stat. 2897, provided that: ‘‘The amendment made by                99–514 require an amendment to any plan, such plan
      paragraph (1) [amending this section] shall apply to ex-          amendment shall not be required to be made before the
      changes after March 1, 1986.’’                                    first plan year beginning on or after Jan. 1, 1989, see
        Amendment by sections 1810(i)(1) and 1876(a)(2) of              section 1140 of Pub. L. 99–514, as amended, set out as a
      Pub. L. 99–514 effective, except as otherwise provided,           note under section 401 of this title.
      as if included in the provisions of the Tax Reform Act
                                                                                            TRANSITIONAL RULE
      of 1984, Pub. L. 98–369, div. A, to which such amendment
      relates, see section 1881 of Pub. L. 99–514, set out as a           Pub. L. 99–514, title XVIII, § 1875(g)(3), Oct. 22, 1986, 100
      note under section 48 of this title.                              Stat. 2897, provided that: ‘‘An exchange shall be treated
                                                                        as occurring on or before March 1, 1986, if—
                EFFECTIVE DATE OF 1984 AMENDMENT                            ‘‘(A) on or before such date, the taxpayer adopts a
        Pub. L. 98–369, div. A, title I, § 133(d)(1), July 18, 1984,      plan of reorganization to which section 356 [of the In-
      98 Stat. 668, provided that: ‘‘The amendment made by                ternal Revenue Code of 1986] applies, and




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          ‘‘(B) such plan or reorganization is implemented            § 1250. Gain from dispositions of certain depre-
        and distributions pursuant to such plan are com-                  ciable realty
        pleted on or before the date of enactment of this Act
        [Oct. 22, 1986].’’                                            (a) General rule
                                                                        Except as otherwise provided in this section—
      § 1249. Gain from certain sales or exchanges of                   (1) Additional depreciation after December 31,
          patents, etc., to foreign corporations                            1975
      (a) General rule                                                    (A) In general
        Gain from the sale or exchange of a patent, an                      If section 1250 property is disposed of after
      invention, model, or design (whether or not pat-                    December 31, 1975, then the applicable per-
      ented), a copyright, a secret formula or process,                   centage of the lower of—
      or any other similar property right to any for-                         (i) that portion of the additional depre-
      eign corporation by any United States person                          ciation (as defined in subsection (b)(1) or
      (as defined in section 7701(a)(30)) which controls                    (4)) attributable to periods after December
      such foreign corporation shall, if such gain                          31, 1975, in respect of the property, or
      would (but for the provisions of this subsection)                       (ii) the excess of the amount realized (in
      be gain from the sale or exchange of a capital                        the case of a sale, exchange, or involun-
      asset or of property described in section 1231, be                    tary conversion), or the fair market value
      considered as ordinary income.                                        of such property (in the case of any other
                                                                            disposition), over the adjusted basis of
      (b) Control                                                           such property,
        For purposes of subsection (a), control means,                   shall be treated as gain which is ordinary in-
      with respect to any foreign corporation, the                       come. Such gain shall be recognized not-
      ownership, directly or indirectly, of stock pos-                   withstanding any other provision of this
      sessing more than 50 percent of the total com-                     subtitle.
      bined voting power of all classes of stock enti-
                                                                         (B) Applicable percentage
      tled to vote. For purposes of this subsection, the
      rules for determining ownership of stock pre-                         For purposes of subparagraph (A), the term
      scribed by section 958 shall apply.                                ‘‘applicable percentage’’ means—
                                                                              (i) in the case of section 1250 property
      (Added Pub. L. 87–834, § 16(a), Oct. 16, 1962, 76                     with respect to which a mortgage is in-
      Stat. 1045; amended Pub. L. 89–809, title I,                          sured under section 221(d)(3) or 236 of the
      § 104(m)(3), Nov. 13, 1966, 80 Stat. 1563; Pub. L.                    National Housing Act, or housing financed
      94–455, title XIX, § 1901(b)(3)(K), Oct. 4, 1976, 90                  or assisted by direct loan or tax abatement
      Stat. 1793; Pub. L. 113–295, div. A, title II,                        under similar provisions of State or local
      § 221(a)(84), Dec. 19, 2014, 128 Stat. 4049.)                         laws and with respect to which the owner
                                                                            is subject to the restrictions described in
                            Editorial Notes                                 section 1039(b)(1)(B) (as in effect on the day
                                                                            before the date of the enactment of the
                             AMENDMENTS
                                                                            Revenue Reconciliation Act of 1990), 100
        2014—Subsec. (a). Pub. L. 113–295 struck out ‘‘after                percent minus 1 percentage point for each
      December 31, 1962,’’ before ‘‘of a patent’’.                          full month the property was held after the
        1976—Subsec. (a). Pub. L. 94–455 substituted ‘‘ordinary
                                                                            date the property was held 100 full months;
      income’’ for ‘‘gain from the sale or exchange of prop-
      erty which is neither a capital asset nor property de-
                                                                              (ii) in the case of dwelling units which,
      scribed in section 1231’’.                                            on the average, were held for occupancy by
        1966—Subsec. (a). Pub. L. 89–809 substituted ‘‘Gain’’               families or individuals eligible to receive
      for ‘‘Except as provided in subsection (c), gain’’.                   subsidies under section 8 of the United
                                                                            States Housing Act of 1937, as amended, or
               Statutory Notes and Related Subsidiaries                     under the provisions of State or local law
                                                                            authorizing similar levels of subsidy for
                 EFFECTIVE DATE OF 2014 AMENDMENT                           lower-income families, 100 percent minus 1
        Amendment by Pub. L. 113–295 effective Dec. 19, 2014,               percentage point for each full month the
      subject to a savings provision, see section 221(b) of Pub.            property was held after the date the prop-
      L. 113–295, set out as a note under section 1 of this title.          erty was held 100 full months;
                                                                              (iii) in the case of section 1250 property
                 EFFECTIVE DATE OF 1976 AMENDMENT
                                                                            with respect to which a depreciation de-
        Amendment by Pub. L. 94–455 effective for taxable                   duction for rehabilitation expenditures
      years beginning after Dec. 31, 1976, see section 1901(d) of           was allowed under section 167(k), 100 per-
      Pub. L. 94–455, set out as a note under section 2 of this             cent minus 1 percentage point for each full
      title.
                                                                            month in excess of 100 full months after
                 EFFECTIVE DATE OF 1966 AMENDMENT                           the date on which such property was
                                                                            placed in service;
        Amendment by Pub. L. 89–809 applicable with respect                   (iv) in the case of section 1250 property
      to taxable years beginning after Dec. 31, 1966, see sec-
      tion 104(n) of Pub. L. 89–809, set out as a note under sec-
                                                                            with respect to which a loan is made or in-
      tion 11 of this title.                                                sured under title V of the Housing Act of
                                                                            1949, 100 percent minus 1 percentage point
                           EFFECTIVE DATE                                   for each full month the property was held
        Pub. L. 87–834, § 16(c), Oct. 16, 1962, 76 Stat. 1045, pro-         after the date the property was held 100
      vided that: ‘‘The amendments made by this section [en-                full months; and
      acting this section] shall apply to taxable years begin-                (v) in the case of all other section 1250
      ning after December 31, 1962.’’                                       property, 100 percent.




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      determines that such recharacterization is ap-         (5) Definitions and special rules
      propriate to prevent avoidance of any tax im-            For purposes of this subsection—
      posed by this title.
                                                               (A) Economic substance doctrine
      (m) Designation of contract markets
                                                                 The term ‘‘economic substance doctrine’’
        Any designation by the Commodity Futures               means the common law doctrine under
      Trading Commission of a contract market which            which tax benefits under subtitle A with re-
      could not have been made under the law in ef-            spect to a transaction are not allowable if
      fect on the day before the date of the enactment         the transaction does not have economic sub-
      of the Commodity Futures Modernization Act of            stance or lacks a business purpose.
      2000 shall apply for purposes of this title except
      to the extent provided in regulations prescribed         (B) Exception for personal transactions of in-
      by the Secretary.                                            dividuals
      (n) Convention or association of churches                  In the case of an individual, paragraph (1)
                                                               shall apply only to transactions entered into
        For purposes of this title, any organization
                                                               in connection with a trade or business or an
      which is otherwise a convention or association
                                                               activity engaged in for the production of in-
      of churches shall not fail to so qualify merely
                                                               come.
      because the membership of such organization in-
      cludes individuals as well as churches or because        (C) Determination of application of doctrine
      individuals have voting rights in such organiza-             not affected
      tion.                                                      The determination of whether the eco-
      (o) Clarification of economic substance doctrine         nomic substance doctrine is relevant to a
        (1) Application of doctrine                            transaction shall be made in the same man-
                                                               ner as if this subsection had never been en-
          In the case of any transaction to which the          acted.
        economic substance doctrine is relevant, such
        transaction shall be treated as having eco-            (D) Transaction
        nomic substance only if—                                 The term ‘‘transaction’’ includes a series
            (A) the transaction changes in a meaning-          of transactions.
          ful way (apart from Federal income tax ef-       (p) Cross references
          fects) the taxpayer’s economic position, and
            (B) the taxpayer has a substantial purpose       (1) Other definitions
          (apart from Federal income tax effects) for           For other definitions, see the following sections of
          entering into such transaction.                     Title 1 of the United States Code:
                                                                  (1) Singular as including plural, section 1.
        (2) Special rule where taxpayer relies on profit          (2) Plural as including singular, section 1.
            potential                                             (3) Masculine as including feminine, section 1.
          (A) In general                                          (4) Officer, section 1.
                                                                  (5) Oath as including affirmation, section 1.
            The potential for profit of a transaction             (6) County as including parish, section 2.
          shall be taken into account in determining              (7) Vessel as including all means of water trans-
          whether the requirements of subparagraphs             portation, section 3.
          (A) and (B) of paragraph (1) are met with re-           (8) Vehicle as including all means of land trans-
          spect to the transaction only if the present          portation, section 4.
          value of the reasonably expected pre-tax                (9) Company or association as including succes-
          profit from the transaction is substantial in         sors and assigns, section 5.
          relation to the present value of the expected      (2) Effect of cross references
          net tax benefits that would be allowed if the         For effect of cross references in this title, see sec-
          transaction were respected.                         tion 7806(a).
          (B) Treatment of fees and foreign taxes
                                                           (Aug. 16, 1954, ch. 736, 68A Stat. 911; Pub. L. 86–70,
            Fees and other transaction expenses shall      § 22(g), (h), June 25, 1959, 73 Stat. 146; Pub. L.
          be taken into account as expenses in deter-      86–624, § 18(i), (j), July 12, 1960, 74 Stat. 416; Pub.
          mining pre-tax profit under subparagraph         L. 86–778, title I, § 103(t), Sept. 13, 1960, 74 Stat.
          (A). The Secretary shall issue regulations re-   941; Pub. L. 87–834, §§ 6(c), 7(h), Oct. 16, 1962, 76
          quiring foreign taxes to be treated as ex-       Stat. 982, 988; Pub. L. 87–870, § 5(a), Oct. 23, 1962,
          penses in determining pre-tax profit in ap-      76 Stat. 1161; Pub. L. 88–272, title II, §§ 204(a)(3),
          propriate cases.                                 234(b)(3), Feb. 26, 1964, 78 Stat. 36, 114; Pub. L.
        (3) State and local tax benefits                   89–368, title I, § 102(b)(5), Mar. 15, 1966, 80 Stat. 64;
          For purposes of paragraph (1), any State or      Pub. L. 89–809, title I, § 103(l)(1), Nov. 13, 1966, 80
        local income tax effect which is related to a      Stat. 1554; Pub. L. 90–364, title I, § 103(e)(6), June
        Federal income tax effect shall be treated in      28, 1968, 82 Stat. 264; Pub. L. 91–172, title IV,
        the same manner as a Federal income tax ef-        § 432(c), (d), title IX, § 960(j), Dec. 30, 1969, 83 Stat.
        fect.                                              622, 623, 735; Pub. L. 92–606, § 1(f)(4), Oct. 31, 1972,
                                                           86 Stat. 1497; Pub. L. 93–406, title III, § 3043, Sept.
        (4) Financial accounting benefits                  2, 1974, 88 Stat. 1003; Pub. L. 94–455, title XII,
          For purposes of paragraph (1)(B), achieving a    § 1203(a), title XIX, § 1906(a)(57), (b)(13)(A), (c)(3),
        financial accounting benefit shall not be taken    Oct. 4, 1976, 90 Stat. 1688, 1832, 1834, 1835; Pub. L.
        into account as a purpose for entering into a      95–600, title I, § 157(k)(2), title VII, § 701(cc)(2),
        transaction if the origin of such financial ac-    Nov. 6, 1978, 92 Stat. 2809, 2923; Pub. L. 97–34,
        counting benefit is a reduction of Federal in-     title VII, § 725(c)(4), Aug. 13, 1981, 95 Stat. 346;
        come tax.                                          Pub. L. 97–248, title II, § 201(d)(10), formerly




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                                                                      Internal Revenue Service, Treasury                                                            § 1.245A–5T
                                                                      the accumulation amounted to $55,000, of                  cember 31, 1963, corporation A distributes to
                                                                      which $25,000 was accumulated prior to the                corporation B 100 shares of corporation C
                                                                      ‘‘uninterrupted period’’ and $30,000 was accu-            stock which have an adjusted basis in A’s
                                                                      mulated during the uninterrupted period.                  hands of $40,000 and a fair market value of
                                                                      (See section 316(a) and paragraph (c) of this             $100,000. For purposes of computing the de-
                                                                      section.) For 1954 a deduction under section              duction under section 245 for dividends re-
                                                                      245 of $31,025 ($8,075 on 1954 earnings of the            ceived from a foreign corporation, the
                                                                      foreign corporation, plus $22,950 from the                amount of the distribution is $40,000. B is al-
                                                                      $30,000 accumulation at December 31, 1953)                lowed a deduction under section 245 of
                                                                      for dividends received from a foreign cor-                $25,500, i.e., $34,000 ($40,000 multiplied by 85
                                                                      poration is allowable to Corporation B with               percent, the percent specified in section 243
                                                                      respect to the $50,000 received from Corpora-             for 1963), multiplied by 75 percent (the por-
                                                                      tion A, computed as follows:                              tion of the gross income of corporation A de-
                                                                         (i) $8,075, which is $8,500 (85 percent—the            rived during 1963 from sources within the
                                                                      percent specified in section 243 for the cal-             United States).
                                                                      endar year 1954—of the $10,000 of earnings
                                                                      and profits of the taxable year) multiplied by            [T.D. 6500, 25 FR 11402, Nov. 26, 1960, as
                                                                      95 percent (the portion of the gross income of            amended by T.D. 6752, 29 FR 12701, Sept. 9,
                                                                      Corporation A derived during the taxable                  1964; T.D. 6830; 30 FR 8046, June 23, 1965; T.D.
                                                                      year 1954 from sources within the United                  7293, 38 FR 32793, Nov. 28, 1973]
                                                                      States), plus
                                                                         (ii) $22,950, which is $25,500 (85 percent—the         §§ 1.245A–1T—1.245A–4T           [Reserved]
                                                                      percent specified in section 243 for the cal-
                                                                      endar year 1954—of $30,000, the part of the               § 1.245A–5T Limitation of section 245A
                                                                      earnings and profits accumulated after the                     deduction and section 954(c)(6) ex-
                                                                      beginning of the uninterrupted period) mul-                    ception (temporary).
                                                                      tiplied by 90 percent (the portion of the gross              (a) Overview. This section provides
                                                                      income of Corporation A derived from
                                                                                                                                rules that limit a deduction under sec-
                                                                      sources within the United States during that
                                                                      portion of the uninterrupted period ending at             tion 245A(a) to the portion of a divi-
                                                                      the beginning of the taxable year 1954).                  dend that exceeds the ineligible
                                                                         Example 2. If in Example 1, Corporation A              amount of such dividend or the applica-
                                                                      for the taxable year 1954 had incurred a def-             bility of section 954(c)(6) when a por-
                                                                      icit of $10,000 (shown to have been incurred              tion of a dividend is paid out of an ex-
                                                                      before December 31) the amount of the earn-               traordinary disposition account or
                                                                      ings and profits accumulated after the begin-
                                                                                                                                when an extraordinary reduction oc-
                                                                      ning of the uninterrupted period would be
                                                                      $20,000. If Corporation A had distributed                 curs. Paragraph (b) of this section pro-
                                                                      $50,000 on December 31, 1954, the deduction               vides     rules   regarding     ineligible
                                                                      under section 245 for dividends received from             amounts. Paragraph (c) of this section
                                                                      a foreign corporation allowable to Corpora-               provides rules for determining ineli-
                                                                      tion B for 1954 would be $15,300, computed by             gible amounts attributable to an ex-
                                                                      multiplying $17,000 (85 percent—the percent               traordinary disposition. Paragraph (d)
                                                                      specified in section 243 for the calendar year
                                                                                                                                of this section provides rules that limit
                                                                      1954—of $20,000 earnings and profits accumu-
                                                                      lated after the beginning of the uninter-                 the application of section 954(c)(6)
                                                                      rupted period) by 90 percent (the portion of              when one or more section 245A share-
                                                                      the gross income of Corporation A derived                 holders of a lower-tier CFC have an ex-
                                                                      from United States sources during that por-               traordinary disposition account. Para-
                                                                      tion of the uninterrupted period ending at                graph (e) of this section provides rules
                                                                      the beginning of the taxable year 1954).                  for determining ineligible amounts at-
                                                                         Example 3. Corporation A (a foreign cor-               tributable to an extraordinary reduc-
                                                                      poration filing its income tax returns on a
                                                                                                                                tion. Paragraph (f) of this section pro-
                                                                      calendar year basis) whose stock is 100 per-
                                                                      cent owned by corporation B (a domestic cor-              vides rules that limit the application
                                                                      poration filing its income tax returns on a               of section 954(c)(6) when a lower-tier
                                                                      calendar year basis) for the first time en-               CFC has an extraordinary reduction
                                                                      gaged in trade or business within the United              amount. Paragraph (g) of this section
                                                                      States on January 1, 1960, and qualifies under            provides special rules for purposes of
                                                                      section 245 for the entire period beginning on            applying this section. Paragraph (h) of
                                                                      that date and ending on December 31, 1963. In             this section provides an anti-abuse
                                                                      1963, A derived 75 percent of its gross income
                                                                                                                                rule. Paragraph (i) of this section pro-
                                                                      from sources within the United States. A’s
                                                                      earnings and profits for 1963 (computed as of             vides definitions. Paragraph (j) of this
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                                                                      the close of the taxable year without diminu-             section provides examples illustrating
                                                                      tion by reason of any distributions made                  the application of this section. Para-
                                                                      during the taxable year) are $200,000. On De-             graph (k) of this section provides the

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                                                                      § 1.245A–5T                                                              26 CFR Ch. I (4–1–20 Edition)

                                                                      applicability date of this section. Para-                 spect to a section 245A shareholder and
                                                                      graph (l) of this section provides the                    an SFC, an amount of earnings and
                                                                      expiration date of this section.                          profits of the SFC equal to the excess,
                                                                        (b) Limitation of deduction under sec-                  if any, of—
                                                                      tion 245A—(1) In general. A section 245A                     (A) The product of—
                                                                      shareholder is allowed a section 245A                        (1) The amount of the SFC’s earnings
                                                                      deduction for any dividend received                       and profits described in section
                                                                      from an SFC (provided all other appli-                    959(c)(3), determined as of the end of
                                                                      cable requirements are satisfied) only                    the SFC’s taxable year (for this pur-
                                                                      to the extent that the dividend exceeds                   pose, without regard to distributions
                                                                      the ineligible amount of the dividend.                    during the taxable year other than as
                                                                      See paragraphs (j)(2), (4), and (5) of this               provided        in      this    paragraph
                                                                      section for examples illustrating the                     (c)(2)(ii)(A)(1)), but, if during the tax-
                                                                      application of this paragraph (b)(1).                     able year the SFC pays more than one
                                                                        (2) Definition of ineligible amount. The                dividend, reduced (but not below zero)
                                                                      term ineligible amount means, with re-                    by the amounts of any dividends paid
                                                                      spect to a dividend received by a sec-                    by the SFC earlier in the taxable year;
                                                                      tion 245A shareholder from an SFC, an                     and
                                                                      amount equal to the sum of—                                  (2) The percentage of the stock (by
                                                                        (i) 50 percent of the extraordinary                     value) of the SFC that the section 245A
                                                                      disposition amount (as determined                         shareholder owns directly or indirectly
                                                                      under paragraph (c) of this section),                     immediately after the distribution
                                                                      and                                                       (taking into account all transactions
                                                                        (ii) The extraordinary reduction                        related to the distribution); over
                                                                      amount (as determined under para-                            (B) The balance of the section 245A
                                                                      graph (e) of this section).                               shareholder’s extraordinary disposition
                                                                        (c) Rules for determining extraordinary                 account with respect to the SFC, deter-
                                                                      disposition amount—(1) Definition of ex-                  mined immediately before the distribu-
                                                                      traordinary disposition amount. The                       tion.
                                                                      term extraordinary disposition amount                        (3) Definitions with respect to extraor-
                                                                      means the portion of a dividend re-                       dinary disposition accounts—(i) Extraor-
                                                                      ceived by a section 245A shareholder                      dinary disposition account—(A) In gen-
                                                                      from an SFC that is paid out of the ex-                   eral. The term extraordinary disposition
                                                                      traordinary disposition account with                      account means, with respect to a sec-
                                                                      respect to the section 245A shareholder.                  tion 245A shareholder of an SFC, an ac-
                                                                      See paragraph (j)(2) of this section for                  count the balance of which is equal to
                                                                      an example illustrating the application                   the product of the extraordinary dis-
                                                                      of this paragraph (c).                                    position ownership percentage and the
                                                                        (2) Determination of portion of dividend                extraordinary disposition E&P, reduced
                                                                      paid out of extraordinary disposition ac-                 (but not below zero) by the prior ex-
                                                                      count—(i) In general. For purposes of                     traordinary disposition amount, and
                                                                      determining the portion of a dividend                     adjusted under paragraph (c)(4) of this
                                                                      received by a section 245A shareholder                    section, as applicable.
                                                                      from an SFC that is paid out of the ex-                      (B) Extraordinary disposition owner-
                                                                      traordinary disposition account with                      ship percentage. The term extraordinary
                                                                      respect to the section 245A shareholder,                  disposition ownership percentage means
                                                                      the following rules apply—                                the percentage of stock (by value) of an
                                                                        (A) The dividend is first considered                    SFC that a section 245A shareholder
                                                                      paid out of non-extraordinary disposi-                    owns directly or indirectly at the be-
                                                                      tion E&P with respect to the section                      ginning of the disqualified period or, if
                                                                      245A shareholder; and                                     later, on the first day during the dis-
                                                                        (B) The dividend is next considered                     qualified period on which the SFC is a
                                                                      paid out of the extraordinary disposi-                    CFC, regardless of whether the section
                                                                      tion account to the extent of the sec-                    245A shareholder owns directly or indi-
                                                                      tion 245A shareholder’s extraordinary                     rectly such stock of the SFC on the
                                                                      disposition account balance.                              date of an extraordinary disposition
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                                                                        (ii) Definition of non-extraordinary dis-               giving rise to extraordinary disposition
                                                                      position E&P. The term non-extraor-                       E&P; if not, see paragraph (c)(4) of this
                                                                      dinary disposition E&P means, with re-                    section.

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                                                                      Internal Revenue Service, Treasury                                                            § 1.245A–5T

                                                                        (C) Extraordinary disposition E&P. The                  included in gross income by the section
                                                                      term extraordinary disposition E&P                        245A shareholder under section 951(a)
                                                                      means an amount of earnings and prof-                     but would have been a tiered extraor-
                                                                      its of an SFC equal the sum of the net                    dinary disposition amount by reason of
                                                                      gain recognized by the SFC with re-                       paragraph (d) of this section had para-
                                                                      spect to specified property in each ex-                   graph (d) applied to the dividend;
                                                                      traordinary disposition. In the case of                      (iii) If a prior dividend received by an
                                                                      an extraordinary disposition with re-                     upper-tier CFC from a lower-tier CFC
                                                                      spect to the SFC arising as a result of                   gives rise to a tiered extraordinary dis-
                                                                      a disposition of specified property by a                  position amount with respect to the
                                                                      specified entity (other than a foreign                    section 245A shareholder by reason of
                                                                      corporation), an interest of which is                     paragraph (d) of this section, the quali-
                                                                      owned directly or indirectly (through                     fied portion.
                                                                      one or more other specified entities                         (2) Definition of qualified portion—(i)
                                                                      that are not foreign corporations) by                     In general. The term qualified portion
                                                                      the SFC, the net gain taken into ac-
                                                                                                                                means, with respect to a tiered ex-
                                                                      count for purposes of the preceding
                                                                                                                                traordinary disposition amount of a
                                                                      sentence is the SFC’s distributive
                                                                                                                                section 245A shareholder and a lower-
                                                                      share of the net gain recognized by the
                                                                                                                                tier CFC, 200 percent of the portion of
                                                                      specified entity with respect to the
                                                                                                                                the disqualified amount with respect to
                                                                      specified property.
                                                                                                                                the tiered extraordinary disposition
                                                                        (D) Prior extraordinary disposition
                                                                                                                                amount equal to the sum of the
                                                                      amount—(1) General rule. The term prior
                                                                                                                                amounts included in gross income by
                                                                      extraordinary disposition amount means,
                                                                                                                                each U.S. tax resident under section
                                                                      with respect to an SFC and a section
                                                                                                                                951(a) in the taxable year in which the
                                                                      245A shareholder, the sum of the ex-
                                                                      traordinary disposition amount of each                    tiered        extraordinary     disposition
                                                                      prior dividend received by the section                    amount arose with respect to the
                                                                      245A shareholder from the SFC by rea-                     lower-tier CFC by reason of paragraph
                                                                      son of paragraph (c) of this section and                  (d) of this section. For purposes of the
                                                                      200 percent of the sum of the amounts                     preceding sentence, the reference to a
                                                                      included in the section 245A share-                       U.S. tax resident does not include any
                                                                      holder’s gross income under section                       section 245A shareholder with a tiered
                                                                      951(a) by reason of paragraph (d) of this                 extraordinary disposition amount with
                                                                      section (in the case in which the SFC                     respect to the lower-tier CFC.
                                                                      is, or has been, a lower-tier CFC). A                        (ii) Determining a qualified portion if
                                                                      section 245A shareholder’s prior ex-                      multiple section 245A shareholders have
                                                                      traordinary disposition amount also in-                   tiered extraordinary disposition amounts.
                                                                      cludes—                                                   For the purposes of applying paragraph
                                                                        (i) A prior dividend received by the                    (c)(3)(i)(D)(2)(i) of this section, if more
                                                                      section 245A shareholder from the SFC                     than one section 245A shareholder has
                                                                      to the extent not an extraordinary re-                    a tiered extraordinary disposition
                                                                      duction amount and to the extent the                      amount with respect to a dividend re-
                                                                      dividend was not eligible for the sec-                    ceived by an upper-tier CFC from a
                                                                      tion 245A deduction by reason of sec-                     lower-tier CFC, then the qualified por-
                                                                      tion 245A(e) or the holding period re-                    tion with respect to each section 245A
                                                                      quirement of section 246 not being sat-                   shareholder is equal to the amount de-
                                                                      isfied but would have been an extraor-                    scribed in paragraph (c)(3)(i)(D)(2)(i) of
                                                                      dinary disposition amount had para-                       this section, without regard to this
                                                                      graph (c) of this section applied to the                  paragraph (c)(3)(i)(D)(2)(ii), multiplied
                                                                      dividend;                                                 by a fraction, the numerator of which
                                                                        (ii) The portion of a prior dividend (to                is the section 245A shareholder’s tiered
                                                                      the extent not a tiered extraordinary                     extraordinary disposition amount with
                                                                      disposition amount by reason of para-                     respect to the lower-tier CFC and the
                                                                      graph (d) of this section) received by an                 denominator of which is the sum of the
                                                                      upper-tier CFC from the SFC that by                       tiered        extraordinary     disposition
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                                                                      reason of section 245A(e) was included                    amounts with respect to each section
                                                                      in the upper-tier CFC’s foreign per-                      245A shareholder and the lower-tier
                                                                      sonal holding company income and was                      CFC.

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                                                                        (ii) Extraordinary disposition—(A) In                   the disposition would have otherwise
                                                                      general. Except as provided in para-                      qualified as an extraordinary disposi-
                                                                      graph (c)(3)(ii)(E) of this section, the                  tion had the specified entity been a for-
                                                                      term extraordinary disposition means,                     eign corporation.
                                                                      with respect to an SFC, any disposition                      (E) De minimis exception to extraor-
                                                                      of specified property by the SFC on a                     dinary disposition. If the sum of the net
                                                                      date on which it was a CFC and during                     gain recognized by an SFC with respect
                                                                      the SFC’s disqualified period to a re-                    to specified property in all dispositions
                                                                      lated party if the disposition occurs                     otherwise      described    in   paragraph
                                                                      outside of the ordinary course of the                     (c)(3)(ii)(A) of this section does not ex-
                                                                      SFC’s activities. An extraordinary dis-                   ceed the lesser of $50 million or 5 per-
                                                                      position also includes a disposition                      cent of the gross value of all of the
                                                                      during the disqualified period on a date                  SFC’s property held immediately be-
                                                                      on which the SFC is not a CFC if there                    fore the beginning of its disqualified
                                                                      is a plan, agreement, or understanding                    period, then no disposition of specified
                                                                      involving a section 245A shareholder to                   property by the SFC is an extraor-
                                                                      cause the SFC to recognize gain that                      dinary disposition.
                                                                      would give rise to an extraordinary dis-                     (iii) Disqualified period. The term dis-
                                                                      position if the SFC were a CFC.                           qualified period means, with respect to
                                                                        (B) Facts and circumstances. A deter-                   an SFC that is a CFC on any day dur-
                                                                      mination as to whether a disposition is                   ing the taxable year that includes Jan-
                                                                      undertaken outside of the ordinary                        uary 1, 2018, the period beginning on
                                                                      course of an SFC’s activities is made                     January 1, 2018, and ending as of the
                                                                      on the basis of facts and cir-                            close of the taxable year of the SFC, if
                                                                      cumstances,      taking    into    account                any, that begins before January 1, 2018,
                                                                      whether the transaction is consistent                     and ends after December 31, 2017.
                                                                      with the SFC’s past activities, includ-                      (iv) Specified property. The term speci-
                                                                      ing with respect to quantity and fre-                     fied property means any property if gain
                                                                      quency. In addition, a disposition of                     recognized with respect to such prop-
                                                                      specified property by an SFC to a re-                     erty during the disqualified period is
                                                                      lated party may be considered outside                     not         described       in      section
                                                                      of the ordinary course of the SFC’s ac-                   951A(c)(2)(A)(i)(I) through (V). If only a
                                                                      tivities notwithstanding that the SFC                     portion of the gain recognized with re-
                                                                      regularly disposes of property of the                     spect to property during the disquali-
                                                                      same type of, or similar to, the speci-                   fied period is gain that is not described
                                                                      fied property to persons that are not                     in section 951A(c)(2)(A)(i)(I) through
                                                                      related parties.                                          (V), then a portion of the property is
                                                                        (C) Per se rules. A disposition is treat-               treated as specified property in an
                                                                      ed as occurring outside of the ordinary                   amount that bears the same ratio to
                                                                      course of an SFC’s activities if the dis-                 the value of the property as the
                                                                      position is undertaken with a principal                   amount of gain not described in section
                                                                      purpose of generating earnings and                        951A(c)(2)(A)(i)(I) through (V) bears to
                                                                      profits during the disqualified period or                 the total amount of gain recognized
                                                                      if the disposition is of intangible prop-                 with respect to such property during
                                                                      erty, as defined in section 367(d)(4).                    the disqualified period. Specified prop-
                                                                        (D) Treatment of dispositions by certain                erty is also property with respect to
                                                                      specified entities. For purposes of para-                 which a loss was recognized during the
                                                                      graph (c)(3)(ii)(A) of this section, an ex-               disqualified period if the loss is prop-
                                                                      traordinary disposition with respect to                   erly allocable to income not described
                                                                      an SFC includes a disposition by a                        in section 951A(c)(2)(A)(i)(I) through
                                                                      specified entity other than a foreign                     (V) under the principles of section
                                                                      corporation, provided that imme-                          954(b)(5) (specified loss). If only a por-
                                                                      diately before or immediately after the                   tion of the loss recognized with respect
                                                                      disposition the specified entity is a re-                 to property during the disqualified pe-
                                                                      lated party with respect to the SFC,                      riod is specified loss, then a portion of
                                                                      the SFC directly or indirectly (through                   the property is treated as specified
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                                                                      one or more other specified entities                      property in an amount that bears the
                                                                      other than foreign corporations) owns                     same ratio to the value of the property
                                                                      an interest in the specified entity, and                  as the amount of specified loss bears to

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                                                                      the total amount of loss recognized                       immediately after the transfer (taking
                                                                      with respect to such property during                      into account all transactions related to
                                                                      the disqualified period.                                  the transfer).
                                                                        (4) Successor rules for extraordinary                      (D) The transferor’s extraordinary
                                                                      disposition accounts. This paragraph                      disposition account with respect to the
                                                                      (c)(4) applies with respect to an ex-                     SFC is decreased by the amount by
                                                                      traordinary disposition account upon                      which another person’s extraordinary
                                                                      certain direct or indirect transfers of                   disposition account with respect to the
                                                                      stock of an SFC by a section 245A                         SFC is increased pursuant to paragraph
                                                                      shareholder.                                              (c)(4)(i)(A) of this section.
                                                                        (i) Another section 245A shareholder                       (E) If a principal purpose of the
                                                                      succeeds to all or portion of account. Ex-                transfer is to shift, or to avoid, an
                                                                      cept for a transfer described in § 1.1248–                amount in the transferor’s extraor-
                                                                      8(a)(1), paragraphs (c)(4)(i)(A) through                  dinary disposition account with respect
                                                                      (C) of this section apply when a section                  to the SFC to another person, then for
                                                                      245A shareholder of an SFC (the trans-                    purposes of this section, the transfer
                                                                      feror) transfers directly or indirectly a                 may be disregarded or other appro-
                                                                      share of stock (or a portion of a share                   priate adjustments may be made.
                                                                      of stock) of the SFC that it owns di-                        (ii) Certain section 381 transactions. If
                                                                      rectly or indirectly (the share or por-                   assets of an SFC (the acquired corpora-
                                                                      tion thereof, a transferred share).                       tion) are acquired by another SFC (the
                                                                        (A) If immediately after the transfer                   acquiring corporation) pursuant to a
                                                                      (taking into account all transactions                     transaction described in section 381(a)
                                                                      related to the transfer) another person                   in which the acquired corporation is
                                                                      is a section 245A shareholder of the                      the transferor corporation for purposes
                                                                      SFC, then such other person’s extraor-                    of section 381, then a section 245A
                                                                      dinary disposition account with respect                   shareholder’s extraordinary disposition
                                                                      to the SFC is increased by the person’s                   account with respect to the acquiring
                                                                      proportionate share of the amount al-                     corporation is increased by the balance
                                                                      located to the transferred share.                         of its extraordinary disposition ac-
                                                                        (B) For purposes of paragraph                           count with respect to the acquired cor-
                                                                      (c)(4)(i)(A) of this section, the amount                  poration, determined after any reduc-
                                                                      allocated to a transferred share is                       tion pursuant to paragraph (c)(3) of
                                                                      equal to the product of—                                  this section by reason of dividends and
                                                                        (1) The balance of the transferor’s ex-                 before the application of this para-
                                                                      traordinary disposition account with                      graph (c)(4)(ii).
                                                                      respect to the SFC, determined after                         (iii) Certain distributions involving sec-
                                                                      any reduction pursuant to paragraph                       tion 355 or 356. If, pursuant to a reorga-
                                                                      (c)(3) of this section by reason of divi-                 nization       described      in     section
                                                                      dends and before the application of this                  368(a)(1)(D) involving a distribution
                                                                      paragraph (c)(4)(i)(B); and                               under section 355 (or so much of section
                                                                        (2) A fraction, the numerator of                        356 as it relates to section 355) by an
                                                                      which is the value of the transferred                     SFC (the distributing corporation) of
                                                                      share and the denominator of which is                     stock of another SFC (the controlled
                                                                      the value of all of the stock of the SFC                  corporation), earnings and profits of the
                                                                      that the transferor owns directly or in-                  distributing corporation are allocated
                                                                      directly immediately before the trans-                    between the distributing corporation
                                                                      fer.                                                      and the controlled corporation, then a
                                                                        (C) For purposes of paragraph                           section 245A shareholder’s extraor-
                                                                      (c)(4)(i)(A) of this section, a person’s                  dinary disposition account with respect
                                                                      proportionate share of the amount al-                     to the distributing corporation is allo-
                                                                      located to a transferred share under                      cated on a similar basis between the
                                                                      paragraph (c)(4)(i)(B) of this section is                 distributing corporation and the con-
                                                                      equal to the product of—                                  trolled corporation.
                                                                        (1) The amount allocated to the                            (iv) Certain transfers of stock of lower-
                                                                      share; and                                                tier CFCs by upper-tier CFCs. If an
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                                                                        (2) The percentage (expressed as a                      upper-tier CFC directly or indirectly
                                                                      decimal) of the share (by value) that                     transfers stock of a lower-tier CFC and
                                                                      the person owns directly or indirectly                    if as a result of the transfer a section

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                                                                      § 1.245A–5T                                                              26 CFR Ch. I (4–1–20 Edition)

                                                                      245A shareholder ceases to be a section                   upper-tier CFC’s subpart F income
                                                                      245A shareholder with respect to the                      under section 951(a) on the last day of
                                                                      lower-tier CFC, then the section 245A                     the upper-tier CFC’s taxable year. If a
                                                                      shareholder’s extraordinary disposition                   U.S. tax resident is a direct or indirect
                                                                      account with respect to the upper-tier                    partner in a domestic partnership that
                                                                      CFC is increased by the balance of the                    is a United States shareholder of the
                                                                      section 245A shareholder’s extraor-                       upper-tier CFC, the amount of stock
                                                                      dinary disposition account with respect                   owned by the U.S. tax resident for pur-
                                                                      to the lower-tier CFC, determined after                   poses of the preceding sentence is de-
                                                                      any reduction pursuant to paragraph                       termined under the principles of para-
                                                                      (c)(3) of this section by reason of divi-                 graph (g)(3) of this section.
                                                                      dends and after application of para-                         (2) Definition of tiered extraordinary
                                                                      graph (c)(4)(i) of this section, if appli-                disposition amount—(i) In general. The
                                                                      cable. If a section 245A shareholder                      term tiered extraordinary disposition
                                                                      ceases to be a section 245A shareholder                   amount means, with respect to a divi-
                                                                      with respect to a lower-tier CFC by                       dend received by an upper-tier CFC
                                                                      reason of a direct or indirect transfer                   from a lower-tier CFC and a section
                                                                      of stock of the lower-tier CFC by mul-                    245A shareholder, the portion of the
                                                                      tiple upper-tier CFCs that occur pursu-                   dividend that would be an extraor-
                                                                      ant to a plan (or series of related trans-                dinary disposition amount if the sec-
                                                                      actions), then the balance of the sec-                    tion 245A shareholder received as a div-
                                                                      tion 245A shareholder’s extraordinary                     idend its pro rata share of the dividend
                                                                      disposition account is allocated among                    from the lower-tier CFC. The preceding
                                                                      the upper-tier CFCs. The portion of the                   sentence does not apply to an amount
                                                                      balance of the account allocated to                       treated as a dividend received by an
                                                                      each upper-tier CFC is equal to the bal-                  upper-tier CFC from a lower-tier CFC
                                                                      ance of the account multiplied by a                       by reason of section 964(e)(4) (in such
                                                                      fraction, the numerator of which is the                   case, see paragraphs (b)(1) and (g)(2) of
                                                                      value of the stock of the lower-tier                      this section).
                                                                      CFC transferred directly or indirectly                       (ii) Section 245A shareholder’s pro rata
                                                                      by the upper-tier CFC, and the denomi-                    share of a dividend received by an upper-
                                                                      nator of which is the sum of the value                    tier CFC. For the purposes of paragraph
                                                                      of the stock of the lower-tier CFC                        (d)(2)(i) of this section, a section 245A
                                                                      transferred directly or indirectly by all                 shareholder’s pro rata share of the
                                                                      upper-tier CFCs.                                          amount of a dividend received by an
                                                                        (d) Limitation of amount eligible for sec-              upper-tier CFC from a lower-tier CFC
                                                                      tion 954(c)(6) when there is an extraor-                  equals the amount by which the divi-
                                                                      dinary disposition account with respect to                dend would increase the section 245A
                                                                      a lower-tier CFC—(1) In general. If an                    shareholder’s pro rata share of the
                                                                      upper-tier CFC receives a dividend                        upper-tier CFC’s subpart F income
                                                                      from a lower-tier CFC, the dividend is                    under section 951(a)(2) and § 1.951–1(b)
                                                                      eligible for the exception to foreign                     and (e) if the dividend were included in
                                                                      personal holding company income                           the upper-tier CFC’s foreign personal
                                                                      under section 954(c)(6) only to the ex-                   holding company income under section
                                                                      tent that the amount that would be eli-                   951(a)(1), determined without regard to
                                                                      gible for the section 954(c)(6) exception                 section 952(c) and as if the upper-tier
                                                                      (determined without regard to this                        CFC had no deductions properly allo-
                                                                      paragraph (d)) exceeds the disqualified                   cable to the dividend under section
                                                                      amount, which is 50 percent of the                        954(b)(5).
                                                                      quotient of the following—                                   (e) Extraordinary reduction amount—
                                                                        (i) The sum of each section 245A                        (1) In general. Except as provided in
                                                                      shareholder’s tiered extraordinary dis-                   paragraph (e)(3) of this section, the
                                                                      position amount with respect to the                       term extraordinary reduction amount
                                                                      lower-tier CFC; and                                       means, with respect to a dividend re-
                                                                        (ii) The percentage (expressed as a                     ceived by a controlling section 245A
                                                                      decimal) of stock of the upper-tier CFC                   shareholder from a CFC during a tax-
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                                                                      (by value) owned, in the aggregate, by                    able year of the CFC ending after De-
                                                                      U.S. tax residents that include in gross                  cember 31, 2017, in which an extraor-
                                                                      income their pro rata share of the                        dinary reduction occurs with respect to

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                                                                      the controlling section 245A share-                       owns directly or indirectly on either of
                                                                      holder’s ownership of the CFC, the less-                  the dates described in paragraphs
                                                                      er of the amounts described in para-                      (e)(2)(i)(B)(1) and (2) of this section
                                                                      graph (e)(1)(i) or (ii) of this section. See              (such percentage, the initial percentage),
                                                                      paragraphs (j)(4) through (6) of this sec-                provided the difference between the
                                                                      tion for examples illustrating the ap-                    initial percentage and percentage at
                                                                      plication of this paragraph (e).                          the end of the year is at least five per-
                                                                         (i) The amount of the dividend.                        centage points.
                                                                         (ii) The amount equal to the sum of                      (B) Dates for purposes of the initial per-
                                                                      the controlling section 245A share-                       centage. For purposes of paragraph
                                                                      holder’s pre-reduction pro rata share of                  (e)(2)(i)(A)(2) of this section, the dates
                                                                      the CFC’s subpart F income (as defined                    described in paragraphs (e)(2)(i)(B)(1)
                                                                      in section 952(a)) and tested income (as                  and (2) of this section are—
                                                                      defined in section 951A(c)(2)(A)) for the                   (1) The day of the taxable year on
                                                                      taxable year, reduced, but not below                      which the controlling section 245A
                                                                      zero, by the prior extraordinary reduc-                   shareholder owns directly or indirectly
                                                                      tion amount.                                              its highest percentage of stock (by
                                                                         (2) Rules regarding extraordinary re-                  value) of the CFC; and
                                                                      duction amounts—(i) Extraordinary re-                       (2) The day immediately before the
                                                                      duction—(A) In general. Except as pro-                    first day on which stock was trans-
                                                                      vided in paragraph (e)(2)(i)(C) of this
                                                                                                                                ferred directly or indirectly in the pre-
                                                                      section, an extraordinary reduction oc-
                                                                                                                                ceding taxable year in a transaction (or
                                                                      curs, with respect to a controlling sec-
                                                                                                                                a series of transactions) occurring pur-
                                                                      tion 245A shareholder’s ownership of a
                                                                                                                                suant to a plan to reduce the percent-
                                                                      CFC during a taxable year of the CFC,
                                                                                                                                age of stock (by value) of the CFC that
                                                                      if either of the conditions described in
                                                                                                                                the controlling section 245A share-
                                                                      paragraph (e)(2)(i)(A)(1) or (2) of this
                                                                                                                                holder owns directly or indirectly.
                                                                      section is satisfied. See paragraphs
                                                                      (j)(4) and (5) of this section for exam-                    (C) Transactions pursuant to which
                                                                      ples illustrating an extraordinary re-                    CFC’s taxable year ends. A controlling
                                                                      duction.                                                  section 245A shareholder’s direct or in-
                                                                         (1) The condition of this paragraph                    direct transfer of stock of a CFC that
                                                                      (e)(2)(i)(A)(1) requires that during the                  but for this paragraph (e)(2)(i)(B) would
                                                                      taxable year, the controlling section                     give rise to an extraordinary reduction
                                                                      245A shareholder transfers directly or                    under paragraph (e)(2)(i)(A) of this sec-
                                                                      indirectly (other than by reason of a                     tion does not give rise to an extraor-
                                                                      transfer occurring pursuant to an ex-                     dinary reduction if the taxable year of
                                                                      change described in section 368(a)(1)(E)                  the CFC ends immediately after the
                                                                      or (F)), in the aggregate, more than 10                   transfer, provided that the controlling
                                                                      percent (by value) of the stock of the                    section 245A shareholder directly or in-
                                                                      CFC that the section 245A shareholder                     directly owns the stock on the last day
                                                                      owns directly or indirectly as of the be-                 of such year. Thus, for example, if a
                                                                      ginning of the taxable year of the CFC,                   controlling section 245A shareholder
                                                                      provided the stock transferred, in the                    exchanges all the stock of a CFC pursu-
                                                                      aggregate, represents at least 5 percent                  ant to a complete liquidation of the
                                                                      (by value) of the outstanding stock of                    CFC, the exchange does not give rise to
                                                                      the CFC as of the beginning of the tax-                   an extraordinary reduction.
                                                                      able year of the CFC; or                                    (ii) Rules for determining pre-reduction
                                                                         (2) The condition of this paragraph                    pro rata share—(A) In general. Except as
                                                                      (e)(2)(i)(A)(2) requires that, as a result                provided in paragraph (e)(2)(ii)(B) of
                                                                      of one or more transactions occurring                     this section, the term pre-reduction pro
                                                                      during the taxable year, the percentage                   rata share means, with respect to a con-
                                                                      of stock (by value) of the CFC that the                   trolling section 245A shareholder and
                                                                      controlling section 245A shareholder                      the subpart F income or tested income
                                                                      owns directly or indirectly as of the                     of a CFC, the controlling section 245A
                                                                      close of the last day of the taxable year                 shareholder’s pro rata share of the
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                                                                      of the CFC is less than 90 percent of the                 CFC’s subpart F income or tested in-
                                                                      percentage of stock (by value) that the                   come under section 951(a)(2) and § 1.951–
                                                                      controlling section 245A shareholder                      1(b) and (e) or section 951A(e)(1) and

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                                                                      § 1.951A–1(d)(1),   respectively,   deter-                sum of the extraordinary reduction
                                                                      mined based on the controlling section                    amount of each prior dividend received
                                                                      245A shareholder’s direct or indirect                     by the section 245A shareholder from
                                                                      ownership of stock of the CFC imme-                       the CFC during the taxable year. A sec-
                                                                      diately before the extraordinary reduc-                   tion 245A shareholder’s prior extraor-
                                                                      tion (or, if the extraordinary reduction                  dinary reduction amount also in-
                                                                      occurs by reason of multiple trans-                       cludes—
                                                                      actions, immediately before the first                       (1) A prior dividend received by the
                                                                      transaction) and without regard to sec-                   section 245A shareholder from the CFC
                                                                      tion 951(a)(2)(B) and § 1.951–1(b)(1)(ii),                during the taxable year to the extent
                                                                      but only to the extent that such sub-                     the dividend was not eligible for the
                                                                      part F income or tested income is not                     section 245A deduction by reason of
                                                                      included in the controlling section 245A                  section 245A(e) or the holding period
                                                                      shareholder’s pro rata share of the                       requirement of section 246 not being
                                                                      CFC’s subpart F income or tested in-                      satisfied but would have been an ex-
                                                                      come under section 951(a)(2) and § 1.951–                 traordinary reduction amount had this
                                                                      1(b) and (e) or section 951A(e)(1) and                    paragraph (e) applied to the dividend;
                                                                      § 1.951A–1(d)(1), respectively.                             (2) If the CFC is a lower-tier CFC for
                                                                         (B) Decrease in section 245A share-                    a portion of the taxable year during
                                                                      holder’s pre-reduction pro rata share for                 which the lower-tier CFC pays any div-
                                                                      amounts taken into account by U.S. tax                    idend to an upper tier-CFC, the portion
                                                                      resident. A controlling section 245A                      of a prior dividend received by an
                                                                      shareholder’s pre-reduction pro rata
                                                                                                                                upper-tier CFC from the lower-tier CFC
                                                                      share of subpart F income or tested in-
                                                                                                                                during the taxable year of the lower-
                                                                      come of a CFC for a taxable year is re-
                                                                                                                                tier CFC that, by reason of section
                                                                      duced by an amount equal to the sum
                                                                                                                                245A(e), was included in the upper-tier
                                                                      of the amounts by which each U.S. tax
                                                                                                                                CFC’s foreign personal holding com-
                                                                      resident’s pro rata share of the subpart
                                                                                                                                pany income and that by reason of sec-
                                                                      F income or tested income is increased
                                                                                                                                tion 951(a) was included in income of
                                                                      as a result of a transfer directly or in-
                                                                                                                                the section 245A shareholder, and that
                                                                      directly of stock of the CFC by the con-
                                                                                                                                would have given rise to a tiered ex-
                                                                      trolling section 245A shareholder or an
                                                                                                                                traordinary reduction amount by rea-
                                                                      issuance of stock by the CFC (such an
                                                                      amount with respect to a U.S. tax resi-                   son of paragraph (f) of this section had
                                                                      dent, a specified amount), in either case,                paragraph (f) applied to the dividend of
                                                                      during the taxable year in which the                      which the section 245A shareholder
                                                                      extraordinary reduction occurs. For                       would have included a pro rata share of
                                                                      purposes of this paragraph (e)(2)(ii)(B),                 the tiered extraordinary reduction
                                                                      if there are extraordinary reductions                     amount in income by reason of section
                                                                      with respect to more than one control-                    951(a); and
                                                                      ling section 245A shareholder during                        (3) If the CFC is a lower-tier CFC for
                                                                      the CFC’s taxable year, then a U.S. tax                   a portion of the taxable year during
                                                                      resident’s specified amount attrib-                       which the lower-tier CFC pays any div-
                                                                      utable to an acquisition of stock from                    idend to an upper-tier CFC, the sum of
                                                                      the CFC is prorated with respect to                       the portion of the tiered extraordinary
                                                                      each controlling section 245A share-                      reduction amount of each prior divi-
                                                                      holder based on its relative decrease in                  dend received by an upper-tier CFC
                                                                      ownership of the CFC. See paragraph                       from the lower-tier CFC during the
                                                                      (j)(5) of this section for an example il-                 taxable year that is included in income
                                                                      lustrating a decrease in a section 245A                   of the section 245A shareholder by rea-
                                                                      shareholder’s pre-reduction pro rata                      son of section 951(a).
                                                                      share for amounts taken into account                        (3) Exceptions—(i) Elective exception to
                                                                      by a U.S. tax resident.                                   close CFC’s taxable year—(A) In general.
                                                                         (C) Prior extraordinary reduction                      For a taxable year of a CFC in which
                                                                      amount. The term prior extraordinary re-                  an extraordinary reduction occurs with
                                                                      duction amount means, with respect to                     respect to a controlling section 245A
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                                                                      a CFC and section 245A shareholder and                    shareholder and for which, absent this
                                                                      a taxable year of the CFC in which an                     paragraph (e)(3), there would be an ex-
                                                                      extraordinary reduction occurs, the                       traordinary reduction amount or tiered

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                                                                      extraordinary reduction amount great-                     able year closes as a result of the elec-
                                                                      er than zero, no amount is considered                     tion, foreign taxes paid or accrued with
                                                                      an extraordinary reduction amount or                      respect to the foreign taxable year are
                                                                      tiered extraordinary reduction amount                     allocated to all such periods. The allo-
                                                                      with respect to the controlling section                   cation is made based on the respective
                                                                      245A shareholder if each controlling                      portions of the taxable income of the
                                                                      section 245A shareholder elects, pursu-                   CFC (as determined under foreign law)
                                                                      ant to this paragraph (e)(3), to close                    for the foreign taxable year that are
                                                                      the CFC’s taxable year for all purposes                   attributable under the principles of
                                                                      of the Internal Revenue Code (and,                        § 1.1502–76(b) to the periods during the
                                                                      therefore, as to all shareholders of the                  foreign taxable year. Foreign taxes al-
                                                                      CFC) as of the end of the date on which                   located to a period under this para-
                                                                      the extraordinary reduction occurs, or,                   graph (e)(3)(i)(B) are treated as paid or
                                                                      if the extraordinary reduction occurs                     accrued by the CFC as of the close of
                                                                      by reason of multiple transactions, as                    that period.
                                                                      of the end of each date on which a                           (C) Time and manner of making elec-
                                                                      transaction forming a part of the ex-                     tion—(1) General rule. An election pur-
                                                                      traordinary reduction occurs. For pur-                    suant to this paragraph (e)(3) is made
                                                                      poses of applying this paragraph (e)(3),                  and effective if the statement described
                                                                      a controlling section 245A shareholder                    in paragraph (e)(3)(i)(D)of this section
                                                                      that has an extraordinary reduction (or                   is timely filed (including extensions)
                                                                      a transaction forming a part thereof)                     by each controlling section 245A share-
                                                                      with respect to a CFC is treated as                       holder making the election with its
                                                                      owning the same amount of stock it                        original U.S. tax return for the taxable
                                                                      owned in the CFC immediately before                       year in which the extraordinary reduc-
                                                                      the extraordinary reduction (or a                         tion occurs. Before the filing of the
                                                                      transaction forming a part thereof) on                    statement described in paragraph
                                                                      the end of the date on which the ex-                      (e)(3)(iv) of this section, each control-
                                                                      traordinary reduction occurs (or such                     ling section 245A shareholder and each
                                                                      transaction forming a part thereof oc-                    U.S. tax resident that on the end of the
                                                                      curs). To the extent that stock of a                      date on which the extraordinary reduc-
                                                                      CFC is treated as owned by a control-                     tion occurs (or, if the extraordinary re-
                                                                      ling section 245A shareholder as of the                   duction occurs by reason of multiple
                                                                      close of the CFC’s taxable year pursu-                    transactions, each U.S. tax resident
                                                                      ant to the preceding sentence, such                       that on the end of each date on which
                                                                      stock is treated as not being owned by                    a transaction forming a part of the ex-
                                                                      any other person as of the close of the                   traordinary reduction occurs) owns di-
                                                                      CFC’s taxable year. If each controlling                   rectly or indirectly stock of the CFC
                                                                      section 245A shareholder elects to close                  and is a United States shareholder with
                                                                      the CFC’s taxable year, that closing                      respect to the CFC must enter into a
                                                                      will be treated as a change in account-                   written, binding agreement agreeing
                                                                      ing period for the purposes of § 1.964–                   that each controlling section 245A
                                                                      1(c).                                                     shareholder will elect to close the tax-
                                                                        (B) Allocation of foreign taxes. If an                  able year of the CFC. If a controlling
                                                                      election is made pursuant to this para-                   section 245A shareholder is a member
                                                                      graph (e)(3) to close a CFC’s taxable                     of a consolidated group (within the
                                                                      year and the CFC’s taxable year under                     meaning of § 1.1502–1(h)) and partici-
                                                                      foreign law (if any) does not close at                    pates in the extraordinary reduction,
                                                                      the end of the date on which the CFC’s                    the agent for such group (within the
                                                                      taxable year closes as a result of the                    meaning of § 1.1502–77(c)(1)) must file
                                                                      election, foreign taxes paid or accrued                   the election described in this para-
                                                                      with respect to such foreign taxable                      graph (e)(3) on behalf of such member.
                                                                      year are allocated between the period                        (2) Transition rule. In the case of an
                                                                      of the foreign taxable year that ends                     extraordinary reduction occurring be-
                                                                      with, and the period of the foreign tax-                  fore the date these regulations are filed
                                                                      able year that begins after, the date on                  as final regulations in the FEDERAL
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                                                                      which the CFC’s taxable year closes as                    REGISTER, the statement described in
                                                                      a result of the election. If there is more                paragraph (e)(3)(i)(D) of this section is
                                                                      than one date on which the CFC’s tax-                     considered timely filed if it is attached

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                                                                      by each controlling section 245A share-                   CFCs, then, to the extent those ex-
                                                                      holder to an original or amended re-                      traordinary reductions occur pursuant
                                                                      turn for the taxable year in which the                    to a plan or series of related trans-
                                                                      extraordinary reduction occurs.                           actions, the election described in this
                                                                        (D) Form and content of statement. The                  paragraph (e)(3) may be made only if it
                                                                      statement       required    by    paragraph               is made for all such extraordinary re-
                                                                      (e)(3)(i)(C) of this section is to be titled              ductions with respect to all of the
                                                                      ‘‘Elective Section 245A Year-Closing                      CFCs that have the same or related
                                                                      Statement.’’ The statement must—                          (within the meaning of section 267(b) or
                                                                        (1) Identify (by name and tax identi-                   707(b)) controlling section 245A share-
                                                                      fication number, if any) each control-                    holders.
                                                                      ling section 245A shareholder, each U.S                     (ii) De minimis subpart F income and
                                                                      tax resident described in paragraph                       tested income. For a taxable year of a
                                                                      (e)(3)(iii) of this section, and the CFC;                 CFC in which an extraordinary reduc-
                                                                        (2) State the date of the extraor-                      tion occurs, no amount is considered
                                                                      dinary reduction (or, if the extraor-                     an extraordinary reduction amount (or,
                                                                      dinary reduction includes transactions                    with respect to a lower-tier CFC, a
                                                                      on more than one date, the dates of all                   tiered extraordinary reduction amount
                                                                      such transactions) to which the elec-                     under paragraph (f) of this section)
                                                                      tion applies;                                             with respect to a controlling section
                                                                        (3) State the filing controlling sec-                   245A shareholder of the CFC if the sum
                                                                      tion 245A shareholder’s pro rata share                    of the CFC’s subpart F income and
                                                                      of the subpart F income, tested in-
                                                                                                                                tested income (as defined in section
                                                                      come, and foreign taxes described in
                                                                                                                                951A(c)(2)(A)) for the taxable year does
                                                                      section 960 with respect to the stock of
                                                                                                                                not exceed the lesser of $50 million or 5
                                                                      the CFC subject to the extraordinary
                                                                                                                                percent of the CFC’s total income for
                                                                      reduction, and the amount of earnings
                                                                                                                                the taxable year.
                                                                      and profits attributable to such stock
                                                                      within the meaning of section 1248, as                      (f) Limitation of amount eligible for sec-
                                                                      of the date of the extraordinary reduc-                   tion 954(c)(6) where extraordinary reduc-
                                                                      tion;                                                     tion occurs with respect to lower-tier
                                                                        (4) State that each controlling sec-                    CFCs—(1) In general. If an extraor-
                                                                      tion 245A shareholder and each U.S. tax                   dinary reduction occurs with respect to
                                                                      resident      described     in    paragraph               a lower-tier CFC and an upper-tier CFC
                                                                      (e)(3)(iii) of this section have entered                  receives a dividend from the lower-tier
                                                                      into a written, binding agreement to                      CFC in the taxable year in which the
                                                                      elect to close the CFC’s taxable year in                  extraordinary reduction occurs, then
                                                                      accordance with paragraph (e)(3)(iii) of                  the amount of the dividend that would
                                                                      this section; and                                         otherwise be eligible for the exception
                                                                        (5) Be filed in the manner prescribed                   to foreign personal holding company
                                                                      by forms, publications, or other guid-                    income under section 954(c)(6) (deter-
                                                                      ance published in the Internal Revenue                    mined without regard to this para-
                                                                      Bulletin.                                                 graph (f)) is eligible for such exception
                                                                        (E) Consistency requirements. If mul-                   only to the extent the dividend exceeds
                                                                      tiple extraordinary reductions occur                      the tiered extraordinary reduction
                                                                      with respect to one or more controlling                   amount. The preceding sentence does
                                                                      section 245A shareholders’ ownership in                   not apply to an amount treated as a
                                                                      a single CFC during one or more tax-                      dividend received by an upper-tier CFC
                                                                      able years of the CFC, then to the ex-                    by reason of section 964(e)(4) (in this
                                                                      tent those extraordinary reductions                       case, see paragraphs (b) and (g)(2) of
                                                                      occur pursuant to a plan or series of re-                 this section). See paragraph (j)(7) of
                                                                      lated transactions, the election de-                      this section for an example illustrating
                                                                      scribed in this paragraph (e)(3) section                  the application of this paragraph (f)(1).
                                                                      may be made only if it is made for all                      (2) Definition of tiered extraordinary re-
                                                                      such extraordinary reductions with re-                    duction amount. The term tiered extraor-
                                                                      spect to the CFC. Furthermore, if an                      dinary reduction amount means, with re-
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                                                                      extraordinary reduction occurs with                       spect to the portion of a dividend re-
                                                                      respect to a controlling section 245A                     ceived by an upper-tier CFC from a
                                                                      shareholder’s ownership in multiple                       lower-tier CFC during a taxable year of

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                                                                                                                     - Add.62 -
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                                                                      the lower-tier CFC that would be eligi-                   each U.S. tax resident’s pro rata share
                                                                      ble for the exception to foreign per-                     of subpart F income and tested income
                                                                      sonal holding company income under                        for the taxable year under section
                                                                      section 954(c)(6) (determined without                     951(a) or 951A(a), respectively, attrib-
                                                                      regard to this paragraph (f)), the                        utable to shares of the lower-tier CFC
                                                                      amount of such dividend equal to the                      directly or indirectly acquired by the
                                                                      excess, if any, of—                                       U.S. tax resident from the lower-tier
                                                                        (i) The product of—                                     CFC during the taxable year.
                                                                        (A) The sum of the amount of the                           (3) Transition rule for computing tiered
                                                                      subpart F income and tested income of                     extraordinary reduction amount. Solely
                                                                      the lower-tier CFC for the taxable                        for purposes of applying this paragraph
                                                                      year; and                                                 (f) in taxable years of a lower-tier CFC
                                                                        (B) The percentage (by value) of                        beginning on or after January 1, 2018,
                                                                      stock of the lower-tier CFC owned                         and ending before June 14, 2019, a tiered
                                                                      (within     the    meaning     of   section               extraordinary reduction amount is de-
                                                                      958(a)(2)) by the upper-tier CFC imme-                    termined by treating the lower-tier
                                                                      diately before the extraordinary reduc-                   CFC’s subpart F income for the taxable
                                                                      tion (or the first transaction forming a                  year as if it were neither subpart F in-
                                                                      part thereof); over                                       come nor tested income.
                                                                        (ii) The following amounts—                                (g) Special rules. The following rules
                                                                        (A) The sum of each U.S. tax resi-                      apply for purposes of this section.
                                                                      dent’s pro rata share of the lower-tier                      (1) Source of dividends. A dividend re-
                                                                      CFC’s subpart F income and tested in-                     ceived by any person is considered re-
                                                                      come under section 951(a) or 951A(a),                     ceived directly by such person from the
                                                                      respectively, that is attributable to                     foreign corporation whose earnings and
                                                                      shares of the lower-tier CFC owned                        profits give rise to the dividend. There-
                                                                      (within     the    meaning     of   section               fore, for example, if a section 245A
                                                                      958(a)(2)) by the upper-tier CFC imme-                    shareholder sells or exchanges stock of
                                                                      diately prior to the extraordinary re-                    an upper-tier CFC and the gain recog-
                                                                      duction (or the first transaction form-                   nized on the sale or exchange is in-
                                                                      ing a part thereof), computed without                     cluded in the gross income of the sec-
                                                                      the application of this paragraph (f);                    tion 245A shareholder as a dividend
                                                                        (B) The sum of each prior tiered ex-                    under section 1248(a), then, to the ex-
                                                                      traordinary reduction amount and sum                      tent the dividend is attributable under
                                                                      of each amount included in an upper-                      section 1248(c)(2) to the earnings and
                                                                      tier CFC’s subpart F income by reason                     profits of a lower-tier CFC owned,
                                                                      of section 245A(e) with respect to prior                  within the meaning of section 958(a)(2),
                                                                      dividends from the lower-tier CFC dur-                    by the section 245A shareholder
                                                                      ing the taxable year;                                     through the upper-tier CFC, the divi-
                                                                        (C) The sum of the prior extraor-                       dend is considered received directly by
                                                                      dinary reduction amounts (but, for this                   the section 245A shareholder from the
                                                                      purpose, computed without regard to                       lower-tier CFC.
                                                                      amounts       described    in   paragraphs                   (2) Certain section 964(e) inclusions
                                                                      (e)(2)(ii)(C)(2) and (3) of this section) of              treated as dividends. An amount in-
                                                                      each controlling section 245A share-                      cluded in the gross income of a section
                                                                      holder with respect to shares of the                      245A     shareholder      under    section
                                                                      lower-tier CFC that were owned by                         951(a)(1)(A) by reason of section
                                                                      such controlling section 245A share-                      964(e)(4) is considered a dividend re-
                                                                      holder (including indirectly through a                    ceived by the section 245A shareholder
                                                                      specified entity other than a foreign                     directly from the foreign corporation
                                                                      corporation) for a portion of the tax-                    whose earnings and profits give rise to
                                                                      able year but are owned by an upper-                      the amount described in section
                                                                      tier CFC (including indirectly through                    964(e)(1). Therefore, for example, if an
                                                                      a specified entity other than a foreign                   upper-tier CFC sells or exchanges stock
                                                                      corporation) at the time of the dis-                      of a lower-tier CFC, and, as a result of
                                                                      tribution of the dividend; and                            the sale or exchange, a section 245A
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                                                                        (D) The product of the amount de-                       shareholder with respect to the upper-
                                                                      scribed in paragraph (f)(2)(i)(B) of this                 tier CFC includes an amount in gross
                                                                      section and the sum of the amounts of                     income under section 951(a)(1)(A) by

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                                                                      reason of section 964(e)(4), then the in-                   (iii) Definition of specified entity. The
                                                                      clusion is treated as a dividend re-                      term specified entity means any part-
                                                                      ceived directly by the section 245A                       nership, trust, or estate (in each case,
                                                                      shareholder from the lower-tier CFC                       domestic or foreign), or any foreign
                                                                      whose earnings and profits give rise to                   corporation.
                                                                      the dividend, and the section 245A                          (4) Coordination rules—(i) General rule.
                                                                      shareholder is not allowed a section                      A dividend is first subject to section
                                                                      245A deduction for the dividend to the                    245A(e). To the extent the dividend is
                                                                      extent of the ineligible amount of such                   not a hybrid dividend or tiered hybrid
                                                                      dividend.                                                 dividend under section 245A(e), the div-
                                                                         (3) Rules regarding stock ownership and                idend is subject to paragraph (e) or (f)
                                                                      stock transfers—(i) Determining indirect                  of this section, as applicable, and then,
                                                                      ownership of stock of an SFC or a CFC.                    to the extent the dividend is not sub-
                                                                      For purposes of this section, if a person                 ject to paragraph (e) or (f) of this sec-
                                                                      owns an interest in, or stock of, a spec-                 tion, it is subject to paragraph (c) or
                                                                      ified entity, including through a chain
                                                                                                                                (d) of this section, as applicable.
                                                                      of ownership of one or more other spec-
                                                                                                                                  (ii) Coordination rule for paragraphs
                                                                      ified entities, then the person is consid-
                                                                      ered to own indirectly a pro rata share                   (c) and (d) and (e) and (f) of this section,
                                                                      of stock of an SFC or a CFC owned by                      respectively. If an SFC or CFC pays a
                                                                      the specified entity. To determine a                      dividend (or simultaneous dividends), a
                                                                      person’s pro rata share of stock owned                    portion of which may be subject to
                                                                      by a specified entity, the principles of                  paragraph (c) or (e) of this section and
                                                                      section 958(a) apply without regard to                    a portion of which may be subject to
                                                                      whether the specified entity is foreign                   paragraph (d) or (f) of this section, the
                                                                      or domestic.                                              rules of this section apply by treating
                                                                         (ii) Determining indirect transfers for                the portion of the dividend or dividends
                                                                      stock owned indirectly. If, under para-                   that may be subject to paragraph (c) or
                                                                      graph (g)(3)(i) of this section, a person                 (e) of this section as if it occurred im-
                                                                      is considered to own indirectly stock of                  mediately before the portion of the div-
                                                                      an SFC or CFC that is owned by a spec-                    idend or dividends that may be subject
                                                                      ified entity, then the following rules                    to paragraph (d) or (f) of this section.
                                                                      apply in determining if the person                        For example, if a dividend arising
                                                                      transfers stock of the SFC or CFC—                        under section 964(e)(4) occurs at the
                                                                         (A) To the extent the specified entity                 same time as a dividend that would be
                                                                      transfers stock that is considered                        eligible for the exception to foreign
                                                                      owned indirectly by the person imme-                      personal holding company income
                                                                      diately before the transfer, the person                   under section 954(c)(6) but for the po-
                                                                      is considered to transfer indirectly                      tential application of paragraph (d)
                                                                      such stock;                                               this section, then the tiered extraor-
                                                                         (B) If the person transfers an interest                dinary disposition amount with respect
                                                                      in, or stock of, the specified entity,                    to the other dividend is determined as
                                                                      then the person is considered to trans-                   if the dividend arising under section
                                                                      fer indirectly the stock of the SFC or                    964(e)(4) occurs immediately prior to
                                                                      CFC attributable to the interest in, or                   the other dividend.
                                                                      the stock of, the specified entity that                     (5) Ordering rule for multiple dividends
                                                                      is transferred; and                                       made by an SFC or a CFC during a tax-
                                                                         (C) In the case in which the person                    able year. If an SFC or a CFC pays divi-
                                                                      owns the specified entity through a                       dends on more than one date during its
                                                                      chain of ownership of one or more                         taxable year or at different times on
                                                                      other specified entities, if there is a                   the same date, this section applies
                                                                      transfer of an interest in, or stock of,                  based on the order in which the divi-
                                                                      another specified entity in the chain of                  dends are paid.
                                                                      ownership, then the person is consid-
                                                                                                                                  (6) Partner’s distributive share of a do-
                                                                      ered to transfer indirectly the stock of
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                                                                                                                                mestic partnership’s pro rata share of sub-
                                                                      the SFC or CFC attributable to the in-
                                                                      terest in, or the stock of, the other                     part F income. If a section 245A share-
                                                                      specified entity transferred.                             holder or a U.S. tax resident is a direct

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                                                                      or indirect partner in a domestic part-                   to the buyer or buyers) as part of the
                                                                      nership that is a United States share-                    same plan, all sellers will be considered
                                                                      holder with respect to a CFC and in-                      to act in concert with regard to the
                                                                      cludes in gross income its pro rata                       sale or exchange.
                                                                      share of the CFC’s subpart F income                          (3) Disqualified amount. The term dis-
                                                                      under section 951(a), then, solely for                    qualified amount has the meaning set
                                                                      purposes of this section, a reference to                  forth in paragraph (d)(1) of this section.
                                                                      the section 245A shareholder’s or U.S.                       (4) Disqualified period. The term dis-
                                                                      tax resident’s pro rata share of the                      qualified period has the meaning set
                                                                      CFC’s subpart F income included in                        forth in paragraph (c)(3)(iii) of this sec-
                                                                      gross income under section 951(a) in-                     tion.
                                                                      cludes such person’s distributive share                      (5) Extraordinary disposition. The term
                                                                      of the domestic partnership’s pro rata                    extraordinary disposition has the mean-
                                                                      share of the CFC’s subpart F income. A                    ing set forth in paragraph (c)(3)(ii) of
                                                                      person is an indirect partner with re-                    this section.
                                                                      spect to a domestic partnership if the                       (6) Extraordinary disposition account.
                                                                      person indirectly owns the domestic                       The term extraordinary disposition
                                                                      partnership through one or more speci-                    amount has the meaning set forth in
                                                                      fied entities (other than a foreign cor-                  paragraph (c)(3)(i) of this section.
                                                                      poration).                                                   (7) Extraordinary disposition amount.
                                                                        (h) Anti-abuse rule. The Commissioner                   The term extraordinary disposition
                                                                      may make appropriate adjustments to                       amount has the meaning set forth in
                                                                      any amounts determined under this                         paragraph (c)(1) of this section.
                                                                      section if a transaction is engaged in                       (8) Extraordinary disposition E&P. The
                                                                      with a principal purpose of avoiding                      term extraordinary E&P has the mean-
                                                                      the purposes of this section.                             ing set forth in paragraph (c)(3)(i)(C) of
                                                                        (i) Definitions. The following defini-                  this section.
                                                                      tions apply for purposes of this section.                    (9) Extraordinary disposition ownership
                                                                        (1) Controlled foreign corporation. The                 percentage. The term extraordinary dis-
                                                                      term controlled foreign corporation (or                   position ownership percentage has the
                                                                      CFC) has the meaning provided in sec-                     meaning set forth in paragraph
                                                                      tion 957.                                                 (c)(3)(i)(B) of this section.
                                                                        (2) Controlling section 245A share-                        (10) Extraordinary reduction. The term
                                                                      holder. The term controlling section 245A                 extraordinary reduction has the meaning
                                                                      shareholder means, with respect to a                      set forth in paragraph (e)(2)(i)(A) of
                                                                      CFC, any section 245A shareholder that                    this section.
                                                                      owns directly or indirectly more than                        (11) Extraordinary reduction amount.
                                                                      50 percent (by vote or value) of the                      The      term     extraordinary   reduction
                                                                      stock of the CFC. For purposes of de-                     amount has the meaning set forth in
                                                                      termining whether a section 245A                          paragraph (e)(1) of this section.
                                                                      shareholder is a controlling section                         (12) Ineligible amount. The term ineli-
                                                                      245A shareholder with respect to a                        gible amount has the meaning set forth
                                                                      CFC, all stock of the CFC owned by a                      in paragraph (b)(2) of this section.
                                                                      related party with respect to the sec-                       (13) Lower-tier CFC. The term lower-
                                                                      tion 245A shareholder or by other per-                    tier CFC means a CFC whose stock is
                                                                      sons acting in concert with the section                   owned (within the meaning of section
                                                                      245A shareholder to undertake an ex-                      958(a)(2)), in whole or in part, by an-
                                                                      traordinary reduction is considered                       other CFC.
                                                                      owned by the section 245A shareholder.                       (14) Non-extraordinary disposition E&P.
                                                                      If section 964(e)(4) applies to a sale or                 The term non-extraordinary disposition
                                                                      exchange of a lower-tier CFC with re-                     E&P has the meaning set forth in para-
                                                                      spect to a controlling section 245A                       graph (c)(2)(ii) of this section.
                                                                      shareholder, all United States share-                        (15) Pre-reduction pro rata share. The
                                                                      holders of the CFC are considered to                      term pre-reduction pro rata share has
                                                                      act in concert with regard to the sale                    the meaning set forth in paragraph
                                                                      or exchange. In addition, if all persons                  (e)(2)(ii) of this section.
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                                                                      selling stock in a CFC, held directly,                       (16) Prior extraordinary disposition
                                                                      sell such stock to the same buyer or                      amount. The term prior extraordinary
                                                                      buyers (or a related party with respect                   disposition amount has the meaning set

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                                                                      forth in paragraph (c)(3)(i)(D) of this                   son described in section 7701(a)(30)(A)
                                                                      section.                                                  or (C).
                                                                         (17) Prior extraordinary reduction                        (j) Examples. The application of this
                                                                      amount. The term prior extraordinary re-                  section is illustrated by the examples
                                                                      duction amount has the meaning set                        in this paragraph (j).
                                                                      forth in paragraph (e)(2)(ii)(C) of this                     (1) Facts. Except as otherwise stated,
                                                                      section.                                                  the following facts are assumed for
                                                                         (18) Qualified portion. The term quali-                purposes of the examples:
                                                                      fied portion has the meaning set forth                       (i) US1 and US2 are domestic cor-
                                                                      in paragraph (c)(3)(i)(D)(2)(i) of this                   porations, each with a calendar taxable
                                                                      section.                                                  year, and are not related parties with
                                                                         (19) Related party. The term related                   respect to each other.
                                                                      party means, with respect to a person,                       (ii) CFC1 and CFC2 are foreign cor-
                                                                      another person bearing a relationship                     porations that are SFCs and CFCs.
                                                                      described in section 267(b) or 707(b) to                     (iii) Each entity uses the U.S. dollar
                                                                      the person, in which case such persons                    as its functional currency.
                                                                      are related.                                                 (iv) Year 2 begins on or after January
                                                                         (20) Section 245A deduction. The term                  1, 2018, and has 365 days.
                                                                      section 245A deduction means, with re-                       (v) Absent application of this section,
                                                                      spect to a dividend received by a sec-                    the dividends received by US1 and US2
                                                                      tion 245A shareholder from an SFC, the                    from CFC1 meet the requirements to
                                                                      amount of the deduction allowed to the                    qualify for the section 245A deduction.
                                                                      section 245A shareholder by reason of                        (vi) The de minimis rules in para-
                                                                      the dividend.                                             graphs (c)(3)(ii)(E) and (e)(3)(ii) of this
                                                                         (21) Section 245A shareholder. The                     section do not apply.
                                                                      term section 245A shareholder means a                        (2) Example 1. Extraordinary disposi-
                                                                      domestic corporation that is a United                     tion—(i) Facts. US1 and US2 own 60%
                                                                      States shareholder with respect to an                     and 40%, respectively, of the single
                                                                      SFC that owns directly or indirectly                      class of stock of CFC1. CFC1 owns all of
                                                                      stock of the SFC.                                         the single class of stock of CFC2. CFC1
                                                                         (22) Specified 10-percent owned foreign                and CFC2 use the taxable year ending
                                                                      corporation (SFC). The term specified 10-                 November 30 as their taxable year. On
                                                                      percent owned foreign corporation (or                     November 1, 2018, CFC1 sells specified
                                                                      SFC) has the meaning provided in sec-                     property to CFC2 in exchange for $200x
                                                                      tion 245A(b)(1).                                          of cash (the ‘‘Property Transfer’’). The
                                                                         (23) Specified entity. The term specified              Property Transfer is outside of CFC1’s
                                                                      entity has the meaning set forth in                       ordinary course of activities. The
                                                                      paragraph (g)(3)(iii) of this section.                    transferred property has a basis of
                                                                         (24) Specified property. The term speci-               $100x in the hands of CFC1. CFC1 recog-
                                                                      fied property has the meaning set forth                   nizes $100x of gain as a result of the
                                                                      in paragraph (c)(3)(iv) of this section.                  Property Transfer ($200x¥$100x). On
                                                                         (25) Tiered extraordinary disposition                  December 1, 2018, CFC1 distributes $80x
                                                                      amount. The term tiered extraordinary                     pro rata to US1 ($48x) and US2 ($32x),
                                                                      disposition amount has the meaning set                    all of which is a dividend within the
                                                                      forth in paragraph (d)(2)(i) of this sec-                 meaning of section 316 and treated as a
                                                                      tion.                                                     distribution out of earnings described
                                                                         (26) Tiered extraordinary reduction                    in section 959(c)(3). No other distribu-
                                                                      amount. The term tiered extraordinary                     tions are made by CFC1 to either US1
                                                                      reduction amount has the meaning set                      or US2 in CFC1’s taxable year ending
                                                                      forth in paragraph (f)(2) of this section.                November 30, 2019. For its taxable year
                                                                         (27) United States shareholder. The                    ending on November 30, 2019, CFC1 has
                                                                      term United States shareholder has the                    $110x of earnings and profits described
                                                                      meaning provided in section 951(b).                       in section 959(c)(3), without regard to
                                                                         (28) Upper-tier CFC. The term upper-                   any distributions during the taxable
                                                                      tier CFC means a CFC that owns (with-                     year.
                                                                      in the meaning of section 958(a)(2))                         (ii) Analysis—(A) Identification of ex-
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                                                                      stock in another CFC.                                     traordinary disposition. Because CFC1 is
                                                                         (29) U.S. tax resident. The term U.S.                  a CFC and uses the taxable year ending
                                                                      tax resident means a United States per-                   on November 30, under paragraph

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                                                                      (c)(3)(iii) of this section, it has a dis-                is paid out of the extraordinary dis-
                                                                      qualified period beginning on January                     position account with respect to US1.
                                                                      1, 2018, and ending on November 30,                       See paragraph (c)(1) of this section.
                                                                      2018. In addition, under paragraph                        Under paragraph (c)(2)(i) of this sec-
                                                                      (c)(3)(ii) of this section, the Property                  tion, the dividend is first considered
                                                                      Transfer is an extraordinary disposi-                     paid out of non-extraordinary disposi-
                                                                      tion because it (i) is a disposition of                   tion E&P with respect to US1, to the
                                                                      specified property by CFC1 on a date on                   extent thereof. With respect to US1,
                                                                      which it was a CFC and during CFC1’s                      $6x of CFC1’s earnings and profits is
                                                                      disqualified period, (ii) is to CFC2, a re-               non-extraordinary disposition E&P,
                                                                      lated party with respect to CFC1, (iii)                   calculated as the excess of $66x (the
                                                                      occurs outside of the ordinary course of                  product of $110x of earnings and profits
                                                                      CFC1’s activities, and (iv) is not sub-                   described in section 959(c)(3), without
                                                                      ject to the de minimis rule in para-                      regard to the $80x distribution, and
                                                                      graph (c)(3)(ii)(E) of this section.                      60%) over $60x (the balance of US1’s ex-
                                                                        (B) Determination of section 245A                       traordinary disposition account with
                                                                      shareholders and their extraordinary dis-                 respect to CFC1, immediately before
                                                                      position accounts. Because CFC1 under-                    the     distribution).    See   paragraph
                                                                      took an extraordinary disposition,                        (c)(2)(ii) of this section. Thus, $6x of
                                                                      under paragraph (c)(3)(i) of this sec-                    the dividend is considered paid out of
                                                                      tion, a portion of CFC1’s earnings and                    non-extraordinary      disposition   E&P
                                                                      profits are extraordinary disposition                     with respect to US1. Under paragraph
                                                                      E&P and, therefore, give rise to an ex-                   (c)(2)(i)(B) of this section, the remain-
                                                                      traordinary disposition account with                      ing $42x of the dividend is next consid-
                                                                      respect to each of CFC1’s section 245A                    ered paid out of US1’s extraordinary
                                                                      shareholders. Under paragraph (i)(21) of                  disposition account with respect to
                                                                      this section, US1 and US2 are both sec-                   CFC1, to the extent thereof. Accord-
                                                                      tion 245A shareholders with respect to                    ingly, $42x of the dividend is considered
                                                                      CFC1. The amount of the extraordinary                     paid out of the extraordinary disposi-
                                                                      disposition account with respect to                       tion account with respect to CFC1 and
                                                                      US1 is $60x, which is equal to the prod-                  gives rise to $42x of an extraordinary
                                                                      uct of the extraordinary disposition                      disposition amount. As a result, US1’s
                                                                      E&P (the amount of the net gain recog-                    prior extraordinary disposition amount
                                                                      nized by CFC1 as a result of the Prop-                    is increased by $42x under paragraph
                                                                      erty Transfer ($100x)) and the extraor-                   (c)(3)(i)(D) of this section, and US1’s
                                                                      dinary disposition ownership percent-                     extraordinary disposition account is
                                                                      age (the percentage of the stock of                       reduced to $18x ($60¥$42x) under para-
                                                                      CFC1 owned directly or indirectly by                      graph (c)(3)(i)(A) of this section.
                                                                      US1 on January 1, 2018 (60%)), reduced                      (D) Determination of extraordinary dis-
                                                                      by the prior extraordinary disposition                    position amount with respect to US2. The
                                                                      amount ($0). See paragraph (c)(3)(i) of                   dividend of $32x paid to US2, on Decem-
                                                                      this section. Similarly, the amount of                    ber 1, 2018, is an extraordinary disposi-
                                                                      the extraordinary disposition account                     tion amount to the extent the dividend
                                                                      with respect to US2 is $40x, which is                     is paid out of extraordinary disposition
                                                                      equal to the product of the extraor-                      E&P with respect to US2. See para-
                                                                      dinary disposition E&P (the net gain                      graph (c)(1) of this section. Under para-
                                                                      recognized by CFC1 as a result of the                     graph (c)(2)(i) of this section, the divi-
                                                                      Property Transfer ($100x)) and extraor-                   dend is first considered paid out of non-
                                                                      dinary disposition ownership percent-                     extraordinary disposition E&P with re-
                                                                      age (the percentage of the stock of                       spect to US2, to the extent thereof.
                                                                      CFC1 owned directly or indirectly by                      With respect to US2, $4x of CFC1’s
                                                                      US2 on January 1, 2018 (40%)), reduced                    earnings and profits is non-extraor-
                                                                      by the prior extraordinary disposition                    dinary disposition E&P, calculated as
                                                                      amount ($0).                                              the excess of $44x (the product of $110x
                                                                        (C) Determination of extraordinary dis-                 of earnings and profits described in sec-
                                                                      position amount with respect to US1. The                  tion 959(c)(3), without regard to the
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                                                                      dividend of $48x paid to US1 on Decem-                    $80x distribution, and 40%) over $40x
                                                                      ber 1, 2018, is an extraordinary disposi-                 (the balance of US2’s extraordinary dis-
                                                                      tion amount to the extent the dividend                    position account with respect to CFC1,

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                                                                      immediately before the distribution).                     of CFC1 is 60% and US2’s pro rata share
                                                                      See paragraph (c)(2)(ii) of this section.                 of any subpart F income of CFC2 is
                                                                      Thus, $4x of the dividend is considered                   40%.
                                                                      paid out of non-extraordinary disposi-                       (ii) Analysis—(A) Identification of ex-
                                                                      tion E&P with respect to US2. Under                       traordinary disposition. The Property
                                                                      paragraph (c)(2)(i)(B) of this section,                   Transfer is an extraordinary disposi-
                                                                      the remaining $28x of the dividend is                     tion under the same analysis as pro-
                                                                      next considered paid out of US2’s ex-                     vided in paragraph (j)(2)(ii)(A) of this
                                                                      traordinary disposition account with                      section (the analysis in Example 1).
                                                                      respect to CFC1, to the extent thereof.                      (B) Determination of section 245A
                                                                      Accordingly, $28x of the dividend is                      shareholders and their extraordinary dis-
                                                                      considered paid out of the extraor-                       position accounts. Both US1 and US2 are
                                                                      dinary disposition account with respect                   section 245A shareholders with respect
                                                                      to US2 and gives rise to $28x of an ex-                   to CFC2, US1 has an extraordinary dis-
                                                                      traordinary disposition amount. As a                      position account of $60x with respect to
                                                                      result, US2’s prior extraordinary dis-                    CFC2, and US2 has an extraordinary
                                                                      position amount is increased by $28x                      disposition account of $40x with respect
                                                                      under paragraph (c)(3)(i)(D) of this sec-                 to CFC2 under the same analysis as
                                                                      tion, and US2’s extraordinary disposi-                    provided in paragraph (j)(2)(ii)(B) of
                                                                      tion account is reduced to $12x                           this section (the analysis in Example 1).
                                                                      ($40¥$28x) under paragraph (c)(3)(i)(A)
                                                                                                                                   (C) Determination of tiered extraor-
                                                                      of this section.
                                                                                                                                dinary disposition amount—(1) In gen-
                                                                        (E) Determination of ineligible amount
                                                                                                                                eral. US1 and US2 each have a tiered
                                                                      with respect to US1 and US2. Under para-
                                                                                                                                extraordinary disposition amount with
                                                                      graph (b)(2) of this section, with re-
                                                                                                                                respect to the $80x dividend paid by
                                                                      spect to US1 and the dividend of $48x,
                                                                                                                                CFC2 to CFC1 to the extent that US1
                                                                      the ineligible amount is $21x, the sum
                                                                                                                                and US2 would have an extraordinary
                                                                      of 50 percent of the extraordinary dis-
                                                                                                                                disposition amount if each had re-
                                                                      position amount ($42x) and extraor-
                                                                                                                                ceived as a dividend its pro rata share
                                                                      dinary reduction amount ($0). There-
                                                                                                                                of the dividend from CFC2. See para-
                                                                      fore, with respect to the dividend re-
                                                                      ceived by US1 of $48x, $27x is eligible                   graph (d)(2)(i) of this section. Under
                                                                      for a section 245A deduction. With re-                    paragraph (d)(2)(ii) of this section,
                                                                      spect to US2 and the dividend of $32x,                    US1’s pro rata share of the dividend is
                                                                      the ineligible amount is $14x, the sum                    $48x (60% ¥ $80x), that is, the increase
                                                                      of 50% of the extraordinary disposition                   to US1’s pro rata share of the subpart
                                                                      amount ($28x) and extraordinary reduc-                    F income if the dividend were included
                                                                      tion amount ($0). Therefore, with re-                     in CFC1’s foreign personal holding
                                                                      spect to the dividend received by US2                     company income, without regard to
                                                                      of $32x, $18x is eligible for a section                   section 952(c) and the allocation of ex-
                                                                      245A deduction.                                           penses. Similarly, US2’s pro rata share
                                                                        (3) Example 2. Application of section                   of the dividend is $32x (40% ¥ $80x).
                                                                      954(c)(6) exception with extraordinary dis-                  (2) Determination of tiered extraor-
                                                                      position account—(i) Facts. The facts are                 dinary disposition amount with respect to
                                                                      the same as in paragraph (j)(2)(i) of this                US1. The extraordinary disposition
                                                                      section (the facts in Example 1) except                   amount with respect to US1 is $42x,
                                                                      that the Property Transfer is a sale by                   under the same analysis provided in
                                                                      CFC2 to CFC1 instead of a sale by CFC1                    paragraph (j)(2)(ii)(C) of this section
                                                                      to CFC2, the $80x distribution is by                      (the analysis in Example 1). Accord-
                                                                      CFC2 to CFC1 in a separate transaction                    ingly, the tiered extraordinary disposi-
                                                                      that is unrelated to the Property                         tion amount with respect to US1 is
                                                                      Transfer, and the description of the                      $42x.
                                                                      earnings and profits of CFC1 is applied                      (3) Determination of extraordinary dis-
                                                                      to CFC2. Additionally, absent the ap-                     position amount with respect to US2. The
                                                                      plication of this section, section                        extraordinary disposition amount with
                                                                      954(c)(6) would apply to the distribu-                    respect to US2 is $28x, under the same
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                                                                      tion by CFC2 to CFC1. Under section                       analysis      provided     in    paragraph
                                                                      951(a)(2) and § 1.951–1(b) and (e), US1’s                 (j)(2)(ii)(D) of this section (the analysis
                                                                      pro rata share of any subpart F income                    in Example 1). Accordingly, the tiered

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                                                                      extraordinary disposition amount with                     ber 31, Year 2, US1 owns all of the sin-
                                                                      respect to US2 is $28x.                                   gle class of stock of CFC1, and no per-
                                                                        (D) Limitation of section 954(c)(6) excep-              son transferred any CFC1 stock di-
                                                                      tion. The sum of US1 and US2’s tiered                     rectly or indirectly in Year 1 pursuant
                                                                      extraordinary disposition amounts is                      to a plan to reduce the percentage of
                                                                      $70x ($42x + $28x). The portion of the                    stock (by value) of CFC1 owned by US1.
                                                                      stock of CFC1 (by value) owned (within                    Also as of the beginning of Year 2,
                                                                      the meaning of section 958(a)) by U.S.                    CFC1 has no earnings and profits de-
                                                                      tax residents on the last day of CFC1’s                   scribed in section 959(c)(1) or (2), and
                                                                      taxable year is 100%. Under paragraph                     US1 does not have an extraordinary
                                                                      (d)(1) of this section, the disqualified                  disposition account with respect to
                                                                      amount with respect to the dividend is                    CFC1. As of the end of Year 2, CFC1 has
                                                                      $35x (50% × ($70x/100%)). Accordingly,                    $160x of tested income and no other in-
                                                                      the portion of the $80x dividend from                     come. CFC1 has $160x of earnings and
                                                                      CFC2 to CFC1 that is eligible for the                     profits for Year 2. On October 19, Year
                                                                      exception to foreign personal holding                     2, US1 sells all of its CFC1 stock to US2
                                                                      company income under section 954(c)(6)                    for $100x in a transaction (the ‘‘Stock
                                                                      is $45x ($80x ¥$35x). Under section                       Sale’’) in which US1 recognizes $90x of
                                                                      951(a)(2) and § 1.951–1(b) and (e), US1 in-               gain. Under section 1248(a), the entire
                                                                      cludes $21x (60% × $35x) and US2 in-                      $90x of gain is included in US1’s gross
                                                                      cludes $14x (60% × $35x) in income                        income as a dividend and, pursuant to
                                                                      under section 951(a).                                     section 1248(j), the $90x is treated as a
                                                                        (E) Changes in extraordinary disposi-                   dividend for purposes of applying sec-
                                                                      tion account of US1. Under paragraph                      tion 245A. At the end of Year 2, under
                                                                      (c)(3)(i)(D)(1) of this section, US1’s                    section 951A, US2 takes into account
                                                                      prior extraordinary disposition amount                    $70x of tested income, calculated as
                                                                      with respect to CFC2 is increased by                      $160x (100% of the $160x of tested in-
                                                                      $42x, or 200% of $21x, the amount US1                     come) less $90x, the amount described
                                                                      included in income under section 951(a)                   in section 951(a)(2)(B). The amount de-
                                                                      with respect to CFC1. Under paragraph                     scribed in section 951(a)(2)(B) is the
                                                                      (c)(3)(i)(D)(1)(iii) of this section, US1                 lesser of $90x, the amount of dividends
                                                                      has no qualified portion because all of                   received by US1 with respect to the
                                                                      the owners of CFC2 are section 245A                       transferred stock, and $128x, the
                                                                      shareholders with a tiered extraor-                       amount of tested income attributable
                                                                      dinary disposition amount with respect                    to the transferred stock ($160x) multi-
                                                                      to CFC2. As a result, US1’s extraor-                      plied by 292/365 (the ratio of the number
                                                                      dinary disposition account is reduced                     of days in Year 2 that US2 did not own
                                                                      to $18x ($60x¥$42x) under paragraph                       the transferred stock to the total num-
                                                                      (c)(3)(i)(A) of this section.                             ber of days in Year 2). US1 does not
                                                                        (F) Changes in extraordinary disposi-                   make an election pursuant to para-
                                                                      tion account of US2. Under paragraph                      graph (e)(3)(i) of this section.
                                                                      (c)(3)(i)(D)(1) of this section, US2’s                      (ii) Analysis—(A) Determination of con-
                                                                      prior extraordinary disposition amount                    trolling section 245A shareholder and ex-
                                                                      with respect to CFC2 is increased by                      traordinary reduction of ownership.
                                                                      $28x, or 200% of $14x, the amount US2                     Under paragraph (i)(2) of this section,
                                                                      included in income under section 951(a)                   US1 is a controlling section 245A share-
                                                                      with respect to CFC1. Under paragraph                     holder with respect to CFC1. In addi-
                                                                      (c)(3)(i)(D)(1)(iii) of this section, US2                 tion, the Stock Sale results in an ex-
                                                                      has no qualified portion because all of                   traordinary reduction with respect to
                                                                      the owners of CFC2 are section 245A                       US1’s ownership of CFC1. See paragraph
                                                                      shareholders with a tiered extraor-                       (e)(2)(i) of this section. The extraor-
                                                                      dinary disposition amount with respect                    dinary reduction occurs because during
                                                                      to CFC2. As a result, US2’s extraor-                      Year 2, US1 transferred 100% of the
                                                                      dinary disposition account is reduced                     CFC1 stock it owned at the beginning
                                                                      to $12x ($40x¥$28x) under paragraph                       of the year and such amount is more
                                                                      (c)(3)(i)(A) of this section.                             than 5% of the total value of the stock
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                                                                        (4) Example 3. Extraordinary reduc-                     of CFC1 at the beginning of Year 2; it
                                                                      tion—(i) Facts. At the beginning of                       also occurs because on the last day of
                                                                      CFC1’s taxable year ending on Decem-                      the year the percentage of stock (by

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                                                                      value) of CFC1 that US1 owns directly                     ed income for the taxable year begin-
                                                                      or indirectly (0%) (the end of year per-                  ning October 20, Year 2, and ending De-
                                                                      centage) is less than 90% of the stock                    cember 31, Year 2. Under paragraph
                                                                      (by value) of CFC1 that US1 owns di-                      (e)(3)(i)(A) of this section, no amount is
                                                                      rectly or indirectly on the day of the                    considered an extraordinary reduction
                                                                      taxable year when it owned the highest                    amount with respect to US1.
                                                                      percentage of CFC1 stock by value                            (5) Example 4. Extraordinary reduction;
                                                                      (100%) (the initial percentage), no                       decrease in section 245A shareholder’s
                                                                      transactions occurred in the preceding                    pre-reduction pro rata share for amounts
                                                                      year pursuant to a plan to reduce the                     taken into account by U.S. tax residents—
                                                                      percentage of CFC1 stock owned by                         (i) Facts. At the beginning of CFC1’s
                                                                      US1, and the difference between the                       taxable year ending December 31, Year
                                                                      initial percentage and the end of year                    2, US1 owns all of the single class of
                                                                      percentage (100 percentage points) is at                  stock of CFC1, and no person trans-
                                                                      least 5 percentage points.                                ferred any CFC1 stock directly or indi-
                                                                        (B) Determination of extraordinary re-                  rectly in Year 1 pursuant to a plan to
                                                                      duction amount. Under paragraph (e)(1)                    reduce the percentage of stock (by
                                                                      of this section, the entire $90x dividend                 value) of CFC1 owned by US1. CFC1
                                                                      to US1 is an extraordinary reduction                      generates $120x of subpart F income
                                                                      amount with respect to US1 because                        during its taxable year ending on De-
                                                                      the dividend is at least equal to US1’s                   cember 31, Year 2. On October 1, Year 2,
                                                                      pre-reduction pro rata share of CFC1’s                    CFC1 distributes a $120x dividend to
                                                                      Year 2 tested income described in para-                   US1. On October 19, Year 2, US1 sells
                                                                      graph (e)(2)(ii)(A) of this section                       100% of its stock of CFC1 to PRS, a do-
                                                                      ($160x), reduced by the amount of test-                   mestic partnership, in a transaction in
                                                                      ed income taken into account by US2,                      which no gain or loss is realized (the
                                                                      a U.S. tax resident, under paragraphs                     ‘‘Stock Sale’’). PRS is owned 50% each
                                                                      (e)(2)(ii)(B) and (i)(29) of this section                 by A, an individual who is a citizen of
                                                                      ($70x).                                                   the United States, and B, a foreign in-
                                                                        (C) Determination of ineligible amount.                 dividual who is not a U.S. tax resident.
                                                                      Under paragraph (b)(2) of this section,                   On December 1, Year 2, US2 and FP, a
                                                                      with respect to US1 and the dividend of                   foreign corporation, contribute prop-
                                                                      $90x, the ineligible amount is $90x, the                  erty to CFC1; in exchange, each of US2
                                                                      sum of 50% of the extraordinary dis-                      and FP receives 25% of the stock of
                                                                      position amount ($0) and extraordinary                    CFC1. PRS owns the remaining 50% of
                                                                      reduction amount ($90x). Therefore,                       the stock of CFC1. US1 does not make
                                                                      with respect to the dividend received of                  an election pursuant to paragraph
                                                                      $90x, no portion is eligible for the divi-                (e)(3)(i) of this section.
                                                                      dends received deduction allowed under                       (ii) Analysis—(A) Determination of con-
                                                                      section 245A(a).                                          trolling section 245A shareholder and ex-
                                                                        (iii) Alternative facts—election to close               traordinary reduction. Under paragraph
                                                                      CFC’s taxable year. The facts are the                     (i)(2) of this section, US1 is a control-
                                                                      same as in paragraph (j)(4)(i) of this                    ling section 245A shareholder with re-
                                                                      section (the facts of this Example 3), ex-                spect to CFC1. In addition, the Stock
                                                                      cept that, pursuant to paragraph                          Sale results in an extraordinary reduc-
                                                                      (e)(3)(i) of this section, US1 elects to                  tion with respect to US1’s ownership of
                                                                      close CFC1’s Year 2 taxable year for all                  CFC1. See paragraph (e)(2)(i) of this sec-
                                                                      purposes of the Internal Revenue Code                     tion. The extraordinary reduction oc-
                                                                      as of the end of October 19, Year 2, the                  curs because during Year 2, US1 trans-
                                                                      date on which the Stock Sale occurs; in                   ferred 100% of the CFC1 stock it owns
                                                                      addition, US1 and US2 enter into a                        on the first day of Year 2, and that
                                                                      written, binding agreement that US1                       amount is more than 5% of the total
                                                                      will elect to close CFC1’s Year 2 tax-                    value of the stock of CFC1 at the begin-
                                                                      able year. Accordingly, under section                     ning of Year 2; it also occurs because
                                                                      951A(a), US1 takes into account 100% of                   on the last day of Year 2 the percent-
                                                                      CFC1’s tested income for the taxable                      age of stock (by value) of CFC1 that
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                                                                      year beginning January 1, Year 2, and                     US1 owns directly or indirectly (0%)
                                                                      ending October 19, Year 2, and US2                        (the end of year percentage) is less
                                                                      takes into account 100% of CFC1’s test-                   than 90% of the highest percentage of

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                                                                      stock (by value) of CFC1 that US1 owns                    suant to section 951(a). Of this amount,
                                                                      directly or indirectly on the day of the                  $6x is allocated to A (as a 50% partner
                                                                      taxable year when it owned the highest                    of PRS) and, therefore, treated as
                                                                      percentage of CFC1 stock by value                         taken into account by A under para-
                                                                      (100%) (the initial percentage), no                       graphs (e)(2)(ii)(B) and (g)(6) of this sec-
                                                                      transactions occurred in the preceding                    tion. Thus, A and US2 take into ac-
                                                                      year pursuant to a plan to reduce the                     count a total of $36x of CFC1’s subpart
                                                                      percentage of CFC1 stock owned by                         F income under section 951(a). This
                                                                      US1, and the difference between the                       amount reduces US1’s pre-reduction
                                                                      initial percentage and the end of year                    pro rata share of CFC1’s subpart F in-
                                                                      percentage (100 percentage points) is at                  come to $84x ($120x¥$36x) under para-
                                                                      least 5 percentage points.                                graph (e)(2)(ii)(B) of this section. CFC1
                                                                        (B) Determination of pre-reduction pro                  did not generate tested income during
                                                                      rata share. Before the extraordinary re-                  the taxable year and, therefore, no
                                                                      duction, US1 owned 100% of the stock                      amount is taken into account under
                                                                      of CFC1. Thus, under paragraph                            section 951A with respect to CFC1, and
                                                                      (e)(2)(ii)(A) of this section, the ten-                   US1 has no pre-reduction pro rata
                                                                      tative amount of US1’s pre-reduction                      share with respect to tested income of
                                                                      pro rata share of CFC1’s subpart F in-                    CFC1.
                                                                      come is $120x. A and US2 are U.S. tax                       (D) Determination of extraordinary re-
                                                                      residents pursuant to paragraph (i)(29)                   duction amount. Under paragraph (e)(1)
                                                                      of this section because they are United                   of this section, the extraordinary re-
                                                                      States persons described in section                       duction amount equals $84x, which is
                                                                      7701(a)(30)(A) or (C). Thus, US1’s pre-re-                the lesser of the amount of the divi-
                                                                      duction pro rata share amount is sub-                     dend received by US1 from CFC1 during
                                                                      ject to the reduction described in para-                  Year 2 ($120x) and the sum of US1’s pre-
                                                                      graph (e)(2)(ii)(B) of this section be-                   reduction pro rata share of CFC1’s sub-
                                                                      cause U.S. tax residents directly or in-                  part F income ($84x) and tested income
                                                                      directly acquire stock of CFC1 from                       ($0).
                                                                      US1 or CFC1 during the taxable year in                      (E) Determination of ineligible amount.
                                                                      which the extraordinary reduction oc-                     Under paragraph (b)(2) of this section,
                                                                      curs. With respect to US1’s pre-reduc-                    with respect to US1 and the dividend of
                                                                      tion pro rata share of CFC1’s subpart F                   $120x, the ineligible amount is $84x, the
                                                                      income, the reduction equals the                          sum of 50% of the extraordinary dis-
                                                                      amount of subpart F income of CFC1                        position amount ($0) and extraordinary
                                                                      taken into account under section 951(a)                   reduction amount ($84x). Therefore,
                                                                      by these U.S. tax residents.                              with respect to the dividend received
                                                                        (C) Determination of decrease in pre-re-                by US1 from CFC1, $36x ($120x¥$84x) is
                                                                      duction pro rata share for amounts taken                  eligible for a section 245A deduction.
                                                                      into account by U.S. tax resident. On De-                   (6) Example 5. Controlling section 245A
                                                                      cember 31, Year 2, both PRS and US2                       shareholder—(i) Facts. US1 and US2 own
                                                                      will be United States shareholders with                   30% and 25% of the stock of CFC1, re-
                                                                      respect to CFC1 and will include in                       spectively. FP, a foreign corporation
                                                                      gross income their pro rata share of                      that is not a CFC, owns all of the stock
                                                                      CFC1’s subpart F income under section                     of US1 and US2. FP owns the remain-
                                                                      951(a). With respect to US2, this                         ing 45% of the stock of CFC1. On Sep-
                                                                      amount will be $30x, which is equal to                    tember 30, Year 2, US1 sells all of its
                                                                      25% of CFC1’s subpart F income for the                    stock of CFC1 to US3, a domestic cor-
                                                                      taxable year. With respect to PRS, its                    poration that is not a related party
                                                                      pro rata share of $60x under section                      with respect to FP, US1, or US2. No
                                                                      951(a)(2)(A) (50% of $120x) will be re-                   person transferred any stock of CFC1
                                                                      duced under section 951(a)(2)(B) by $48x.                 directly or indirectly in Year 1 pursu-
                                                                      The section 951(a)(2)(B) reduction is                     ant to a plan to reduce the percentage
                                                                      equal to the lesser of the $120x dividend                 of stock (by value) of CFC1 owned by
                                                                      paid with respect to those shares to                      US1.
                                                                      US1 or $48x (50% × $120x × 292/365, the                     (ii) Analysis. Under paragraph (i)(21)
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                                                                      period during the taxable year that                       of this section, US1 is a section 245A
                                                                      PRS did not own CFC1 stock). Thus,                        shareholder with respect to CFC1, an
                                                                      PRS includes $12x in gross income pur-                    SFC. Because US1 owns, together with

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                                                                      § 1.245A–5T                                                              26 CFR Ch. I (4–1–20 Edition)

                                                                      US2 and FP (related persons with re-                      income under section 954(c)(6) but for
                                                                      spect to US1), more than 50% of the                       the application of this section. On Au-
                                                                      stock of CFC1, US1 is a controlling sec-                  gust 7, Year 2, CFC1 sells all of its
                                                                      tion 245A shareholder of CFC1. The sale                   CFC2 stock to US2 for $100x in a trans-
                                                                      of US1’s CFC1 stock results in an ex-                     action (the ‘‘Stock Sale’’) in which
                                                                      traordinary reduction occurring with                      CFC1 realizes no gain or loss. At the
                                                                      respect to US1’s ownership of CFC1.                       end of Year 2, under section 951A, US2
                                                                      The extraordinary reduction occurs be-                    takes into account $60x of tested in-
                                                                      cause during Year 2, US1 transferred                      come, calculated as $150x (100% of the
                                                                      100% of the stock of CFC1 that it owned                   $150x of tested income) less $90x, the
                                                                      at the beginning of the year and that                     amount        described      in    section
                                                                      amount is more than 5% of the total                       951(a)(2)(B). The amount described in
                                                                      value of the stock of CFC1 at the begin-                  section 951(a)(2)(B) is the lesser of
                                                                      ning of Year 2; it also occurs because                    $150x, the amount of dividends received
                                                                      on the last day of the year the percent-                  by CFC1 during Year 2 with respect to
                                                                      age of stock (by value) of CFC1 that                      the transferred stock, and $90x, the
                                                                      US1 directly or indirectly owns (0%)                      amount of tested income attributable
                                                                      (the end of year percentage) is less                      to the transferred stock ($150x) multi-
                                                                      than 90% of the stock (by value) of                       plied by 219/365 (the ratio of the number
                                                                      CFC1 that US1 directly or indirectly                      of days in Year 2 that US2 did not own
                                                                      owned on the day of the taxable year                      the transferred stock to the total num-
                                                                      when it owned the highest percentage                      ber of days in Year 2). US1 does not
                                                                      of CFC1 stock by value (30%) (the ini-                    make an election pursuant to para-
                                                                      tial percentage), no transactions oc-                     graph (e)(3)(i) of this section.
                                                                      curred in the preceding year pursuant                       (ii) Analysis—(A) Determination of con-
                                                                      to a plan to reduce the percentage of                     trolling section 245A shareholder and ex-
                                                                      CFC1 stock owned by US1, and the dif-                     traordinary reduction of ownership.
                                                                      ference between the initial percentage                    Under paragraph (i)(2) of this section,
                                                                      and end of year percentage (30 percent-                   US1 is a controlling section 245A share-
                                                                      age points) is at least 5 percentage                      holder with respect to CFC2, but A is
                                                                      points.                                                   not. In addition, the Stock Sale results
                                                                        (7) Example 6. Limitation of section                    in an extraordinary reduction with re-
                                                                      954(c)(6) exception with respect to an ex-                spect to US1’s ownership of CFC2. See
                                                                      traordinary reduction. (i) Facts. At the                  paragraph (e)(2)(i) of this section. The
                                                                      beginning of CFC1 and CFC2’s taxable                      extraordinary reduction occurs because
                                                                      year ending on December 31, Year 2,                       during Year 2, US1 transferred indi-
                                                                      US1 and A, an individual who is a cit-                    rectly 100% of the CFC2 stock it owned
                                                                      izen of the United States, own 80% and                    at the beginning of the year and such
                                                                      20% of the single class of stock of                       amount is more than 5% of the total
                                                                      CFC1, respectively. CFC1 owns 100% of                     value of the stock of CFC2 at the begin-
                                                                      the stock of CFC2. Both US1 and A are                     ning of Year 2; it also occurs because
                                                                      United States shareholders with re-                       on the last day of the year the percent-
                                                                      spect to CFC1 and CFC2, and US1 and A                     age of stock (by value) of CFC2 that
                                                                      are not related parties with respect to                   US1 owns directly or indirectly (0%)
                                                                      each other. No person transferred CFC2                    (the end of year percentage) is less
                                                                      stock directly or indirectly in Year 2                    than 90% of the stock (by value) of
                                                                      pursuant to a plan to reduce the per-                     CFC2 that US1 owns directly or indi-
                                                                      centage of stock (by value) of CFC2                       rectly on the day of the taxable year
                                                                      owned by US1, and US1 does not have                       when it owned the highest percentage
                                                                      an extraordinary disposition account                      of CFC2 stock by value (80%) (the ini-
                                                                      with respect to CFC2. At the end of                       tial percentage), no transactions oc-
                                                                      Year 2, and without regard to any dis-                    curred in the preceding year pursuant
                                                                      tributions during Year 2, CFC2 had                        to a plan to reduce the percentage of
                                                                      $150x of tested income and no other in-                   CFC2 stock owned by US1, and the dif-
                                                                      come, and CFC1 had no income or ex-                       ference between the initial percentage
                                                                      penses. On June 30, Year 2, CFC2 dis-                     and the end of year percentage (80 per-
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                                                                      tributed $150x as a dividend to CFC1,                     centage points) is at least 5 percentage
                                                                      which would qualify for the exception                     points. Because there is an extraor-
                                                                      from foreign personal holding company                     dinary reduction with respect to CFC2

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                                                                      Internal Revenue Service, Treasury                                                                  § 1.246–2

                                                                      in Year 2 and CFC1 received a dividend                    not allowable with respect to any divi-
                                                                      from CFC2 in Year 2, under paragraph                      dend received from:
                                                                      (f)(1) of this section, it is necessary to                  (a) A corporation organized under the
                                                                      determine the limitation on the                           China Trade Act, 1922 (15 U.S.C. ch. 4)
                                                                      amount of the dividend eligible for the                   (see section 941); or
                                                                      exception under section 954(c)(6).                          (b) A corporation which is exempt
                                                                         (B) Determination of tiered extraor-                   from tax under section 501 (relating to
                                                                      dinary reduction amount. The limitation                   certain charitable, etc., organizations)
                                                                      on the amount of the dividend eligible                    or section 521 (relating to farmers’ co-
                                                                      for the exception under section 954(c)(6)                 operative associations) for the taxable
                                                                      is based on the tiered extraordinary re-                  year of the corporation in which the
                                                                      duction amount. The sum of the                            distribution is made or for its next pre-
                                                                      amount of subpart F income and tested                     ceding taxable year; for
                                                                      income of CFC2 for Year 2 is $150x, and                     (c) A corporation to which section 931
                                                                      immediately before the extraordinary                      (relating to income from sources with-
                                                                      reduction, CFC1 held 100% of the stock                    in possessions of the United States) ap-
                                                                      of CFC2. Additionally, US2 is a U.S. tax                  plies for the taxable year of the cor-
                                                                      resident as defined in paragraph (i)(29)                  poration in which the distribution is
                                                                      of this section because it is a United                    made or for its next preceding taxable
                                                                      States person described in section                        year; or
                                                                      7701(a)(30)(A) or (C), and US2 has a pro                    (d) A real estate investment trust
                                                                      rata share of $60x of tested income                       which, for its taxable year in which the
                                                                      under section 951A with respect to                        distribution is made, is taxable under
                                                                      CFC2. Accordingly, under paragraph                        Part II, Subchapter M, Chapter 1 of the
                                                                      (f)(2) of this section, the tiered extraor-               Code. See section 243(c)(3), paragraph
                                                                      dinary reduction amount is $90x (($150x                   (c) of § 1.243–2, section 857(c), and para-
                                                                      × 100%)¥$60x).                                            graph (d) of § 1.857–6.
                                                                         (C) Limitation of section 954(c)(6) excep-             [T.D. 6500, 25 FR 11402, Nov. 26, 1960, as
                                                                      tion. Under paragraph (f)(1) of this sec-                 amended by T.D. 6598, 27 FR 4092, Apr. 28,
                                                                      tion, the portion of the $150x dividend                   1962; T.D. 7767, 46 FR 11264, Feb. 6, 1981]
                                                                      from CFC2 to CFC1 that is eligible for
                                                                      the exception to foreign personal hold-                   § 1.246–2 Limitation      on     aggregate
                                                                      ing company income under section                               amount of deductions.
                                                                      954(c)(6) is $60x ($150x¥$90x). To the ex-                   (a) General rule. The sum of the de-
                                                                      tent that the $90x that does not qualify                  ductions allowed by sections 243(a)(1)
                                                                      for the exception gives rise to addi-                     (relating to dividends received by cor-
                                                                      tional subpart F income to CFC1, both                     porations), 244(a) (relating to dividends
                                                                      US1 and A will take into account their                    received on certain preferred stock),
                                                                      pro rata share of that subpart F in-                      and 245 (relating to dividends received
                                                                      come under section 951(a)(2) and § 1.951–                 from certain foreign corporations), ex-
                                                                      1(b) and (e).                                             cept as provided in section 246(b)(2) and
                                                                         (k) Applicability date. This section ap-               in paragraph (b) of this section, is lim-
                                                                      plies to distributions occurring after                    ited to 85 percent of the taxable income
                                                                      December 31, 2017.                                        of the corporation. The taxable income
                                                                         (l) Expiration date. The applicability                 of the corporation for this purpose is
                                                                      of this section expires June 14, 2022.                    computed without regard to the net op-
                                                                      [T.D. 9865, 84 FR 28413, June 18, 2019, as                erating loss deduction allowed by sec-
                                                                      amended by T.D. 9865, 84 FR 38866, Aug. 8,                tion 172, the deduction for dividends
                                                                      2019]                                                     paid on certain preferred stock of pub-
                                                                                                                                lic utilities allowed by section 247, any
                                                                      § 1.246–1 Deductions not allowed for                      capital loss carryback under section
                                                                           dividends from certain corpora-                      1212(a)(1), and the deductions provided
                                                                           tions.                                               in sections 243(a)(1), 244(a), and 245. For
                                                                         The deductions provided in sections                    definition of the term taxable income,
                                                                      243 (relating to dividends received by                    see section 63.
                                                                      corporations), 244 (relating to dividends                    (b) Effect of net operating loss. If the
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                                                                      received on certain preferred stock),                     shareholder corporation has a net oper-
                                                                      and 245 (relating to dividends received                   ating loss (as determined under sec.
                                                                      from certain foreign corporations), are                   172) for a taxable year, the limitation

                                                                                                                            577

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                                                                     § 301.7701–1                                                            26 CFR Ch. I (4–1–23 Edition)

                                                                       (f) Transfers of funds. The transfers of                Nevertheless, a joint undertaking
                                                                     funds between the United States and                       merely to share expenses does not cre-
                                                                     Guam required to effectuate the provi-                    ate a separate entity for federal tax
                                                                     sions of this section shall be made                       purposes. For example, if two or more
                                                                     when convenient for the two govern-                       persons jointly construct a ditch mere-
                                                                     ments, but not less frequently than                       ly to drain surface water from their
                                                                     once in each calendar year. In com-                       properties, they have not created a sep-
                                                                     plying with paragraph (b) of this sec-                    arate entity for federal tax purposes.
                                                                     tion, only net balances will be trans-                    Similarly, mere co-ownership of prop-
                                                                     ferred between the two governments.                       erty that is maintained, kept in repair,
                                                                     Further, amounts transferred pursuant                     and rented or leased does not con-
                                                                     to paragraph (b) of this section may be                   stitute a separate entity for federal tax
                                                                     determined on the basis of estimates                      purposes. For example, if an individual
                                                                     rather than the actual amounts derived                    owner, or tenants in common, of farm
                                                                     from information furnished by tax-                        property lease it to a farmer for a cash
                                                                     payers, except that the net collections                   rental or a share of the crops, they do
                                                                     for 1973 and every third calendar year                    not necessarily create a separate enti-
                                                                     thereafter are to be transferred on the                   ty for federal tax purposes.
                                                                     basis of the information furnished by
                                                                                                                                  (3) Certain local law entities not recog-
                                                                     taxpayers pursuant to paragraph (d) of
                                                                     this section. In order to facilitate the                  nized. An entity formed under local law
                                                                     transfer of funds pursuant to this sec-                   is not always recognized as a separate
                                                                     tion, the Commissioner of Internal                        entity for federal tax purposes. For ex-
                                                                     Revenue and the Commissioner of Rev-                      ample, an organization wholly owned
                                                                     enue and Taxation of Guam shall ex-                       by a State is not recognized as a sepa-
                                                                     change such information, including                        rate entity for federal tax purposes if it
                                                                     copies of income tax returns, as will                     is an integral part of the State. Simi-
                                                                     ensure that the provisions of section                     larly, tribes incorporated under section
                                                                     7654 and this section are being properly                  17 of the Indian Reorganization Act of
                                                                     implemented.                                              1934, as amended, 25 U.S.C. 477, or under
                                                                                                                               section 3 of the Oklahoma Indian Wel-
                                                                     [T.D. 7385, 40 FR 50265, Oct. 29, 1975]                   fare Act, as amended, 25 U.S.C. 503, are
                                                                                                                               not recognized as separate entities for
                                                                                        Definitions                            federal tax purposes.
                                                                                                                                  (4) Single owner organizations. Under
                                                                     § 301.7701–1 Classification of organiza-
                                                                          tions for federal tax purposes.                      §§ 301.7701–2 and 301.7701–3, certain orga-
                                                                                                                               nizations that have a single owner can
                                                                        (a) Organizations for federal tax pur-                 choose to be recognized or disregarded
                                                                     poses—(1) In general. The Internal Rev-                   as entities separate from their owners.
                                                                     enue Code prescribes the classification
                                                                                                                                  (b) Classification of organizations. The
                                                                     of various organizations for federal tax
                                                                                                                               classification of organizations that are
                                                                     purposes. Whether an organization is
                                                                                                                               recognized as separate entities is deter-
                                                                     an entity separate from its owners for
                                                                     federal tax purposes is a matter of fed-                  mined under §§ 301.7701–2, 301.7701–3, and
                                                                     eral tax law and does not depend on                       301.7701–4 unless a provision of the In-
                                                                     whether the organization is recognized                    ternal Revenue Code (such as section
                                                                     as an entity under local law.                             860A addressing Real Estate Mortgage
                                                                        (2) Certain joint undertakings give rise               Investment Conduits (REMICs)) pro-
                                                                     to entities for federal tax purposes. A                   vides for special treatment of that or-
                                                                     joint venture or other contractual ar-                    ganization. For the classification of or-
                                                                     rangement may create a separate enti-                     ganizations as trusts, see § 301.7701–4.
                                                                     ty for federal tax purposes if the par-                   That section provides that trusts gen-
                                                                     ticipants carry on a trade, business, fi-                 erally do not have associates or an ob-
                                                                     nancial operation, or venture and di-                     jective to carry on business for profit.
                                                                     vide the profits therefrom. For exam-                     Sections 301.7701–2 and 301.7701–3 pro-
                                                                     ple, a separate entity exists for federal                 vide rules for classifying organizations
                                                                     tax purposes if co- owners of an apart-                   that are not classified as trusts.
                                                                                                                                  (c) Cost sharing arrangements. A cost
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                                                                     ment building lease space and in addi-
                                                                     tion provide services to the occupants                    sharing arrangement that is described
                                                                     either directly or through an agent.                      in § 1.482–7 of this chapter, including

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                                                                     Internal Revenue Service, Treasury                                                          § 301.7701–2

                                                                     any arrangement that the Commis-                          corporation, body corporate, or body
                                                                     sioner treats as a CSA under § 1.482–                     politic;
                                                                     7(b)(5) of this chapter, is not recognized                  (2) An association (as determined
                                                                     as a separate entity for purposes of the                  under § 301.7701–3);
                                                                     Internal Revenue Code. See § 1.482–7 of                     (3) A business entity organized under
                                                                     this chapter for the rules regarding                      a State statute, if the statute describes
                                                                     CSAs.                                                     or refers to the entity as a joint-stock
                                                                        (d) Domestic and foreign business enti-                company or joint-stock association;
                                                                     ties. See § 301.7701–5 for the rules that                   (4) An insurance company;
                                                                     determine whether a business entity is                      (5) A State-chartered business entity
                                                                     domestic or foreign.                                      conducting banking activities, if any of
                                                                        (e) State. For purposes of this section                its deposits are insured under the Fed-
                                                                     and § 301.7701–2, the term State includes                 eral Deposit Insurance Act, as amend-
                                                                     the District of Columbia.                                 ed, 12 U.S.C. 1811 et seq., or a similar
                                                                        (f) Effective/applicability dates. Except              federal statute;
                                                                     as provided in the following sentence,                      (6) A business entity wholly owned by
                                                                     the rules of this section are applicable                  a State or any political subdivision
                                                                     as of January 1, 1997. The rules of para-                 thereof, or a business entity wholly
                                                                     graph (c) of this section are applicable                  owned by a foreign government or any
                                                                     on January 5, 2009.                                       other entity described in § 1.892–2T;
                                                                                                                                 (7) A business entity that is taxable
                                                                     [T.D. 8697, 61 FR 66588, Dec. 18, 1996, as
                                                                                                                               as a corporation under a provision of
                                                                     amended by T.D. 9153, 69 FR 49810, Aug. 12,
                                                                     2004; T.D. 9246, 71 FR 4816, Jan. 30, 2006; T.D.          the Internal Revenue Code other than
                                                                     9441, 74 FR 390, Jan. 5, 2009; T.D. 9568, 76 FR           section 7701(a)(3); and
                                                                     80136, Dec. 22, 2011]                                       (8) Certain foreign entities—(i) In gen-
                                                                                                                               eral. Except as provided in paragraphs
                                                                     § 301.7701–2 Business entities; defini-                   (b)(8)(ii) and (d) of this section, the fol-
                                                                          tions.                                               lowing business entities formed in the
                                                                        (a) Business entities. For purposes of                 following jurisdictions:
                                                                     this section and § 301.7701–3, a business                 American Samoa, Corporation
                                                                     entity is any entity recognized for fed-                  Argentina, Sociedad Anonima
                                                                     eral tax purposes (including an entity                    Australia, Public Limited Company
                                                                     with a single owner that may be dis-                      Austria, Aktiengesellschaft
                                                                     regarded as an entity separate from its                   Barbados, Limited Company
                                                                                                                               Belgium, Societe Anonyme
                                                                     owner under § 301.7701–3) that is not
                                                                                                                               Belize, Public Limited Company
                                                                     properly classified as a trust under                      Bolivia, Sociedad Anonima
                                                                     § 301.7701–4 or otherwise subject to spe-                 Brazil, Sociedade Anonima
                                                                     cial treatment under the Internal Rev-                    Bulgaria, Aktsionerno Druzhestvo.
                                                                     enue Code. A business entity with two                     Canada, Corporation and Company
                                                                     or more members is classified for fed-                    Chile, Sociedad Anonima
                                                                     eral tax purposes as either a corpora-                    People’s Republic of China, Gufen Youxian
                                                                                                                                 Gongsi
                                                                     tion or a partnership. A business entity                  Republic of China (Taiwan), Ku-fen Yu-hsien
                                                                     with only one owner is classified as a                      Kung-szu
                                                                     corporation or is disregarded; if the en-                 Colombia, Sociedad Anonima
                                                                     tity is disregarded, its activities are                   Costa Rica, Sociedad Anonima
                                                                     treated in the same manner as a sole                      Cyprus, Public Limited Company
                                                                     proprietorship, branch, or division of                    Czech Republic, Akciova Spolecnost
                                                                     the owner. But see paragraphs (c)(2)(iii)                 Denmark, Aktieselskab
                                                                                                                               Ecuador, Sociedad Anonima or Compania
                                                                     through (vi) of this section for special                    Anonima
                                                                     rules that apply to an eligible entity                    Egypt, Sharikat Al-Mossahamah
                                                                     that is otherwise disregarded as an en-                   El Salvador, Sociedad Anonima
                                                                     tity separate from its owner.                             Estonia, Aktsiaselts
                                                                        (b) Corporations. For federal tax pur-                 European Economic Area/European Union,
                                                                     poses, the term corporation means—                          Societas Europaea
                                                                        (1) A business entity organized under                  Finland,     Julkinen    Osakeyhtio/Publikt
                                                                                                                                 Aktiebolag
                                                                     a Federal or State statute, or under a                    France, Societe Anonyme
                                                                     statute of a federally recognized Indian
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                                                                                                                               Germany, Aktiengesellschaft
                                                                     tribe, if the statute describes or refers                 Greece, Anonymos Etairia
                                                                     to the entity as incorporated or as a                     Guam, Corporation

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                                                                     § 301.7701–2                                                            26 CFR Ch. I (4–1–23 Edition)
                                                                     Guatemala, Sociedad Anonima                               corporations under paragraph (b)(8)(i)
                                                                     Guyana, Public Limited Company                            of this section:
                                                                     Honduras, Sociedad Anonima                                  (1) With regard to Canada, a Nova
                                                                     Hong Kong, Public Limited Company
                                                                                                                               Scotia Unlimited Liability Company
                                                                     Hungary, Reszvenytarsasag
                                                                     Iceland, Hlutafelag
                                                                                                                               (or any other company or corporation
                                                                     India, Public Limited Company                             all of whose owners have unlimited li-
                                                                     Indonesia, Perseroan Terbuka                              ability pursuant to federal or provin-
                                                                     Ireland, Public Limited Company                           cial law).
                                                                     Israel, Public Limited Company                              (2) With regard to India, a company
                                                                     Italy, Societa per Azioni                                 deemed to be a public limited company
                                                                     Jamaica, Public Limited Company                           solely by operation of section 43A(1)
                                                                     Japan, Kabushiki Kaisha                                   (relating to corporate ownership of the
                                                                     Kazakstan, Ashyk Aktsionerlik Kogham
                                                                                                                               company), section 43A(1A) (relating to
                                                                     Republic of Korea, Chusik Hoesa
                                                                     Latvia, Akciju Sabiedriba
                                                                                                                               annual average turnover), or section
                                                                     Liberia, Corporation                                      43A(1B) (relating to ownership inter-
                                                                     Liechtenstein, Aktiengesellschaft                         ests in other companies) of the Compa-
                                                                     Lithuania, Akcine Bendroves                               nies Act, 1956 (or any combination of
                                                                     Luxembourg, Societe Anonyme                               these), provided that the organiza-
                                                                     Malaysia, Berhad                                          tional documents of such deemed pub-
                                                                     Malta, Public Limited Company                             lic limited company continue to meet
                                                                     Mexico, Sociedad Anonima                                  the requirements of section 3(1)(iii) of
                                                                     Morocco, Societe Anonyme
                                                                                                                               the Companies Act, 1956.
                                                                     Netherlands, Naamloze Vennootschap
                                                                     New Zealand, Limited Company
                                                                                                                                 (3) With regard to Malaysia, a
                                                                     Nicaragua, Compania Anonima                               Sendirian Berhad.
                                                                     Nigeria, Public Limited Company                             (B) Inclusions in certain cases. With re-
                                                                     Northern Mariana Islands, Corporation                     gard to Mexico, the term Sociedad
                                                                     Norway, Allment Aksjeselskap                              Anonima includes a Sociedad Anonima
                                                                     Pakistan, Public Limited Company                          that chooses to apply the variable cap-
                                                                     Panama, Sociedad Anonima                                  ital provision of Mexican corporate law
                                                                     Paraguay, Sociedad Anonima                                (Sociedad Anonima de Capital Vari-
                                                                     Peru, Sociedad Anonima
                                                                                                                               able).
                                                                     Philippines, Stock Corporation
                                                                     Poland, Spolka Akcyjna                                      (iii) Public companies. For purposes of
                                                                     Portugal, Sociedade Anonima                               paragraph (b)(8)(i) of this section, with
                                                                     Puerto Rico, Corporation                                  regard to Cyprus, Hong Kong, and Ja-
                                                                     Romania, Societate pe Actiuni                             maica, the term Public Limited Com-
                                                                     Russia,        Otkrytoye       Aktsionernoy               pany includes any Limited Company
                                                                       Obshchestvo                                             that is not defined as a private com-
                                                                     Saudi Arabia, Sharikat Al-Mossahamah                      pany under the corporate laws of those
                                                                     Singapore, Public Limited Company
                                                                                                                               jurisdictions. In all other cases, where
                                                                     Slovak Republic, Akciova Spolocnost
                                                                     Slovenia, Delniska Druzba                                 the term Public Limited Company is
                                                                     South Africa, Public Limited Company                      not defined, that term shall include
                                                                     Spain, Sociedad Anonima                                   any Limited Company defined as a pub-
                                                                     Surinam, Naamloze Vennootschap                            lic company under the corporate laws
                                                                     Sweden, Publika Aktiebolag                                of the relevant jurisdiction.
                                                                     Switzerland, Aktiengesellschaft                             (iv) Limited companies. For purposes
                                                                     Thailand, Borisat Chamkad (Mahachon)                      of this paragraph (b)(8), any reference
                                                                     Trinidad and Tobago, Limited Company
                                                                                                                               to a Limited Company includes, as the
                                                                     Tunisia, Societe Anonyme
                                                                     Turkey, Anonim Sirket                                     case may be, companies limited by
                                                                     Ukraine, Aktsionerne Tovaristvo Vidkritogo                shares and companies limited by guar-
                                                                       Tipu                                                    antee.
                                                                     United Kingdom, Public Limited Company                      (v) Multilingual countries. Different
                                                                     United States Virgin Islands, Corporation                 linguistic renderings of the name of an
                                                                     Uruguay, Sociedad Anonima                                 entity listed in paragraph (b)(8)(i) of
                                                                     Venezuela, Sociedad Anonima or Compania                   this section shall be disregarded. For
                                                                       Anonima
                                                                                                                               example, an entity formed under the
                                                                       (ii) Clarification of list of corporations              laws of Switzerland as a Societe
                                                                     in paragraph (b)(8)(i) of this section—(A)                Anonyme will be a corporation and
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                                                                     Exceptions in certain cases. The fol-                     treated in the same manner as an Akti-
                                                                     lowing entities will not be treated as                    engesellschaft.

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                                                                     Internal Revenue Service, Treasury                                                          § 301.7701–2

                                                                        (b)(9) Business entities with multiple                    Example 2. (i) Facts. Y is an entity that is
                                                                     charters. (i) An entity created or orga-                  incorporated under the laws of State A and
                                                                     nized under the laws of more than one                     has two shareholders. Under the rules of this
                                                                                                                               section, an entity incorporated under the
                                                                     jurisdiction if the rules of this section                 laws of State A is a corporation for Federal
                                                                     would treat it as a corporation with                      tax purposes and under § 301.7701–3(a) is un-
                                                                     reference to any one of the jurisdic-                     able to elect its classification. Several years
                                                                     tions in which it is created or orga-                     after its formation, Y files a certificate of
                                                                     nized. Such an entity may elect its                       continuance in Country B as an unlimited
                                                                     classification under § 301.7701–3, subject                company. Under the laws of Country B, upon
                                                                     to the limitations of those provisions,                   filing a certificate of continuance, Y is treat-
                                                                     only if it is created or organized in                     ed as organized in Country B. Under the
                                                                                                                               rules of this section and § 301.7701–3, an un-
                                                                     each jurisdiction in a manner that                        limited company organized only in Country
                                                                     meets the definition of an eligible enti-                 B that has more than one owner is treated as
                                                                     ty in § 301.7701–3(a). The determination                  a partnership for Federal tax purposes (ab-
                                                                     of a business entity’s corporate or non-                  sent an election to be treated as an associa-
                                                                     corporate classification is made inde-                    tion). Neither State A nor Country B law re-
                                                                     pendently from the determination of                       quires Y to terminate its charter in State A
                                                                     whether the entity is domestic or for-                    as a result of the continuance, and in fact Y
                                                                                                                               does not terminate its State A charter. Con-
                                                                     eign. See § 301.7701–5 for the rules that
                                                                                                                               sequently, Y is now organized in more than
                                                                     determine whether a business entity is                    one jurisdiction.
                                                                     domestic or foreign.                                         (ii) Result. Y remains organized in State A
                                                                        (ii) Examples. The following examples                  as a corporation, an entity that is treated as
                                                                     illustrate the rule of this paragraph                     a corporation under the rules of this section.
                                                                     (b)(9):                                                   Therefore, Y is a corporation for Federal tax
                                                                                                                               purposes because the rules of this section
                                                                        Example 1. (i) Facts. X is an entity with a            would treat Y as a corporation with ref-
                                                                     single owner organized under the laws of                  erence to one of the jurisdictions in which it
                                                                     Country A as an entity that is listed in para-            is created or organized. Because Y is orga-
                                                                     graph (b)(8)(i) of this section. Under the rules          nized in State A in a manner that does not
                                                                     of this section, such an entity is a corpora-             meet the definition of an eligible entity in
                                                                     tion for Federal tax purposes and under                   § 301.7701–3(a), it is unable to elect its classi-
                                                                     § 301.7701–3(a) is unable to elect its classifica-        fication.
                                                                     tion. Several years after its formation, X                   Example 3. (i) Facts. Z is an entity that has
                                                                     files a certificate of domestication in State             more than one owner and that is recognized
                                                                     B as a limited liability company (LLC).                   under the laws of Country A as an unlimited
                                                                     Under the laws of State B, X is considered to             company organized in Country A. Z is orga-
                                                                     be created or organized in State B as an LLC              nized in Country A in a manner that meets
                                                                     upon the filing of the certificate of domes-              the definition of an eligible entity in
                                                                     tication and is therefore subject to the laws             § 301.7701–3(a). Under the rules of this section
                                                                     of State B. Under the rules of this section               and § 301.7701–3, an unlimited company orga-
                                                                     and § 301.7701–3, an LLC with a single owner              nized only in Country A with more than one
                                                                     organized only in State B is disregarded as               owner is treated as a partnership for Federal
                                                                     an entity separate from its owner for Federal             tax purposes (absent an election to be treat-
                                                                     tax purposes (absent an election to be treat-             ed as an association). At the time Z was
                                                                     ed as an association). Neither Country A nor              formed, it was also organized as a private
                                                                     State B law requires X to terminate its char-             limited company under the laws of Country
                                                                     ter in Country A as a result of the domes-                B. Z is organized in Country B in a manner
                                                                     tication, and in fact X does not terminate its            that meets the definition of an eligible enti-
                                                                     Country A charter. Consequently, X is now                 ty in § 301.7701–3(a). Under the rules of this
                                                                     organized in more than one jurisdiction.                  section and § 301.7701–3, a private limited
                                                                        (ii) Result. X remains organized under the             company organized only in Country B is
                                                                     laws of Country A as an entity that is listed             treated as a corporation for Federal tax pur-
                                                                     in paragraph (b)(8)(i) of this section, and as            poses (absent an election to be treated as a
                                                                     such, it is an entity that is treated as a cor-           partnership). Thus, Z is organized in more
                                                                     poration under the rules of this section.                 than one jurisdiction. Z has not made any
                                                                     Therefore, X is a corporation for Federal tax             entity      classification    elections     under
                                                                     purposes because the rules of this section                § 301.7701–3.
                                                                     would treat X as a corporation with ref-                     (ii) Result. Z is organized in Country B as
                                                                     erence to one of the jurisdictions in which it            a private limited company, an entity that is
                                                                     is created or organized. Because X is orga-               treated (absent an election to the contrary)
                                                                     nized in Country A in a manner that does not              as a corporation under the rules of this sec-
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                                                                     meet the definition of an eligible entity in              tion. However, because Z is organized in each
                                                                     § 301.7701–3(a), it is unable to elect its classi-        jurisdiction in a manner that meets the defi-
                                                                     fication.                                                 nition of an eligible entity in § 301.7701–3(a),

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                                                                     § 301.7701–2                                                            26 CFR Ch. I (4–1–23 Edition)
                                                                     it may elect its classification under                     from its owner for any purpose under
                                                                     § 301.7701–3, subject to the limitations of               this section is treated as an entity sep-
                                                                     those provisions.                                         arate from its owner for purposes of—
                                                                        Example 4. (i) Facts. P is an entity with
                                                                                                                                  (1) Federal tax liabilities of the enti-
                                                                     more than one owner organized in Country A
                                                                     as a general partnership. Under the rules of              ty with respect to any taxable period
                                                                     this section and § 301.7701–3, an eligible enti-          for which the entity was not dis-
                                                                     ty with more than one owner in Country A is               regarded;
                                                                     treated as a partnership for federal tax pur-                (2) Federal tax liabilities of any
                                                                     poses (absent an election to be treated as an             other entity for which the entity is lia-
                                                                     association). P files a certificate of continu-           ble; and
                                                                     ance in Country B as an unlimited company.                   (3) Refunds or credits of Federal tax.
                                                                     Under the rules of this section and § 301.7701–
                                                                                                                                  (B) Examples. The following examples
                                                                     3, an unlimited company in Country B with
                                                                     more than one owner is treated as a partner-              illustrate the application of paragraph
                                                                     ship for federal tax purposes (absent an elec-            (c)(2)(iii)(A) of this section:
                                                                     tion to be treated as an association). P is not             Example 1. In 2006, X, a domestic corpora-
                                                                     required under either the laws of Country A               tion that reports its taxes on a calendar year
                                                                     or Country B to terminate the general part-               basis, merges into Z, a domestic LLC wholly
                                                                     nership in Country A, and in fact P does not              owned by Y that is disregarded as an entity
                                                                     terminate its Country A partnership. P is                 separate from Y, in a state law merger. X
                                                                     now organized in more than one jurisdiction.              was not a member of a consolidated group at
                                                                     P has not made any entity classification                  any time during its taxable year ending in
                                                                     elections under § 301.7701–3.                             December 2005. Under the applicable state
                                                                        (ii) Result. P’s organization in both Coun-            law, Z is the successor to X and is liable for
                                                                     try A and Country B would result in P being               all of X’s debts. In 2009, the Internal Revenue
                                                                     classified as a partnership. Therefore, since             Service (IRS) seeks to extend the period of
                                                                     the rules of this section would not treat P as            limitations on assessment for X’s 2005 tax-
                                                                     a corporation with reference to any jurisdic-             able year. Because Z is the successor to X
                                                                     tion in which it is created or organized, it is           and is liable for X’s 2005 taxes that remain
                                                                     not a corporation for federal tax purposes.               unpaid, Z is the proper party to sign the con-
                                                                        (c) Other business entities. For federal               sent to extend the period of limitations.
                                                                     tax purposes—                                               Example 2. The facts are the same as in Ex-
                                                                                                                               ample 1, except that in 2007, the IRS deter-
                                                                        (1) The term partnership means a
                                                                                                                               mines that X miscalculated and under-
                                                                     business entity that is not a corpora-                    reported its income tax liability for 2005. Be-
                                                                     tion under paragraph (b) of this section                  cause Z is the successor to X and is liable for
                                                                     and that has at least two members.                        X’s 2005 taxes that remain unpaid, the defi-
                                                                        (2) Wholly owned entities—(i) In gen-                  ciency may be assessed against Z and, in the
                                                                     eral. Except as otherwise provided in                     event that Z fails to pay the liability after
                                                                     this paragraph (c), a business entity                     notice and demand, a general tax lien will
                                                                     that has a single owner and is not a                      arise against all of Z’s property and rights to
                                                                                                                               property.
                                                                     corporation under paragraph (b) of this
                                                                     section is disregarded as an entity sep-                    (iv) Special rule for employment tax
                                                                     arate from its owner.                                     purposes—
                                                                        (ii) Special rule for certain business en-               (A) In general. Except as provided in
                                                                     tities. If the single owner of a business                 paragraph (c)(2)(iv)(C) of this section,
                                                                     entity is a bank (as defined in section                   paragraph (c)(2)(i) of this section (re-
                                                                     581, or, in the case of a foreign bank, as                lating to certain wholly owned enti-
                                                                     defined in section 585(a)(2)(B) without                   ties) does not apply to taxes imposed
                                                                     regard to the second sentence thereof),                   under Subtitle C—Employment Taxes
                                                                     then the special rules applicable to                      and Collection of Income Tax (Chapters
                                                                     banks under the Internal Revenue Code                     21, 22, 23, 23A, 24, and 25 of the Internal
                                                                     will continue to apply to the single                      Revenue Code).
                                                                     owner as if the wholly owned entity                         (B) Treatment of entity. Except as pro-
                                                                     were a separate entity. For this pur-                     vided in paragraph (c)(2)(iv)(C) of this
                                                                     pose, the special rules applicable to                     section, an entity that is disregarded
                                                                     banks under the Internal Revenue Code                     as an entity separate from its owner
                                                                     do not include the rules under sections                   for any purpose under this section is
                                                                     864(c), 882(c), and 884.                                  treated as a corporation with respect
                                                                        (iii) Tax liabilities of certain dis-                  to taxes imposed under Subtitle C—
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                                                                     regarded entities—(A) In general. An en-                  Employment Taxes and Collection of
                                                                     tity that is disregarded as separate                      Income Tax (Chapters 21, 22, 23, 23A, 24,

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                                                                     and 25 of the Internal Revenue Code).                     owner for Federal tax purposes. However,
                                                                     For special rules regarding the applica-                  LLCA is treated as an entity separate from
                                                                     tion of certain employment tax excep-                     its owner for purposes of subtitle C of the In-
                                                                                                                               ternal Revenue Code. LLCA has employees
                                                                     tions, see §§ 31.3121(b)(3)–1(d), 31.3127–                and pays wages as defined in sections 3121(a),
                                                                     1(b), and 31.3306(c)(5)–1(d) of this chap-                3306(b), and 3401(a).
                                                                     ter.                                                        (ii) LLCA is subject to the provisions of
                                                                        (C) Special rules. (1) Paragraphs                      subtitle C of the Internal Revenue Code and
                                                                     (c)(2)(iv)(A) and (B) of this section do                  related provisions under 26 CFR subchapter
                                                                     not apply to withholding requirements                     C, Employment Taxes and Collection of In-
                                                                     imposed by section 3406 (backup with-                     come Tax at Source, parts 31 through 39. Ac-
                                                                     holding). Thus, in the case of an entity                  cordingly, LLCA is required to perform such
                                                                                                                               acts as are required of an employer under
                                                                     that is disregarded as an entity sepa-                    those provisions of the Internal Revenue
                                                                     rate from its owner for any purpose                       Code and regulations thereunder that apply.
                                                                     under this section, the owner is subject                  All provisions of law (including penalties)
                                                                     to the withholding requirements im-                       and the regulations prescribed in pursuance
                                                                     posed by section 3406 (backup with-                       of law applicable to employers in respect of
                                                                     holding).                                                 such acts are applicable to LLCA. Thus, for
                                                                        (2) Paragraph (c)(2)(i) of this section                example, LLCA is liable for income tax with-
                                                                     applies to taxes imposed under subtitle                   holding, Federal Insurance Contributions
                                                                                                                               Act (FICA) taxes, and Federal Unemploy-
                                                                     A of the Code, including Chapter 2—                       ment Tax Act (FUTA) taxes. See sections
                                                                     Tax on Self-Employment Income.                            3402 and 3403 (relating to income tax with-
                                                                     Thus, an entity that is treated in the                    holding); 3102(b) and 3111 (relating to FICA
                                                                     same manner as a sole proprietorship                      taxes), and 3301 (relating to FUTA taxes). In
                                                                     under paragraph (a) of this section is                    addition, LLCA must file under its name and
                                                                     not treated as a corporation for pur-                     EIN the applicable Forms in the 94X series,
                                                                     poses of employing its owner; instead,                    for example, Form 941, ‘‘Employer’s Quar-
                                                                                                                               terly Employment Tax Return,’’ Form 940,
                                                                     the entity is disregarded as an entity
                                                                                                                               ‘‘Employer’s Annual Federal Unemployment
                                                                     separate from its owner for this pur-                     Tax Return;’’ file with the Social Security
                                                                     pose and is not the employer of its                       Administration and furnish to LLCA’s em-
                                                                     owner. The owner will be subject to                       ployees statements on Forms W–2, ‘‘Wage
                                                                     self-employment tax on self-employ-                       and Tax Statement;’’ and make timely em-
                                                                     ment income with respect to the enti-                     ployment tax deposits. See §§ 31.6011(a)–1,
                                                                     ty’s activities. Also, if a partnership is                31.6011(a)–3, 31.6051–1, 31.6051–2, and 31.6302–1
                                                                     the owner of an entity that is dis-                       of this chapter.
                                                                                                                                 (iii) A is self-employed for purposes of sub-
                                                                     regarded as an entity separate from its
                                                                                                                               title A, chapter 2, Tax on Self-Employment
                                                                     owner for any purpose under this sec-                     Income, of the Internal Revenue Code. Thus,
                                                                     tion, the entity is not treated as a cor-                 A is subject to tax under section 1401 on A’s
                                                                     poration for purposes of employing a                      net earnings from self-employment with re-
                                                                     partner of the partnership that owns                      spect to LLCA’s activities. A is not an em-
                                                                     the entity; instead, the entity is dis-                   ployee of LLCA for purposes of subtitle C of
                                                                     regarded as an entity separate from the                   the Internal Revenue Code. Because LLCA is
                                                                     partnership for this purpose and is not                   treated as a sole proprietorship of A for in-
                                                                                                                               come tax purposes, A is entitled to deduct
                                                                     the employer of any partner of the
                                                                                                                               trade or business expenses paid or incurred
                                                                     partnership that owns the entity. A                       with respect to activities carried on through
                                                                     partner of a partnership that owns an                     LLCA, including the employer’s share of em-
                                                                     entity that is disregarded as an entity                   ployment taxes imposed under sections 3111
                                                                     separate from its owner for any pur-                      and 3301, on A’s Form 1040, Schedule C,
                                                                     pose under this section is subject to                     ‘‘Profit or Loss for Business (Sole Propri-
                                                                     the same self-employment tax rules as                     etorship).’’
                                                                     a partner of a partnership that does not                    (v) Special rule for certain excise tax
                                                                     own an entity that is disregarded as an                   purposes—(A) In general. Paragraph
                                                                     entity separate from its owner for any                    (c)(2)(i) of this section (relating to cer-
                                                                     purpose under this section.                               tain wholly owned entities) does not
                                                                        (D) Example. The following example                     apply for purposes of—
                                                                     illustrates the application of paragraph                    (1) Federal tax liabilities imposed by
                                                                     (c)(2)(iv) of this section:                               Chapters 31, 32 (other than section
                                                                                                                               4181), 33, 34, 35, 36 (other than section
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                                                                       Example. (i) LLCA is an eligible entity
                                                                     owned by individual A and is generally dis-               4461), 38, and 49 of the Internal Revenue
                                                                     regarded as an entity separate from its                   Code, or any floor stocks tax imposed

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                                                                     on articles subject to any of these                       or on a Form 8849, ‘‘Claim for Refund of Ex-
                                                                     taxes;                                                    cise Taxes.’’ Alternatively, if LLCB did not
                                                                        (2) Collection of tax imposed by                       claim a payment during the time prescribed
                                                                                                                               in section 6427(i)(2) for making a claim under
                                                                     Chapters 33 and 49 of the Internal Rev-
                                                                                                                               section 6427, § 1.34–1 of this chapter provides
                                                                     enue Code;                                                that B, the owner of LLCB, could claim the
                                                                        (3) Registration under sections 4101,                  income tax credit allowed under section 34
                                                                     4222, 4412;                                               for the nontaxable use of diesel fuel by
                                                                        (4) Claims of a credit (other than a                   LLCB.
                                                                     credit under section 34), refund, or pay-                   (iv) Assume the same facts as in paragraph
                                                                     ment related to a tax described in para-                  (c)(2)(v)(C) Example (i) and (ii) of this section.
                                                                     graph (c)(2)(v)(A)(1) of this section or                  If LLCB does not pay the tax on its sale of
                                                                     under section 6426 or 6427; and                           coal under chapter 32 of the Internal Rev-
                                                                        (5) Assessment and collection of an                    enue Code, any notice of lien the Internal
                                                                                                                               Revenue Service files will be filed as if LLCB
                                                                     assessable payment imposed by section
                                                                                                                               were a corporation.
                                                                     4980H and reporting required by section
                                                                     6056.                                                        (vi) Special rule for reporting under sec-
                                                                        (B) Treatment of entity. An entity that                tion 6038A—(A) In general. An entity
                                                                     is disregarded as an entity separate                      that is disregarded as an entity sepa-
                                                                     from its owner for any purpose under                      rate from its owner for any purpose
                                                                     this section is treated as a corporation                  under this section is treated as an enti-
                                                                     with respect to items described in para-                  ty separate from its owner and classi-
                                                                     graph (c)(2)(v)(A) of this section.                       fied as a corporation for purposes of
                                                                        (C) Example. The following example                     section 6038A if—
                                                                     illustrates the provisions of this para-                     (1) The entity is a domestic entity;
                                                                     graph (c)(2)(v):                                          and
                                                                       Example. (i) LLCB is an eligible entity that               (2) One foreign person has direct or
                                                                     has a single owner, B. LLCB is generally dis-             indirect sole ownership of the entity.
                                                                     regarded as an entity separate from its                      (B) Definitions—(1) Indirect sole owner-
                                                                     owner. However, under paragraph (c)(2)(v) of              ship. For purposes of paragraph
                                                                     this section, LLCB is treated as an entity                (c)(2)(vi)(A)(2) of this section, indirect
                                                                     separate from its owner for certain purposes              sole ownership means ownership by one
                                                                     relating to excise taxes.                                 person entirely through one or more
                                                                       (ii) LLCB mines coal from a coal mine lo-
                                                                     cated in the United States. Section 4121 of               other entities disregarded as entities
                                                                     chapter 32 of the Internal Revenue Code im-               separate from their owners or through
                                                                     poses a tax on the producer’s sale of such                one or more grantor trusts, regardless
                                                                     coal. Section 48.4121–1(a) of this chapter de-            of whether any such disregarded entity
                                                                     fines a ‘‘producer’’ generally as the person in           or grantor trust is domestic or foreign.
                                                                     whom is vested ownership of the coal under                   (2) Entity disregarded as separate from
                                                                     state law immediately after the coal is sev-              its owner. For purposes of paragraph
                                                                     ered from the ground. LLCB is the person
                                                                                                                               (c)(2)(vi)(B)(1) of this section, an entity
                                                                     that owns the coal under state law imme-
                                                                     diately after it is severed from the ground.              disregarded as an entity separate from
                                                                     Under paragraph (c)(2)(v)(A)(1) of this sec-              its owner is an entity described in
                                                                     tion, LLCB is the producer of the coal and is             paragraph (c)(2)(i) of this section.
                                                                     liable for tax on its sale of such coal under                (3) Grantor trust. For purposes of
                                                                     chapter 32 of the Internal Revenue Code.                  paragraph (c)(2)(vi)(B)(1) of this sec-
                                                                     LLCB must report and pay tax on Form 720,                 tion, a grantor trust is any portion of
                                                                     ‘‘Quarterly Federal Excise Tax Return,’’                  a trust that is treated as owned by the
                                                                     under its own name and taxpayer identifica-
                                                                     tion number.
                                                                                                                               grantor or another person under sub-
                                                                       (iii) LLCB uses undyed diesel fuel in an                part E of subchapter J of chapter 1 of
                                                                     earthmover that is not registered or required             the Code.
                                                                     to be registered for highway use. Such use is                (C) Taxable year. The taxable year of
                                                                     an off-highway business use of the fuel.                  an entity classified as a corporation for
                                                                     Under section 6427(l), the ultimate purchaser             section 6038A purposes pursuant to
                                                                     is allowed to claim an income tax credit or               paragraph (c)(2)(vi)(A) of this section
                                                                     payment related to the tax imposed on diesel
                                                                                                                               is—
                                                                     fuel used in an off-highway business use.
                                                                     Under paragraph (c)(2)(v) of this section, for               (1) The same as the taxable year of
                                                                                                                               the foreign person described in para-
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                                                                     purposes of the credit or payment allowed
                                                                     under section 6427(l), LLCB is the person                 graph (c)(2)(vi)(A)(2) of this section, if
                                                                     that could claim the amount on its Form 720               that foreign person has a U.S. income

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                                                                     Internal Revenue Service, Treasury                                                          § 301.7701–2

                                                                     tax or information return filing obliga-                  tion in which the entity is formed,
                                                                     tion for its taxable year; or                             paragraph (d)(1) of this section will be
                                                                        (2) The calendar year, if paragraph                    applied to that entity by substituting
                                                                     (c)(2)(vi)(C)(1) of this section does not                 the date of the entity’s formation for
                                                                     apply, unless otherwise provided in                       May 8, 1996.
                                                                     forms, instructions, or published guid-                      (3) Termination of grandfather status—
                                                                     ance.                                                     (i) In general. An entity that is not
                                                                        (d) Special rule for certain foreign busi-             treated as a corporation under para-
                                                                     ness entities—(1) In general. Except as                   graph (b)(8)(i) of this section by reason
                                                                     provided in paragraph (d)(3) of this sec-                 of paragraph (d)(1) or (d)(2) of this sec-
                                                                     tion, a foreign business entity de-                       tion will be treated permanently as a
                                                                     scribed in paragraph (b)(8)(i) of this                    corporation under paragraph (b)(8)(i) of
                                                                     section will not be treated as a cor-
                                                                                                                               this section from the earliest of:
                                                                     poration under paragraph (b)(8)(i) of
                                                                                                                                  (A) The effective date of an election
                                                                     this section if—
                                                                        (i) The entity was in existence on                     to be treated as an association under
                                                                     May 8, 1996;                                              § 301.7701–3;
                                                                        (ii) The entity’s classification was                      (B) A termination of the partnership
                                                                     relevant (as defined in § 301.7701–3(d)) on               under section 708(b)(1)(B) (regarding
                                                                     May 8, 1996;                                              sale or exchange of 50 percent or more
                                                                        (iii) No person (including the entity)                 of the total interest in an entity’s cap-
                                                                     for whom the entity’s classification                      ital or profits within a twelve month
                                                                     was relevant on May 8, 1996, treats the                   period);
                                                                     entity as a corporation for purposes of                      (C) A division of the partnership
                                                                     filing such person’s federal income tax                   under section 708(b)(2)(B); or
                                                                     returns, information returns, and with-                      (D) The date any person or persons,
                                                                     holding documents for the taxable year                    who were not owners of the entity as of
                                                                     including May 8, 1996;                                    November 29, 1999, own in the aggre-
                                                                        (iv) Any change in the entity’s                        gate a 50 percent or greater interest in
                                                                     claimed classification within the sixty                   the entity.
                                                                     months prior to May 8, 1996, occurred                        (ii) Special rule for certain entities. For
                                                                     solely as a result of a change in the or-                 purposes of paragraph (d)(2) of this sec-
                                                                     ganizational documents of the entity,                     tion, paragraph (d)(3)(i)(B) of this sec-
                                                                     and the entity and all members of the                     tion shall not apply if the sale or ex-
                                                                     entity recognized the federal tax con-                    change of interests in the entity is to a
                                                                     sequences of any change in the entity’s
                                                                                                                               related person (within the meaning of
                                                                     classification within the sixty months
                                                                                                                               sections 267(b) and 707(b)) and occurs no
                                                                     prior to May 8, 1996;
                                                                                                                               later than twelve months after the
                                                                        (v) A reasonable basis (within the
                                                                                                                               date of the formation of the entity.
                                                                     meaning of section 6662) existed on
                                                                     May 8, 1996, for treating the entity as                      (e) Effective/applicability date. (1) Ex-
                                                                     other than a corporation; and                             cept as otherwise provided in this para-
                                                                        (vi) Neither the entity nor any mem-                   graph (e), the rules of this section
                                                                     ber was notified in writing on or before                  apply as of January 1, 1997, except that
                                                                     May 8, 1996, that the classification of                   paragraph (b)(6) of this section applies
                                                                     the entity was under examination (in                      on or after January 14, 2002, to a busi-
                                                                     which case the entity’s classification                    ness entity wholly owned by a foreign
                                                                     will be determined in the examina-                        government regardless of any prior en-
                                                                     tion).                                                    tity classification, and paragraph
                                                                        (2) Binding contract rule. If a foreign                (c)(2)(ii) of this section applies to tax-
                                                                     business entity described in paragraph                    able years beginning after January 12,
                                                                     (b)(8)(i) of this section is formed after                 2001. The reference to the Finnish, Mal-
                                                                     May 8, 1996, pursuant to a written bind-                  tese, and Norwegian entities in para-
                                                                     ing contract (including an accepted bid                   graph (b)(8)(i) of this section is applica-
                                                                     to develop a project) in effect on May 8,                 ble on November 29, 1999. The reference
                                                                     1996, and all times thereafter, in which                  to the Trinidadian entity in paragraph
                                                                     the parties agreed to engage (directly                    (b)(8)(i) of this section applies to enti-
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                                                                     or indirectly) in an active and substan-                  ties formed on or after November 29,
                                                                     tial business operation in the jurisdic-                  1999. Any Maltese or Norwegian entity

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                                                                     that becomes an eligible entity as a re-                  apply before September 14, 2009, see 26
                                                                     sult of paragraph (b)(8)(i) of this sec-                  CFR part 301 revised as of April 1, 2009.
                                                                     tion in effect on November 29, 1999,                        (iii) Paragraph (c)(2)(iv)(C)(1) of this
                                                                     may elect by February 14, 2000, to be                     section applies with respect to wages
                                                                     classified for Federal tax purposes as                    paid on or after November 1, 2011. For
                                                                     an entity other than a corporation ret-                   rules that apply before November 1,
                                                                     roactive to any period from and includ-                   2011, see 26 CFR part 301, revised as of
                                                                     ing January 1, 1997. Any Finnish entity                   April 1, 2011. However, taxpayers may
                                                                     that becomes an eligible entity as a re-                  apply paragraph (c)(2)(iv)(C)(1) of this
                                                                     sult of paragraph (b)(8)(i) of this sec-                  section with respect to wages paid on
                                                                     tion in effect on November 29, 1999,                      or after January 1, 2009.
                                                                     may elect by February 14, 2000, to be                       (6)(i) Except as provided in this para-
                                                                     classified for Federal tax purposes as                    graph (e)(6), paragraph (c)(2)(v) of this
                                                                     an entity other than a corporation ret-                   section applies to liabilities imposed
                                                                     roactive to any period from and includ-                   and actions first required or permitted
                                                                     ing September 1, 1997. However, para-                     in periods beginning on or after Janu-
                                                                     graph (d)(3)(i)(D) of this section applies                ary 1, 2008.
                                                                     on or after October 22, 2003.                               (ii)   Paragraphs      (c)(2)(v)(B)  and
                                                                       (2) Paragraph (c)(2)(iii) of this section               (c)(2)(v)(C) Example (iv) of this section
                                                                     applies on and after September 14, 2009.                  apply on and after September 14, 2009.
                                                                     For rules that apply before September                       (iii) Paragraph (c)(2)(v)(A)(5) of this
                                                                     14, 2009, see 26 CFR part 301, revised as                 section applies for periods after Decem-
                                                                     of April 1, 2009.                                         ber 31, 2014.
                                                                       (3)(i) General rule. Except as provided                   (iv) References to Chapter 49 in para-
                                                                     in paragraph (e)(3)(ii) of this section,                  graph (c)(2)(v) of this section apply to
                                                                     the rules of paragraph (b)(9) of this sec-                taxes imposed on amounts paid on or
                                                                     tion apply as of August 12, 2004, to all                  after July 1, 2012.
                                                                     business entities existing on or after                      (7) The reference to the Bulgarian en-
                                                                     that date.                                                tity in paragraph (b)(8)(i) of this sec-
                                                                       (ii) Transition rule. For business enti-                tion applies to such entities formed on
                                                                     ties created or organized under the                       or after January 1, 2007, and to any
                                                                     laws of more than one jurisdiction as of                  such entity formed before such date
                                                                     August 12, 2004, the rules of paragraph                   from the date that, in the aggregate, a
                                                                     (b)(9) of this section apply as of May 1,                 50 percent or more interest in such en-
                                                                     2006. These entities, however, may rely                   tity is owned by any person or persons
                                                                     on the rules of paragraph (b)(9) of this                  who were not owners of the entity as of
                                                                     section as of August 12, 2004.                            January 1, 2007. For purposes of the
                                                                       (4) The reference to the Estonian,                      preceding sentence, the term interest
                                                                     Latvian, Liechtenstein, Lithuanian,                       means—
                                                                     and Slovenian entities in paragraph                         (i) In the case of a partnership, a cap-
                                                                     (b)(8)(i) of this section applies to such                 ital or profits interest; and
                                                                     entities formed on or after October 7,                      (ii) In the case of a corporation, an
                                                                     2004, and to any such entity formed be-                   equity interest measured by vote or
                                                                     fore such date from the date any per-                     value.
                                                                     son or persons, who were not owners of                      (8) Paragraph (c)(2)(iv)(C)(2) of this
                                                                     the entity as of October 7, 2004, own in                  section applies on the later of—
                                                                     the aggregate a 50 percent or greater                       (i) August 1, 2016; or
                                                                     interest in the entity. The reference to                    (ii) The first day of the latest-start-
                                                                     the European Economic Area/European                       ing plan year beginning after May 4,
                                                                     Union entity in paragraph (b)(8)(i) of                    2016, and on or before May 4, 2017, of an
                                                                     this section applies to such entities                     affected plan (based on the plans adopt-
                                                                     formed on or after October 8, 2004.                       ed before, and the plan years in effect
                                                                       (5)(i) Except as provided in this para-                 as of, May 4, 2016) sponsored by an enti-
                                                                     graph (e)(5), paragraph (c)(2)(iv) of this                ty that is disregarded as an entity sep-
                                                                     section applies with respect to wages                     arate from its owner for any purpose
                                                                     paid on or after January 1, 2009.                         under this section. For rules that apply
                                                                       (ii) Paragraph (c)(2)(iv)(B) applies                    before the applicability date of para-
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                                                                     with respect to wages paid on or after                    graph (c)(2)(iv)(C)(2) of this section, see
                                                                     September 14, 2009. For rules that                        26 CFR part 301 revised as of April 1,

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                                                                     Internal Revenue Service, Treasury                                                          § 301.7701–3

                                                                     2016. For the purposes of this paragraph                  tially as other than the default classi-
                                                                     (e)(8)—                                                   fication or when an eligible entity
                                                                       (A) An affected plan includes any                       chooses to change its classification. An
                                                                     qualified plan, health plan, or section                   entity whose classification is deter-
                                                                     125 cafeteria plan if the plan benefits                   mined under the default classification
                                                                     participants whose employment status                      retains that classification (regardless
                                                                     is affected by paragraph (c)(2)(iv)(C)(2)                 of any changes in the members’ liabil-
                                                                     of this section;                                          ity that occurs at any time during the
                                                                       (B) A qualified plan means a plan,                      time that the entity’s classification is
                                                                     contract, pension, or trust described in                  relevant as defined in paragraph (d) of
                                                                     paragraph (A) or (B) of section 219(g)(5)                 this section) until the entity makes an
                                                                     (other than paragraph (A)(iii)); and                      election to change that classification
                                                                       (C) A health plan means an arrange-                     under paragraph (c)(1) of this section.
                                                                     ment described under § 1.105–5 of this                    Paragraph (c) of this section provides
                                                                     chapter.                                                  rules for making express elections, in-
                                                                       (9) Reporting required under section                    cluding a rule under which a domestic
                                                                     6038A. Paragraph (c)(2)(vi) of this sec-                  eligible entity that elects to be classi-
                                                                     tion applies to taxable years of entities                 fied as an association consents to be
                                                                     beginning after December 31, 2016, and                    subject to the dual consolidated loss
                                                                     ending on or after December 13, 2017.
                                                                                                                               rules of section 1503(d). Paragraph (d)
                                                                     [T.D. 8697, 61 FR 66589, Dec. 18, 1996, as                of this section provides special rules
                                                                     amended by T.D. 8844, 64 FR 66583, Nov. 29,               for foreign eligible entities. Paragraph
                                                                     1999; T.D. 9012, 67 FR 49864, Aug. 1, 2002; T.D.          (e) of this section provides special rules
                                                                     9093, 68 FR 60298, Oct. 22, 2003; T.D. 9153, 69
                                                                     FR 49810, Aug. 12, 2004; T.D. 9183, 70 FR 9221,
                                                                                                                               for classifying entities resulting from
                                                                     Feb. 25, 2005; T.D. 9197, 70 FR 19698, Apr. 14,           partnership terminations and divisions
                                                                     2005; T.D. 9235, 70 FR 74658, Dec. 16, 2005; T.D.         under section 708(b). Paragraph (f) of
                                                                     9246, 71 FR 4817, Jan. 30, 2006; T.D. 9356, 72 FR         this section sets forth the effective
                                                                     45893, Aug. 16, 2007; T.D. 9388, 73 FR 15065,             date of this section and a special rule
                                                                     Mar. 21, 2008; T.D. 8697, 73 FR 18442, Apr. 4,            relating to prior periods.
                                                                     2008; 73 FR 21415, Apr. 21, 2008; T.D. 9433, 73
                                                                                                                                 (b) Classification of eligible entities that
                                                                     FR 72346, Nov. 28, 2008; T.D. 9462, 74 FR 46904,
                                                                     Sept. 14, 2009; T.D. 9553, 76 FR 66182, Oct. 26,          do not file an election—(1) Domestic eligi-
                                                                     2011; T.D. 9554, 76 FR 67365, Nov. 1, 2011; T.D.          ble entities. Except as provided in para-
                                                                     9596, 77 FR 37807, June 25, 2012; T.D. 9655, 79           graph (b)(3) of this section, unless the
                                                                     FR 8601, Feb. 12, 2014; T.D. 9670, 79 FR 36206,           entity elects otherwise, a domestic eli-
                                                                     June 26, 2014; T.D. 9766, 81 FR 26694, May 4,             gible entity is—
                                                                     2016; T.D. 9796, 81 FR 89851, Dec. 13, 2016; T.D.           (i) A partnership if it has two or
                                                                     9869, 84 FR 31479, July 2, 2019]
                                                                                                                               more members; or
                                                                     § 301.7701–3 Classification of certain                      (ii) Disregarded as an entity separate
                                                                          business entities.                                   from its owner if it has a single owner.
                                                                        (a) In general. A business entity that                   (2) Foreign eligible entities—(i) In gen-
                                                                     is not classified as a corporation under                  eral. Except as provided in paragraph
                                                                     § 301.7701–2(b) (1), (3), (4), (5), (6), (7), or          (b)(3) of this section, unless the entity
                                                                     (8) (an eligible entity) can elect its clas-              elects otherwise, a foreign eligible en-
                                                                     sification for federal tax purposes as                    tity is—
                                                                     provided in this section. An eligible en-                   (A) A partnership if it has two or
                                                                     tity with at least two members can                        more members and at least one mem-
                                                                     elect to be classified as either an asso-                 ber does not have limited liability;
                                                                     ciation (and thus a corporation under                       (B) An association if all members
                                                                     § 301.7701–2(b)(2)) or a partnership, and                 have limited liability; or
                                                                     an eligible entity with a single owner                      (C) Disregarded as an entity separate
                                                                     can elect to be classified as an associa-                 from its owner if it has a single owner
                                                                     tion or to be disregarded as an entity                    that does not have limited liability.
                                                                     separate from its owner. Paragraph (b)                      (ii) Definition of limited liability. For
                                                                     of this section provides a default clas-                  purposes of paragraph (b)(2)(i) of this
                                                                     sification for an eligible entity that                    section, a member of a foreign eligible
                                                                     does not make an election. Thus, elec-                    entity has limited liability if the mem-
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                                                                     tions are necessary only when an eligi-                   ber has no personal liability for the
                                                                     ble entity chooses to be classified ini-                  debts of or claims against the entity by

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                                                                     § 301.7701–3                                                            26 CFR Ch. I (4–1–23 Edition)

                                                                     reason of being a member. This deter-                     tion of the entity, the entity’s classi-
                                                                     mination is based solely on the statute                   fication for the period prior to the ef-
                                                                     or law pursuant to which the entity is                    fective date of this section is deter-
                                                                     organized, except that if the under-                      mined under the regulations in effect
                                                                     lying statute or law allows the entity                    on the date prior to the effective date
                                                                     to specify in its organizational docu-                    of this section.
                                                                     ments whether the members will have                          (c) Elections—(1) Time and place for fil-
                                                                     limited liability, the organizational                     ing—(i) In general. Except as provided
                                                                     documents may also be relevant. For                       in paragraphs (c)(1) (iv) and (v) of this
                                                                     purposes of this section, a member has                    section, an eligible entity may elect to
                                                                     personal liability if the creditors of the                be classified other than as provided
                                                                     entity may seek satisfaction of all or                    under paragraph (b) of this section, or
                                                                     any portion of the debts or claims                        to change its classification, by filing
                                                                     against the entity from the member as                     Form 8832, Entity Classification Elec-
                                                                     such. A member has personal liability                     tion, with the service center designated
                                                                     for purposes of this paragraph even if                    on Form 8832. An election will not be
                                                                     the member makes an agreement under                       accepted unless all of the information
                                                                     which another person (whether or not a                    required by the form and instructions,
                                                                     member of the entity) assumes such li-
                                                                                                                               including the taxpayer identifying
                                                                     ability or agrees to indemnify that
                                                                                                                               number of the entity, is provided on
                                                                     member for any such liability.
                                                                                                                               Form 8832. See § 301.6109–1 for rules on
                                                                        (3) Existing eligible entities—(i) In gen-
                                                                                                                               applying for and displaying Employer
                                                                     eral. Unless the entity elects otherwise,
                                                                                                                               Identification Numbers.
                                                                     an eligible entity in existence prior to
                                                                     the effective date of this section will                      (ii) Further notification of elections. An
                                                                     have the same classification that the                     eligible entity required to file a Fed-
                                                                     entity     claimed      under    §§ 301.7701–1            eral tax or information return for the
                                                                     through 301.7701–3 as in effect on the                    taxable year for which an election is
                                                                     date prior to the effective date of this                  made under § 301.7701–3(c)(1)(i) must at-
                                                                     section; except that if an eligible enti-                 tach a copy of its Form 8832 to its Fed-
                                                                     ty with a single owner claimed to be a                    eral tax or information return for that
                                                                     partnership under those regulations,                      year. If the entity is not required to
                                                                     the entity will be disregarded as an en-                  file a return for that year, a copy of its
                                                                     tity separate from its owner under this                   Form 8832 (‘‘Entity Classification Elec-
                                                                     paragraph (b)(3)(i). For special rules re-                tion’’) must be attached to the Federal
                                                                     garding the classification of such enti-                  income tax or information return of
                                                                     ties prior to the effective date of this                  any direct or indirect owner of the en-
                                                                     section, see paragraph (h)(2) of this sec-                tity for the taxable year of the owner
                                                                     tion.                                                     that includes the date on which the
                                                                        (ii) Special rules. For purposes of                    election was effective. An indirect
                                                                     paragraph (b)(3)(i) of this section, a for-               owner of the entity does not have to
                                                                     eign eligible entity is treated as being                  attach a copy of the Form 8832 to its
                                                                     in existence prior to the effective date                  return if an entity in which it has an
                                                                     of this section only if the entity’s clas-                interest is already filing a copy of the
                                                                     sification was relevant (as defined in                    Form 8832 with its return. If an entity,
                                                                     paragraph (d) of this section) at any                     or one of its direct or indirect owners,
                                                                     time during the sixty months prior to                     fails to attach a copy of a Form 8832 to
                                                                     the effective date of this section. If an                 its return as directed in this section,
                                                                     entity claimed different classifications                  an otherwise valid election under
                                                                     prior to the effective date of this sec-                  § 301.7701–3(c)(1)(i) will not be invali-
                                                                     tion, the entity’s classification for pur-                dated, but the non-filing party may be
                                                                     poses of paragraph (b)(3)(i) of this sec-                 subject to penalties, including any ap-
                                                                     tion is the last classification claimed                   plicable penalties if the Federal tax or
                                                                     by the entity. If a foreign eligible enti-                information returns are inconsistent
                                                                     ty’s classification is relevant prior to                  with the entity’s election under
                                                                     the effective date of this section, but                   § 301.7701–3(c)(1)(i). In the case of re-
                                                                     no federal tax or information return is                   turns for taxable years beginning after
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                                                                     filed or the federal tax or information                   December 31, 2002, the copy of Form
                                                                     return does not indicate the classifica-                  8832 attached to a return pursuant to

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                                                                     this paragraph (c)(1)(ii) is not required                 been determined to be, or claims to be,
                                                                     to be a signed copy.                                      exempt from taxation under section
                                                                        (iii) Effective date of election. An elec-             501(a) is treated as having made an
                                                                     tion made under paragraph (c)(1)(i) of                    election under this section to be classi-
                                                                     this section will be effective on the                     fied as an association. Such election
                                                                     date specified by the entity on Form                      will be effective as of the first day for
                                                                     8832 or on the date filed if no such date                 which exemption is claimed or deter-
                                                                     is specified on the election form. The                    mined to apply, regardless of when the
                                                                     effective date specified on Form 8832                     claim or determination is made, and
                                                                     can not be more than 75 days prior to                     will remain in effect unless an election
                                                                     the date on which the election is filed                   is made under paragraph (c)(1)(i) of this
                                                                     and can not be more than 12 months                        section after the date the claim for ex-
                                                                     after the date on which the election is                   empt status is withdrawn or rejected or
                                                                     filed. If an election specifies an effec-                 the date the determination of exempt
                                                                     tive date more than 75 days prior to                      status is revoked.
                                                                     the date on which the election is filed,                     (B) Real estate investment trusts. An el-
                                                                     it will be effective 75 days prior to the                 igible entity that files an election
                                                                     date it was filed. If an election speci-                  under section 856(c)(1) to be treated as
                                                                     fies an effective date more than 12                       a real estate investment trust is treat-
                                                                     months from the date on which the                         ed as having made an election under
                                                                     election is filed, it will be effective 12                this section to be classified as an asso-
                                                                     months after the date it was filed. If an                 ciation. Such election will be effective
                                                                     election specifies an effective date be-                  as of the first day the entity is treated
                                                                     fore January 1, 1997, it will be effective                as a real estate investment trust.
                                                                     as of January 1, 1997. If a purchasing
                                                                                                                                  (C) S corporations. An eligible entity
                                                                     corporation makes an election under
                                                                                                                               that timely elects to be an S corpora-
                                                                     section 338 regarding an acquired sub-
                                                                                                                               tion under section 1362(a)(1) is treated
                                                                     sidiary, an election under paragraph
                                                                                                                               as having made an election under this
                                                                     (c)(1)(i) of this section for the acquired
                                                                                                                               section to be classified as an associa-
                                                                     subsidiary can be effective no earlier
                                                                                                                               tion, provided that (as of the effective
                                                                     than the day after the acquisition date
                                                                                                                               date of the election under section
                                                                     (within      the    meaning      of   section
                                                                                                                               1362(a)(1)) the entity meets all other re-
                                                                     338(h)(2)).
                                                                                                                               quirements to qualify as a small busi-
                                                                        (iv) Limitation. If an eligible entity
                                                                     makes an election under paragraph                         ness corporation under section 1361(b).
                                                                     (c)(1)(i) of this section to change its                   Subject to § 301.7701–3(c)(1)(iv), the
                                                                     classification (other than an election                    deemed election to be classified as an
                                                                     made by an existing entity to change                      association will apply as of the effec-
                                                                     its classification as of the effective                    tive date of the S corporation election
                                                                     date of this section), the entity cannot                  and will remain in effect until the enti-
                                                                     change its classification by election                     ty makes a valid election, under
                                                                     again during the sixty months suc-                        § 301.7701–3(c)(1)(i), to be classified as
                                                                     ceeding the effective date of the elec-                   other than an association.
                                                                     tion. However, the Commissioner may                          (vi) Examples. The following examples
                                                                     permit the entity to change its classi-                   illustrate the rules of this paragraph
                                                                     fication by election within the sixty                     (c)(1):
                                                                     months if more than fifty percent of                        Example 1. On July 1, 1998, X, a domestic
                                                                     the ownership interests in the entity as                  corporation, purchases a 10% interest in Y,
                                                                     of the effective date of the subsequent                   an eligible entity formed under Country A
                                                                     election are owned by persons that did                    law in 1990. The entity’s classification was
                                                                     not own any interests in the entity on                    not relevant to any person for federal tax or
                                                                     the filing date or on the effective date                  information purposes prior to X’s acquisition
                                                                     of the entity’s prior election. An elec-                  of an interest in Y. Thus, Y is not considered
                                                                                                                               to be in existence on the effective date of
                                                                     tion by a newly formed eligible entity
                                                                                                                               this section for purposes of paragraph (b)(3)
                                                                     that is effective on the date of forma-                   of this section. Under the applicable Country
                                                                     tion is not considered a change for pur-                  A statute, all members of Y have limited li-
                                                                     poses of this paragraph (c)(1)(iv).
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                                                                                                                               ability as defined in paragraph (b)(2)(ii) of
                                                                        (v) Deemed elections—(A) Exempt orga-                  this section. Accordingly, Y is classified as
                                                                     nizations. An eligible entity that has                    an association under paragraph (b)(2)(i)(B) of

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                                                                                                                    - Add.85 -
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                                                                     § 301.7701–3                                                            26 CFR Ch. I (4–1–23 Edition)
                                                                     this section unless it elects under this para-            sification of an entity, each person who
                                                                     graph (c) to be classified as a partnership. To           was an owner on the date that any
                                                                     be classified as a partnership as of July 1,
                                                                                                                               transactions under paragraph (g) of
                                                                     1998, Y must file a Form 8832 by September
                                                                     14, 1998. See paragraph (c)(1)(i) of this sec-            this section are deemed to occur, and
                                                                     tion. Because an election cannot be effective             who is not an owner at the time the
                                                                     more than 75 days prior to the date on which              election is filed, must also sign the
                                                                     it is filed, if Y files its Form 8832 after Sep-          election. This paragraph (c)(2)(iii) ap-
                                                                     tember 14, 1998, it will be classified as an as-          plies to elections filed on or after No-
                                                                     sociation from July 1, 1998, until the effec-
                                                                     tive date of the election. In that case, it
                                                                                                                               vember 29, 1999.
                                                                     could not change its classification by elec-                (3) Consent to be subject to section
                                                                     tion under this paragraph (c) during the                  1503(d)—(i) Rule. A domestic eligible
                                                                     sixty months succeeding the effective date of             entity that elects to be classified as an
                                                                     the election.                                             association consents to be treated as a
                                                                       Example 2. (i) Z is an eligible entity formed
                                                                     under Country B law and is in existence on
                                                                                                                               dual resident corporation for purposes
                                                                     the effective date of this section within the             of section 1503(d) (such an entity, a do-
                                                                     meaning of paragraph (b)(3) of this section.              mestic consenting corporation), for any
                                                                     Prior to the effective date of this section, Z            taxable year for which it is classified
                                                                     claimed to be classified as an association.               as an association and the condition set
                                                                     Unless Z files an election under this para-               forth in § 1.1503(d)–1(c)(1) of this chapter
                                                                     graph (c), it will continue to be classified as
                                                                     an association under paragraph (b)(3) of this             is satisfied.
                                                                     section.                                                    (ii) Transition rule—deemed consent. If,
                                                                       (ii) Z files a Form 8832 pursuant to this               as a result of the applicability date
                                                                     paragraph (c) to be classified as a partner-              (see paragraph (c)(3)(iii) of this section)
                                                                     ship, effective as of the effective date of this          relating to paragraph (c)(3)(i) of this
                                                                     section. Z can file an election to be classified
                                                                     as an association at any time thereafter, but
                                                                                                                               section, a domestic eligible entity that
                                                                     then would not be permitted to change its                 is classified as an association has not
                                                                     classification by election during the sixty               consented to be treated as a domestic
                                                                     months succeeding the effective date of that              consenting corporation pursuant to
                                                                     subsequent election.                                      paragraph (c)(3)(i) of this section, then
                                                                       (2) Authorized signatures—(i) In gen-                   the domestic eligible entity is deemed
                                                                     eral. An election made under paragraph                    to consent to be so treated as of its
                                                                     (c)(1)(i) of this section must be signed                  first taxable year beginning on or after
                                                                     by—                                                       December 20, 2019. The first sentence of
                                                                       (A) Each member of the electing en-                     this paragraph (c)(3)(ii) does not apply
                                                                     tity who is an owner at the time the                      if the domestic eligible entity elects,
                                                                     election is filed; or                                     on or after December 20, 2018 and effec-
                                                                       (B) Any officer, manager, or member                     tive before its first taxable year begin-
                                                                     of the electing entity who is authorized                  ning on or after December 20, 2019, to
                                                                     (under local law or the entity’s organi-                  be classified as a partnership or dis-
                                                                     zational documents) to make the elec-                     regarded entity such that it ceases to
                                                                     tion and who represents to having such                    be a domestic eligible entity that is
                                                                     authorization under penalties of per-                     classified as an association. For pur-
                                                                     jury.                                                     poses of the election described in the
                                                                       (ii) Retroactive elections. For purposes
                                                                                                                               second sentence of this paragraph
                                                                     of paragraph (c)(2)(i) of this section, if
                                                                                                                               (c)(3)(ii), the sixty month limitation
                                                                     an election under paragraph (c)(1)(i) of
                                                                     this section is to be effective for any                   under paragraph (c)(1)(iv) of this sec-
                                                                     period prior to the time that it is filed,                tion is waived.
                                                                     each person who was an owner between                        (iii) Applicability date. The sixth sen-
                                                                     the date the election is to be effective                  tence of paragraph (a) of this section
                                                                     and the date the election is filed, and                   and paragraph (c)(3)(i) of this section
                                                                     who is not an owner at the time the                       apply to a domestic eligible entity that
                                                                     election is filed, must also sign the                     on or after December 20, 2018 files an
                                                                     election.                                                 election to be classified as an associa-
                                                                       (iii) Changes in classification. For                    tion (regardless of whether the election
                                                                     paragraph (c)(2)(i) of this section, if an                is effective before December 20, 2018).
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                                                                     election under paragraph (c)(1)(i) of                     Paragraph (c)(3)(ii) of this section ap-
                                                                     this section is made to change the clas-                  plies as of December 20, 2018.

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                                                                     Internal Revenue Service, Treasury                                                          § 301.7701–3

                                                                        (d) Special rules for foreign eligible enti-           comes relevant (as defined in para-
                                                                     ties—(1) Definition of relevance—(i) Gen-                 graph (d)(1)(i) of this section).
                                                                     eral rule. For purposes of this section, a                   (3) Special rule when classification is no
                                                                     foreign eligible entity’s classification                  longer relevant. If the classification of a
                                                                     is relevant when its classification af-                   foreign eligible entity is not relevant
                                                                     fects the liability of any person for fed-                (as defined in paragraph (d)(1) of this
                                                                     eral tax or information purposes. For                     section) for 60 consecutive months,
                                                                     example, a foreign entity’s classifica-                   then the entity’s classification will ini-
                                                                     tion would be relevant if U.S. income                     tially be determined pursuant to the
                                                                     was paid to the entity and the deter-                     provisions of paragraph (b)(2) of this
                                                                     mination by the withholding agent of                      section when the classification of the
                                                                     the amount to be withheld under chap-                     foreign eligible entity becomes rel-
                                                                     ter 3 of the Internal Revenue Code (if                    evant (as defined in paragraph (d)(1)(i)
                                                                     any) would vary depending upon                            of this section). The date that the clas-
                                                                     whether the entity is classified as a                     sification of a foreign entity is not rel-
                                                                     partnership or as an association. Thus,                   evant is the date an event occurs that
                                                                     the classification might affect the doc-                  causes the classification to no longer
                                                                     umentation that the withholding agent                     be relevant, or, if no event occurs in a
                                                                     must receive from the entity, the type                    taxable year that causes the classifica-
                                                                     of tax or information return to file, or                  tion to be relevant, then the date is the
                                                                     how the return must be prepared. The                      first day of that taxable year.
                                                                     date that the classification of a foreign                    (4)    Effective    date.    Paragraphs
                                                                     eligible entity is relevant is the date                   (d)(1)(ii), (d)(2), and (d)(3) of this sec-
                                                                     an event occurs that creates an obliga-                   tion apply on or after October 22, 2003.
                                                                     tion to file a federal tax return, infor-                    (e) Coordination with section 708(b).
                                                                     mation return, or statement for which                     Except as provided in § 301.7701–2(d)(3)
                                                                     the classification of the entity must be                  (regarding termination of grandfather
                                                                     determined. Thus, the classification of                   status for certain foreign business enti-
                                                                     a foreign entity is relevant, for exam-                   ties), an entity resulting from a trans-
                                                                                                                               action described in section 708(b)(1)(B)
                                                                     ple, on the date that an interest in the
                                                                                                                               (partnership termination due to sales
                                                                     entity is acquired which will require a
                                                                                                                               or exchanges) or section 708(b)(2)(B)
                                                                     U.S. person to file an information re-
                                                                                                                               (partnership division) is a partnership.
                                                                     turn on Form 5471.
                                                                                                                                  (f) Changes in number of members of an
                                                                        (ii) Deemed relevance—(A) General                      entity—(1) Associations. The classifica-
                                                                     rule. For purposes of this section, ex-                   tion of an eligible entity as an associa-
                                                                     cept     as    provided      in    paragraph              tion is not affected by any change in
                                                                     (d)(1)(ii)(B) of this section, the classi-                the number of members of the entity.
                                                                     fication for Federal tax purposes of a                       (2) Partnerships and single member enti-
                                                                     foreign eligible entity that files Form                   ties. An eligible entity classified as a
                                                                     8832, ‘‘Entity Classification Election’’,                 partnership becomes disregarded as an
                                                                     shall be deemed to be relevant only on                    entity separate from its owner when
                                                                     the date the entity classification elec-                  the entity’s membership is reduced to
                                                                     tion is effective.                                        one member. A single member entity
                                                                        (B) Exception. If the classification of                disregarded as an entity separate from
                                                                     a foreign eligible entity is relevant                     its owner is classified as a partnership
                                                                     within the meaning of paragraph                           when the entity has more than one
                                                                     (d)(1)(i) of this section, then the rule in               member. If an elective classification
                                                                     paragraph (d)(1)(ii)(A) of this section                   change under paragraph (c) of this sec-
                                                                     shall not apply.                                          tion is effective at the same time as a
                                                                        (2) Entities the classification of which               membership change described in this
                                                                     has never been relevant. If the classifica-               paragraph (f)(2), the deemed trans-
                                                                     tion of a foreign eligible entity has                     actions in paragraph (g) of this section
                                                                     never been relevant (as defined in para-                  resulting from the elective change pre-
                                                                     graph (d)(1) of this section), then the                   empt the transactions that would re-
                                                                     entity’s classification will initially be                 sult from the change in membership.
                                                                     determined pursuant to the provisions                        (3) Effect on sixty month limitation. A
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                                                                     of paragraph (b)(2) of this section when                  change in the number of members of an
                                                                     the classification of the entity first be-                entity does not result in the creation

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                                                                     § 301.7701–3                                                            26 CFR Ch. I (4–1–23 Edition)

                                                                     of a new entity for purposes of the                       sixty months after the effective date of the
                                                                     sixty month limitation on elections                       election to be classified as a partnership).
                                                                     under paragraph (c)(1)(iv) of this sec-                     (ii) On June 1, 2000, A purchases all of B’s
                                                                                                                               interest in X. After A’s purchase of B’s inter-
                                                                     tion.                                                     est, X can no longer be classified as a part-
                                                                        (4) Examples. The following examples                   nership because X has only one member.
                                                                     illustrate the application of this para-                  Under paragraph (f)(2) of this section, X is
                                                                     graph (f):                                                disregarded as an entity separate from A
                                                                                                                               when A becomes the only member of X. X,
                                                                       Example 1. A, a U.S. person, owns a domes-              however, is not treated as a new entity for
                                                                     tic eligible entity that is disregarded as an             purposes of paragraph (c)(1)(iv) of this sec-
                                                                     entity separate from its owner. On January                tion. As a result, the sixty month limitation
                                                                     1, 1998, B, a U.S. person, buys a 50 percent in-          of paragraph (c)(1)(iv) of this section con-
                                                                     terest in the entity from A. Under this para-             tinues to apply to X, and X cannot elect to
                                                                     graph (f), the entity is classified as a part-            be classified as an association until January
                                                                     nership when B acquires an interest in the                1, 2004 (i.e., sixty months after January 1,
                                                                     entity. However, A and B elect to have the                1999, the effective date of the election by X
                                                                     entity classified as an association effective             to be classified as a partnership).
                                                                     on January 1, 1998. Thus, B is treated as buy-
                                                                     ing shares of stock on January 1, 1998. (Under               (5) Effective date. This paragraph (f)
                                                                     paragraph (c)(1)(iv) of this section, this elec-          applies as of November 29, 1999.
                                                                     tion is treated as a change in classification                (g) Elective changes in classification—
                                                                     so that the entity generally cannot change                (1) Deemed treatment of elective change—
                                                                     its classification by election again during               (i) Partnership to association. If an eligi-
                                                                     the sixty months succeeding the effective
                                                                                                                               ble entity classified as a partnership
                                                                     date of the election.) Under paragraph (g)(1)
                                                                     of this section, A is treated as contributing             elects under paragraph (c)(1)(i) of this
                                                                     the assets and liabilities of the entity to the           section to be classified as an associa-
                                                                     newly formed association immediately be-                  tion, the following is deemed to occur:
                                                                     fore the close of December 31, 1997. Because              The partnership contributes all of its
                                                                     A does not retain control of the association              assets and liabilities to the association
                                                                     as required by section 351, A’s contribution              in exchange for stock in the associa-
                                                                     will be a taxable event. Therefore, under sec-            tion, and immediately thereafter, the
                                                                     tion 1012, the association will take a fair               partnership liquidates by distributing
                                                                     market value basis in the assets contributed
                                                                                                                               the stock of the association to its part-
                                                                     by A, and A will have a fair market value
                                                                     basis in the stock received. A will have no               ners.
                                                                     additional gain upon the sale of stock to B,                 (ii) Association to partnership. If an el-
                                                                     and B will have a cost basis in the stock pur-            igible entity classified as an associa-
                                                                     chased from A.                                            tion elects under paragraph (c)(1)(i) of
                                                                       Example 2. (i) On April 1, 1998, A and B, U.S.          this section to be classified as a part-
                                                                     persons, form X, a foreign eligible entity. X             nership, the following is deemed to
                                                                     is treated as an association under the default            occur: The association distributes all
                                                                     provisions of paragraph (b)(2)(i) of this sec-
                                                                                                                               of its assets and liabilities to its share-
                                                                     tion, and X does not make an election to be
                                                                     classified as a partnership. A subsequently               holders in liquidation of the associa-
                                                                     purchases all of B’s interest in X.                       tion, and immediately thereafter, the
                                                                       (ii) Under paragraph (f)(1) of this section, X          shareholders contribute all of the dis-
                                                                     continues to be classified as an association.             tributed assets and liabilities to a
                                                                     X, however, can subsequently elect to be dis-             newly formed partnership.
                                                                     regarded as an entity separate from A. The                   (iii) Association to disregarded entity.
                                                                     sixty     month     limitation   of   paragraph           If an eligible entity classified as an as-
                                                                     (c)(1)(iv) of this section does not prevent X
                                                                                                                               sociation      elects   under    paragraph
                                                                     from making an election because X has not
                                                                     made a prior election under paragraph                     (c)(1)(i) of this section to be dis-
                                                                     (c)(1)(i) of this section.                                regarded as an entity separate from its
                                                                       Example 3. (i) On April 1, 1998, A and B, U.S.          owner, the following is deemed to
                                                                     persons, form X, a foreign eligible entity. X             occur: The association distributes all
                                                                     is treated as an association under the default            of its assets and liabilities to its single
                                                                     provisions of paragraph (b)(2)(i) of this sec-            owner in liquidation of the association.
                                                                     tion, and X does not make an election to be                  (iv) Disregarded entity to an associa-
                                                                     classified as a partnership. On January 1,
                                                                                                                               tion. If an eligible entity that is dis-
                                                                     1999, X elects to be classified as a partnership
                                                                     effective on that date. Under the sixty                   regarded as an entity separate from its
                                                                                                                               owner elects under paragraph (c)(1)(i)
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                                                                     month limitation of paragraph (c)(1)(iv) of
                                                                     this section, X cannot elect to be classified             of this section to be classified as an as-
                                                                     as an association until January 1, 2004 (i.e.,            sociation, the following is deemed to

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                                                                     Internal Revenue Service, Treasury                                                          § 301.7701–3

                                                                     occur: The owner of the eligible entity                   the association) are treated as occur-
                                                                     contributes all of the assets and liabil-                 ring immediately before the close of
                                                                     ities of the entity to the association in                 December 31 and must be reported by
                                                                     exchange for stock of the association.                    the owners of the entity on December
                                                                       (2) Effect of elective changes—(i) In                   31. Thus, the last day of the associa-
                                                                     general. The tax treatment of a change                    tion’s taxable year will be December 31
                                                                     in the classification of an entity for                    and the first day of the partnership’s
                                                                     federal tax purposes by election under                    taxable year will be January 1.
                                                                     paragraph (c)(1)(i) of this section is de-                  (ii) Coordination with section 338 elec-
                                                                     termined under all relevant provisions                    tion. A purchasing corporation that
                                                                     of the Internal Revenue Code and gen-                     makes a qualified stock purchase of an
                                                                     eral principles of tax law, including the                 eligible entity taxed as a corporation
                                                                     step transaction doctrine.                                may make an election under section
                                                                       (ii) Adoption of plan of liquidation. For               338 regarding the acquisition if it satis-
                                                                     purposes of satisfying the requirement                    fies the requirements for the election,
                                                                     of adoption of a plan of liquidation                      and may also make an election to
                                                                     under section 332, unless a formal plan                   change the classification of the target
                                                                     of liquidation that contemplates the                      corporation. If a taxpayer makes an
                                                                     election to be classified as a partner-                   election under section 338 regarding its
                                                                     ship or to be disregarded as an entity                    acquisition of another entity taxable
                                                                     separate from its owner is adopted on                     as a corporation and makes an election
                                                                     an earlier date, the making, by an as-                    under paragraph (c) of this section for
                                                                     sociation, of an election under para-                     the acquired corporation (effective at
                                                                     graph (c)(1)(i) of this section to be clas-               the earliest possible date as provided
                                                                     sified as a partnership or to be dis-                     by paragraph (c)(1)(iii) of this section),
                                                                     regarded as an entity separate from its                   the transactions under paragraph (g) of
                                                                     owner is considered to be the adoption                    this section are deemed to occur imme-
                                                                     of a plan of liquidation immediately                      diately after the deemed asset purchase
                                                                     before the deemed liquidation de-                         by the new target corporation under
                                                                     scribed in paragraph (g)(1)(ii) or (iii) of               section 338.
                                                                     this section. This paragraph (g)(2)(ii)                     (iii) Application to successive elections
                                                                     applies to elections filed on or after                    in tiered situations. When elections
                                                                     December 17, 2001. Taxpayers may                          under paragraph (c)(1)(i) of this section
                                                                     apply this paragraph (g)(2)(ii) retro-                    for a series of tiered entities are effec-
                                                                     actively to elections filed before De-                    tive on the same date, the eligible enti-
                                                                     cember 17, 2001, if the corporate owner                   ties may specify the order of the elec-
                                                                     claiming treatment under section 332                      tions on Form 8832. If no order is speci-
                                                                     and its subsidiary making the election                    fied for the elections, any transactions
                                                                     take consistent positions with respect                    that are deemed to occur in this para-
                                                                     to the federal tax consequences of the                    graph (g) as a result of the classifica-
                                                                     election.                                                 tion change will be treated as occur-
                                                                       (3) Timing of election—(i) In general.                  ring first for the highest tier entity’s
                                                                     An election under paragraph (c)(1)(i) of                  classification change, then for the next
                                                                     this section that changes the classi-                     highest tier entity’s classification
                                                                     fication of an eligible entity for federal                change, and so forth down the chain of
                                                                     tax purposes is treated as occurring at                   entities until all the transactions
                                                                     the start of the day for which the elec-                  under this paragraph (g) have occurred.
                                                                     tion is effective. Any transactions that                  For example, Parent, a corporation,
                                                                     are deemed to occur under this para-                      wholly owns all of the interest of an el-
                                                                     graph (g) as a result of a change in                      igible entity classified as an associa-
                                                                     classification are treated as occurring                   tion (S1), which wholly owns another
                                                                     immediately before the close of the day                   eligible entity classified as an associa-
                                                                     before the election is effective. For ex-                 tion (S2), which wholly owns another
                                                                     ample, if an election is made to change                   eligible entity classified as an associa-
                                                                     the classification of an entity from an                   tion (S3). Elections under paragraph
                                                                     association to a partnership effective                    (c)(1)(i) of this section are filed to clas-
                                                                     on January 1, the deemed transactions                     sify S1, S2, and S3 each as disregarded
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                                                                     specified in paragraph (g)(1)(ii) of this                 as an entity separate from its owner ef-
                                                                     section (including the liquidation of                     fective on the same day. If no order is

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                                                                     § 301.7701–4                                                            26 CFR Ch. I (4–1–23 Edition)

                                                                     specified for the elections, the fol-                     Finding Aids section of the printed volume
                                                                     lowing transactions are deemed to                         and at www.govinfo.gov.
                                                                     occur under this paragraph (g) as a re-
                                                                     sult of the elections, with each succes-                  § 301.7701–4     Trusts.
                                                                     sive transaction occurring on the same                       (a) Ordinary trusts. In general, the
                                                                     day immediately after the preceding                       term ‘‘trust’’ as used in the Internal
                                                                     transaction S1 is treated as liquidating                  Revenue Code refers to an arrangement
                                                                     into Parent, then S2 is treated as liqui-                 created either by a will or by an inter
                                                                     dating into Parent, and finally S3 is                     vivos declaration whereby trustees
                                                                     treated as liquidating into Parent.                       take title to property for the purpose
                                                                        (4) Effective date. Except as otherwise                of protecting or conserving it for the
                                                                     provided in paragraph (g)(2)(ii) of this                  beneficiaries under the ordinary rules
                                                                     section, this paragraph (g) applies to                    applied in chancery or probate courts.
                                                                     elections that are filed on or after No-                  Usually the beneficiaries of such a
                                                                     vember 29, 1999. Taxpayers may apply                      trust do no more than accept the bene-
                                                                     this paragraph (g) retroactively to                       fits thereof and are not the voluntary
                                                                     elections filed before November 29, 1999                  planners or creators of the trust ar-
                                                                     if all taxpayers affected by the deemed                   rangement. However, the beneficiaries
                                                                     transactions file consistently with this                  of such a trust may be the persons who
                                                                     paragraph (g).                                            create it and it will be recognized as a
                                                                        (h) Effective date—(1) In general. Ex-                 trust under the Internal Revenue Code
                                                                     cept as otherwise provided in this sec-                   if it was created for the purpose of pro-
                                                                     tion, the rules of this section are appli-                tecting or conserving the trust prop-
                                                                     cable as of January 1, 1997.                              erty for beneficiaries who stand in the
                                                                        (2) Prior treatment of existing entities.              same relation to the trust as they
                                                                     In the case of a business entity that is                  would if the trust had been created by
                                                                     not described in § 301.7701–2(b) (1), (3),                others for them. Generally speaking,
                                                                     (4), (5), (6), or (7), and that was in exist-             an arrangement will be treated as a
                                                                     ence prior to January 1, 1997, the enti-                  trust under the Internal Revenue Code
                                                                     ty’s claimed classification(s) will be re-                if it can be shown that the purpose of
                                                                     spected for all peri0ods prior to Janu-                   the arrangement is to vest in trustees
                                                                     ary 1, 1997, if—                                          responsibility for the protection and
                                                                                                                               conservation of property for bene-
                                                                        (i) The entity had a reasonable basis
                                                                                                                               ficiaries who cannot share in the dis-
                                                                     (within the meaning of section 6662) for
                                                                                                                               charge of this responsibility and, there-
                                                                     its claimed classification;
                                                                                                                               fore, are not associates in a joint enter-
                                                                        (ii) The entity and all members of the
                                                                                                                               prise for the conduct of business for
                                                                     entity recognized the federal tax con-
                                                                                                                               profit.
                                                                     sequences of any change in the entity’s
                                                                                                                                  (b) Business trusts. There are other ar-
                                                                     classification within the sixty months
                                                                                                                               rangements which are known as trusts
                                                                     prior to January 1, 1997; and
                                                                                                                               because the legal title to property is
                                                                        (iii) Neither the entity nor any mem-                  conveyed to trustees for the benefit of
                                                                     ber was notified in writing on or before                  beneficiaries, but which are not classi-
                                                                     May 8, 1996, that the classification of                   fied as trusts for purposes of the Inter-
                                                                     the entity was under examination (in                      nal Revenue Code because they are not
                                                                     which case the entity’s classification                    simply arrangements to protect or con-
                                                                     will be determined in the examina-                        serve the property for the beneficiaries.
                                                                     tion).                                                    These trusts, which are often known as
                                                                        (3) Deemed elections for S corporations.               business or commercial trusts, gen-
                                                                     Paragraph (c)(1)(v)(C) of this section                    erally are created by the beneficiaries
                                                                     applies to timely S corporation elec-                     simply as a device to carry on a profit-
                                                                     tions under section 1362(a) filed on or                   making business which normally would
                                                                     after July 20, 2004. Eligible entities                    have been carried on through business
                                                                     that filed timely S elections before                      organizations that are classified as cor-
                                                                     July 20, 2004 may also rely on the pro-                   porations or partnerships under the In-
                                                                     visions of the regulation.                                ternal Revenue Code. However, the fact
                                                                                                                               that the corpus of the trust is not sup-
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                                                                       EDITORIAL NOTE: For FEDERAL REGISTER ci-
                                                                     tations affecting § 301.7701–3, see the List of           plied by the beneficiaries is not suffi-
                                                                     CFR Sections Affected, which appears in the               cient reason in itself for classifying the

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                                                                                                                    - Add.90 -
                                     VerDate Sep<11>2014   13:52 Sep 20, 2023   Jkt 259109   PO 00000   Frm 00856   Fmt 8010   Sfmt 8010   Y:\SGML\259109.XXX   259109
                                              Appellate Case: 23-1410                         Document: 010111041242                            Date Filed: 04/30/2024             Page: 175
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                                           DEPARTMENT OF THE TREASURY                              meanings given them in the temporary                   earnings as of no later than December
                                                                                                   regulations. Added to the Code by                      31, 2017.
                                           Internal Revenue Service                                section 14101(a) of the Tax Cuts and                      The Act’s legislative history indicates
                                                                                                   Jobs Act (the ‘‘Act’’), section 245A                   congressional concern that the new
                                           26 CFR Part 1                                           generally allows a domestic corporation                participation exemption could heighten
                                                                                                   a 100-percent dividends received                       the incentive to shift profits to low-
                                           [TD 9865]
                                                                                                   deduction (the ‘‘section 245A                          taxed foreign jurisdictions or tax havens
                                           RIN 1545–BO64                                           deduction’’) for the foreign-source                    absent base erosion protections. See
                                                                                                   portion of a dividend received after                   Senate Committee on the Budget, 115th
                                           Limitation on Deduction for Dividends                   December 31, 2017, from a specified 10                 Cong., Reconciliation Recommendations
                                           Received From Certain Foreign                           percent-owned foreign corporation (an                  Pursuant to H. Con. Res. 71, at 365
                                           Corporations and Amounts Eligible for                   ‘‘SFC’’). Section 954, which predates the              (Comm. Print 2017) (‘‘Senate
                                           Section 954 Look-Through Exception                      Act and remains in effect, generally                   Explanation’’). For example, without
                                                                                                   provides that a dividend received by a                 appropriate limits, domestic
                                           AGENCY: Internal Revenue Service (IRS),
                                                                                                   controlled foreign corporation (a                      corporations might be incentivized to
                                           Treasury.                                                                                                      shift income to low-taxed foreign
                                                                                                   ‘‘CFC’’), as defined in section 957, is
                                           ACTION: Final temporary regulations.                    included in the CFC’s foreign personal                 affiliates, ‘‘where the income could
                                                                                                   holding company income (‘‘FPHCI’’), as                 potentially be distributed back to the
                                           SUMMARY: This document contains
                                                                                                   defined in section 954(c). Pursuant to                 [domestic] corporation with no U.S. tax
                                           temporary regulations under section                                                                            imposed.’’ See id.
                                                                                                   section 954(c)(6), however, a dividend
                                           245A of the Internal Revenue Code (the                                                                            This risk of base erosion is acute with
                                                                                                   received by a CFC from a related CFC
                                           ‘‘Code’’) that limit the dividends                                                                             respect to certain types of income, such
                                                                                                   is not included in the CFC’s FPHCI if
                                           received deduction available for certain                                                                       as passive or mobile income and income
                                                                                                   certain requirements are satisfied (the
                                           dividends received from current or                                                                             derived from intangible property, which
                                                                                                   ‘‘section 954(c)(6) exception’’).
                                           former controlled foreign corporations.                    The temporary regulations limit the                 historically have posed transfer pricing
                                           This document also contains temporary                   availability of the section 245A                       challenges. To prevent base erosion, the
                                           regulations that limit the applicability of             deduction and the section 954(c)(6)                    Act retained the subpart F regime
                                           the exception to foreign personal                       exception in specific and narrow cases                 (section 951 et. seq.) and enacted a new
                                           holding company income for certain                      where the deduction or exception,                      regime under section 951A for global
                                           dividends received by upper-tier                        respectively, effectively eliminates                   intangible lowed-taxed income (the
                                           controlled foreign corporations from                    subpart F income or income subject to                  ‘‘GILTI regime’’), both of which subject
                                           lower-tier controlled foreign                           tax under section 951A from the U.S.                   certain foreign income of a CFC to
                                           corporations and temporary regulations                  tax system. Specifically, the temporary                current U.S. taxation in the hands of the
                                           under section 6038 to facilitate                        regulations address transactions that                  CFC’s United States shareholders
                                           administration of certain rules in the                  have the effect of avoiding tax under                  (within the meaning of section 951(b))
                                           temporary regulations. The temporary                    section 965, 951A, or 951 by                           (each shareholder, a ‘‘U.S.
                                           regulations affect certain U.S. persons                 inappropriately converting income that                 shareholder’’). In order to avoid double
                                           that are domestic corporations that                     should have been subject to U.S. tax                   taxation when a CFC distributes
                                           receive certain dividends from current                  into nontaxed income. The temporary                    earnings and profits that have been
                                           or former controlled foreign                            regulations also include rules under                   taxed on a current basis to a U.S.
                                           corporations or are United States                       section 6038 to facilitate administration              shareholder, the earnings and profits are
                                           shareholders of upper-tier controlled                   of certain rules in the temporary                      designated as ‘‘previously taxed
                                           foreign corporations that receive certain               regulations. The temporary regulations                 earnings and profits’’ (also known as
                                           dividends from lower-tier controlled                    do not include general rules relating to               ‘‘PTEP’’) under section 959. Section 959
                                           foreign corporations. The text of the                   dividends eligible for the section 245A                generally provides that PTEP are not
                                           temporary regulations also serves as the                deduction; those rules will be included                subject to U.S. tax when distributed to
                                           text of the proposed regulations set forth              in separate guidance.                                  a U.S. shareholder.
                                           in a notice of proposed rulemaking                                                                                The subpart F regime, which was
                                           published in the Proposed Rules section                 II. Scope of Participation Exemption                   established under the Revenue Act of
                                           of this issue of the Federal Register.                     In order to transition to the new                   1962, Public Law 87–834, sec. 12, 76
                                           DATES:                                                  participation exemption system                         Stat. at 1006, subjects certain income
                                              Effective date: These regulations are                provided under section 245A and                        earned by a CFC to U.S. taxation in the
                                           effective on June 18, 2019.                             certain other provisions of the Act, the               hands of the CFC’s U.S. shareholders on
                                              Applicability dates: For dates of                    Act imposed a tax on certain earnings                  a current basis at the full ordinary tax
                                           applicability, see §§ 1.245A–5T(k),                     and profits of a U.S.-owned foreign                    rate, regardless of whether the CFC
                                           1.954(c)(6)–1T(b), and 1.6038–2T(m).                    corporation that had not previously                    distributes the earnings attributable to
                                                                                                   been subject to U.S. tax. See section 965.             such income. H.R. Rep. No. 1447 at 58
                                           FOR FURTHER INFORMATION CONTACT:
                                                                                                   Section 965 was designed to ensure that                (1962). In general, the subpart F regime
                                           Logan M. Kincheloe at (202) 317–6937
                                                                                                   previously untaxed foreign income of                   applies to certain passive or highly
                                           (not a toll-free number).
                                                                                                   the foreign corporation that accrued                   mobile income in order to address base
                                           SUPPLEMENTARY INFORMATION:                              before the advent of the participation                 erosion concerns. Thus, for example,
                                           Background                                              exemption system generally is subject to               section 954(c) provides that subpart F
                                                                                                   U.S. tax (although at a reduced rate).                 income includes FPHCI. FPHCI includes
                                           I. In General
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                                                                                                   This transition tax applied to the last                certain types of passive or mobile
                                             This document contains amendments                     taxable year of the foreign corporation                income that are relatively easy to situate
                                           to 26 CFR part 1 under sections 245A,                   beginning before January 1, 2018, and                  in tax-advantaged jurisdictions, such as
                                           954(c)(6), and 6038 (the ‘‘temporary                    generally increased the subpart F                      dividends, interest, rents, and royalties.
                                           regulations’’). Any terms used but not                  income of the foreign corporation by the                  The GILTI regime generally subjects a
                                           defined in this preamble have the                       amount of its previously untaxed                       CFC’s U.S. shareholders to current
                                                                                                                     - Add.91 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           taxation on intangible income earned by                 from applying to PTEP. See section                     United States. See H.R. Rep. No. 109–
                                           the CFC in a manner similar to the                      959(c) (providing ordering rules that                  304 at 45 (2005). Section 954(c)(6)(A)
                                           treatment of a CFC’s subpart F income.                  treat PTEP as being distributed first) and             also provides that the Secretary shall
                                           See section 951A; see also Senate                       section 959(d) (providing that a                       prescribe such regulations as may be
                                           Explanation at 366 (explaining that such                distribution of PTEP to a U.S                          necessary or appropriate to carry out the
                                           income is often associated with profit                  shareholder is not treated as a                        provision, including regulations to
                                           shifting). Intangible income is                         dividend). Thus, both the interaction of               prevent the abuse of the purposes of the
                                           determined for this purpose on an                       the definitions of subpart F income and                provision. As most recently extended by
                                           aggregate basis at the U.S. shareholder                 tested income with the ordering rules                  the Consolidated Appropriations Act of
                                           level and is based on a formulaic                       for distributions of PTEP and the overall              2016, Public Law 114–113, section
                                           approach under which a ‘‘normal                         structure of the international provisions              954(c)(6) applies to taxable years of
                                           return’’ equal to 10 percent of the basis               of the Act contemplate that only                       foreign corporations beginning after
                                           of certain tangible assets is calculated                residual earnings remaining after the                  December 31, 2005, and before January
                                           and then each dollar of income above                    potential application of sections 951(a),              1, 2020, and to taxable years of U.S.
                                           the ‘‘normal return’’ is effectively                    951A, and 965 generally are eligible for               shareholders with or within which such
                                           treated as intangible income (regardless                the section 245A deduction. That is,                   taxable years of foreign corporations
                                           of whether such income is actually                      section 245A(a) applies only to certain                end.
                                           attributable to intangible property). See               ‘‘dividends’’ received from foreign                       Notice 2007–9, 2007–5 I.R.B. 401,
                                           Senate Explanation at 366. However, for                 corporations. Therefore, sections 951(a),              provides guidance under section
                                           purposes of this determination, certain                 951A, and 965 generally have priority                  954(c)(6). The notice describes
                                           income of the CFC—such as income                        over section 245A because, when they                   additional guidance that the Treasury
                                           taxed under another Code provision (for                 apply to a foreign corporation’s                       Department and the IRS intend to issue
                                           example, under the rules for subpart F                  earnings, distributions of those earnings              regarding the application of section
                                           income in sections 951 through 964 or                   do not qualify as dividends under                      954(c)(6), including certain anti-abuse
                                           under section 882 in the case of income                 section 959(d), and, therefore, section                rules.
                                           effectively connected with the conduct                  245A does not apply.
                                                                                                      The statutory text of the participation             Explanation of Provisions
                                           of a U.S. trade or business), immobile
                                           income (such as foreign oil and gas                     exemption system under section 245A,                   I. Overview
                                           extraction income), or highly taxed                     the GILTI regime, the subpart F regime,
                                                                                                   and the PTEP rules collectively operate                   The transition tax, the subpart F and
                                           income that is excluded from subpart F                                                                         GILTI regimes, and the participation
                                           income by reason of the high-tax                        as a comprehensive framework with
                                                                                                   respect to a CFC’s foreign earnings after              exemption under section 245A together
                                           exception of section 954(b)(4)—is not                                                                          form a comprehensive and closely
                                           taken into account. See also id.                        the application of the transition tax
                                                                                                   under section 965. A central feature of                integrated set of tax rules with respect
                                           (‘‘[C]ertain items of income earned by                                                                         to the earnings of foreign corporations
                                           CFCs should be excluded from the                        this regime is that income derived by
                                                                                                   CFCs is eligible for the section 245A                  with requisite levels of U.S. ownership.
                                           GILTI, either because they should be                                                                           These related provisions must be read
                                           exempt from U.S. tax—as they are                        deduction only if the earnings being
                                                                                                   distributed have not been first subject to             and interpreted together in order to
                                           generally not the type of income that is                                                                       ensure that each provision functions as
                                                                                                   the subpart F or GILTI regimes. The
                                           the source of base erosion concerns—or                                                                         part of a coherent whole, as intended.
                                                                                                   scope of the section 245A deduction
                                           are already taxed currently by the                                                                             Although the section 245A deduction is
                                                                                                   (and the authority set forth in section
                                           United States’’). The CFC’s U.S.                                                                               generally available for untaxed foreign-
                                                                                                   245A(g)) is thus informed not only by
                                           shareholders are subject to current U.S.                                                                       source earnings, read collectively this
                                                                                                   the text of section 245A in isolation, but
                                           tax on the CFC’s income in excess of the                                                                       integrated set of statutory rules can be
                                                                                                   also by the role of section 245A in the
                                           CFC’s normal return, potentially at a                                                                          reasonably understood to require that
                                                                                                   overall structure of the international
                                           reduced rate through a deduction under                                                                         the deduction not apply to earnings and
                                                                                                   provisions and its interaction with the
                                           section 250, at the corporate U.S.                                                                             profits attributable to income of a type
                                                                                                   subpart F and GILTI provisions.
                                           shareholder level. The differing                           Section 245A(g) provides that the                   that is properly subject to the subpart F
                                           treatment under the GILTI regime with                   Secretary shall issue such regulations as              or GILTI regimes, which address base
                                           respect to excess returns (taxed                        are necessary or appropriate to carry out              erosion-type income. Otherwise, as
                                           currently, though potentially at a                      the provisions of section 245A.                        explained in Part II of this Explanation
                                           reduced rate) versus normal returns                                                                            of Provisions, the section 245A
                                           (exempt from tax) generally has the                     III. Scope of Section 954(c)(6)                        deduction could undermine the anti-
                                           effect of differentiating between income                   Section 954(c)(6) was enacted by the                base erosion measures that Congress
                                           that poses base erosion concerns and                    Tax Increase Prevention and                            intended to prevent income shifting.
                                           income that does not pose such                          Reconciliation Act of 2005, Public Law                 Accordingly, and consistent with the
                                           concerns. The GILTI regime applies in                   109–222. In general, and subject to                    coherent functioning of the interlocking
                                           the first taxable year of a CFC beginning               certain limitations, the section 954(c)(6)             statutory scheme for taxation of CFC
                                           on or after January 1, 2018. Section                    exception is intended to facilitate                    earnings, the section 245A deduction
                                           245A applies to distributions made by                   intragroup foreign-to-foreign funds                    generally will not apply to distributions
                                           SFCs (which include CFCs) on or after                   flows by providing that dividends,                     of earnings and profits that are
                                           that date.                                              interest, rents, and royalties received or             attributable to subpart F income or
                                              The rules under section 959 generally                accrued by a CFC from another related                  tested income. The interpretation
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                                           treat PTEP (including PTEP that arise by                CFC are not treated as FPHCI to the                    reflected in these rules ensures that
                                           reason of the subpart F regime, the                     extent attributable or properly allocable              these provisions will operate
                                           GILTI regime, or the transition tax under               to income of the related person which                  compatibly with, not contradictorily to,
                                           section 965) as being distributed before                is neither subpart F income nor income                 each other.
                                           non-previously taxed earnings and                       treated as effectively connected with the                 Section 245A is designed to operate
                                           profits and also prevent section 245A                   conduct of a trade or business in the                  residually, such that the section 245A
                                                                                                                     - Add.92 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00003   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           deduction generally applies to any                      authority in section 245A(g) directing                 regimes. Such transactions are not
                                           earnings of a CFC to the extent that they               the Secretary to issue such regulations                dependent upon the availability of
                                           are not first subject to the subpart F                  as are necessary or appropriate to carry               section 245A at the level of the United
                                           regime, the GILTI regime, or the                        out the provisions of section 245A, and                States shareholder. This type of concern
                                           exclusions provided in section                          the authority under section 7805(a) to                 was first generally described in Notice
                                           245A(c)(3) (and were not subject to                     issue rules and regulations made                       2007–9, but has been exacerbated by the
                                           section 965). That is, the text of the                  necessary by reason of changes in the                  enactment of section 951A as part of the
                                           subpart F and GILTI rules explicitly                    tax laws, the temporary regulations                    Act because (1) dividends qualifying for
                                           defines the types of income to which                    under section 245A are designed to                     section 954(c)(6) generally are not
                                           they apply, and section 245A applies to                 ensure that the section 245A deduction                 treated as tested income pursuant to
                                           any remaining untaxed foreign earnings.                 operates properly within the context of                section 951A(c)(2)(A)(i)(IV); and (2) the
                                           Under ordinary circumstances, this                      a closely coordinated set of rules and, as             same structured transactions used to
                                           formulation works appropriately, as                     a result, is not available to eliminate the            avoid subpart F inclusions can also be
                                           earnings are first subject to the subpart               taxation of subpart F income and tested                used to avoid GILTI inclusions. Given
                                           F or GILTI regimes before the                           income in these limited circumstances.                 the authority in section 954(c)(6)(A) for
                                           determination of dividends to which                     However, consistent with the broad                     the Treasury Department and the IRS to
                                           section 245A could potentially apply.                   application of section 245A, the                       issue regulations preventing the abuse
                                           However, in certain atypical                            temporary regulations apply only to                    of section 954(c)(6), the temporary
                                           circumstances, a literal application of                 certain well-defined circumstances in                  regulations under section 954(c)(6) are
                                           section 245A (read in isolation) could                  which subpart F or tested income                       designed to ensure that the section
                                           result in the section 245A deduction                    earned by a CFC would otherwise                        954(c)(6) exception is not used to erode
                                           applying to earnings and profits of a                   escape taxation to its U.S. shareholders               the U.S. tax base through certain
                                           CFC attributable to the types of income                 as a result of the unanticipated                       transactions preventing the taxation of
                                           addressed by the subpart F or GILTI                     interaction of section 245A and certain                income that would otherwise be taxed
                                           regimes—the specific types of earnings                  rules applicable to the inclusion of                   under the subpart F or GILTI regimes.
                                           that Congress described as presenting                   subpart F income and GILTI under                       Consistent with the temporary
                                           base erosion concerns. These                            sections 951(a) and 951A, respectively.                regulations issued under section 245A,
                                           circumstances arise when a CFC’s fiscal                    To prevent the avoidance of U.S. tax                these rules are targeted to ensure that
                                           year results in a mismatch between the                  in these specific and narrow                           the section 954(c)(6) exception is not
                                           effective date for GILTI and the final                  circumstances, the temporary                           available for this limited category of
                                           measurement date under section 965 or                   regulations limit the section 245A                     earnings.
                                           involve unanticipated interactions                      deduction only with respect to certain
                                                                                                   dividends received by a domestic                       II. Limitation of Amounts Eligible for
                                           between section 245A and the rules for
                                                                                                   corporation in connection with specific                Section 245A Deduction
                                           allocating subpart F income and GILTI
                                           when there is a change in ownership of                  transactions that facilitate the avoidance             A. Scope
                                           a CFC. Moreover, the Treasury                           of taxation of subpart F income or tested
                                                                                                   income and that, in many cases, may                       In the case of a dividend received by
                                           Department and the IRS are aware that                                                                          a domestic corporation from an SFC, the
                                           some taxpayers are undertaking                          have been entered into with a purpose
                                                                                                   of avoiding the consequences of the new                temporary regulations limit the amount
                                           transactions with a view to eliminating                                                                        of the section 245A deduction to the
                                                                                                   international tax regime as adopted by
                                           current or future taxation of all foreign                                                                      portion of a dividend not constituting
                                                                                                   Congress in the Act. This limited denial
                                           earnings of a CFC, including earnings                                                                          an ‘‘ineligible amount.’’ See § 1.245A–
                                                                                                   ensures that the section 245A deduction
                                           attributable to base erosion-type income,                                                                      5T(b). In general, the ineligible amount
                                                                                                   will continue to apply to earnings and
                                           by structuring into these situations.                                                                          is the sum of (i) 50 percent of the
                                                                                                   profits that are attributable to all other
                                           These transactions have the potential to                                                                       portion of a dividend attributable to
                                                                                                   classes of income to which Congress
                                           substantially undermine the anti-base                                                                          certain earnings and profits resulting
                                                                                                   intended them to apply. The Treasury
                                           erosion framework for post-2017 foreign                                                                        from transactions between related
                                                                                                   Department and the IRS emphasize,
                                           earnings.                                                                                                      parties during a period after the
                                                                                                   however, that when the requirements of
                                              Based on the structure and history of                section 245A as properly construed are                 measurement date under section
                                           the international provisions of the Code,               satisfied, it would not be permissible                 965(a)(2) and in which the SFC was a
                                           including changes made by the Act, the                  under the statute for the section 245A                 CFC but during which section 951A did
                                           Treasury Department and the IRS have                    deduction to be denied for these other                 not apply to it (referred to as the
                                           concluded that section 245A was not                     classes of income—even if, for example,                ‘‘extraordinary disposition amount’’)
                                           intended to eliminate taxation with                     taxpayers choose to generate such                      and (ii) the portion of a dividend
                                           respect to the foreign earnings of a CFC                income to avail themselves of the                      attributable to certain earnings and
                                           that are attributable to income of a type               benefits of the deduction. The Treasury                profits generated during any taxable
                                           that is subject to taxation under the                   Department and the IRS furthermore do                  year ending after December 31, 2017, in
                                           subpart F or GILTI regimes. In these                    not believe it would be permissible to                 which the domestic corporation reduces
                                           cases where the literal effect of section               modify the definition of subpart F                     its ownership of the CFC (referred to as
                                           245A would reverse the intended effect                  income or tested income, or to                         the ‘‘extraordinary reduction amount’’).
                                           of the subpart F and GILTI regimes, this                recharacterize income as subpart F
                                           conflict is best resolved, and the                                                                             B. Extraordinary Disposition Amount
                                                                                                   income or tested income, under the
                                           structure of the statutory scheme is best               authority of section 245A(g).                             Under the Act, there may be a gap
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                                           preserved, by limiting section 245A’s                      Similar to section 245A, the                        between when section 951A first applies
                                           effect. The Treasury Department and the                 exemption from subpart F income under                  to the U.S. shareholders of a CFC (as of
                                           IRS do not believe Congress intended                    section 954(c)(6) can be used in the                   its first taxable year beginning after
                                           section 245A to defeat the purposes of                  context of certain transactions to avoid               December 31, 2017) and the last date on
                                           subpart F and GILTI regimes in these                    taxation of income that would otherwise                which the earnings and profits of the
                                           instances. Accordingly, given the                       be taxed under the subpart F or GILTI                  CFC are measured for purposes of
                                                                                                                     - Add.93 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00004   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           section 965, which, under section                       Extraordinary disposition E&P is an                    often has low basis) to generate
                                           965(a), is December 31, 2017 (such                      amount equal to the earnings of an SFC                 significant amounts of earnings and
                                           period, the ‘‘disqualified period’’). For               arising from gain recognized by reason                 profits to the seller (without being
                                           example, a fiscal year CFC with a                       of one or more ‘‘extraordinary                         subject to current tax) that may be
                                           taxable year ending November 30 would                   dispositions.’’ See § 1.245A–                          eligible for the section 245A deduction.
                                           have a disqualified period from January                 5T(c)(3)(i)(C).                                           As described, the Treasury
                                           1, 2018, the day after its final E&P                       The section 245A deduction is limited               Department and the IRS have
                                           measurement date under section 965, to                  to 50 percent of the extraordinary                     determined that the extraordinary
                                           November 30, 2018, the last date before                 disposition amount to reflect the fact                 disposition rules should not apply to all
                                           section 951A applies with respect to its                that taxpayers generally would have                    earnings and profits generated by a CFC
                                           income. The Treasury Department and                     been eligible for a deduction under                    during the disqualified period. Rather,
                                           the IRS are aware that during the                       either (i) section 250(a)(1)(B) had                    the temporary regulations focus on a
                                           disqualified period, CFCs may have                      section 951A applied to the SFC during                 narrowly and objectively defined class
                                           engaged in certain transactions with                    the disqualified period or (ii) section                of earnings and profits in circumstances
                                           related parties with a goal of creating                 965(c) had the net gain been subject to                that are inconsistent with the
                                           stepped-up basis for the buyer, while                   the transition tax under section 965.                  international tax regime adopted by the
                                           generating earnings and profits for the                    For a disposition by an SFC to be an                Act. The Treasury Department and the
                                           seller CFC that are not subject to any                  extraordinary disposition, the                         IRS request comments on whether there
                                           current tax and may be eligible for the                 disposition must (i) be of specified                   should be any further refining of these
                                           section 245A deduction. Because the                     property (defined in § 1.245A–                         rules.
                                           transactions generally are structured to                5T(c)(3)(iv) as any property other than                   The temporary regulations provide
                                           avoid creating subpart F income and                     property that produces gross income                    shareholder account rules to ensure that
                                           occur during the disqualified period, the               described in section 951A(c)(2)(A)(i)(I)               a section 245A shareholder’s
                                           income from these transactions                          through (V)), (ii) occur during the SFC’s              extraordinary disposition account is
                                           generally is not subject to U.S. tax under              disqualified period (as defined in                     properly tracked and reduced in
                                           the transition tax under section 965, the               § 1.245A–5T(c)(3)(iii)) and when the                   appropriate cases (for example, for prior
                                           subpart F regime, or the GILTI regime.                  SFC was a CFC, (iii) be outside of the                 extraordinary disposition amounts). See
                                           Such earnings and profits could, for                    ordinary course of the SFC’s activities,               § 1.245A–5T(c)(3)(i). These shareholder
                                           example, reduce taxable gain that would                 and (iv) be to a related party. See                    account rules also contain successor
                                           otherwise be recognized on the                          § 1.245A–5T(c)(3)(ii). For these                       rules for a section 245A shareholder that
                                           subsequent disposition of stock of the                  purposes, a disposition by an SFC                      acquires stock of an SFC from another
                                                                                                   includes certain indirect dispositions by              section 245A shareholder with respect
                                           CFC, thus potentially allowing the CFC
                                                                                                   the SFC through a partnership or other                 to which there is an extraordinary
                                           and its future earnings to be removed
                                                                                                   pass-through entities (including through               disposition account and for certain
                                           from the U.S. tax system without the
                                                                                                   ownership structures involving tiered                  section 381 transactions and
                                           imposition of any U.S. tax.
                                                                                                   pass-through entities). See id.                        distributions involving section 355 (or
                                              The Treasury Department and the IRS                     In addition, pursuant to an exception               so much as section 356 as relates to
                                           have determined that it would be                        intended to limit compliance and                       section 355). See § 1.245A–5T(c)(4).
                                           inconsistent with the closely                           administrative burdens, no dispositions                   To address cases in which the section
                                           interdependent set of international tax                 by an SFC are considered to be an                      245A deduction might be available for
                                           rules implemented by the Act,                           extraordinary disposition if they do not               an SFC held through a pass-through
                                           specifically the transition tax, the GILTI              exceed a threshold of the lesser of $50                entity or foreign corporation, the
                                           regime, and the participation                           million or 5 percent of the gross value                temporary regulations provide that a
                                           exemption, for the earnings and profits                 of the SFC’s property. See § 1.245A–                   section 245A shareholder is treated as
                                           resulting from these transactions to be                 5T(c)(3)(ii)(E).                                       owning a pro rata share of stock of an
                                           eligible for a section 245A deduction                      The temporary regulations provide a                 SFC that is owned by a partnership,
                                           even if the other requirements of section               facts-and-circumstances rule for                       trust, or estate (domestic or foreign), or
                                           245A are otherwise satisfied. Thus, the                 determining whether a disposition                      a foreign corporation in which the
                                           temporary regulations limit the amount                  occurs outside of the ordinary course of               section 245A shareholder owns an
                                           of the section 245A deduction allowed                   an SFC’s activities. The temporary                     interest or stock, as applicable. See
                                           to a section 245A shareholder (as                       regulations also provide a per se rule                 § 1.245A–5T(g)(3)(i) (providing rules for
                                           defined in § 1.245A–5T(i)(21)) with                     that a disposition is treated as outside               stock ownership and transfers).
                                           respect to a dividend received from an                  of the ordinary course of an SFC’s                        The Treasury Department and the IRS
                                           SFC. Specifically, the deduction is                     activities if the disposition is                       request comments as to how the
                                           limited to 50 percent of the                            undertaken with a principal purpose of                 extraordinary disposition account rules
                                           extraordinary disposition amount,                       generating earnings and profits during                 should apply in circumstances in which
                                           which is the portion of a dividend                      the disqualified period or if the                      an SFC is transferred to a partnership,
                                           received by a section 245A shareholder                  disposition is of intangible property,                 including the extent to which principles
                                           from an SFC that is paid out of the                     within the meaning of section 367(d)(4).               similar to section 704(c)(1)(B) apply to
                                           section 245A shareholder’s                              See id. The temporary regulations                      prevent the use of partnerships to
                                           ‘‘extraordinary disposition account.’’                  include this latter rule because the                   circumvent the purposes of the
                                           See § 1.245A–5T(b)(2) and (c)(1). In                    disposition of intangible property is not              temporary regulations, such as where an
                                           general, this account represents the                    an ordinary course transaction (relative               SFC is subsequently transferred to a
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                                           shareholder’s pro rata share of the SFC’s               to, for example, a routine sale of raw                 non-contributing partner. As a general
                                           ‘‘extraordinary disposition E&P,’’                      materials from one SFC to another for                  matter, the Treasury Department and the
                                           reduced by the section 245A                             manufacturing); moreover, during the                   IRS believe that § 1.701–2(b), as well as
                                           shareholder’s prior extraordinary                       disqualified period taxpayers may have                 the judicial doctrines of economic
                                           disposition amounts, if any. See                        had a particularly strong incentive to                 substance, substance over form, and
                                           § 1.245A–5T(c)((3)(i)(C)(1)).                           dispose of intangible property (which                  step transaction, prevent taxpayers from
                                                                                                                     - Add.94 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00005   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           forming or availing of partnerships with                including section 245A, the subpart F                  as the new GILTI regime, the incentive
                                           a principal purpose of avoiding the                     regime, and the GILTI regime. In these                 to shift income to low-taxed foreign
                                           application of these rules. The treatment               cases, absent proper limitation, the                   affiliates, ‘‘where the income could
                                           of partnerships under section 245A will                 section 245A deduction might be                        potentially be distributed back to the
                                           be addressed in separate guidance; and                  allowed inappropriately with respect to                [domestic] corporation with no U.S. tax
                                           it is anticipated that this guidance will               a CFC’s current year income that, but for              imposed.’’).
                                           provide rules ensuring that partnerships                the ownership changes, would have                         Similar results can arise in other cases
                                           may not be formed or availed of to avoid                been subject to tax under the subpart F                where the stock of a CFC is transferred
                                           the purposes of the temporary                           or GILTI regimes. Unlike the                           during a CFC’s tax year by a U.S.
                                           regulations.                                            transactions described in Part II.B of this            shareholder to a foreign person where,
                                              The Treasury Department and the IRS                  Explanation of Provisions, the                         after the transfer, the CFC remains a
                                           further request comments on the                         transactions giving rise to these results              CFC but has no U.S. shareholder that
                                           treatment of consolidated groups under                  can occur in any taxable year ending                   owns (within the meaning of section
                                           the temporary regulations, including for                after the Act (and particularly section                958(a)) stock of the CFC. Before the Act,
                                           purposes of maintaining extraordinary                   245A) is in effect.                                    section 958(b)(4) prevented certain
                                           disposition accounts. The Treasury                         These results could arise, for example,             attribution of stock under section 318
                                           Department and the IRS believe that                     as a consequence of the application of                 from a foreign person to a U.S. person.
                                           consolidated groups generally should be                 section 951(a)(2)(B). Section                          However, the Act repealed section
                                           treated in the same manner as a single                  951(a)(2)(B), a longstanding provision in
                                                                                                                                                          958(b)(4) such that a foreign corporation
                                           taxpayer for the purposes of § 1.245A–                                                                         may be treated as a CFC despite having
                                                                                                   the subpart F regime, prevents double
                                           5T(c). Subject to any comments                                                                                 no direct or indirect U.S. shareholder
                                                                                                   taxation of the same earnings by
                                           received, it is expected that future rules                                                                     that owns (within the meaning of
                                                                                                   reducing a U.S. shareholder’s pro rata
                                           will provide that consolidated groups                                                                          section 958(a)) stock of the CFC and that
                                                                                                   share of subpart F income (or, following
                                           generally should not be advantaged or                                                                          accordingly can recognize an income
                                                                                                   the Act, tested income as defined in
                                           disadvantaged as a result of owning                                                                            inclusion under section 951 or 951A. In
                                                                                                   section 951A(c)(2)(A)) of a CFC by
                                           directly or indirectly stock of an SFC                                                                         general, a U.S. shareholder that owns
                                                                                                   dividends received by another person
                                           through multiple members relative to a                                                                         stock in a CFC on the last day within the
                                                                                                   with respect to the same share of stock.
                                           standalone corporation owning the same                                                                         foreign corporation’s year that it is a
                                                                                                   However, if section 245A were to apply
                                           stock.                                                                                                         CFC is taxable on its pro rata share of
                                              The Treasury Department and the IRS                  without limitation to dividends from a                 the CFC’s subpart F income or tested
                                           also request comments on whether and                    CFC that reduce another U.S.                           income for purposes of the GILTI
                                           how the rules applicable to disqualified                shareholder’s pro rata share of subpart                regime. However, by reason of the Act’s
                                           basis in proposed § 1.951A–2(c)(5)                      F income or tested income of the CFC                   repeal of section 958(b)(4), a U.S.
                                           should be coordinated with § 1.245A–                    under section 951(a)(2)(B), earnings that              shareholder may transfer a CFC to a
                                           5T(c). In this regard, proposed                         would otherwise be subject to the                      person that will not be taxed with
                                           § 1.951A–2(c)(5) provides rules for the                 subpart F or GILTI regimes would                       respect to an inclusion under the
                                           allocation and apportionment of                         escape U.S. taxation to the extent of the              subpart F or GILTI regimes without
                                           deductions and losses attributable to                   reduction. For example, in the case of a               itself being subject to such an inclusion.
                                           disqualified basis, which is asset basis                transfer of CFC stock from one section                 Absent any specific limitation in these
                                           created in certain disqualified transfers               245A shareholder (the transferor) to                   circumstances, any earnings and profits
                                           during the disqualified period. These                   another section 245A shareholder (the                  of the CFC distributed as a dividend
                                           deductions and losses are allocated and                 transferee), a dividend (including by                  (including by reason of section 1248) to
                                           apportioned solely to gross income that                 reason of section 1248) from the CFC to                the transferor U.S. shareholder during
                                           is not tested income, subpart F income,                 the transferor during the tax year of the              the CFC’s taxable year might be eligible
                                           or effectively connected income                         transfer might both (i) be excluded from               for the section 245A deduction.
                                           (defined as ‘‘residual CFC gross                        the transferor’s income by reason of the               However, had the transfer not occurred
                                           income’’), thereby ensuring that such                   section 245A deduction and (ii) reduce                 (or had the CFC ceased to be a CFC as
                                           ‘‘costless’’ tax basis does not                         the transferee’s pro rata share of subpart             a result of the transfer), the earnings and
                                           inappropriately reduce future tax                       F income or tested income of the CFC                   profits may have been subject to tax
                                           liability. Thus, the Treasury Department                by reason of section 951(a)(2)(B). The                 under the subpart F or GILTI regimes
                                           and the IRS are considering the extent                  Treasury Department and the IRS have                   and, therefore, would not have been
                                           to which it would be appropriate to                     determined that it would be                            eligible for the section 245A deduction.
                                           coordinate the two sets of rules, taking                inconsistent with the residual definition                 In the circumstances described in this
                                           into account the ability of the IRS to                  of section 245A eligible earnings and                  section, a broad application of section
                                           administer and taxpayers to comply                      the interaction of section 245A and the                245A would present taxpayers with a
                                           with such rules, and request comments                   subpart F and GILTI regimes, which                     planning opportunity to completely
                                           on this issue.                                          form an integrated set of rules to tax                 avoid the application of the subpart F
                                                                                                   post-2017 foreign earnings, to allow a                 and GILTI regimes on an annual basis.
                                           C. Extraordinary Reduction Amount                       section 245A deduction for a dividend                  The Treasury Department and the IRS
                                             The Treasury Department and the IRS                   paid out of earnings and profits                       have determined that this result would
                                           are aware that certain transactions in                  attributable to subpart F income or                    undermine the integrated provisions
                                           which a section 245A shareholder of a                   tested income where such dividends, by                 constituting the Act’s framework for
                                           CFC transfers stock of the CFC, or                      operation of section 951(a)(2)(B), and                 taxing post-2017 CFC earnings and
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                                           certain transactions in which the                       could result in double non-taxation of                 would contravene legislative intent. To
                                           shareholder’s ownership of the CFC is                   such income. Such a result would also                  address this concern, the temporary
                                           diluted, could give rise to results that                be contrary to the legislative intent                  regulations limit the amount of the
                                           would be inconsistent with the                          underlying the interaction of these                    section 245A deduction allowed to a
                                           integrated structure of the U.S. tax                    provisions. See Senate Explanation at                  ‘‘controlling section 245A shareholder’’
                                           system for the taxation of CFC earnings,                365 (noting, in the absence of rules such              with respect to a dividend from a CFC
                                                                                                                     - Add.95 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00006   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           to the portion of the dividend that is                  amount of dividends paid by the                        dividend is first subject to the hybrid
                                           paid out of earnings other than the                     corporation that are attributable to                   dividend rules of section 245A(e) and
                                           ‘‘extraordinary reduction amount.’’ See                 subpart F income or tested income with                 then, to the extent not a hybrid
                                           § 1.245A–5T(b)(1) and (e). A controlling                respect to a CFC, to the extent such                   dividend, is subject to the temporary
                                           section 245A shareholder of a CFC is a                  subpart F income or tested income (i)                  regulations. See § 1.245A–5T(g)(3)(iv).
                                           section 245A shareholder of the CFC                     would have been taken into account by                  In future guidance relating to proposed
                                           that, taking into account ownership of                  the controlling section 245A                           regulations under section 245A(e) and
                                           the CFC by certain other persons (such                  shareholder under section 951 or 951A                  certain other sections (83 FR 67612), the
                                           as related persons), owns more than 50                  had the extraordinary reduction not                    Treasury Department and the IRS
                                           percent of the stock of the CFC. See                    occurred and (ii) is not taken into                    anticipate modifying those regulations
                                           § 1.245A–5T(i)(2). For purposes of                      account by a domestic corporation or a                 to reflect this coordination rule.
                                           applying these rules, a controlling                     citizen or resident of the United States                  In addition, to address cases in which
                                           section 245A shareholder also includes                  (that is, a person described in section                a dividend might be either an
                                           any other shareholder who would not                     7701(a)(30)(A) or (C)). See § 1.245A–                  extraordinary disposition amount under
                                           otherwise be a controlling section 245A                 5T(e)(1) and (2).                                      § 1.245A–5T(c) or an extraordinary
                                           shareholder but acts in concert with the                   The limitation of the section 245A                  reduction amount under § 1.245A–
                                           controlling section 245A shareholder.                   deduction in the case of an                            5T(e), the temporary regulations provide
                                           This includes shareholders that sell                    extraordinary reduction will generally                 a coordination rule pursuant to which a
                                           their shares of the same CFC to the same                result in a dividend being included in                 dividend is first subject to the rules of
                                           buyer or buyers (or a related party with                the income of the controlling section                  § 1.245A–5T(e) and then, to the extent
                                           respect to the buyer or buyers) as part                 245A shareholder and not offset by a                   not an extraordinary reduction amount,
                                           of the same plan as the controlling                     section 245A deduction. In cases where                 is subject to the rules of § 1.245A–5T(c).
                                           section 245A shareholder’s                              the CFC has tested income during its                   See § 1.245A–5T(g)(5). Because of this
                                           extraordinary reduction.                                taxable year that would have been                      ordering rule, the extraordinary
                                              Under the temporary regulations, for                 subject to the GILTI regime but for the                disposition amount with respect to a
                                           an extraordinary reduction amount to                    extraordinary reduction, a controlling                 dividend will not exceed the amount by
                                           exist with respect to a controlling                     section 245A shareholder might prefer                  which the dividend exceeds the
                                           section 245A shareholder of a CFC, an                   to have an income inclusion under                      extraordinary reduction amount with
                                           ‘‘extraordinary reduction’’ must occur                  section 951A, potentially benefitting                  respect to the dividend.
                                           during the CFC’s taxable year with                      from the deduction available under
                                                                                                                                                          E. Transactions Described in Section
                                           respect to the shareholder’s ownership                  section 250. Therefore, the temporary
                                                                                                                                                          964(e)(4)
                                           of the CFC. See § 1.245A–5T(e). An                      regulations provide an election under
                                           extraordinary reduction generally                       which a controlling section 245A                          The rules in these temporary
                                           occurs when either (i) the controlling                  shareholder is not required to reduce its              regulations for determining eligibility
                                           section 245A shareholder transfers more                 section 245A deduction if it elects (and,              for the section 245A deduction also
                                           than 10 percent of its stock of the CFC                 in some cases, certain other United                    apply to deemed dividends arising by
                                           (for example, an extraordinary reduction                States persons also agree) to close the                reason of section 964(e)(4), which the
                                           occurs if the shareholder owns 90                       CFC’s taxable year for all purposes of                 Act added to the Code. Section 964(e)(4)
                                           percent of the stock of the CFC and it                  the Code on the date of the                            provides in certain cases that a sale by
                                           transfers stock representing more than                  extraordinary reduction. See § 1.245A–                 a CFC of stock of another foreign
                                           nine percent of the stock of the CFC) or                5T(e)(3)(i). The closing of the taxable                corporation is treated as a dividend
                                           (ii) there is a greater than ten percent                year of the CFC results in all U.S.                    from the target foreign corporation to
                                           change in the controlling section 245A                  shareholders that own (within the                      the selling CFC that is, in turn, treated
                                           shareholder’s overall ownership of the                  meaning of section 958(a)) stock of the                as subpart F income of the selling CFC
                                           CFC (for example, if the shareholder                    CFC on such date taking into account                   and included in the gross income of the
                                           owns 90 percent of the stock of the CFC                 their pro rata share of subpart F income               U.S. shareholders of the selling CFC.
                                           and, as a result of an issuance to a                    or tested income earned by the CFC as                  Pursuant to section 964(e)(4)(A)(iii), the
                                           foreign person, the shareholder’s                       of that date.                                          section 245A deduction is allowed to
                                           ownership of the CFC is reduced such                       In addition, pursuant to an exception               any U.S. shareholder with respect to
                                           that it no longer owns at least 81 percent              intended to limit compliance and                       such subpart F income included in gross
                                           of the stock of the CFC). See § 1.245A–                 administrative burdens, for a taxable                  income in the same manner as if such
                                           5T(e)(2)(i)(A). The temporary                           year in which an extraordinary                         subpart F income were a dividend
                                           regulations include the first prong                     reduction occurs, no amount is                         received by the shareholder from the
                                           because if, for example, a section 245A                 considered an extraordinary reduction                  selling CFC. Thus, section 964(e)(4)
                                           shareholder of a CFC were to transfer                   amount if the sum of the CFC’s subpart                 presents the same concerns as direct
                                           shares of stock of the CFC to another                   F income and tested income for the                     dividends; absent a rule to the contrary,
                                           section 245A shareholder of the CFC                     taxable year does not exceed the lesser                taxpayers might use section 964(e)(4) to
                                           and the other shareholder were to                       of $50 million or 5 percent of the CFC’s               avoid the results applicable to actual
                                           transfer an equal number of similar                     total income for the year. See § 1.245A–               distributions from an upper-tier CFC to
                                           shares to the first shareholder, neither of             5T(e)(3)(ii).                                          a U.S. shareholder or to constructive
                                           the shareholders’ overall ownership of                                                                         dividends under section 1248 that are
                                           the CFC would change, but the amount                    D. Coordination Rules                                  addressed elsewhere by these temporary
                                           taken into account by each of the                         To address cases in which a dividend                 regulations. Therefore, the rules in these
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                                           shareholders by reason of section                       could qualify as either a hybrid                       temporary regulations for determining
                                           951(a)(2)(B) might be reduced as a result               dividend under the rules of section                    eligibility for the section 245A
                                           of dividends paid with respect to shares                245A(e) or an ineligible amount under                  deduction also apply to deemed
                                           transferred by the other.                               the temporary regulations, the                         dividends arising by reason of section
                                              An extraordinary reduction amount is                 temporary regulations provide a                        964(e)(4). Moreover, all U.S.
                                           earnings and profits representing the                   coordination rule pursuant to which a                  shareholders of the selling CFC are
                                                                                                                     - Add.96 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00007   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           deemed to act in concert for purposes of                section 954(c)(6) exception with respect               extraordinary reduction amounts with
                                           the temporary regulations with respect                  to a dividend received by an upper-tier                respect to the lower-tier CFC arising in
                                           to transactions described in section                    CFC can result in a subpart F inclusion                cases in which the lower-tier CFC was
                                           964(e)(4).                                              to any U.S. shareholder, including                     a first-tier CFC at some point in the
                                                                                                   individuals. In addition, the temporary                taxable year and paid a dividend to one
                                           III. Limitation of Amount Eligible for                                                                         or more controlling section 245A
                                                                                                   regulations limit the section 954(c)(6)
                                           Section 954(c)(6) Exception With                                                                               shareholders at that time. The fourth
                                                                                                   exception in these cases, rather than
                                           Respect to Certain Dividends                                                                                   amount is for subpart F income and
                                                                                                   limiting the application of section 245A
                                           A. In General                                           only when the lower-tier CFC earnings                  tested income taken into account by a
                                              As described in Part I of this                       and profits are distributed through                    U.S. tax resident as a result of an
                                           Explanation of Provisions, the section                  intervening CFCs to a section 245A                     issuance of stock directly by the lower-
                                           954(c)(6) exception may cause                           shareholder. This approach prevents                    tier CFC during the taxable year. See
                                                                                                   deferral of tax with respect to the                    § 1.245A–5T(f)(2). Comments are
                                           dividends from one CFC to another to
                                                                                                   applicable subpart F income or tested                  requested as to whether a lower-tier
                                           result in tax consequences similar to,
                                                                                                   income and minimizes the                               CFC’s tiered extraordinary reduction
                                           but not dependent upon, those that can
                                                                                                   administrative and compliance burdens                  amount should be reduced for a pro rata
                                           be effectuated using section 245A in
                                                                                                   that would be created by continuing to                 portion of a dividend paid on stock of
                                           conjunction with the disqualified
                                                                                                   track the relevant earnings at the upper-              the lower-tier CFC that was held by non-
                                           period, section 951(a)(2)(B), or the
                                                                                                   tier CFC.                                              U.S. shareholders before and after an
                                           repeal of section 958(b)(4).
                                                                                                      Similarly, to prevent these                         extraordinary reduction. For purposes of
                                              To protect against avoidance of the
                                                                                                   inappropriate uses of the section                      applying § 1.245A–5T(f)(1) and (2) in
                                           rules for extraordinary dispositions
                                                                                                   954(c)(6) exception to avoid the rules for             taxable years of a lower-tier CFC
                                           (described in Part II.B of this
                                                                                                   extraordinary reductions (described in                 beginning on or after January 1, 2018,
                                           Explanations of Provisions), the
                                                                                                   Part II.C of this Explanation of                       and ending before June 14, 2019, a
                                           temporary regulations rely on authority
                                                                                                   Provisions), the temporary regulations                 transition rule is provided such that the
                                           under section 954(c)(6)(A) to prevent
                                                                                                                                                          tiered extraordinary reduction amount
                                           the section 954(c)(6) exception from                    apply to limit the amount of any
                                                                                                                                                          of a lower-tier CFC is determined by
                                           applying in cases where a dividend                      distribution from that CFC out of
                                                                                                                                                          treating the lower-tier CFC’s subpart F
                                           from a lower-tier CFC to an upper-tier                  earnings and profits attributable to
                                                                                                                                                          income for the taxable year as if it were
                                           CFC would be an extraordinary                           subpart F income or tested income that
                                                                                                                                                          neither subpart F income nor tested
                                           disposition amount if distributed                       can qualify for the section 954(c)(6)
                                                                                                                                                          income. See § 1.245A–5T(f)(3).
                                           directly to the section 245A                            exception in a taxable year in which an                   The rule in § 1.245A–5T(f)(1) applies
                                           shareholders of the lower-tier CFC. See                 extraordinary reduction occurs with                    to both actual distributions and deemed
                                           § 1.245A–5T(d). In these cases, the                     respect to the stock of a CFC. Similar to              distributions that occur by reason of
                                           section 954(c)(6) exception applies only                the rules relating to extraordinary                    stock dispositions subject to section
                                           to the extent that the amount of the                    disposition amounts, the limitation to                 964(e)(1) but not section 964(e)(4).
                                           dividend exceeds the sum of each                        the section 954(c)(6) exception with                   Dispositions subject to section 964(e)(1)
                                           section 245A shareholder’s                              respect to a dividend received by an                   but not section 964(e)(4) are treated as
                                           extraordinary disposition account with                  upper-tier CFC can result in a subpart F               dividends from the target foreign
                                           respect to the lower-tier CFC, divided by               inclusion to any U.S. shareholder,                     corporation (or other entity whose
                                           the aggregate ownership of all U.S. tax                 including individuals. To the extent a                 earnings and profits gave rise to a
                                           residents of the upper-tier CFC that have               CFC-to-CFC dividend otherwise satisfies                dividend under section 964(e)(1)) to the
                                           section 951(a) inclusions and multiplied                the requirements of section 954(c)(6), it              selling CFC and, thus, must be tested for
                                           by 50 percent. The amount is divided by                 is eligible for the section 954(c)(6)                  eligibility under section 954(c)(6).
                                           the aggregate ownership of these U.S.                   exception only to the extent it exceeds                Additionally, ordering and coordination
                                           tax residents to take into account the                  the distributing lower-tier CFC’s ‘‘tiered             rules apply with respect to the rules
                                           fact that the U.S. tax residents                        extraordinary reduction amount,’’ taking               relating to the availability of the section
                                           (including individuals) will include in                 into account certain prior inclusions                  954(c)(6) exception and generally mirror
                                           gross income a pro rata share of the                    under section 951(a). See § 1.245A–                    the rules for the section 245A deduction
                                           portion of the dividend not eligible for                5T(f)(1). Such amount is equal to the                  by giving priority to § 1.245A–5T(f) over
                                           the section 954(c)(6) exception. The                    upper-tier CFC’s ownership percentage                  § 1.245A–5T(d). See § 1.245A–
                                           amount is multiplied by 50 percent in                   in the lower-tier CFC multiplied by the                5T(g)(4)(ii). As in the rules relating to
                                           order to provide similar treatment for a                lower-tier CFC’s subpart F income and                  extraordinary reduction amounts, a
                                           dividend received by a section 245A                     tested income for the taxable year, with               controlling section 245A shareholder of
                                           shareholder from a CFC and a dividend                   the resulting product reduced by four                  a lower-tier CFC may elect to close the
                                           received by an upper-tier CFC from a                    amounts. The first amount is the pro                   taxable year of the CFC in cases where
                                           lower-tier CFC. In both cases, the 50                   rata share of the lower-tier CFC’s                     an extraordinary reduction occurs and
                                           percent reduction of the section 245A                   subpart F income and tested income for                 the CFC would have a tiered
                                           deduction approximates the reduced tax                  the taxable year that is taken into                    extraordinary reduction amount. See
                                           rate by reason of the deduction provided                account by U.S. tax residents and                      § 1.245A–5T(e).
                                           under section 250(a)(1)(B) with respect                 attributable to the shares of the lower-                  Finally, the Treasury Department and
                                           to section 951A inclusions or section                   tier CFC owned by the upper-tier CFC.                  the IRS are studying whether § 1.245A–
                                           965(c) with respect to the transition tax.              The second amount is the amount                        5T(f), or a similar rule, should also
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                                              Unlike the disallowance of the section               included in an upper-tier CFC’s subpart                apply to dividends received by an
                                           245A deduction under § 1.245A–5T(b)                     F income resulting from prior dividends                upper-tier CFC from a lower-tier CFC
                                           with respect to an extraordinary                        paid by the lower-tier CFC giving rise to              where such CFCs are owned by
                                           disposition amount, which applies only                  tiered extraordinary reduction amounts                 individuals and there may be a
                                           to corporate U.S. shareholders, the                     or the application of section 245A(e).                 reduction in the individuals’ ownership
                                           limitation to the application of the                    The third amount is for certain prior                  of the lower-tier CFC. Individuals are
                                                                                                                     - Add.97 -
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                                           not eligible to claim deductions under                  amount of the dividend eligible for the                VI. Good Cause
                                           section 245A and, therefore, dividends                  section 954(c)(6) exception (discussed
                                           subject to section 954(c)(6) do not                     in Part III.A of this Explanation of                      The Treasury Department and the IRS
                                           present the risk of permanently                         Provisions).                                           are issuing these temporary regulations
                                           eliminating items of subpart F income,                                                                         without prior notice and the
                                           investments in United States property                   IV. Information Reporting Under                        opportunity for public comment
                                           taxed under section 951(a)(1)(B), or                    Section 6038                                           pursuant to section 553(b)(3)(B) of the
                                           tested income from the U.S. tax base. At                                                                       Administrative Procedure Act (the
                                                                                                      Under section 6038(a)(1), U.S. persons              ‘‘APA’’), which provides that advance
                                           the same time, section 954(c)(6)                        that control foreign business entities
                                           dividends might result in a reduction of                                                                       notice and the opportunity for public
                                                                                                   must file certain information returns                  comment are not required with respect
                                           a U.S. shareholder’s pro rata share of a
                                                                                                   with respect to those entities, which                  to a rulemaking when an ‘‘agency for
                                           CFC’s subpart F income or tested
                                                                                                   includes information listed in section                 good cause finds (and incorporates the
                                           income, thereby resulting in deferred
                                                                                                   6038(a)(1)(A) through (a)(1)(E), as well               finding and a brief statement of reasons
                                           taxation of items that otherwise would
                                                                                                   as information that ‘‘the Secretary                    therefor in the rules issued) that notice
                                           have been taxed currently. Therefore,
                                           comments are requested as to whether                    determines to be appropriate to carry                  and public procedure thereon are
                                           § 1.245A–5T(f), or a similar rule, should               out the provisions of this title.’’ The                impracticable, unnecessary, or contrary
                                           be extended to CFCs owned by                            temporary regulations provide that                     to the public interest.’’ Under the
                                           individuals.                                            ineligible amounts, tiered extraordinary               ‘‘public interest’’ prong of 5 U.S.C.
                                                                                                   disposition amounts, and tiered                        553(b)(3)(B), the good cause exception
                                           B. Dividends Received by CFCs                           extraordinary reduction amounts must
                                           Ineligible for Section 245A Deduction                                                                          appropriately applies where notice-and-
                                                                                                   be reported on the appropriate                         comment would harm, defeat, or
                                              Section 245A(a), by its terms, applies               information reporting form in                          frustrate the public interest, rather than
                                           only to certain dividends received by ‘‘a               accordance with section 6038. See                      serving it. The Treasury Department and
                                           domestic corporation.’’ Section 1.952–2,                § 1.6038–2T(f)(16). Because transactions               the IRS are similarly utilizing the good
                                           however, which sets forth rules for                     subject to these temporary regulations                 cause exception in section 553(d)(3) of
                                           determining gross income and taxable                    may have occurred in taxable years for                 the APA to issue these temporary
                                           income of a foreign corporation,                        which returns have been filed before the               regulations with an immediate effective
                                           provides that for these purposes a                      issuance of these regulations, or for                  date, rather than an effective date no
                                           foreign corporation is treated as a                     which returns will be filed before                     earlier than 30 days after the date of
                                           domestic corporation. See § 1.952–                      revision of forms and instructions for                 publication.
                                           2(a)(1) and (b)(1). Accordingly,                        reporting the information required by
                                           questions have arisen as to whether                     § 1.6038–2T(f)(16), the temporary                         Among the circumstances in which
                                           § 1.952–2 could be interpreted such that                regulations provide a transition rule.                 the good cause exception may be
                                           a foreign corporation could claim a                     The transition rule mandates that                      invoked for impracticability or to serve
                                           section 245A deduction despite the                      taxpayers report the required                          the public interest are situations where
                                           statutory restriction in section 245A(a)                information on the first return filed                  the timing and disclosure requirements
                                           expressly limiting the deduction to                     following the issuance of revised forms,               of the usual procedures would defeat
                                           domestic corporations. See H.R. Rep.                    instructions, or other guidance with                   the purpose of the proposal, including
                                           No. 115–466, at 599, fn. 1486 (2017).                   respect to reporting such information.                 if announcement of a proposed rule
                                              The Treasury Department and the IRS                  The transition rule also requires a                    would enable or increase the sort of
                                           intend to address issues related to the                 corporation to report the information                  financial manipulation the rule sought
                                           application of § 1.952–2, taking into                   with respect to a predecessor                          to prevent. Good cause may also apply
                                           account various comments received in                    corporation (such as a lower-tier foreign              where a delayed effective date would
                                           connection with the Act, including in                   corporation that distributes its assets to             have a significant deleterious effect
                                           connection with the proposed section                    the corporation in a liquidation                       upon the parties to which the regulation
                                           951A regulations, in a future guidance                  described in section 332) to ensure that               applies. Additionally, the good cause
                                           project. This guidance will clarify that,               all of the amounts are properly reported               exception may apply when the
                                           in general, any provision that is                       notwithstanding any intervening                        regulations are by their nature short
                                           expressly limited in its application to                 transactions.                                          term and there is an opportunity to
                                           domestic corporations does not apply to                                                                        comment before final rules are
                                           CFCs by reason of § 1.952–2. The                        V. Applicability Dates                                 introduced. Finally, good cause is
                                           Treasury Department and the IRS                                                                                supported where regulations are
                                           continue to study whether, and to what                     Consistent with the applicability date              required to be issued and effective by a
                                           extent, proposed regulations should be                  of section 245A, and pursuant to section               certain statutory deadline, and in light
                                           issued that provide that dividends                      7805(b)(2), the rules in the temporary                 of the circumstances affecting the
                                           received by a CFC are eligible for a                    regulations relating to eligibility of                 agency and its functions leading up to
                                           section 245A deduction. The Treasury                    distributions for the section 245A                     that statutory deadline, the agency is
                                           Department and the IRS have                             deduction apply to distributions                       unable during that timeframe to conduct
                                           determined, however, that in no case                    occurring after December 31, 2017.                     a timely and fulsome notice-and-
                                           would any person, including a foreign                      Pursuant to section 7805(b)(1) and (2),             comment process. Here, these
                                           corporation, be allowed a section 245A                  the rules in the temporary regulations                 rationales, separately and in
                                           deduction directly or indirectly for the                relating to the eligibility of dividends               combination, provide good cause for the
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                                           portion of a dividend paid to a CFC that                for the section 954(c)(6) exception also               Treasury Department and the IRS’s
                                           is not eligible for the section 954(c)(6)               apply to distributions occurring after                 decision to bypass the notice-and-
                                           exception as a result of these temporary                December 31, 2017, subject to the                      comment and delayed effective date
                                           regulations. Permitting the deduction in                transition rule in § 1.245A–5T(f)(3) for               requirements with respect to these
                                           such a case would undermine the                         determining tiered extraordinary                       temporary regulations. Each rationale is
                                           application of the rule that reduces the                reduction amounts.                                     discussed below in turn.
                                                                                                                     - Add.98 -
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                                              First, good cause exists with respect                   The second reason for a finding of                  the enactment of these provisions must
                                           to these temporary regulations because                  good cause arises from the fact that                   be effective no later than June 22, 2019.
                                           any period for notice and comment, as                   these temporary regulations, as applied                These temporary regulations need to
                                           well as a delayed effective date, would                 retroactively, will affect taxable years of            apply retroactively from the date of the
                                           provide taxpayers with the opportunity                  certain taxpayers ending in 2018. As a                 underlying statutory provisions to
                                           to engage in the transactions to which                  result, these regulations can apply to                 ensure that the international tax regime
                                           these rules relate with confidence that                 taxable years for which tax returns have               enacted by Congress in the Act, and its
                                           they achieve the intended tax avoidance                 been or may be due during a period of                  interaction with existing tax rules,
                                           results absent the applicability of the                 comment and delayed effectiveness.                     functions correctly for all affected
                                           regulations. The Treasury Department                    Deferring the effectiveness of the                     periods. Retroactivity is also required to
                                           and the IRS are aware that taxpayers                    temporary regulations until after such a               prevent treating taxpayers
                                           have considered engaging in the                         period could increase taxpayer                         comparatively advantageously if they
                                           transactions described in these                         compliance costs because certain                       have engaged in the types of
                                           temporary regulations, but some may                     taxpayers would only be able to come                   transactions described in these
                                           have been deterred from doing so                        into compliance with the regulations by                temporary regulations prior to the
                                           because of uncertainty about the                        amending and refiling returns and                      issuance date of these temporary
                                           operation and interaction of the various                paying additional taxes owed with                      regulations.
                                           provisions of the Act. By limiting the                  interest.                                                 The discussion of good cause with
                                           deduction under section 245A for these                     Third, good cause is supported where                respect to the temporary regulations in
                                           transactions, these temporary                           a regulation is temporary, with public                 this Part VI is consistent with the Policy
                                           regulations remove that uncertainty                     comment permitted and meaningfully                     Statement on the Tax Regulatory
                                           and—if subjected to notice-and-                         considered before finalization of the                  Process issued on March 5, 2019, by the
                                           comment and a delayed effective date—                   temporary rule. In this regard, the                    Treasury Department and the IRS (the
                                           could embolden some taxpayers to                        temporary regulations have a fixed                     ‘‘Statement’’). The Statement
                                           engage in aggressive tax planning to take               expiration date and are cross-referenced               emphasized the Treasury Department
                                           advantage of the unintended                             in a notice of proposed rulemaking                     and the IRS’s obligation under the APA
                                           interactions among the Act’s provisions,                published in the Proposed Rules section                to issue interim final regulations
                                           with the comfort that their actions were                of this issue of the Federal Register.                 without prior notice and comment only
                                           not subject to the rules of the temporary               Comments are requested on all aspects                  in conjunction with ‘‘a statement of
                                           regulations during the period of notice                 of these rules, and specific comment                   good cause explaining the basis for that
                                           and comment and before the                              requests contained in this preamble are                finding.’’ The Statement further
                                           regulations’ effective date. This concern               incorporated by reference into the cross-              explains that good cause for interim
                                           applies with respect to both the                        referenced notice of proposed                          final regulations may exist, for example,
                                           extraordinary disposition and                           rulemaking. The Treasury Department                    where ‘‘such regulations may be
                                           extraordinary reduction rules for an                    and the IRS will consider all written                  necessary and appropriate to stop
                                           ongoing period. For the extraordinary                   comments properly and timely                           abusive practices or to immediately
                                           reduction rules, both the extraordinary                 submitted when finalizing these                        resolve an injurious inconsistency
                                           reduction and the associated use of                     temporary regulations.                                 between existing regulations and a new
                                                                                                      Finally, these temporary regulations
                                           section 245A can occur at any time                                                                             statute or judicial decision.’’ As the
                                                                                                   are part of an effort to implement the
                                           going forward, and although the gap                                                                            discussion in this Part VI illustrates, this
                                                                                                   provisions of the Act, which effected
                                           period for entering into extraordinary                                                                         is the case with respect to these
                                                                                                   sweeping and complex statutory
                                           dispositions has closed, the ability to                                                                        temporary regulations.
                                                                                                   changes to the international tax regime.
                                           utilize the section 245A deduction for                  In conjunction with developing and                     Special Analyses
                                           earnings generated in the extraordinary                 issuing these temporary regulations, the
                                           disposition would apply indefinitely                                                                           I. Regulatory Planning and Review—
                                                                                                   Treasury Department and the IRS have                   Economic Analysis
                                           absent these temporary regulations.                     also been tasked with issuing
                                              For example, a taxpayer who became                   regulations implementing the numerous                     Executive Orders 13563 and 12866
                                           aware of the tax effects achievable using               provisions enacted or modified by the                  direct agencies to assess costs and
                                           the transactions described in these                     Act, along with attendant changes to                   benefits of available regulatory
                                           temporary regulations could, with                       forms and other sub-regulatory guidance                alternatives and, if regulation is
                                           confidence, utilize extraordinary                       and attention to the orderly                           necessary, to select regulatory
                                           disposition E&P or engage in an                         administration of the U.S. tax system.                 approaches that maximize net benefits
                                           extraordinary reduction to exit the U.S.                   Good cause exists for the issuance of               (including potential economic,
                                           taxing jurisdiction without paying any                  temporary regulations relating to the                  environmental, public health and safety
                                           tax during a period of notice and                       transactions affected by these temporary               effects, distributive impacts, and
                                           comment and delayed effectiveness. The                  regulations partially because of the                   equity). Executive Order 13563
                                           proliferation of these types of                         statutory deadline in section 7805(b)(2),              emphasizes the importance of
                                           transactions would cause the                            which provides (among other rules) that                quantifying both costs and benefits, of
                                           regulations to exacerbate the very                      a regulation may be applied                            reducing costs, of harmonizing rules,
                                           financial manipulation that they are                    retroactively if it is issued within 18                and of promoting flexibility.
                                           intended to prevent, and accordingly,                   months of the date of enactment of the                    These temporary regulations have
                                           this rationale supports a finding of good               statutory provision to which it relates.               been designated by the Office of
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                                           cause for dispensing with pre-                          The rules in these temporary regulations               Management and Budget’s Office of
                                           promulgation notice and public                          relate to sections 245A, 951A, and 965,                Information and Regulatory Affairs
                                           comment, as well as foregoing a delayed                 which were enacted as part of the Act                  (OIRA) as subject to review under
                                           effective date, for these temporary                     on December 22, 2017. Thus, to qualify                 Executive Order 12866 pursuant to the
                                           regulations pursuant to 5 U.S.C. 553(b)                 for retroactivity under section                        Memorandum of Agreement (April 11,
                                           and (d).                                                7805(b)(2), a regulation retroactive to                2018) between the Treasury Department
                                                                                                                     - Add.99 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00010   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           and the Office of Management and                         taxed in the United States at the                     untaxed earnings of most U.S.
                                           Budget regarding review of tax                           corporate level. The existing rules in                shareholders as of no later than
                                           regulations. OIRA has determined that                    sections 951(a) and 959 continue to                   December 31, 2017, to U.S. tax (albeit at
                                           the proposed rulemaking is significant                   apply, meaning that generally only                    a reduced rate by reason of section
                                           and subject to review under Executive                    earnings associated with income that is               965(c)), turning all such earnings into
                                           Order 12866 and section 1(b) of the                      not taxed under the subpart F regime (or              PTEP under section 959. As a result,
                                           Memorandum of Agreement.                                 under the GILTI regime, discussed                     none of those earnings and profits are
                                           Accordingly, the proposed regulations                    below) can, upon distribution, give rise              eligible for the section 245A deduction,
                                           have been reviewed by the Office of                      to a dividend eligible for the section                and such earnings and profits, once
                                           Management and Budget.                                   245A deduction. Because subpart F (and                taxed under section 965, are instead
                                                                                                    GILTI) taxation is not reduced by                     treated in the same way as if they had
                                           A. Background
                                                                                                    distributions made during the year                    been taxed under the pre-Act subpart F
                                              The Tax Cuts and Jobs Act (the Act)                   (except in the case of certain transfers of           regime.
                                           transitioned the United States from a                    stock of a CFC during a taxable year),                   For a calendar year CFC, the
                                           primarily deferral-based international                   any distribution of earnings and profits              transition tax generally provides a
                                           tax system (subject to the immediate                     that is taxed under the subpart F regime              mechanism for ensuring that only
                                           taxation of generally mobile or passive                  (or GILTI regime) is a distribution of                earnings and profits subject to the new
                                           income under the subpart F regime) to                    PTEP (that is, a distribution of                      international tax system can qualify for
                                           a participation exemption system                         previously taxed earnings and profits)                the dividends received deduction under
                                           coupled with immediate taxation of                       that is not treated as a dividend by                  section 245A. This appears to be the
                                           certain offshore earnings (in some cases,                reason of section 959(d), and thus                    intended purpose of section 965(a), as
                                           at a reduced rate of tax).1 This transition              cannot qualify for section 245A. Section              the legislative history of the Act
                                           was effected through several                             245A applies to distributions made after              provides that ‘‘[t]he [transition tax
                                           interlocking provisions of the Code—                     December 31, 2017.                                    applies in] the last taxable year of a
                                           sections 245A, 951A, and 965. All three                    Because the pre-Act international tax
                                                                                                                                                          deferred foreign income corporation that
                                           provisions have different effective dates                regime imposed U.S. tax on most non-
                                                                                                                                                          begins before January 1, 2018, which is
                                           and thus the Act created periods in                      mobile, non-passive earnings and profits
                                                                                                                                                          that foreign corporation’s last taxable
                                           which some but not all of them apply.                    only when those earnings were
                                                                                                                                                          year before the transition to the new
                                           The new system also operates alongside                   repatriated, a significant amount of
                                                                                                                                                          corporate tax regime elsewhere in the
                                           the pre-Act subpart F regime that taxes                  untaxed earnings and profits had been
                                                                                                                                                          bill goes into effect.’’ H. Rep. 115–466
                                           certain offshore earnings using a                        accumulated offshore when the Act was
                                                                                                                                                          at 613. This is not the case, however, for
                                           longstanding rule for attributing pro rata               passed. The enactment of section 245A
                                                                                                                                                          fiscal year CFCs (i.e., CFCs with a
                                           shares of a foreign corporation’s                        by the Act thus presented a potential
                                                                                                                                                          taxable year other than the calendar
                                           earnings to its U.S. shareholders.                       windfall, allowing taxpayers who had
                                                                                                    held earnings and profits offshore to                 year) as there is a gap period with
                                           1. Background: Section 245A—                             distribute all of those earnings back to              respect to such entities during which
                                           Dividends Received Deduction                             the United States tax-free. Congress did              certain of their earnings may escape
                                              The Act included section 245A,                        not intend for section 245A to apply to               taxation.
                                           which provides a participation                           such pre-Act earnings, and thus                       3. Background: Section 951A—GILTI
                                           exemption system for repatriation of                     included a so-called transition tax                   Regime
                                           certain offshore earnings. Prior to the                  (section 965) ‘‘[t]o avoid a potential
                                           Act, dividends paid by foreign                           windfall for corporations that deferred                  By subjecting post-1986 earnings and
                                           corporations to their U.S. shareholders                  income, and to ensure that all                        profits to a transition tax, section 965
                                           were generally taxable. Section 245A(a)                  distributions from foreign subsidiaries               was generally intended to ensure that
                                           reverses this result in the case of                      are treated in the same manner under                  only earnings first subjected to the anti-
                                           corporate U.S. shareholders by                           the participation exemption system.’’ H.              base erosion provisions of the Act could
                                           providing, subject to certain exceptions,                Rep. No. 115–409 at 375.                              qualify for section 245A. While the Act
                                           a 100-percent deduction for any                                                                                preserved the existing subpart F regime,
                                                                                                    2. Background: Section 965—Transition                 legislative history shows congressional
                                           dividend received by a corporate U.S.                    Tax
                                           shareholder from a specified 10-percent                                                                        concern that the participation
                                           owned foreign corporation.2 A 100-                          Section 965 imposed a transition tax               exemption system could heighten the
                                           percent deduction for dividends                          on the post-1986 earnings and profits of              incentive to shift profits to low-taxed
                                           essentially means that this income is not                foreign corporations that had gone                    foreign jurisdictions or tax havens after
                                                                                                    untaxed under the pre-Act international               the Act. See Senate Explanation at 365.
                                              1 A deferral-based system is a system in which        tax regime and would not be subject to                For example, Congress expressed
                                           taxable foreign-source income generally is taxed         the GILTI regime because the income                   concern that a domestic corporation
                                           only when it is repatriated to the United States. A      was earned in a year prior to that regime             might allocate income susceptible to
                                           participation exemption system is one in which           being in effect. Absent section 965, such             base erosion to certain foreign affiliates
                                           foreign-source income is generally not taxed by the
                                           resident country (in this case, the United States). As   earnings and profits would have been                  ‘‘where the income could potentially be
                                           explained further below, in the United States the        eligible for tax-free distribution under              distributed back to the [domestic]
                                           participation exemption system is coupled with           section 245A. Specifically, section                   corporation with no U.S. tax imposed.’’
                                           immediate taxation of certain types of earnings to       965(a) increases certain foreign                      See id. As a result of these concerns, the
                                           avoid erosion of the U.S. tax base. These taxed
                                           foreign earnings can then be repatriated to the          corporations’ subpart F income for their              Act added another, complementary
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                                           United States without further tax.                       last taxable year beginning before                    regime to address the additional base
                                              2 A specified 10-percent owned foreign                January 1, 2018, by the amount of their               erosion incentives engendered by the
                                           corporation is any foreign corporation, other than       non-previously taxed earnings and                     participation exemption. This regime
                                           a passive foreign investment corporation with
                                           respect to a shareholder that is not also a CFC, with
                                                                                                    profits computed as of no later than                  taxes a U.S. shareholder on its global
                                           at least one corporate U.S. shareholder. Section         December 31, 2017. This has the effect                intangible low-taxed income, or GILTI,
                                           245A(b).                                                 of subjecting all offshore post-1986                  with respect to its CFCs at a reduced
                                                                                                                     - Add.100 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00011   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           rate (by reason of section 250) under                   stock of a calendar year CFC throughout                all such earnings and profits under
                                           new section 951A.                                       the CFC’s entire taxable year. Deviations              section 965 immediately before section
                                              Section 951A(a) generally subjects a                 from that condition, however,                          245A applies) and (2) without allowing
                                           U.S. shareholder to current taxation                    potentially allow taxpayers to avoid tax               a section 245A deduction for income
                                           each year on its GILTI with respect to                  by claiming a section 245A deduction in                susceptible to a heightened risk of base
                                           its CFCs. The GILTI of a U.S.                           situations where otherwise identical                   erosion. As a result of these provisions,
                                           shareholder is generally defined as its                 income would be subject to U.S. tax.                   only post-2017 earnings and profits that
                                           pro rata share of its CFCs’ taxable                     This circumstance is inconsistent with                 are not subject to the subpart F or GILTI
                                           income for the year in excess of a                      the purposes of the new international                  regimes can qualify for a dividends
                                           normal return—a formulaic amount                        tax regime enacted by Congress.3 These                 received deduction under section 245A
                                           equal to 10 percent of the tax basis of                 temporary regulations are needed to                    upon distribution from a calendar year
                                           the CFCs’ tangible assets. See section                  limit section 245A to its intended scope               CFC. Such earnings and profits are
                                           951A(b), (c), (d). For purposes of this                 and, thereby, prevent the provision from               generally the normal return on a CFC’s
                                           determination, specific types of income                 converting income that should be                       property (i.e., 10 percent of tax basis in
                                           of a CFC, including income taxed under                  subject to U.S. tax into non-taxable                   tangible property), certain immobile
                                           another Code provision (including the                   dividends.                                             income, or certain highly-taxed income
                                           subpart F regime), certain immobile                        There are two situations in which                   that Congress believed would not raise
                                           income, or certain highly taxed income,                 deviations from the condition described                windfall or base erosion concerns.
                                           are not taken into account. See Senate                  in this section can give rise to these                    By contrast, the provisions that apply
                                           Explanation at 366 (explaining that such                results. These are where (1) a U.S.
                                                                                                                                                          harmoniously to a calendar year CFC
                                           income is either already taxed or does                  corporation is the shareholder of a fiscal
                                                                                                                                                          fail to form a cohesive regime when
                                           not present base erosion concerns). The                 year CFC during 2018 and (2) a CFC
                                                                                                                                                          applied to a fiscal year CFC for its first
                                           GILTI regime applies in the first taxable               pays a dividend and experiences a
                                                                                                                                                          taxable year that ends in 2018. Consider
                                           year of a CFC beginning after December                  direct or indirect change in ownership
                                                                                                                                                          a CFC with a taxable year ending
                                           31, 2017. Thus, in the case of calendar                 during a taxable year.
                                                                                                      The differing application of the GILTI              November 30. This CFC’s income is still
                                           year CFCs, the application of the GILTI
                                                                                                   regime with respect to fiscal year and                 subject to the subpart F regime for all
                                           regime generally must be taken into
                                                                                                   calendar year CFCs creates one scenario                relevant taxable years. Section 965 also
                                           account with respect to all new earnings
                                                                                                   where the interaction of section 245A                  applies to the CFC’s historical earnings
                                           and profits of a CFC earned immediately
                                           after section 965 has caused all of the                 with other new international tax                       and profits as of no later than December
                                           CFC’s pre-Act earnings to be taxed. See                 provisions might be used to avoid tax.                 31, 2017, and section 245A applies to
                                           Public Law 115–97, sec. 14201(d).                       For a calendar year CFC, any earnings                  distributions made by the CFC after
                                              As is the case with respect to the                   and profits accumulated as of no later                 December 31, 2017. However, the GILTI
                                           subpart F regime, the tax base subject to               than December 31, 2017, that had not                   regime does not begin to apply to the
                                           the GILTI regime is not reduced by                      been taxed under the subpart F regime                  CFC’s income until the first taxable year
                                           distributions made by a CFC during a                    generally were taxed under section 965                 of the CFC beginning after December 31,
                                           taxable year (except in the case of                     in the CFC’s 2017 taxable year, turning                2017, and thus does not first apply until
                                           certain transfers of stock of a CFC                     such earnings and profits into PTEP.                   the CFC’s taxable year that begins on
                                           during a taxable year), and section                     Then, starting in the calendar year                    December 1, 2018. As a result of the gap
                                           951A(f)(1)(A) provides that an income                   CFC’s taxable year beginning on January                in these effective dates, (1) the ordinary
                                           inclusion under the GILTI regime is                     1, 2018, the CFC’s income became                       earnings of the CFC during the gap
                                           treated in the same manner as an                        subject to the complementary subpart F                 period avoid tax (which is a direct
                                           inclusion of subpart F income under the                 and new GILTI regimes, and any income                  outgrowth of the effective dates); and (2)
                                           subpart F regime for purposes of section                taxed under those provisions now also                  assets can be transferred between
                                           959. These rules cause a CFC’s earnings                 becomes PTEP. Concurrent with the                      related parties in non-ordinary course
                                           attributable to GILTI to be taxed under                 applicability date of the GILTI regime,                transactions during that time period in
                                           the GILTI regime in section 951A                        section 245A applies to dividends                      such a way that current and future
                                           regardless of whether those earnings                    distributed after December 31, 2017, out               earnings and profits associated with the
                                           and profits are distributed before the                  of earnings that have not been taxed                   built-in gain in those assets can
                                           end of the CFC’s year, thus converting                  under the subpart F and GILTI regimes.                 permanently avoid taxation by the
                                           such earnings into PTEP and turning                     These interlocking provisions create a                 United States because they are not
                                           distributions (including those made                     cohesive regime in which the section                   subject to the GILTI regime and are not
                                           before the end of the year in which the                 245A deduction applies only for                        subject to the transition tax under
                                           earnings and profits were earned) by the                distributions of post-2017 earnings and                section 965. Such earnings and profits
                                           CFC into PTEP distributions that do not                 profits that are properly not taxed as the             might nevertheless be eligible to be
                                           constitute dividends eligible for section               subpart F income or GILTI regimes.                     distributed tax-free under section 245A.
                                           245A. Section 959(c), (d). Section                      Operating in tandem, these provisions                  Such income, however, is economically
                                           951(a)(2) also applies for purposes of                  address Congress’s concerns with                       identical to income earned by a calendar
                                           determining a U.S. shareholder’s pro                    section 245A by applying that provision                year CFC. Absent the temporary
                                           rata share of its CFCs’ income and other                (1) without granting windfalls for                     regulations, similar income from CFCs
                                           relevant items for purposes of section                  taxpayers that had historically kept                   that differ only in their taxable year
                                           951A. Section 951A(e).                                  earnings and profits offshore (by taxing               would be subject to different taxation.
                                                                                                                                                          This difference between calendar year
                                           B. Need for the Temporary Regulations
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                                                                                                      3 The discussion herein assumes that the            and fiscal year CFCs is significant and
                                             Sections 245A, 965, and 951A                          transactions at issue would otherwise withstand        presents the potential for substantial tax
                                           generally act to tax foreign source                     scrutiny under section 7701(o) (i.e., the economic     avoidance when utilized to artificially
                                                                                                   substance doctrine) and related judicial doctrines.
                                           income equivalently across taxpayers                    Taxpayers should draw no inferences from this
                                                                                                                                                          generate earnings and profits in non-
                                           and sources so long as a U.S.                           assumption, however, as the IRS may challenge          ordinary course transactions between
                                           shareholder owns the same amount of                     such transactions on these and other grounds.          related parties.
                                                                                                                     - Add.101 -
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                                              These temporary regulations refer to                    In contrast to the first issue, this                dividend to another CFC, instead of
                                           the portion of a dividend attributable to               second issue implicates the interlocking               directly to a U.S. shareholder.
                                           earnings and profits arising from such a                provisions of the international tax
                                                                                                                                                          C. Overview of the Temporary
                                           transaction during this period as an                    regime on an ongoing basis. As
                                                                                                                                                          Regulations
                                           ‘‘extraordinary disposition amount.’’ An                described in Part II.C of the Explanation
                                           extraordinary disposition amount                        of Provisions section of this preamble,                   The Treasury Department and the IRS
                                           consists of certain earnings and profits                section 245A could facilitate the                      have determined that it is appropriate to
                                           resulting from transactions between                     avoidance of the subpart F and GILTI                   limit the section 245A deduction to
                                           related parties during the disqualified                 regimes by allowing a U.S. shareholder                 distributions of earnings and profits that
                                           period. See the Explanation of                          to transfer, before the end of a CFC’s                 are attributable to certain normal return,
                                           Provisions section of this preamble for                 taxable year, stock of the CFC to a new                high-taxed, or immobile income, which
                                           definitions of all relevant terms and                   shareholder who will not be taxed on                   will ensure that similar income is taxed
                                           conditions. Although the period during                  the CFC’s subpart F income or tested                   similarly. The temporary regulations do
                                           which extraordinary dispositions may                    income. As a consequence of the repeal                 not permit section 245A deductions for
                                           have occurred has passed, the                           of section 958(b)(4), this new                         the portions of dividends made by CFCs
                                           regulations will potentially apply to any               shareholder might be a foreign person                  that are attributable to ineligible
                                           distributions of the associated earnings                who is not taxable with respect to the                 amounts, which comprise extraordinary
                                           and profits after 2017.                                 CFC’s subpart F income or tested                       reduction amounts and 50percent of any
                                              The second issue occurs because the                  income. Alternatively, the new                         extraordinary disposition amounts.
                                           application of the allocation rules under               shareholder may not be taxable with                       To accomplish this, the temporary
                                           sections 951(a) and 951A (which                         respect to these amounts as a result of                regulations disallow a deduction for
                                           determine a U.S. shareholder’s pro rata                 the dividend offset rule of section                    transactions that have the effect of
                                           share of a CFC’s subpart F income or                    951(a)(2)(B), notwithstanding the fact                 avoiding tax under section 951, 951A, or
                                           tested income for GILTI purposes)                       that if the prior owner of the stock is a              965. The extraordinary disposition rules
                                           together with section 245A creates                      corporate U.S. shareholder, the section                accomplish this by denying the
                                           situations in which earnings and profits                245A deduction may apply to dividends                  deduction under section 245A for a
                                           may not be properly subject to the new                  received by such prior owner. In these                 narrowly and objectively defined class
                                           international tax regime that Congress                  cases, current year subpart F income                   of earnings and profits generated by
                                           enacted to prevent the inappropriate                    and GILTI could escape taxation                        transactions undertaken in the
                                           application of the section 245A                         altogether, a result that would                        disqualified period in circumstances
                                           deduction. For example, this situation                  undermine the post-Act system for                      that raise abuse concerns. The
                                           may arise because of the ‘‘dividend                     taxing foreign earnings. These                         extraordinary reduction rules
                                           offset’’ rule in section 951(a)(2)(B),                  temporary regulations refer to earnings                accomplish this by denying the
                                           which, subject to certain limitations,                  and profits representing the portion of a              deduction under section 245A for
                                           reduces a U.S. shareholder’s pro rata                   dividend of a CFC attributable to                      certain earnings distributed in the same
                                           share of subpart F income or tested                     subpart F income or tested income of                   year as reductions in ownership of CFC
                                           income for dividends paid to another                    the CFC that, absent a transfer of stock               stock by a controlling section 245A
                                           owner of the same stock of the CFC                      of the CFC pursuant to an extraordinary                shareholder. The temporary regulations
                                           during the taxable year (such reduction                 reduction, would have been subject to                  contain similar rules with respect to
                                           being a rough approximation of the                      the subpart F or GILTI regimes as an                   section 954(c)(6).
                                           portion of subpart F income and tested                  ‘‘extraordinary reduction amount.’’ An                 D. Economic Analysis of the Temporary
                                           income for the year that is properly                    extraordinary reduction amount consists                Regulations
                                           attributable to the other owner).                       of certain earnings and profits generated
                                              In order to illustrate this concern,                 during a CFC’s taxable year beginning                  1. Baseline
                                           consider the following example. A                       after 2017 in which a domestic                           The Treasury Department and the IRS
                                           corporate U.S. shareholder generally is                 corporate U.S. shareholder reduces its                 have assessed the benefits and costs of
                                           taxed with respect to a CFC’s subpart F                 ownership of the CFC by certain                        the temporary regulations relative to a
                                           income as of the end of the CFC’s                       threshold amounts (e.g., a decrease in                 no-action baseline reflecting anticipated
                                           taxable year. Suppose, however, that the                ownership of more than 10 percent). For                Federal income tax-related behavior in
                                           U.S. shareholder received a dividend                    this purpose, ‘‘certain earnings and                   the absence of these temporary
                                           from the CFC in an amount equal to its                  profits’’ refers to income generally                   regulations.
                                           subpart F income and thereafter                         subject to inclusion under the subpart F
                                           transferred ownership of the CFC to a                   or GILTI regimes. See the Explanation of               2. Summary of Economic Effects
                                           new U.S. shareholder shortly before the                 Provisions section of this preamble for                   To assess the economic effects of
                                           end of the CFC’s taxable year. If a                     definitions of all relevant terms and                  these regulations, the Treasury
                                           section 245A deduction applied to the                   conditions.                                            Department and the IRS considered the
                                           dividend, the corporate U.S.                               Results similar to the ones described               economic effects of disallowing the
                                           shareholder would not be taxed on the                   in this section for extraordinary                      245A deduction for (i) extraordinary
                                           distribution. Furthermore, the second                   disposition amounts and extraordinary                  disposition amounts and (ii)
                                           U.S. shareholder’s subpart F inclusion                  reduction amounts can be achieved                      extraordinary reduction amounts.
                                           for the CFC’s taxable year may be                       using the exemption from subpart F                        The disallowance of the dividends
                                           reduced to approximately zero as a                      income under section 954(c)(6) and                     received deduction for extraordinary
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                                           result of the dividend offset rule. As a                lower-tier CFC dividends to upper-tier                 disposition amounts applies, in plain
                                           consequence, absent the application of                  CFCs. Accordingly, the temporary                       language, only to earnings and profits
                                           these temporary regulations, income                     regulations limit the application of the               accrued prior to issuance of the
                                           that should have been subject to U.S.                   section 954(c)(6) exception in order to                temporary regulations. Thus, no
                                           taxation under the subpart F regime                     prevent similar results in circumstances               substantive economic activities can be
                                           could escape taxation altogether.                       in which a lower-tier CFC pays a                       affected by this disallowance and the
                                                                                                                     - Add.102 -
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                                           economic decisions affected are only                    as if the transfer had not occurred. Thus,              quantify these economic effects, part
                                           those associated with taxpayers’                        the temporary regulations should not                    I.D.3 of these Special Analyses explains
                                           financing of their tax liability.                       discourage economically-motivated                       the rationale behind the provisions of
                                              The Treasury Department and the                      transfers of CFCs. If anything, the                     these temporary regulations and
                                           IRS’s analysis therefore focuses on those               temporary regulations will discourage                   provides a qualitative assessment of the
                                           provisions of the temporary regulations                 transfers of CFCs that would not have                   alternatives considered.
                                           that disallow the dividends received                    occurred absent the tax results the                        The Treasury Department and the IRS
                                           deduction for extraordinary reduction                   temporary regulations seek to prevent.                  solicit comments on this assessment of
                                           amounts. Absent the temporary                           These transfers, which would be                         the economic effects of the temporary
                                           regulations, U.S. taxation of income of                 motivated by tax avoidance, likely                      regulations.
                                           a CFC that would otherwise be subject                   would not be economically productive.
                                           to the subpart F or GILTI regime could                     The temporary regulations will                       3. Analysis of Specific Provisions
                                           be avoided by a transfer of ownership of                require taxpayers to compute, track, and                i. Ordering of Distributions of Earnings
                                           the CFC to other entities in such a way                 report information relevant for                         and Profits With Respect to
                                           that the income of the CFC would not                    determination of extraordinary                          Extraordinary Disposition Amounts
                                           be subject to U.S. tax. Thus, the                       dispositions and extraordinary
                                           economic effects stem from those                        reductions. The compliance burden                       a. Background and Alternatives
                                           transfers that would give rise to an                    component of the Treasury Department                    Considered
                                           extraordinary reduction amount (‘‘ER                    and the IRS’s estimate of the economic                     Any transaction that gave rise to an
                                           transfers’’) and that would not be                      effects of the temporary regulations                    extraordinary disposition has already
                                           undertaken as a result of the temporary                 reflects only those record-keeping and                  taken place because the disqualified
                                           regulations. The Treasury Department                    related compliance activities that would                period has closed for all taxpayers.
                                           and the IRS project that a substantial                  not have been undertaken in the                         Thus, the temporary regulations should
                                           portion of these ER transfers would have                absence of the temporary regulations.                   have no economic effect with respect to
                                           been undertaken for tax avoidance                       The Treasury Department and the IRS                     these transactions. Nevertheless, the
                                           purposes only and would have negative                   project that these additional costs,                    denial of a section 245A deduction with
                                           effects on economic performance (giving                 relative to the baseline, will be modest.               respect to the related extraordinary
                                           rise to a positive economic effect from                 In general, with respect to the initial                 disposition E&P may in some cases lead
                                           the temporary regulations) but that                     year of an extraordinary disposition or                 CFCs to retain earnings rather than
                                           those effects would be minor because                    any extraordinary reduction, taxpayers                  distribute them in order to defer the
                                           the transfers would take place among                    are already required to keep track of the               associated U.S. tax. The undistributed
                                           related parties and over short time                     required information for other purposes.                earnings in this case may lead to a so-
                                           frames. Thus, there would be only                       For example, to the extent that a U.S.                  called ‘‘lockout effect’’ pursuant to
                                           negligible losses in economic                           taxpayer sells stock in its CFC, earns                  which some portion of the offshore
                                           performance due to inefficient changes                  income in its CFC, or receives a                        capital remains in less productive
                                           in management, risk-bearing, or other                   dividend from a CFC, the taxpayer                       ventures than would otherwise be the
                                           economic activity. Instead, the primary                 would otherwise record the information                  case had the earnings and profits been
                                           economic losses due to these transfers                  needed to determine eligibility for the                 eligible for a section 245A deduction.
                                           (and thus gains from the temporary                      section 245A deduction under the
                                           regulations) are likely to consist of                                                                              The temporary regulations address
                                                                                                   temporary regulations. Additionally,                    this potential concern by providing an
                                           resources that would be expended in                     once calculated the costs to track
                                           carrying out such tax planning                                                                                  ordering rule such that extraordinary
                                                                                                   amounts related to extraordinary                        distribution E&P generally are the last
                                           activities. The Treasury Department and                 dispositions in future years are expected
                                           the IRS project that these saved resource                                                                       earnings and profits deemed distributed
                                                                                                   to be minimal. For all of these reasons,                by a CFC. As a result, CFCs generally
                                           costs would be small.                                   the Treasury Department and the IRS
                                              The Treasury Department and the IRS                                                                          may distribute all other earnings and
                                                                                                   expect the non-revenue economic                         profits that are eligible for a section
                                           considered that at least some ER                        effects of these temporary regulations to
                                           transfers that would not be pursued as                                                                          245A deduction before extraordinary
                                                                                                   be small.4                                              disposition E&P for which a section
                                           a result of the temporary regulations                      The Treasury Department and the IRS
                                           would have provided positive economic                                                                           245A deduction is not allowed. This
                                                                                                   have not undertaken a quantitative
                                           benefits, such as through more efficient                                                                        rule will generally minimize the capital
                                                                                                   estimate of the economic benefits
                                           risk-bearing or other managerial control                                                                        allocation inefficiencies stemming from
                                                                                                   arising from avoided transactions that
                                           benefits. The Treasury Department and                                                                           a potential lockout effect by deferring
                                                                                                   constitute extraordinary reductions.
                                           the IRS project that the aggregate value                                                                        the application of the temporary
                                                                                                   Any such estimates would be highly
                                           of these foregone benefits will be                                                                              regulations to the latest extent possible.
                                                                                                   uncertain because these tax provisions
                                           minimal because the transfers for which                                                                         Moreover, the Treasury Department and
                                                                                                   are new and because the transfers would
                                           a deduction is disallowed and that are                                                                          the IRS expect that the extraordinary
                                                                                                   be between related parties and primarily
                                           likely not to be undertaken as a result                                                                         disposition E&P will not often be
                                                                                                   of short duration, both of which factors
                                           of the temporary regulations are not                                                                            associated with liquid assets, such as
                                                                                                   make estimation difficult. The tax
                                           generally associated with productive                                                                            cash. An extraordinary disposition
                                                                                                   planning costs of effecting these
                                           economic activities. In this regard, the                                                                        requires a non-ordinary course
                                                                                                   transfers are also highly uncertain
                                           Treasury Department and the IRS expect                                                                          transaction among related parties. The
                                                                                                   because these specific tax planning
                                           that economically-motivated transfers of                                                                        Treasury Department and the IRS are
                                                                                                   efforts are new.
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                                           CFCs should not be inhibited by the                                                                             aware that transactions giving rise to an
                                                                                                      While it is not currently feasible for
                                           temporary regulations because the                                                                               extraordinary disposition typically
                                                                                                   the Treasury Department and the IRS to
                                           temporary regulations, taking into                                                                              involve the issuance of related party
                                           account the election to close a CFC’s                     4 This claim refers solely to the economic benefit    debt or stock. These instruments are not
                                           taxable year, often will result in the                  arising from this provision and does not refer to any   the sort of assets that implicate lockout
                                           same or similar tax liability to a seller               estimate of the tax revenue effects of the provision.   effect concerns because they would
                                                                                                                     - Add.103 -
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                                           rarely be used as consideration for                     ii. Definition of Extraordinary Reduction              there are approximately 15,000
                                           making a payment to a third party.                      a. Background and Alternatives                         domestic corporations with CFCs. The
                                              The Treasury Department and the IRS                  Considered                                             Treasury Department and the IRS
                                           considered as an alternative not                                                                               project that the actual number of
                                                                                                      The temporary regulations limit the                 affected taxpayers is likely much
                                           providing an ordering rule. For the                     amount of the 245A deduction
                                           reasons mentioned above, this                                                                                  smaller than the number of domestic
                                                                                                   whenever there is an ‘‘extraordinary                   corporations with CFCs, given that the
                                           alternative was not adopted. In                         reduction.’’ The temporary regulations                 controlling U.S. shareholder must
                                           particular, the lack of an ordering rule                generally define an extraordinary                      engage in a sale of stock of a CFC in a
                                           would have inhibited taxpayers from                     reduction, subject to certain conditions,              year in which the CFC pays a dividend
                                           accessing future offshore earnings that                 as when either the controlling section                 in order for the temporary regulations to
                                           had been appropriately subject to tax                   245A shareholder transfers more than                   apply.
                                           under Act, which would have frustrated                  10 percent of its stock of the CFC or
                                           the congressional purpose underlying                    there is a greater than 10 percent change              iii. Election To Avoid Taxable Dividend
                                           the participation exemption. By                         in the controlling section 245A                        by Closing the CFC’s Taxable Year
                                           essentially reviving the lockout effect                 shareholder’s overall ownership of the                 a. Background and Alternatives
                                           that had motivated certain international                CFC.                                                   Considered
                                           aspects of the Act, this alternative                       The Treasury Department and the IRS,
                                           approach may have trapped capital in                    in defining an extraordinary reduction,                   The Treasury Department and the IRS
                                                                                                   considered other percentage thresholds.                provide taxpayers with an election to
                                           suboptimal offshore uses.
                                                                                                                                                          avoid having a taxable dividend with
                                                                                                   They expect that the ownership change
                                           b. Affected Taxpayers                                                                                          respect to an extraordinary reduction
                                                                                                   threshold provides an effective balance
                                                                                                                                                          amount by closing the taxable year of
                                              The taxpayers potentially affected by                of compliance costs for taxpayers,
                                                                                                                                                          the CFC for all purposes of the Code on
                                           this aspect of the temporary regulations                effective administration of section 245A,
                                                                                                                                                          the date of the extraordinary reduction.
                                           are direct or indirect U.S. shareholders                and revenue considerations. The
                                                                                                                                                          Such an election would subject the
                                           of certain foreign corporations that are                Treasury Department and the IRS do not
                                                                                                                                                          earnings and profits that, absent the
                                           eligible for the section 245A deduction                 have appropriate data or models to
                                                                                                                                                          election, would give rise to an
                                           or the section 954(c)(6) exception with                 precisely compute an optimal
                                                                                                                                                          extraordinary reduction amount instead
                                           respect to distributions from the foreign               percentage threshold. The Treasury
                                                                                                                                                          to taxation under the subpart F or GILTI
                                           corporation, and the foreign corporation                Department and the IRS solicit                         regimes, and therefore, exemption under
                                           uses a fiscal year, as opposed to the                   comments on the economic and revenue                   section 245A for any remaining earnings
                                           calendar year, as its taxable year. The                 consequences of the ownership change                   is appropriate. By providing this
                                           foreign corporation must have engaged                   threshold and alternative thresholds.                  election, the Treasury Department and
                                           in a sale of property to a related party                The Treasury Department and the IRS                    the IRS allow taxpayers to choose the
                                           (1) during the period between January 1,                particularly solicit comments that                     tax treatment that would have been
                                           2018, and the end of the foreign                        provide data, models, or analysis                      imposed in the absence of the
                                           corporation’s last taxable year beginning               suitable for evaluating alternative                    interactions among provisions.
                                           before 2018, (2) outside the ordinary                   thresholds.                                               In addition to ensuring that similar
                                           course of the foreign corporation’s                     b. Affected Taxpayers                                  income is taxed similarly, this election
                                           activities, and (3) generally, while the                                                                       increases the choices available to
                                                                                                      The taxpayers potentially affected by
                                           corporation was a CFC. Additionally,                                                                           taxpayers, thus increasing flexibility
                                                                                                   this aspect of the temporary regulations
                                           the property sold must give rise to                                                                            and thereby minimizing the burden
                                                                                                   are U.S. shareholders that own directly                imposed by these regulations. To the
                                           tested income and the value of the                      or indirectly stock of a CFC that has a
                                           property sold must exceed the lesser of                                                                        extent taxpayers choose this election,
                                                                                                   controlling U.S. shareholder that owns                 tax burdens could be reduced relative to
                                           $50 million or 5 percent of the total                   50 percent or more of the stock of the
                                           value of the property of the foreign                                                                           tax burdens under the temporary
                                                                                                   CFC. Additionally, during the taxable                  regulations in the absence of the
                                           corporation.                                            year, the controlling U.S. shareholder                 election, because denying the section
                                              The Treasury Department and the IRS                  generally must directly or indirectly sell             245A deduction could result in higher
                                           have not estimated how many taxpayers                   stock in the CFC that exceeds 10 percent               tax (i.e., at ordinary corporate rates)
                                           are likely to be affected by these                      of the controlling U.S. shareholder’s                  than imposition of a reduced tax under
                                           regulations because data on the                         interest in the CFC and 5 percent of the               the GILTI regime. The Treasury
                                           taxpayers that may have engaged in                      total value of the stock of the CFC.                   Department and the IRS chose to allow
                                           these particular transactions is not                    Furthermore, in the year of the                        such election because if the election
                                           readily available. However, based on                    ownership reduction, the subpart F                     were not allowed, some taxpayers
                                           tabulations of the 2014 Statistics of                   income and tested income of the CFC                    would be taxed more heavily than the
                                           Income Study file the Treasury                          must exceed the lesser of $50 million or               Treasury Department and the IRS have
                                           Department and the IRS estimate that                    5 percent of the CFC’s total income for                determined is intended under the Act.
                                           there are approximately 5,000 domestic                  the year.
                                           corporations with at least one fiscal year                 The Treasury Department and the IRS                 b. Affected Taxpayers
                                           CFC. The actual number of affected                      have not estimated how many taxpayers                     The taxpayers potentially affected by
                                           taxpayers is smaller than the number of                 are likely to be affected by these                     this aspect of the temporary regulations
                                           domestic corporations with at least one                 regulations because data on the                        are described in Part I.D.3.ii.b of this
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                                           fiscal year CFC, because a domestic                     taxpayers that may have engaged or                     Special Analyses.
                                           corporation will not be affected unless                 would engage in these particular
                                           its fiscal year CFC engages in a non-                   transactions is not readily available.                 II. Paperwork Reduction Act
                                           routine sale with a related party that is               However, based on 2014 Statistics of                      The collections of information in the
                                           of sufficient magnitude that the                        Income tax data, the Treasury                          temporary regulations are in §§ 1.245A–
                                           temporary regulations to apply.                         Department and the IRS estimate that                   5T(e)(3) and 1.6038–2T(f)(16).
                                                                                                                     - Add.104 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00015   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                              The collection of information in                                      The collection of information in                               extraordinary disposition amount, or
                                           § 1.245A–5T(e)(3) is elective for a                                   § 1.6038–2T(f)(16) is mandatory for                               tiered extraordinary reduction amount
                                           domestic corporation that is a                                        every U.S. person that controls a foreign                         for the corporation’s accounting period
                                           controlling U.S. shareholder of a CFC                                 corporation that has paid a dividend for                          as Form 5471 and its instructions may
                                           receiving a dividend from the CFC and                                 which a deduction under section 245A                              prescribe. For purposes of the
                                           wants to elect to have none of the                                    was limited by an ineligible amount                               Paperwork Reduction Act, the reporting
                                           dividend considered an extraordinary                                  under § 1.245A–5T(b) or paid a                                    burden associated with § 1.6038–
                                           reduction amount by closing the CFC’s                                 dividend for which the section 954(c)(6)                          2T(f)(16) will be reflected in the
                                           tax year. The collection of information                               exception was limited by a tiered                                 applicable Paperwork Reduction Act
                                           is satisfied by timely filing of the                                  extraordinary disposition amount or
                                                                                                                                                                                   submission, associated with Form 5471.
                                           ‘‘Elective Section 245A Year-Closing                                  tiered extraordinary reduction amount
                                                                                                                                                                                   As provided below, the estimated
                                           Statement’’ with the domestic                                         under § 1.245A–5T(d) and (f),
                                           corporation’s original Form 1120, U.S.                                respectively, during an annual                                    number of respondents for the reporting
                                           Corporation Income Tax Return, for the                                accounting period and files Form 5471                             burden associated with § 1.6038–
                                           taxable year in which the dividend is                                 for that period (OMB control number                               2T(f)(16) is 12,000–18,000, based on
                                           received. For purposes of the Paperwork                               1545–0123 in the case of business                                 estimates provided by the Research,
                                           Reduction Act, the reporting burden                                   taxpayers, formerly, OMB control                                  Applied Analytics and Statistics
                                           associated with § 1.245A–5T will be                                   number 1545–0704). The collection of                              Division of the IRS.
                                           reflected in the Paperwork Reduction                                  information in § 1.6038–2T(f)(16) is                                 The related new or revised tax form
                                           Act submission associated with Form                                   satisfied by providing information about                          is as follows:
                                           1120 (OMB control no. 1545–0123).                                     the ineligible amount, tiered

                                                                                                                                                                                                                        Number of
                                                                                                                                                                                                     Revision of
                                                                                                                                                                                     New                               respondents
                                                                                                                                                                                                    existing form       (estimate)

                                           Schedule to Form 5471 ...............................................................................................................                         ✓            12,000–18,000



                                             The current status of the Paperwork                                 imposed by the temporary regulations.                             available. The Treasury Department and
                                           Reduction Act submissions related to                                  The Treasury Department and the IRS                               the IRS have not identified any burden
                                           the new revised Form 5471 as a result                                 urge readers to recognize that these                              estimates, including those for new
                                           of the information collections in the                                 numbers are duplicates of estimates                               information collections, related to the
                                           temporary regulations is provided in the                              provided for informational purposes in                            requirements under the temporary
                                           accompanying table. The reporting                                     other proposed and final regulatory                               regulations. Those estimates would
                                           burdens associated with the information                               actions and to guard against over-                                capture both changes made by the Act
                                           collections in §§ 1.245A–5T–(e)(3) and                                counting the burden that international                            and those that arise out of discretionary
                                           1.6038–2T(f)(16) are included in the                                  tax provisions imposed prior to the Act.                          authority exercised in the temporary
                                           aggregated burden estimates for OMB                                     In September 2018, the IRS released                             regulations. The Treasury Department
                                           control number 1545–0123, which                                       and invited comment on drafts of new
                                                                                                                                                                                   and the IRS request comments on all
                                           represents a total estimated burden time                              revised Form 5471 in order to give
                                                                                                                                                                                   aspects of information collection
                                           for all forms and schedules for                                       members of the public the opportunity
                                                                                                                                                                                   burdens related to the temporary
                                           corporations of 3.157 billion hours and                               to benefit from certain specific
                                           total estimated monetized costs of                                    provisions made to the Code. The IRS                              regulations, including estimates for how
                                           $58.148 billion ($2017). The overall                                  received no comments on the draft                                 much time it would take to comply with
                                           burden estimates provided in 1545–                                    revised Form 5471 on the portions of                              the paperwork burdens described above
                                           0123 are aggregate amounts that relate to                             the form that relate to section 245A                              for each relevant form and ways for the
                                           the entire package of forms associated                                during the comment period.                                        IRS to minimize the paperwork burden.
                                           with the OMB control number and will                                  Consequently, the IRS made the form                               Proposed revisions to these forms that
                                           in the future include but not isolate the                             available in December 2018 for use by                             reflect the information collections
                                           estimated burden of the tax forms that                                the public. The IRS is contemplating                              contained in these temporary
                                           will be revised as a result of the                                    making additional changes to Form                                 regulations will be made available for
                                           information collections in the proposed                               5471 to implement these temporary                                 public comment at www.irs.gov/
                                           regulations. These numbers are                                        regulations.                                                      draftforms and will not be finalized
                                           therefore unrelated to the future                                       No burden estimates specific to the                             until after approved by OMB under the
                                           calculations needed to assess the burden                              temporary regulations are currently                               PRA.

                                                         Information                                    Type of filer                       OMB No.(s)                                          Status
                                                          collection

                                           Form 5471 ...............................      Business (NEW Model) ..........                      1545–0123          Approved by OMB on 12/21/2018.

                                                                                          Link: https://www.federalregister.gov/documents/2018/12/21/2018-27735/agency-information-collection-activities-
                                                                                          submission-for-omb-review-comment-request-multiple-irs.
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                                           III. Unfunded Mandates Reform Act                                     that agencies assess anticipated costs                            includes any Federal mandate that may
                                                                                                                 and benefits and take certain other                               result in expenditures in any one year
                                            Section 202 of the Unfunded                                          actions before issuing a final rule that                          by a state, local, or tribal government, in
                                           Mandates Reform Act of 1995 requires
                                                                                                                                    - Add.105 -
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                                           the aggregate, or by the private sector, of             § 1.245A–5T Limitation of section 245A                 disposition amount means the portion
                                           $100 million in 1995 dollars, updated                   deduction and section 954(c)(6) exception              of a dividend received by a section
                                           annually for inflation. In 2019, that                   (temporary).                                           245A shareholder from an SFC that is
                                           threshold is approximately $154                            (a) Overview. This section provides                 paid out of the extraordinary disposition
                                           million. These temporary regulations do                 rules that limit a deduction under                     account with respect to the section
                                           not include any Federal mandate that                    section 245A(a) to the portion of a                    245A shareholder. See paragraph (j)(2)
                                           may result in expenditures by state,                    dividend that exceeds the ineligible                   of this section for an example
                                           local, or tribal governments, or by the                 amount of such dividend or the                         illustrating the application of this
                                           private sector in excess of that                        applicability of section 954(c)(6) when a              paragraph (c).
                                           threshold.                                              portion of a dividend is paid out of an                   (2) Determination of portion of
                                                                                                   extraordinary disposition account or                   dividend paid out of extraordinary
                                           IV. Executive Order 13132: Federalism                   when an extraordinary reduction                        disposition account—(i) In general. For
                                              Executive Order 13132 (entitled                      occurs. Paragraph (b) of this section                  purposes of determining the portion of
                                           ‘‘Federalism’’) prohibits an agency from                provides rules regarding ineligible                    a dividend received by a section 245A
                                           publishing any rule that has federalism                 amounts. Paragraph (c) of this section                 shareholder from an SFC that is paid out
                                           implications if the rule either imposes                 provides rules for determining ineligible              of the extraordinary disposition account
                                           substantial, direct compliance costs on                 amounts attributable to an extraordinary               with respect to the section 245A
                                           state and local governments, and is not                 disposition. Paragraph (d) of this section             shareholder, the following rules apply—
                                           required by statute, or preempts state                  provides rules that limit the application                 (A) The dividend is first considered
                                           law, unless the agency meets the                        of section 954(c)(6) when one or more                  paid out of non-extraordinary
                                           consultation and funding requirements                   section 245A shareholders of a lower-                  disposition E&P with respect to the
                                           of section 6 of the Executive Order.                    tier CFC have an extraordinary                         section 245A shareholder; and
                                           These temporary regulations do not                      disposition account. Paragraph (e) of                     (B) The dividend is next considered
                                           have federalism implications and do not                 this section provides rules for                        paid out of the extraordinary disposition
                                           impose substantial direct compliance                    determining ineligible amounts                         account to the extent of the section
                                           costs on state and local governments or                 attributable to an extraordinary                       245A shareholder’s extraordinary
                                           preempt state law within the meaning of                 reduction. Paragraph (f) of this section               disposition account balance.
                                           the Executive Order.                                    provides rules that limit the application                 (ii) Definition of non-extraordinary
                                                                                                   of section 954(c)(6) when a lower-tier                 disposition E&P. The term non-
                                           Drafting Information                                    CFC has an extraordinary reduction                     extraordinary disposition E&P means,
                                              The principal author of the temporary                amount. Paragraph (g) of this section                  with respect to a section 245A
                                           regulations is Logan M. Kincheloe,                      provides special rules for purposes of                 shareholder and an SFC, an amount of
                                           Office of Associate Chief Counsel                       applying this section. Paragraph (h) of                earnings and profits of the SFC equal to
                                           (International). However, other                         this section provides an anti-abuse rule.              the excess, if any, of—
                                           personnel from the Treasury                             Paragraph (i) of this section provides                    (A) The product of—
                                           Department and the IRS participated in                  definitions. Paragraph (j) of this section                (1) The amount of the SFC’s earnings
                                           their development.                                      provides examples illustrating the                     and profits described in section
                                                                                                   application of this section. Paragraph (k)             959(c)(3), determined as of the end of
                                           List of Subjects in 26 CFR Part 1                       of this section provides the applicability             the SFC’s taxable year (for this purpose,
                                             Income taxes, Reporting and                           date of this section. Paragraph (l) of this            without regard to distributions during
                                           recordkeeping requirements.                             section provides the expiration date of                the taxable year other than as provided
                                                                                                   this section.                                          in this paragraph (c)(2)(ii)(A)(1)), but, if
                                           Amendments to the Regulations                              (b) Limitation of deduction under                   during the taxable year the SFC pays
                                             Accordingly, 26 CFR part 1 is                         section 245A—(1) In general. A section                 more than one dividend, reduced (but
                                           amended as follows:                                     245A shareholder is allowed a section                  not below zero) by the amounts of any
                                                                                                   245A deduction for any dividend                        dividends paid by the SFC earlier in the
                                           PART 1—INCOME TAXES                                     received from an SFC (provided all                     taxable year; and
                                                                                                   other applicable requirements are                         (2) The percentage of the stock (by
                                           ■ Paragraph 1. The authority citation                                                                          value) of the SFC that the section 245A
                                                                                                   satisfied) only to the extent that the
                                           for part 1 is amended by adding a                                                                              shareholder owns directly or indirectly
                                                                                                   dividend exceeds the ineligible amount
                                           sectional authority for § 1.245A–5 to                                                                          immediately after the distribution
                                                                                                   of the dividend. See paragraphs (j)(2),
                                           read in part as follows:                                                                                       (taking into account all transactions
                                                                                                   (4), and (5) of this section for examples
                                               Authority: 26 U.S.C. 7805 * * *                     illustrating the application of this                   related to the distribution); over
                                           *      *     *       *      *                           paragraph (b)(1).                                         (B) The balance of the section 245A
                                             Section 1.245A–5 also issued under 26                    (2) Definition of ineligible amount.                shareholder’s extraordinary disposition
                                           U.S.C. 245A(g), 951A(a), 954(c)(6)(A), and              The term ineligible amount means, with                 account with respect to the SFC,
                                           965(o).                                                 respect to a dividend received by a                    determined immediately before the
                                           *      *     *       *      *                           section 245A shareholder from an SFC,                  distribution.
                                           ■ Par. 2. Reserved sections 1.245A–1                    an amount equal to the sum of—                            (3) Definitions with respect to
                                           through 4 and § 1.245A–5T are added to                     (i) 50 percent of the extraordinary                 extraordinary disposition accounts—(i)
                                           read as follows:                                        disposition amount (as determined                      Extraordinary disposition account—(A)
                                                                                                   under paragraph (c) of this section), and              In general. The term extraordinary
                                           Sec.                                                       (ii) The extraordinary reduction                    disposition account means, with respect
                                           1.245A–1 [Reserved].
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                                                                                                   amount (as determined under paragraph                  to a section 245A shareholder of an SFC,
                                           1.245A–2 [Reserved].
                                           1.245A–3 [Reserved].                                    (e) of this section).                                  an account the balance of which is equal
                                           1.245A–4 [Reserved].                                       (c) Rules for determining                           to the product of the extraordinary
                                           1.245A–5T Limitation of section 245A                    extraordinary disposition amount—(1)                   disposition ownership percentage and
                                                deduction and section 954(c)(6)                    Definition of extraordinary disposition                the extraordinary disposition E&P,
                                                exception (temporary).                             amount. The term extraordinary                         reduced (but not below zero) by the
                                                                                                                     - Add.106 -
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                                           prior extraordinary disposition amount,                    (ii) The portion of a prior dividend (to            paragraph (c)(3)(ii)(E) of this section, the
                                           and adjusted under paragraph (c)(4) of                  the extent not a tiered extraordinary                  term extraordinary disposition means,
                                           this section, as applicable.                            disposition amount by reason of                        with respect to an SFC, any disposition
                                              (B) Extraordinary disposition                        paragraph (d) of this section) received                of specified property by the SFC on a
                                           ownership percentage. The term                          by an upper-tier CFC from the SFC that                 date on which it was a CFC and during
                                           extraordinary disposition ownership                     by reason of section 245A(e) was                       the SFC’s disqualified period to a
                                           percentage means the percentage of                      included in the upper-tier CFC’s foreign               related party if the disposition occurs
                                           stock (by value) of a SFC that a section                personal holding company income and                    outside of the ordinary course of the
                                           245A shareholder owns directly or                       was included in gross income by the                    SFC’s activities. An extraordinary
                                           indirectly at the beginning of the                      section 245A shareholder under section                 disposition also includes a disposition
                                           disqualified period or, if later, on the                951(a) but would have been a tiered                    during the disqualified period on a date
                                           first day during the disqualified period                extraordinary disposition amount by                    on which the SFC is not a CFC if there
                                           on which the SFC is a CFC, regardless                   reason of paragraph (d) of this section                is a plan, agreement, or understanding
                                           of whether the section 245A shareholder                 had paragraph (d) applied to the                       involving a section 245A shareholder to
                                           owns directly or indirectly such stock of               dividend;                                              cause the SFC to recognize gain that
                                           the SFC on the date of an extraordinary                    (iii) If a prior dividend received by an            would give rise to an extraordinary
                                           disposition giving rise to extraordinary                upper-tier CFC from a lower-tier CFC                   disposition if the SFC were a CFC.
                                           disposition E&P; if not, see paragraph                  gives rise to a tiered extraordinary                      (B) Facts and circumstances. A
                                           (c)(4) of this section.                                 disposition amount with respect to the                 determination as to whether a
                                              (C) Extraordinary disposition E&P.                   section 245A shareholder by reason of                  disposition is undertaken outside of the
                                           The term extraordinary disposition E&P                  paragraph (d) of this section, the                     ordinary course of an SFC’s activities is
                                           means an amount of earnings and                         qualified portion.                                     made on the basis of facts and
                                           profits of an SFC equal the sum of the                     (2) Definition of qualified portion—(i)             circumstances, taking into account
                                           net gain recognized by the SFC with                     In general. The term qualified portion                 whether the transaction is consistent
                                           respect to specified property in each                   means, with respect to a tiered                        with the SFC’s past activities, including
                                           extraordinary disposition. In the case of               extraordinary disposition amount of a                  with respect to quantity and frequency.
                                           an extraordinary disposition with                       section 245A shareholder and a lower-                  In addition, a disposition of specified
                                           respect to the SFC arising as a result of               tier CFC, 200 percent of the portion of                property by an SFC to a related party
                                           a disposition of specified property by a                the disqualified amount with respect to                may be considered outside of the
                                           specified entity (other than a foreign                  the tiered extraordinary disposition                   ordinary course of the SFC’s activities
                                           corporation), an interest of which is                   amount equal to the sum of the amounts                 notwithstanding that the SFC regularly
                                           owned directly or indirectly (through                   included in gross income by each U.S.                  disposes of property of the same type of,
                                           one or more other specified entities that               tax resident under section 951(a) in the               or similar to, the specified property to
                                           are not foreign corporations) by the SFC,               taxable year in which the tiered                       persons that are not related parties.
                                           the net gain taken into account for                     extraordinary disposition amount arose                    (C) Per se rules. A disposition is
                                           purposes of the preceding sentence is                   with respect to the lower-tier CFC by                  treated as occurring outside of the
                                           the SFC’s distributive share of the net                 reason of paragraph (d) of this section.               ordinary course of an SFC’s activities if
                                           gain recognized by the specified entity                 For purposes of the preceding sentence,                the disposition is undertaken with a
                                           with respect to the specified property.                 the reference to a U.S. tax resident does              principal purpose of generating earnings
                                              (D) Prior extraordinary disposition                  not include any section 245A                           and profits during the disqualified
                                           amount—(1) General rule. The term                       shareholder with a tiered extraordinary                period or if the disposition is of
                                           prior extraordinary disposition amount                  disposition amount with respect to the                 intangible property, as defined in
                                           means, with respect to an SFC and a                     lower-tier CFC.                                        section 367(d)(4).
                                           section 245A shareholder, the sum of                       (ii) Determining a qualified portion if                (D) Treatment of dispositions by
                                           the extraordinary disposition amount of                 multiple section 245A shareholders                     certain specified entities. For purposes
                                           each prior dividend received by the                     have tiered extraordinary disposition                  of paragraph (c)(3)(ii)(A) of this section,
                                           section 245A shareholder from the SFC                   amounts. For the purposes of applying                  an extraordinary disposition with
                                           by reason of paragraph (c) of this section              paragraph (c)(3)(i)(D)(2)(i) of this                   respect to an SFC includes a disposition
                                           and 200 percent of the sum of the                       section, if more than one section 245A                 by a specified entity other than a foreign
                                           amounts included in the section 245A                    shareholder has a tiered extraordinary                 corporation, provided that immediately
                                           shareholder’s gross income under                        disposition amount with respect to a                   before or immediately after the
                                           section 951(a) by reason of paragraph (d)               dividend received by an upper-tier CFC                 disposition the specified entity is a
                                           of this section (in the case in which the               from a lower-tier CFC, then the qualified              related party with respect to the SFC,
                                           SFC is, or has been, a lower-tier CFC).                 portion with respect to each section                   the SFC directly or indirectly (through
                                           A section 245A shareholder’s prior                      245A shareholder is equal to the amount                one or more other specified entities
                                           extraordinary disposition amount also                   described in paragraph (c)(3)(i)(D)(2)(i)              other than foreign corporations) owns
                                           includes—                                               of this section, without regard to this                an interest in the specified entity, and
                                              (i) A prior dividend received by the                 paragraph (c)(3)(i)(D)(2)(ii), multiplied              the disposition would have otherwise
                                           section 245A shareholder from the SFC                   by a fraction, the numerator of which is               qualified as an extraordinary disposition
                                           to the extent not an extraordinary                      the section 245A shareholder’s tiered                  had the specified entity been a foreign
                                           reduction amount and to the extent the                  extraordinary disposition amount with                  corporation.
                                           dividend was not eligible for the section               respect to the lower-tier CFC and the                     (E) De minimis exception to
                                           245A deduction by reason of section                     denominator of which is the sum of the                 extraordinary disposition. If the sum of
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                                           245A(e) or the holding period                           tiered extraordinary disposition                       the net gain recognized by an SFC with
                                           requirement of section 246 not being                    amounts with respect to each section                   respect to specified property in all
                                           satisfied but would have been an                        245A shareholder and the lower-tier                    dispositions otherwise described in
                                           extraordinary disposition amount had                    CFC.                                                   paragraph (c)(3)(ii)(A) of this section
                                           paragraph (c) of this section applied to                   (ii) Extraordinary disposition—(A) In               does not exceed the lesser of $50
                                           the dividend;                                           general. Except as provided in                         million or 5 percent of the gross value
                                                                                                                     - Add.107 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00018   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           of all of the SFC’s property held                       and before the application of this                     respect to the distributing corporation is
                                           immediately before the beginning of its                 paragraph (c)(4)(i)(B); and                            allocated on a similar basis between the
                                           disqualified period, then no disposition                   (2) A fraction, the numerator of which              distributing corporation and the
                                           of specified property by the SFC is an                  is the value of the transferred share and              controlled corporation.
                                           extraordinary disposition.                              the denominator of which is the value                     (iv) Certain transfers of stock of lower-
                                              (iii) Disqualified period. The term                  of all of the stock of the SFC that the                tier CFCs by upper-tier CFCs. If an
                                           disqualified period means, with respect                 transferor owns directly or indirectly                 upper-tier CFC directly or indirectly
                                           to an SFC that is a CFC on any day                      immediately before the transfer.                       transfers stock of a lower-tier CFC and
                                           during the taxable year that includes                      (C) For purposes of paragraph                       if as a result of the transfer a section
                                           January 1, 2018, the period beginning on                (c)(4)(i)(A) of this section, a person’s               245A shareholder ceases to be a section
                                           January 1, 2018, and ending as of the                   proportionate share of the amount                      245A shareholder with respect to the
                                           close of the taxable year of the SFC, if                allocated to a transferred share under                 lower-tier CFC, then the section 245A
                                           any, that begins before January 1, 2018,                paragraph (c)(4)(i)(B) of this section is              shareholder’s extraordinary disposition
                                           and ends after December 31, 2017.                       equal to the product of—                               account with respect to the upper-tier
                                              (iv) Specified property. The term                       (1) The amount allocated to the share;              CFC is increased by the balance of the
                                           specified property means any property if                and                                                    section 245A shareholder’s
                                           gain recognized with respect to such                       (2) The percentage (expressed as a                  extraordinary disposition account with
                                           property during the disqualified period                 decimal) of the share (by value) that the              respect to the lower-tier CFC,
                                           is not described in section                             person owns directly or indirectly                     determined after any reduction pursuant
                                           951A(c)(2)(A)(i)(I) through (V). If only a              immediately after the transfer (taking                 to paragraph (c)(3) of this section by
                                           portion of the gain recognized with                     into account all transactions related to               reason of dividends and after
                                           respect to property during the                          the transfer).                                         application of paragraph (c)(4)(i) of this
                                           disqualified period is gain that is not                    (D) The transferor’s extraordinary                  section, if applicable. If a section 245A
                                           described in section 951A(c)(2)(A)(i)(I)                disposition account with respect to the                shareholder ceases to be a section 245A
                                           through (V), then a portion of the                      SFC is decreased by the amount by                      shareholder with respect to a lower-tier
                                           property is treated as specified property               which another person’s extraordinary                   CFC by reason of a direct or indirect
                                           in an amount that bears the same ratio                  disposition account with respect to the                transfer of stock of the lower-tier CFC by
                                           to the value of the property as the                     SFC is increased pursuant to paragraph                 multiple upper-tier CFCs that occur
                                           amount of gain not described in section                 (c)(4)(i)(A) of this section.                          pursuant to a plan (or series of related
                                           951A(c)(2)(A)(i)(I) through (V) bears to                   (E) If a principal purpose of the                   transactions), then the balance of the
                                           the total amount of gain recognized with                transfer is to shift, or to avoid, an                  section 245A shareholder’s
                                           respect to such property during the                     amount in the transferor’s extraordinary               extraordinary disposition account is
                                           disqualified period.                                    disposition account with respect to the                allocated among the upper-tier CFCs.
                                              (4) Successor rules for extraordinary                SFC to another person, then for                        The portion of the balance of the
                                           disposition accounts. This paragraph                    purposes of this section, the transfer                 account allocated to each upper-tier
                                           (c)(4) applies with respect to an                       may be disregarded or other appropriate                CFC is equal to the balance of the
                                           extraordinary disposition account upon                  adjustments may be made.                               account multiplied by a fraction, the
                                           certain direct or indirect transfers of                    (ii) Certain section 381 transactions. If           numerator of which is the value of the
                                           stock of an SFC by a section 245A                       assets of an SFC (the acquired                         stock of the lower-tier CFC transferred
                                           shareholder.                                            corporation) are acquired by another                   directly or indirectly by the upper-tier
                                              (i) Another section 245A shareholder                 SFC (the acquiring corporation)                        CFC, and the denominator of which is
                                           succeeds to all or portion of account.                  pursuant to a transaction described in                 the sum of the value of the stock of the
                                           Except for a transfer described in                      section 381(a) in which the acquired                   lower-tier CFC transferred directly or
                                           § 1.1248–8(a)(1), paragraphs (c)(4)(i)(A)               corporation is the transferor corporation              indirectly by all upper-tier CFCs.
                                           through (C) of this section apply when                  for purposes of section 381, then a                       (d) Limitation of amount eligible for
                                           a section 245A shareholder of an SFC                    section 245A shareholder’s                             section 954(c)(6) when there is an
                                           (the transferor) transfers directly or                  extraordinary disposition account with                 extraordinary disposition account with
                                           indirectly a share of stock (or a portion               respect to the acquiring corporation is                respect to a lower-tier CFC—(1) In
                                           of a share of stock) of the SFC that it                 increased by the balance of its                        general. If an upper-tier CFC receives a
                                           owns directly or indirectly (the share or               extraordinary disposition account with                 dividend from a lower-tier CFC, the
                                           portion thereof, a transferred share).                  respect to the acquired corporation,                   dividend is eligible for the exception to
                                              (A) If immediately after the transfer                determined after any reduction pursuant                foreign personal holding company
                                           (taking into account all transactions                   to paragraph (c)(3) of this section by                 income under section 954(c)(6) only to
                                           related to the transfer) another person is              reason of dividends and before the                     the extent that the amount that would
                                           a section 245A shareholder of the SFC,                  application of this paragraph (c)(4)(ii).              be eligible for the section 954(c)(6)
                                           then such other person’s extraordinary                     (iii) Certain distributions involving               exception (determined without regard to
                                           disposition account with respect to the                 section 355 or 356. If, pursuant to a                  this paragraph (d)) exceeds the
                                           SFC is increased by the person’s                        reorganization described in section                    disqualified amount, which is 50
                                           proportionate share of the amount                       368(a)(1)(D) involving a distribution                  percent of the quotient of the
                                           allocated to the transferred share.                     under section 355 (or so much of section               following—
                                              (B) For purposes of paragraph                        356 as it relates to section 355) by an                   (i) The sum of each section 245A
                                           (c)(4)(i)(A) of this section, the amount                SFC (the distributing corporation) of                  shareholder’s tiered extraordinary
                                           allocated to a transferred share is equal               stock of another SFC (the controlled                   disposition amount with respect to the
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                                           to the product of—                                      corporation), earnings and profits of the              lower-tier CFC; and
                                              (1) The balance of the transferor’s                  distributing corporation are allocated                    (ii) The percentage (expressed as a
                                           extraordinary disposition account with                  between the distributing corporation                   decimal) of stock of the upper-tier CFC
                                           respect to the SFC, determined after any                and the controlled corporation, then a                 (by value) owned, in the aggregate, by
                                           reduction pursuant to paragraph (c)(3)                  section 245A shareholder’s                             U.S. tax residents that include in gross
                                           of this section by reason of dividends                  extraordinary disposition account with                 income their pro rata share of the upper-
                                                                                                                     - Add.108 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00019   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           tier CFC’s subpart F income under                       shareholder’s pre-reduction pro rata                      (2) The day immediately before the
                                           section 951(a) on the last day of the                   share of the CFC’s subpart F income (as                first day on which stock was transferred
                                           upper-tier CFC’s taxable year. If a U.S.                defined in section 952(a)) and tested                  directly or indirectly in the preceding
                                           tax resident is a direct or indirect                    income (as defined in section                          taxable year in a transaction (or a series
                                           partner in a domestic partnership that is               951A(c)(2)(A)) for the taxable year,                   of transactions) occurring pursuant to a
                                           a United States shareholder of the                      reduced, but not below zero, by the                    plan to reduce the percentage of stock
                                           upper-tier CFC, the amount of stock                     prior extraordinary reduction amount.                  (by value) of the CFC that the
                                           owned by the U.S. tax resident for                         (2) Rules regarding extraordinary                   controlling section 245A shareholder
                                           purposes of the preceding sentence is                   reduction amounts—(i) Extraordinary                    owns directly or indirectly.
                                           determined under the principles of                      reduction—(A) In general. Except as                       (C) Transactions pursuant to which
                                           paragraph (g)(3) of this section.                       provided in paragraph (e)(2)(i)(C) of this             CFC’s taxable year ends. A controlling
                                              (2) Definition of tiered extraordinary               section, an extraordinary reduction                    section 245A shareholder’s direct or
                                           disposition amount—(i) In general. The                  occurs, with respect to a controlling                  indirect transfer of stock of a CFC that
                                           term tiered extraordinary disposition                   section 245A shareholder’s ownership                   but for this paragraph (e)(2)(i)(B) would
                                           amount means, with respect to a                         of a CFC during a taxable year of the                  give rise to an extraordinary reduction
                                           dividend received by an upper-tier CFC                  CFC, if either of the conditions                       under paragraph (e)(2)(i)(A) of this
                                           from a lower-tier CFC and a section                     described in paragraph (e)(2)(i)(A)(1) or              section does not give rise to an
                                           245A shareholder, the portion of the                    (2) of this section is satisfied. See                  extraordinary reduction if the taxable
                                           dividend that would be an extraordinary                 paragraphs (j)(4) and (5) of this section              year of the CFC ends immediately after
                                           disposition amount if the section 245A                  for examples illustrating an                           the transfer, provided that the
                                           shareholder received as a dividend its                  extraordinary reduction.                               controlling section 245A shareholder
                                           pro rata share of the dividend from the                    (1) The condition of this paragraph                 directly or indirectly owns the stock on
                                           lower-tier CFC. The preceding sentence                  (e)(2)(i)(A)(1) requires that during the               the last day of such year. Thus, for
                                           does not apply to an amount treated as                  taxable year, the controlling section                  example, if a controlling section 245A
                                           a dividend received by an upper-tier                    245A shareholder transfers directly or                 shareholder exchanges all the stock of a
                                           CFC from a lower-tier CFC by reason of                  indirectly (other than by reason of a                  CFC pursuant to a complete liquidation
                                           section 964(e)(4) (in such case, see                    transfer occurring pursuant to an                      of the CFC, the exchange does not give
                                           paragraphs (b)(1) and (g)(2) of this                    exchange described in section                          rise to an extraordinary reduction.
                                           section).                                                                                                         (ii) Rules for determining pre-
                                                                                                   368(a)(1)(E) or (F)), in the aggregate,
                                              (ii) Section 245A shareholder’s pro                                                                         reduction pro rata share—(A) In
                                                                                                   more than 10 percent (by value) of the
                                           rata share of a dividend received by an                                                                        general. Except as provided in
                                                                                                   stock of the CFC that the section 245A
                                           upper-tier CFC. For the purposes of                                                                            paragraph (e)(2)(ii)(B) of this section, the
                                                                                                   shareholder owns directly or indirectly
                                           paragraph (d)(2)(i) of this section, a                                                                         term pre-reduction pro rata share
                                                                                                   as of the beginning of the taxable year
                                           section 245A shareholder’s pro rata                                                                            means, with respect to a controlling
                                           share of the amount of a dividend                       of the CFC, provided the stock                         section 245A shareholder and the
                                           received by an upper-tier CFC from a                    transferred, in the aggregate, represents              subpart F income or tested income of a
                                           lower-tier CFC equals the amount by                     at least 5 percent (by value) of the                   CFC, the controlling section 245A
                                           which the dividend would increase the                   outstanding stock of the CFC as of the                 shareholder’s pro rata share of the CFC’s
                                           section 245A shareholder’s pro rata                     beginning of the taxable year of the CFC;              subpart F income or tested income
                                           share of the upper-tier CFC’s subpart F                 or                                                     under section 951(a)(2) and § 1.951–1(b)
                                           income under section 951(a)(2) and                         (2) The condition of this paragraph                 and (e) or section 951A(e)(1) and
                                           § 1.951–1(b) and (e) if the dividend were               (e)(2)(i)(A)(2) requires that, as a result of          § 1.951A–1(d)(1), respectively,
                                           included in the upper-tier CFC’s foreign                one or more transactions occurring                     determined based on the controlling
                                           personal holding company income                         during the taxable year, the percentage                section 245A shareholder’s direct or
                                           under section 951(a)(1), determined                     of stock (by value) of the CFC that the                indirect ownership of stock of the CFC
                                           without regard to section 952(c) and as                 controlling section 245A shareholder                   immediately before the extraordinary
                                           if the upper-tier CFC had no deductions                 owns directly or indirectly as of the                  reduction (or, if the extraordinary
                                           properly allocable to the dividend under                close of the last day of the taxable year              reduction occurs by reason of multiple
                                           section 954(b)(5).                                      of the CFC is less than 90 percent of the              transactions, immediately before the
                                              (e) Extraordinary reduction amount—                  percentage of stock (by value) that the                first transaction) and without regard to
                                           (1) In general. Except as provided in                   controlling section 245A shareholder                   section 951(a)(2)(B) and § 1.951–
                                           paragraph (e)(3) of this section, the term              owns directly or indirectly on either of               1(b)(1)(ii), but only to the extent that
                                           extraordinary reduction amount means,                   the dates described in paragraphs                      such subpart F income or tested income
                                           with respect to a dividend received by                  (e)(2)(i)(B)(1) and (2) of this section                is not included in the controlling
                                           a controlling section 245A shareholder                  (such percentage, the initial percentage),             section 245A shareholder’s pro rata
                                           from a CFC during a taxable year of the                 provided the difference between the                    share of the CFC’s subpart F income or
                                           CFC ending after December 31, 2017, in                  initial percentage and percentage at the               tested income under section 951(a)(2)
                                           which an extraordinary reduction                        end of the year is at least five percentage            and § 1.951–1(b) and (e) or section
                                           occurs with respect to the controlling                  points.                                                951A(e)(1) and § 1.951A–1(d)(1),
                                           section 245A shareholder’s ownership                       (B) Dates for purposes of the initial               respectively.
                                           of the CFC, the lesser of the amounts                   percentage. For purposes of paragraph                     (B) Decrease in section 245A
                                           described in paragraph (e)(1)(i) or (ii) of             (e)(2)(i)(A)(2) of this section, the dates             shareholder’s pre-reduction pro rata
                                           this section. See paragraphs (j)(4)                     described in paragraphs (e)(2)(i)(B)(1)                share for amounts taken into account by
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                                           through (6) of this section for examples                and (2) of this section are—                           U.S. tax resident. A controlling section
                                           illustrating the application of this                       (1) The day of the taxable year on                  245A shareholder’s pre-reduction pro
                                           paragraph (e).                                          which the controlling section 245A                     rata share of subpart F income or tested
                                              (i) The amount of the dividend.                      shareholder owns directly or indirectly                income of a CFC for a taxable year is
                                              (ii) The amount equal to the sum of                  its highest percentage of stock (by value)             reduced by an amount equal to the sum
                                           the controlling section 245A                            of the CFC; and                                        of the amounts by which each U.S. tax
                                                                                                                     - Add.109 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00020   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           resident’s pro rata share of the subpart                shareholder would have included a pro                  year and the CFC’s taxable year under
                                           F income or tested income is increased                  rata share of the tiered extraordinary                 foreign law (if any) does not close at the
                                           as a result of a transfer directly or                   reduction amount in income by reason                   end of the date on which the CFC’s
                                           indirectly of stock of the CFC by the                   of section 951(a); and                                 taxable year closes as a result of the
                                           controlling section 245A shareholder or                    (3) If the CFC is a lower-tier CFC for              election, foreign taxes paid or accrued
                                           an issuance of stock by the CFC (such                   a portion of the taxable year during                   with respect to such foreign taxable year
                                           an amount with respect to a U.S. tax                    which the lower-tier CFC pays any                      are allocated between the period of the
                                           resident, a specified amount), in either                dividend to an upper-tier CFC, the sum                 foreign taxable year that ends with, and
                                           case, during the taxable year in which                  of the portion of the tiered extraordinary             the period of the foreign taxable year
                                           the extraordinary reduction occurs. For                 reduction amount of each prior                         that begins after, the date on which the
                                           purposes of this paragraph (e)(2)(ii)(B),               dividend received by an upper-tier CFC                 CFC’s taxable year closes as a result of
                                           if there are extraordinary reductions                   from the lower-tier CFC during the                     the election. If there is more than one
                                           with respect to more than one                           taxable year that is included in income                date on which the CFC’s taxable year
                                           controlling section 245A shareholder                    of the section 245A shareholder by                     closes as a result of the election, foreign
                                           during the CFC’s taxable year, then a                   reason of section 951(a).                              taxes paid or accrued with respect to the
                                           U.S. tax resident’s specified amount                       (3) Exceptions—(i) Elective exception               foreign taxable year are allocated to all
                                           attributable to an acquisition of stock                 to close CFC’s taxable year—(A) In                     such periods. The allocation is made
                                           from the CFC is prorated with respect to                general. For a taxable year of a CFC in                based on the respective portions of the
                                           each controlling section 245A                           which an extraordinary reduction                       taxable income of the CFC (as
                                           shareholder based on its relative                       occurs with respect to a controlling                   determined under foreign law) for the
                                           decrease in ownership of the CFC. See                   section 245A shareholder and for                       foreign taxable year that are attributable
                                           paragraph (j)(5) of this section for an                 which, absent this paragraph (e)(3),                   under the principles of § 1.1502–76(b) to
                                           example illustrating a decrease in a                    there would be an extraordinary                        the periods during the foreign taxable
                                           section 245A shareholder’s pre-                         reduction amount or tiered                             year. Foreign taxes allocated to a period
                                           reduction pro rata share for amounts                    extraordinary reduction amount greater                 under this paragraph (e)(3)(i)(B) are
                                           taken into account by a U.S. tax                        than zero, no amount is considered an                  treated as paid or accrued by the CFC as
                                           resident.                                               extraordinary reduction amount or                      of the close of that period.
                                              (C) Prior extraordinary reduction                    tiered extraordinary reduction amount                     (C) Time and manner of making
                                           amount. The term prior extraordinary                    with respect to the controlling section                election—(1) General rule. An election
                                           reduction amount means, with respect                    245A shareholder if each controlling                   pursuant to this paragraph (e)(3) is made
                                           to a CFC and section 245A shareholder                   section 245A shareholder elects,                       and effective if the statement required
                                           and a taxable year of the CFC in which                  pursuant to this paragraph (e)(3), to                  by paragraph (e)(3)(iv) of this section is
                                           an extraordinary reduction occurs, the                  close the CFC’s taxable year for all                   timely filed (including extensions) by
                                           sum of the extraordinary reduction                      purposes of the Internal Revenue Code                  each controlling section 245A
                                           amount of each prior dividend received                  (and, therefore, as to all shareholders of             shareholder making the election with its
                                           by the section 245A shareholder from                    the CFC) as of the end of the date on                  original U.S. tax return for the taxable
                                           the CFC during the taxable year. A                      which the extraordinary reduction                      year in which the extraordinary
                                           section 245A shareholder’s prior                        occurs, or, if the extraordinary reduction             reduction occurs. Before the filing of the
                                           extraordinary reduction amount also                     occurs by reason of multiple                           statement described in paragraph
                                           includes—                                               transactions, as of the end of each date               (e)(3)(iv) of this section, each controlling
                                              (1) A prior dividend received by the                 on which a transaction forming a part of               section 245A shareholder and each U.S.
                                           section 245A shareholder from the CFC                   the extraordinary reduction occurs. For                tax resident that on the end of the date
                                           during the taxable year to the extent the               purposes of applying this paragraph                    on which the extraordinary reduction
                                           dividend was not eligible for the section               (e)(3), a controlling section 245A                     occurs (or, if the extraordinary
                                           245A deduction by reason of section                     shareholder that has an extraordinary                  reduction occurs by reason of multiple
                                           245A(e) or the holding period                           reduction (or a transaction forming a                  transactions, each U.S. tax resident that
                                           requirement of section 246 not being                    part thereof) with respect to a CFC is                 on the end of each date on which a
                                           satisfied but would have been an                        treated as owning the same amount of                   transaction forming a part of the
                                           extraordinary reduction amount had                      stock it owned in the CFC immediately                  extraordinary reduction occurs) owns
                                           this paragraph (e) applied to the                       before the extraordinary reduction (or a               directly or indirectly stock of the CFC
                                           dividend;                                               transaction forming a part thereof) on                 and is a United States shareholder with
                                              (2) If the CFC is a lower-tier CFC for               the end of the date on which the                       respect to the CFC must enter into a
                                           a portion of the taxable year during                    extraordinary reduction occurs (or such                written, binding agreement agreeing that
                                           which the lower-tier CFC pays any                       transaction forming a part thereof                     each controlling section 245A
                                           dividend to an upper tier-CFC, the                      occurs). To the extent that stock of a                 shareholder will elect to close the
                                           portion of a prior dividend received by                 CFC is treated as owned by a controlling               taxable year of the CFC. If a controlling
                                           an upper-tier CFC from the lower-tier                   section 245A shareholder as of the close               section 245A shareholder is a member
                                           CFC during the taxable year of the                      of the CFC’s taxable year pursuant to the              of a consolidated group (within the
                                           lower-tier CFC that, by reason of section               preceding sentence, such stock is                      meaning of § 1.1502–1(h)) and
                                           245A(e), was included in the upper-tier                 treated as not being owned by any other                participates in the extraordinary
                                           CFC’s foreign personal holding                          person as of the close of the CFC’s                    reduction, the agent for such group
                                           company income and that by reason of                    taxable year. If each controlling section              (within the meaning of § 1.1502–
                                           section 951(a) was included in income                   245A shareholder elects to close the                   77(c)(1)) must file the election described
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                                           of the section 245A shareholder, and                    CFC’s taxable year, that closing will be               in this paragraph (e)(3) on behalf of such
                                           that would have given rise to a tiered                  treated as a change in accounting period               member.
                                           extraordinary reduction amount by                       for the purposes of § 1.964–1(c).                         (2) Transition rule. In the case of an
                                           reason of paragraph (f) of this section                    (B) Allocation of foreign taxes. If an              extraordinary reduction occurring
                                           had paragraph (f) applied to the                        election is made pursuant to this                      before the date these regulations are
                                           dividend of which the section 245A                      paragraph (e)(3) to close a CFC’s taxable              filed as final regulations in the Federal
                                                                                                                     - Add.110 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00021   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           Register, the statement required by                     CFCs that have the same or related                        (A) The sum of each U.S. tax
                                           paragraph (e)(3)(iv) of this section is                 (within the meaning of section 267(b) or               resident’s pro rata share of the lower-tier
                                           considered timely filed if it is attached               707(b)) controlling section 245A                       CFC’s subpart F income and tested
                                           by each controlling section 245A                        shareholders.                                          income under section 951(a) or 951A(a),
                                           shareholder to an original or amended                      (ii) De minimis subpart F income and                respectively, that is attributable to
                                           return for the taxable year in which the                tested income. For a taxable year of a                 shares of the lower-tier CFC owned
                                           extraordinary reduction occurs.                         CFC in which an extraordinary                          (within the meaning of section
                                              (D) Form and content of statement.                   reduction occurs, no amount is                         958(a)(2)) by the upper-tier CFC
                                           The statement required by paragraph                     considered an extraordinary reduction                  immediately prior to the extraordinary
                                           (e)(3)(iii) of this section is to be titled             amount with respect to a controlling                   reduction (or the first transaction
                                           ‘‘Elective Section 245A Year-Closing                    section 245A shareholder of the CFC if                 forming a part thereof), computed
                                           Statement.’’ The statement must—                        the sum of the CFC’s subpart F income                  without the application of this
                                              (1) Identify (by name and tax                        and tested income (as defined in section               paragraph (f);
                                           identification number, if any) each                     951A(c)(2)(A)) for the taxable year does                  (B) The sum of each prior tiered
                                           controlling section 245A shareholder,                   not exceed the lesser of $50 million or                extraordinary reduction amount and
                                           each U.S tax resident described in                      5 percent of the CFC’s total income for                sum of each amount included in an
                                           paragraph (e)(3)(iii) of this section, and              the taxable year.                                      upper-tier CFC’s subpart F income by
                                           the CFC;                                                   (f) Limitation of amount eligible for               reason of section 245A(e) with respect
                                              (2) State the date of the extraordinary              section 954(c)(6) where extraordinary                  to prior dividends from the lower-tier
                                           reduction (or, if the extraordinary                                                                            CFC during the taxable year;
                                                                                                   reduction occurs with respect to lower-
                                           reduction includes transactions on more                                                                           (C) The sum of the prior extraordinary
                                                                                                   tier CFCs—(1) In general. If an
                                           than one date, the dates of all such                                                                           reduction amounts (but, for this
                                                                                                   extraordinary reduction occurs with
                                           transactions) to which the election                                                                            purpose, computed without regard to
                                                                                                   respect to a lower-tier CFC and an
                                           applies;                                                                                                       amounts described in paragraphs
                                              (3) State the filing controlling section             upper-tier CFC receives a dividend from
                                                                                                   the lower-tier CFC in the taxable year in              (e)(2)(ii)(C)(2) and (3) of this section) of
                                           245A shareholder’s pro rata share of the                                                                       each controlling section 245A
                                           subpart F income, tested income, and                    which the extraordinary reduction
                                                                                                                                                          shareholder with respect to shares of the
                                           foreign taxes described in section 960                  occurs, then the amount of the dividend
                                                                                                                                                          lower-tier CFC that were owned by such
                                           with respect to the stock of the CFC                    that would otherwise be eligible for the
                                                                                                                                                          controlling section 245A shareholder
                                           subject to the extraordinary reduction,                 exception to foreign personal holding
                                                                                                                                                          (including indirectly through a specified
                                           and the amount of earnings and profits                  company income under section
                                                                                                                                                          entity other than a foreign corporation)
                                           attributable to such stock within the                   954(c)(6) (determined without regard to
                                                                                                                                                          for a portion of the taxable year but are
                                           meaning of section 1248, as of the date                 this paragraph (f)) is eligible for such
                                                                                                                                                          owned by an upper-tier CFC (including
                                           of the extraordinary reduction;                         exception only to the extent the
                                                                                                                                                          indirectly through a specified entity
                                              (4) State that each controlling section              dividend exceeds the tiered
                                                                                                                                                          other than a foreign corporation) at the
                                           245A shareholder and each U.S. tax                      extraordinary reduction amount. The
                                                                                                                                                          time of the distribution of the dividend;
                                           resident described in paragraph                         preceding sentence does not apply to an
                                                                                                                                                          and
                                           (e)(3)(iii) of this section have entered                amount treated as a dividend received                     (D) The product of the amount
                                           into a written, binding agreement to                    by an upper-tier CFC by reason of                      described in paragraph (f)(2)(i)(B) of this
                                           elect to close the CFC’s taxable year in                section 964(e)(4) (in this case, see                   section and the sum of the amounts of
                                           accordance with paragraph (e)(3)(iii) of                paragraphs (b) and (g)(2) of this section).            each U.S. tax resident’s pro rata share of
                                           this section; and                                       See paragraph (j)(7) of this section for an            subpart F income and tested income for
                                              (5) Be filed in the manner prescribed                example illustrating the application of                the taxable year under section 951(a) or
                                           by forms, publications, or other                        this paragraph (f)(1).                                 951A(a), respectively, attributable to
                                           guidance published in the Internal                         (2) Definition of tiered extraordinary              shares of the lower-tier CFC directly or
                                           Revenue Bulletin.                                       reduction amount. The term tiered                      indirectly acquired by the U.S. tax
                                              (E) Consistency requirements. If                     extraordinary reduction amount means,                  resident from the lower-tier CFC during
                                           multiple extraordinary reductions occur                 with respect to the portion of a dividend              the taxable year.
                                           with respect to one or more controlling                 received by an upper-tier CFC from a                      (3) Transition rule for computing
                                           section 245A shareholders’ ownership                    lower-tier CFC during a taxable year of                tiered extraordinary reduction amount.
                                           in a single CFC during one or more                      the lower-tier CFC that would be                       Solely for purposes of applying this
                                           taxable years of the CFC, then to the                   eligible for the exception to foreign                  paragraph (f) in taxable years of a lower-
                                           extent those extraordinary reductions                   personal holding company income                        tier CFC beginning on or after January
                                           occur pursuant to a plan or series of                   under section 954(c)(6) (determined                    1, 2018, and ending before June 14,
                                           related transactions, the election                      without regard to this paragraph (f)), the             2019, a tiered extraordinary reduction
                                           described in this paragraph (e)(3)                      amount of such dividend equal to the                   amount is determined by treating the
                                           section may be made only if it is made                  excess, if any, of—                                    lower-tier CFC’s subpart F income for
                                           for all such extraordinary reductions                      (i) The product of—                                 the taxable year as if it were neither
                                           with respect to the CFC. Furthermore, if                   (A) The sum of the amount of the                    subpart F income nor tested income.
                                           an extraordinary reduction occurs with                  subpart F income and tested income of                     (g) Special rules. The following rules
                                           respect to a controlling section 245A                   the lower-tier CFC for the taxable year;               apply for purposes of this section.
                                           shareholder’s ownership in multiple                     and                                                       (1) Source of dividends. A dividend
                                           CFCs, then, to the extent those                            (B) The percentage (by value) of stock              received by any person is considered
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                                           extraordinary reductions occur pursuant                 of the lower-tier CFC owned (within the                received directly by such person from
                                           to a plan or series of related                          meaning of section 958(a)(2)) by the                   the foreign corporation whose earnings
                                           transactions, the election described in                 upper-tier CFC immediately before the                  and profits give rise to the dividend.
                                           this paragraph (e)(3) may be made only                  extraordinary reduction (or the first                  Therefore, for example, if a section
                                           if it is made for all such extraordinary                transaction forming a part thereof); over              245A shareholder sells or exchanges
                                           reductions with respect to all of the                      (ii) The following amounts—                         stock of an upper-tier CFC and the gain
                                                                                                                     - Add.111 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00022   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           recognized on the sale or exchange is                   considered to transfer indirectly such                 date during its taxable year or at
                                           included in the gross income of the                     stock;                                                 different times on the same date, this
                                           section 245A shareholder as a dividend                     (B) If the person transfers an interest             section applies based on the order in
                                           under section 1248(a), then, to the                     in, or stock of, the specified entity, then            which the dividends are paid.
                                           extent the dividend is attributable under               the person is considered to transfer                      (6) Partner’s distributive share of a
                                           section 1248(c)(2) to the earnings and                  indirectly the stock of the SFC or CFC                 domestic partnership’s pro rata share of
                                           profits of a lower-tier CFC owned,                      attributable to the interest in, or the                subpart F income. If a section 245A
                                           within the meaning of section 958(a)(2),                stock of, the specified entity that is                 shareholder or a U.S. tax resident is a
                                           by the section 245A shareholder                         transferred; and                                       direct or indirect partner in a domestic
                                           through the upper-tier CFC, the                            (C) In the case in which the person                 partnership that is a United States
                                           dividend is considered received directly                owns the specified entity through a                    shareholder with respect to a CFC and
                                           by the section 245A shareholder from                    chain of ownership of one or more other                includes in gross income its pro rata
                                           the lower-tier CFC.                                     specified entities, if there is a transfer of          share of the CFC’s subpart F income
                                              (2) Certain section 964(e) inclusions                an interest in, or stock of, another                   under section 951(a), then, solely for
                                           treated as dividends. An amount                         specified entity in the chain of                       purposes of this section, a reference to
                                           included in the gross income of a                       ownership, then the person is                          the section 245A shareholder’s or U.S.
                                           section 245A shareholder under section                  considered to transfer indirectly the                  tax resident’s pro rata share of the CFC’s
                                           951(a)(1)(A) by reason of section                       stock of the SFC or CFC attributable to                subpart F income included in gross
                                           964(e)(4) is considered a dividend                      the interest in, or the stock of, the other            income under section 951(a) includes
                                           received by the section 245A                            specified entity transferred.                          such person’s distributive share of the
                                                                                                      (iii) Definition of specified entity. The           domestic partnership’s pro rata share of
                                           shareholder directly from the foreign
                                                                                                   term specified entity means any                        the CFC’s subpart F income. A person
                                           corporation whose earnings and profits
                                                                                                   partnership, trust, or estate (in each                 is an indirect partner with respect to a
                                           give rise to the amount described in
                                                                                                   case, domestic or foreign), or any foreign             domestic partnership if the person
                                           section 964(e)(1). Therefore, for
                                                                                                   corporation.                                           indirectly owns the domestic
                                           example, if an upper-tier CFC sells or                     (4) Coordination rules—(i) General
                                           exchanges stock of a lower-tier CFC,                                                                           partnership through one or more
                                                                                                   rule. A dividend is first subject to                   specified entities (other than a foreign
                                           and, as a result of the sale or exchange,               section 245A(e). To the extent the
                                           a section 245A shareholder with respect                                                                        corporation).
                                                                                                   dividend is not a hybrid dividend or                      (h) Anti-abuse rule. The
                                           to the upper-tier CFC includes an                       tiered hybrid dividend under section                   Commissioner may make appropriate
                                           amount in gross income under section                    245A(e), the dividend is subject to                    adjustments to any amounts determined
                                           951(a)(1)(A) by reason of section                       paragraph (e) or (f) of this section, as               under this section if a transaction is
                                           964(e)(4), then the inclusion is treated                applicable, and then, to the extent the                engaged in with a principal purpose of
                                           as a dividend received directly by the                  dividend is not subject to paragraph (e)               avoiding the purposes of this section.
                                           section 245A shareholder from the                       or (f) of this section, it is subject to                  (i) Definitions. The following
                                           lower-tier CFC whose earnings and                       paragraph (c) or (d) of this section, as               definitions apply for purposes of this
                                           profits give rise to the dividend, and the              applicable.                                            section.
                                           section 245A shareholder is not allowed                    (ii) Coordination rule for paragraphs                  (1) Controlled foreign corporation.
                                           a section 245A deduction for the                        (c) and (d) and (e) and (f) of this section,           The term controlled foreign corporation
                                           dividend to the extent of the ineligible                respectively. If an SFC or CFC pays a                  (or CFC) has the meaning provided in
                                           amount of such dividend.                                dividend (or simultaneous dividends), a                section 957.
                                              (3) Rules regarding stock ownership                  portion of which may be subject to                        (2) Controlling section 245A
                                           and stock transfers—(i) Determining                     paragraph (c) or (e) of this section and               shareholder. The term controlling
                                           indirect ownership of stock of an SFC or                a portion of which may be subject to                   section 245A shareholder means, with
                                           a CFC. For purposes of this section, if                 paragraph (d) or (f) of this section, the              respect to a CFC, any section 245A
                                           a person owns an interest in, or stock of,              rules of this section apply by treating                shareholder that owns directly or
                                           a specified entity, including through a                 the portion of the dividend or dividends               indirectly more than 50 percent (by vote
                                           chain of ownership of one or more other                 that may be subject to paragraph (c) or                or value) of the stock of the CFC. For
                                           specified entities, then the person is                  (e) of this section as if it occurred                  purposes of determining whether a
                                           considered to own indirectly a pro rata                 immediately before the portion of the                  section 245A shareholder is a
                                           share of stock of an SFC or a CFC owned                 dividend or dividends that may be                      controlling section 245A shareholder
                                           by the specified entity. To determine a                 subject to paragraph (d) or (f) of this                with respect to a CFC, all stock of the
                                           person’s pro rata share of stock owned                  section. For example, if a dividend                    CFC owned by a related party with
                                           by a specified entity, the principles of                arising under section 964(e)(4) occurs at              respect to the section 245A shareholder
                                           section 958(a) apply without regard to                  the same time as a dividend that would                 or by other persons acting in concert
                                           whether the specified entity is foreign or              be eligible for the exception to foreign               with the section 245A shareholder to
                                           domestic.                                               personal holding company income                        undertake an extraordinary reduction is
                                              (ii) Determining indirect transfers for              under section 954(c)(6) but for the                    considered owned by the section 245A
                                           stock owned indirectly. If, under                       potential application of paragraph (d)                 shareholder. If section 964(e)(4) applies
                                           paragraph (g)(3)(i) of this section, a                  this section, then the tiered                          to a sale or exchange of a lower-tier CFC
                                           person is considered to own indirectly                  extraordinary disposition amount with                  with respect to a controlling section
                                           stock of an SFC or CFC that is owned                    respect to the other dividend is                       245A shareholder, all United States
                                           by a specified entity, then the following               determined as if the dividend arising                  shareholders of the CFC are considered
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                                           rules apply in determining if the person                under section 964(e)(4) occurs                         to act in concert with regard to the sale
                                           transfers stock of the SFC or CFC—                      immediately prior to the other dividend.               or exchange. In addition, if all persons
                                              (A) To the extent the specified entity                  (5) Ordering rule for multiple                      selling stock in a CFC, held directly, sell
                                           transfers stock that is considered owned                dividends made by an SFC or a CFC                      such stock to the same buyer or buyers
                                           indirectly by the person immediately                    during a taxable year. If an SFC or a                  (or a related party with respect to the
                                           before the transfer, the person is                      CFC pays dividends on more than one                    buyer or buyers) as part of the same
                                                                                                                     - Add.112 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00023   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           plan, all sellers will be considered to act                (19) Related party. The term related                from CFC1 meet the requirements to
                                           in concert with regard to the sale or                   party means, with respect to a person,                 qualify for the section 245A deduction.
                                           exchange.                                               another person bearing a relationship                     (vi) The de minimis rules in
                                              (3) Disqualified amount. The term                    described in section 267(b) or 707(b) to               paragraphs (c)(3)(ii)(E) and (e)(3)(ii) of
                                           disqualified amount has the meaning set                 the person, in which case such persons                 this section do not apply.
                                           forth in paragraph (d)(1) of this section.              are related.                                              (2) Example 1. Extraordinary disposition—
                                              (4) Disqualified period. The term                       (20) Section 245A deduction. The                    (i) Facts. US1 and US2 own 60% and 40%,
                                           disqualified period has the meaning set                 term section 245A deduction means,                     respectively, of the single class of stock of
                                           forth in paragraph (c)(3)(iii) of this                  with respect to a dividend received by                 CFC1. CFC1 owns all of the single class of
                                           section.                                                a section 245A shareholder from an                     stock of CFC2. CFC1 and CFC2 use the
                                              (5) Extraordinary disposition. The                   SFC, the amount of the deduction                       taxable year ending November 30 as their
                                           term extraordinary disposition has the                  allowed to the section 245A shareholder                taxable year. On November 1, 2018, CFC1
                                           meaning set forth in paragraph (c)(3)(ii)               by reason of the dividend.                             sells specified property to CFC2 in exchange
                                           of this section.                                           (21) Section 245A shareholder. The                  for $200x of cash (the ‘‘Property Transfer’’).
                                              (6) Extraordinary disposition account.                                                                      The Property Transfer is outside of CFC1’s
                                                                                                   term section 245A shareholder means a                  ordinary course of activities. The transferred
                                           The term extraordinary disposition                      domestic corporation that is a United                  property has a basis of $100x in the hands
                                           amount has the meaning set forth in                     States shareholder with respect to an                  of CFC1. CFC1 recognizes $100x of gain as
                                           paragraph (c)(3)(i) of this section.                    SFC that owns directly or indirectly                   a result of the Property Transfer
                                              (7) Extraordinary disposition amount.                stock of the SFC.                                      ($200x¥$100x). On December 1, 2018, CFC1
                                           The term extraordinary disposition                         (22) Specified 10-percent owned                     distributes $80x pro rata to US1 ($48x) and
                                           amount has the meaning set forth in                     foreign corporation (SFC). The term                    US2 ($32x), all of which is a dividend within
                                           paragraph (c)(1) of this section.                       specified 10-percent owned foreign                     the meaning of section 316 and treated as a
                                              (8) Extraordinary disposition E&P.                   corporation (or SFC) has the meaning                   distribution out of earnings described in
                                           The term extraordinary E&P has the                      provided in section 245A(b)(1).                        section 959(c)(3). No other distributions are
                                           meaning set forth in paragraph                             (23) Specified entity. The term                     made by CFC1 to either US1 or US2 in
                                           (c)(3)(i)(C) of this section.                                                                                  CFC1’s taxable year ending November 30,
                                                                                                   specified entity has the meaning set                   2019. For its taxable year ending on
                                              (9) Extraordinary disposition                        forth in paragraph (g)(3)(iii) of this                 November 30, 2019, CFC1 has $110x of
                                           ownership percentage. The term                          section.                                               earnings and profits described in section
                                           extraordinary disposition ownership                        (24) Specified property. The term                   959(c)(3), without regard to any distributions
                                           percentage has the meaning set forth in                 specified property has the meaning set                 during the taxable year.
                                           paragraph (c)(3)(i)(B) of this section.                 forth in paragraph (c)(3)(iv) of this                     (ii) Analysis—(A) Identification of
                                              (10) Extraordinary reduction. The                    section.                                               extraordinary disposition. Because CFC1 is a
                                           term extraordinary reduction has the                       (25) Tiered extraordinary disposition               CFC and uses the taxable year ending on
                                           meaning set forth in paragraph                          amount. The term tiered extraordinary                  November 30, under paragraph (c)(3)(iii) of
                                           (e)(2)(i)(A) of this section.                           disposition amount has the meaning set                 this section, it has a disqualified period
                                              (11) Extraordinary reduction amount.                 forth in paragraph (d)(2)(i) of this                   beginning on January 1, 2018, and ending on
                                           The term extraordinary reduction                                                                               November 30, 2018. In addition, under
                                                                                                   section.
                                           amount has the meaning set forth in                                                                            paragraph (c)(3)(ii) of this section, the
                                                                                                      (26) Tiered extraordinary reduction
                                           paragraph (e)(1) of this section.                                                                              Property Transfer is an extraordinary
                                                                                                   amount. The term tiered extraordinary                  disposition because it (i) is a disposition of
                                              (12) Ineligible amount. The term                     reduction amount has the meaning set                   specified property by CFC1 on a date on
                                           ineligible amount has the meaning set                   forth in paragraph (f)(2) of this section.             which it was a CFC and during CFC1’s
                                           forth in paragraph (b)(2) of this section.                 (27) United States shareholder. The                 disqualified period, (ii) is to CFC2, a related
                                              (13) Lower-tier CFC. The term lower-                 term United States shareholder has the                 party with respect to CFC1, (iii) occurs
                                           tier CFC means a CFC whose stock is                     meaning provided in section 951(b).                    outside of the ordinary course of CFC1’s
                                           owned (within the meaning of section                       (28) Upper-tier CFC. The term upper-                activities, and (iv) is not subject to the de
                                           958(a)(2)), in whole or in part, by                     tier CFC means a CFC that owns (within                 minimis rule in paragraph (c)(3)(ii)(E) of this
                                           another CFC.                                            the meaning of section 958(a)(2)) stock                section.
                                              (14) Non-extraordinary disposition                   in another CFC.                                           (B) Determination of section 245A
                                           E&P. The term non-extraordinary                            (29) U.S. tax resident. The term U.S.               shareholders and their extraordinary
                                           disposition E&P has the meaning set                                                                            disposition accounts. Because CFC1
                                                                                                   tax resident means a United States
                                           forth in paragraph (c)(2)(ii) of this                                                                          undertook an extraordinary disposition,
                                                                                                   person described in section                            under paragraph (c)(3)(i) of this section, a
                                           section.                                                7701(a)(30)(A) or (C).                                 portion of CFC1’s earnings and profits are
                                              (15) Pre-reduction pro rata share. The                  (j) Examples. The application of this               extraordinary disposition E&P and, therefore,
                                           term pre-reduction pro rata share has                   section is illustrated by the examples in              give rise to an extraordinary disposition
                                           the meaning set forth in paragraph                      this paragraph (j).                                    account with respect to each of CFC1’s
                                           (e)(2)(ii) of this section.                                (1) Facts. Except as otherwise stated,              section 245A shareholders. Under paragraph
                                              (16) Prior extraordinary disposition                 the following facts are assumed for                    (i)(21) of this section, US1 and US2 are both
                                           amount. The term prior extraordinary                    purposes of the examples:                              section 245A shareholders with respect to
                                           disposition amount has the meaning set                     (i) US1 and US2 are domestic                        CFC1. The amount of the extraordinary
                                           forth in paragraph (c)(3)(i)(D) of this                 corporations, each with a calendar                     disposition account with respect to US1 is
                                           section.                                                taxable year, and are not related parties              $60x, which is equal to the product of the
                                              (17) Prior extraordinary reduction                                                                          extraordinary disposition E&P (the amount of
                                                                                                   with respect to each other.
                                           amount. The term prior extraordinary                                                                           the net gain recognized by CFC1 as a result
                                                                                                      (ii) CFC1 and CFC2 are foreign
                                                                                                                                                          of the Property Transfer ($100x)) and the
                                           reduction amount has the meaning set                    corporations that are SFCs and CFCs.                   extraordinary disposition ownership
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                                           forth in paragraph (e)(2)(ii)(C) of this                   (iii) Each entity uses the U.S. dollar as           percentage (the percentage of the stock of
                                           section.                                                its functional currency.                               CFC1 owned directly or indirectly by US1 on
                                              (18) Qualified portion. The term                        (iv) Year 2 begins on or after January              January 1, 2018 (60%)), reduced by the prior
                                           qualified portion has the meaning set                   1, 2018, and has 365 days.                             extraordinary disposition amount ($0). See
                                           forth in paragraph (c)(3)(i)(D)(2)(i) of                   (v) Absent application of this section,             paragraph (c)(3)(i) of this section. Similarly,
                                           this section.                                           the dividends received by US1 and US2                  the amount of the extraordinary disposition
                                                                                                                     - Add.113 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00024   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           account with respect to US2 is $40x, which              respect to CFC1, to the extent thereof.                subpart F income if the dividend were
                                           is equal to the product of the extraordinary            Accordingly, $28x of the dividend is                   included in CFC1’s foreign personal holding
                                           disposition E&P (the net gain recognized by             considered paid out of the extraordinary               company income, without regard to section
                                           CFC1 as a result of the Property Transfer               disposition account with respect to US2 and            952(c) and the allocation of expenses.
                                           ($100x)) and extraordinary disposition                  gives rise to $28x of an extraordinary                 Similarly, US2’s pro rata share of the
                                           ownership percentage (the percentage of the             disposition amount. As a result, US2’s prior           dividend is $32x (40% ¥ $80x).
                                           stock of CFC1 owned directly or indirectly by           extraordinary disposition amount is                       (2) Determination of tiered extraordinary
                                           US2 on January 1, 2018 (40%)), reduced by               increased by $28x under paragraph                      disposition amount with respect to US1. The
                                           the prior extraordinary disposition amount              (c)(3)(i)(D) of this section, and US2’s                extraordinary disposition amount with
                                           ($0).                                                   extraordinary disposition account is reduced           respect to US1 is $42x, under the same
                                              (C) Determination of extraordinary                   to $12x ($40¥$28x) under paragraph                     analysis provided in paragraph (j)(2)(ii)(C) of
                                           disposition amount with respect to US1. The             (c)(3)(i)(A) of this section.                          this section (the analysis in Example 1).
                                           dividend of $48x paid to US1 on December                   (E) Determination of ineligible amount with         Accordingly, the tiered extraordinary
                                           1, 2018, is an extraordinary disposition                respect to US1 and US2. Under paragraph                disposition amount with respect to US1 is
                                           amount to the extent the dividend is paid out           (b)(2) of this section, with respect to US1 and        $42x.
                                           of the extraordinary disposition account with           the dividend of $48x, the ineligible amount               (3) Determination of extraordinary
                                           respect to US1. See paragraph (c)(1) of this            is $21x, the sum of 50 percent of the                  disposition amount with respect to US2. The
                                           section. Under paragraph (c)(2)(i) of this              extraordinary disposition amount ($42x) and            extraordinary disposition amount with
                                           section, the dividend is first considered paid          extraordinary reduction amount ($0).                   respect to US2 is $28x, under the same
                                           out of non-extraordinary disposition E&P                Therefore, with respect to the dividend                analysis provided in paragraph (j)(2)(ii)(D) of
                                           with respect to US1, to the extent thereof.             received by US1 of $48x, $27x is eligible for          this section (the analysis in Example 1).
                                           With respect to US1, $6x of CFC1’s earnings             a section 245A deduction. With respect to              Accordingly, the tiered extraordinary
                                           and profits is non-extraordinary disposition            US2 and the dividend of $32x, the ineligible           disposition amount with respect to US2 is
                                           E&P, calculated as the excess of $66x (the              amount is $14x, the sum of 50% of the                  $28x.
                                           product of $110x of earnings and profits                extraordinary disposition amount ($28x) and               (D) Limitation of section 954(c)(6)
                                           described in section 959(c)(3), without regard          extraordinary reduction amount ($0).                   exception. The sum of US1 and US2’s tiered
                                           to the $80x distribution, and 60%) over $60x            Therefore, with respect to the dividend                extraordinary disposition amounts is $70x
                                           (the balance of US1’s extraordinary                     received by US2 of $32x, $18x is eligible for          ($42x + $28x). The portion of the stock of
                                           disposition account with respect to CFC1,               a section 245A deduction.                              CFC1 (by value) owned (within the meaning
                                           immediately before the distribution). See                  (3) Example 2. Application of section               of section 958(a)) by U.S. tax residents on the
                                           paragraph (c)(2)(ii) of this section. Thus, $6x         954(c)(6) exception with extraordinary                 last day of CFC1’s taxable year is 100%.
                                           of the dividend is considered paid out of               disposition account—(i) Facts. The facts are           Under paragraph (d)(1) of this section, the
                                           non-extraordinary disposition E&P with                  the same as in paragraph (j)(2)(i) of this             disqualified amount with respect to the
                                           respect to US1. Under paragraph (c)(2)(i)(B)            section (the facts in Example 1) except that           dividend is $35x (50% × ($70x/100%)).
                                           of this section, the remaining $42x of the              the Property Transfer is a sale by CFC2 to             Accordingly, the portion of the $80x
                                           dividend is next considered paid out of                 CFC1 instead of a sale by CFC1 to CFC2, the            dividend from CFC2 to CFC1 that is eligible
                                           US1’s extraordinary disposition account with            $80x distribution is by CFC2 to CFC1 in a              for the exception to foreign personal holding
                                           respect to CFC1, to the extent thereof.                 separate transaction that is unrelated to the          company income under section 954(c)(6) is
                                           Accordingly, $42x of the dividend is                    Property Transfer, and the description of the          $45x ($80x ¥$35x). Under section 951(a)(2)
                                           considered paid out of the extraordinary                earnings and profits of CFC1 is applied to             and § 1.951–1(b) and (e), US1 includes $21x
                                           disposition account with respect to CFC1 and            CFC2. Additionally, absent the application of          (60% × $35x) and US2 includes $14x (60%
                                           gives rise to $42x of an extraordinary                  this section, section 954(c)(6) would apply to         × $35x) in income under section 951(a).
                                           disposition amount. As a result, US1’s prior            the distribution by CFC2 to CFC1. Under                   (E) Changes in extraordinary disposition
                                           extraordinary disposition amount is                     section 951(a)(2) and § 1.951–1(b) and (e),            account of US1. Under paragraph
                                           increased by $42x under paragraph                       US1’s pro rata share of any subpart F income           (c)(3)(i)(D)(1) of this section, US1’s prior
                                           (c)(3)(i)(D) of this section, and US1’s                 of CFC1 is 60% and US2’s pro rata share of             extraordinary disposition amount with
                                           extraordinary disposition account is reduced            any subpart F income of CFC2 is 40%.                   respect to CFC2 is increased by $42x, or
                                           to $18x ($60¥$42x) under paragraph                         (ii) Analysis—(A) Identification of                 200% of $21x, the amount US1 included in
                                           (c)(3)(i)(A) of this section.                           extraordinary disposition. The Property                income under section 951(a) with respect to
                                              (D) Determination of extraordinary                   Transfer is an extraordinary disposition               CFC1. Under paragraph (c)(3)(i)(D)(1)(iii) of
                                           disposition amount with respect to US2. The             under the same analysis as provided in                 this section, US1 has no qualified portion
                                           dividend of $32x paid to US2, on December               paragraph (j)(2)(ii)(A) of this section (the           because all of the owners of CFC2 are section
                                           1, 2018, is an extraordinary disposition                analysis in Example 1).                                245A shareholders with a tiered
                                           amount to the extent the dividend is paid out              (B) Determination of section 245A                   extraordinary disposition amount with
                                           of extraordinary disposition E&P with respect           shareholders and their extraordinary                   respect to CFC2. As a result, US1’s
                                           to US2. See paragraph (c)(1) of this section.           disposition accounts. Both US1 and US2 are             extraordinary disposition account is reduced
                                           Under paragraph (c)(2)(i) of this section, the          section 245A shareholders with respect to              to $18x ($60x¥$42x) under paragraph
                                           dividend is first considered paid out of non-           CFC2, US1 has an extraordinary disposition             (c)(3)(i)(A) of this section.
                                           extraordinary disposition E&P with respect to           account of $60x with respect to CFC2, and                 (F) Changes in extraordinary disposition
                                           US2, to the extent thereof. With respect to             US2 has an extraordinary disposition account           account of US2. Under paragraph
                                           US2, $4x of CFC1’s earnings and profits is              of $40x with respect to CFC2 under the same            (c)(3)(i)(D)(1) of this section, US2’s prior
                                           non-extraordinary disposition E&P,                      analysis as provided in paragraph (j)(2)(ii)(B)        extraordinary disposition amount with
                                           calculated as the excess of $44x (the product           of this section (the analysis in Example 1).           respect to CFC2 is increased by $28x, or
                                           of $110x of earnings and profits described in              (C) Determination of tiered extraordinary           200% of $14x, the amount US2 included in
                                           section 959(c)(3), without regard to the $80x           disposition amount—(1) In general. US1 and             income under section 951(a) with respect to
                                           distribution, and 40%) over $40x (the                   US2 each have a tiered extraordinary                   CFC1. Under paragraph (c)(3)(i)(D)(1)(iii) of
                                           balance of US2’s extraordinary disposition              disposition amount with respect to the $80x            this section, US2 has no qualified portion
                                           account with respect to CFC1, immediately               dividend paid by CFC2 to CFC1 to the extent            because all of the owners of CFC2 are section
                                           before the distribution). See paragraph                 that US1 and US2 would have an                         245A shareholders with a tiered
                                           (c)(2)(ii) of this section. Thus, $4x of the            extraordinary disposition amount if each had           extraordinary disposition amount with
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                                           dividend is considered paid out of non-                 received as a dividend its pro rata share of           respect to CFC2. As a result, US2’s
                                           extraordinary disposition E&P with respect to           the dividend from CFC2. See paragraph                  extraordinary disposition account is reduced
                                           US2. Under paragraph (c)(2)(i)(B) of this               (d)(2)(i) of this section. Under paragraph             to $12x ($40x¥$28x) under paragraph
                                           section, the remaining $28x of the dividend             (d)(2)(ii) of this section, US1’s pro rata share       (c)(3)(i)(A) of this section.
                                           is next considered paid out of US2’s                    of the dividend is $48x (60% ¥ $80x), that                (4) Example 3. Extraordinary reduction—
                                           extraordinary disposition account with                  is, the increase to US1’s pro rata share of the        (i) Facts. At the beginning of CFC1’s taxable
                                                                                                                     - Add.114 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00025   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           year ending on December 31, Year 2, US1                 tested income taken into account by US2, a             stock of CFC1 at the beginning of Year 2; it
                                           owns all of the single class of stock of CFC1,          U.S. tax resident, under paragraphs                    also occurs because on the last day of Year
                                           and no person transferred any CFC1 stock                (e)(2)(ii)(B) and (i)(29) of this section ($70x).      2 the percentage of stock (by value) of CFC1
                                           directly or indirectly in Year 1 pursuant to               (C) Determination of ineligible amount.             that US1 owns directly or indirectly (0%)
                                           a plan to reduce the percentage of stock (by            Under paragraph (b)(2) of this section, with           (the end of year percentage) is less than 90%
                                           value) of CFC1 owned by US1. Also as of the             respect to US1 and the dividend of $90x, the           of the highest percentage of stock (by value)
                                           beginning of Year 2, CFC1 has no earnings               ineligible amount is $90x, the sum of 50% of           of CFC1 that US1 owns directly or indirectly
                                           and profits described in section 959(c)(1) or           the extraordinary disposition amount ($0)              on the day of the taxable year when it owned
                                           (2), and US1 does not have an extraordinary             and extraordinary reduction amount ($90x).             the highest percentage of CFC1 stock by
                                           disposition account with respect to CFC1. As            Therefore, with respect to the dividend                value (100%) (the initial percentage), no
                                           of the end of Year 2, CFC1 has $160x of                 received of $90x, no portion is eligible for the       transactions occurred in the preceding year
                                           tested income and no other income. CFC1                 dividends received deduction allowed under             pursuant to a plan to reduce the percentage
                                           has $160x of earnings and profits for Year 2.           section 245A(a).                                       of CFC1 stock owned by US1, and the
                                           On October 19, Year 2, US1 sells all of its                (iii) Alternative facts—election to close           difference between the initial percentage and
                                           CFC1 stock to US2 for $100x in a transaction            CFC’s taxable year. The facts are the same as          the end of year percentage (100 percentage
                                           (the ‘‘Stock Sale’’) in which US1 recognizes            in paragraph (j)(4)(i) of this section (the facts      points) is at least 5 percentage points.
                                           $90x of gain. Under section 1248(a), the                of this Example 3), except that, pursuant to              (B) Determination of pre-reduction pro rata
                                           entire $90x of gain is included in US1’s gross          paragraph (e)(3)(i) of this section, US1 elects        share. Before the extraordinary reduction,
                                           income as a dividend and, pursuant to                   to close CFC1’s Year 2 taxable year for all            US1 owned 100% of the stock of CFC1. Thus,
                                           section 1248(j), the $90x is treated as a               purposes of the Internal Revenue Code as of            under paragraph (e)(2)(ii)(A) of this section,
                                           dividend for purposes of applying section               the end of October 19, Year 2, the date on             the tentative amount of US1’s pre-reduction
                                           245A. At the end of Year 2, under section               which the Stock Sale occurs; in addition,              pro rata share of CFC1’s subpart F income is
                                           951A, US2 takes into account $70x of tested             US1 and US2 enter into a written, binding              $120x. A and US2 are U.S. tax residents
                                           income, calculated as $160x (100% of the                agreement that US1 will elect to close CFC1’s          pursuant to paragraph (i)(29) of this section
                                           $160x of tested income) less $90x, the                  Year 2 taxable year. Accordingly, under                because they are United States persons
                                           amount described in section 951(a)(2)(B). The           section 951A(a), US1 takes into account                described in section 7701(a)(30)(A) or (C).
                                           amount described in section 951(a)(2)(B) is             100% of CFC1’s tested income for the taxable           Thus, US1’s pre-reduction pro rata share
                                           the lesser of $90x, the amount of dividends             year beginning January 1, Year 2, and ending           amount is subject to the reduction described
                                           received by US1 with respect to the                     October 19, Year 2, and US2 takes into                 in paragraph (e)(2)(ii)(B) of this section
                                           transferred stock, and $128x, the amount of             account 100% of CFC1’s tested income for               because U.S. tax residents directly or
                                           tested income attributable to the transferred           the taxable year beginning October 20, Year            indirectly acquire stock of CFC1 from US1 or
                                           stock ($160x) multiplied by 292/365 (the                2, and ending December 31, Year 2. Under               CFC1 during the taxable year in which the
                                           ratio of the number of days in Year 2 that              paragraph (e)(3)(i)(A) of this section, no             extraordinary reduction occurs. With respect
                                           US2 did not own the transferred stock to the            amount is considered an extraordinary                  to US1’s pre-reduction pro rata share of
                                           total number of days in Year 2). US1 does not           reduction amount with respect to US1.                  CFC1’s subpart F income, the reduction
                                           make an election pursuant to paragraph                     (5) Example 4. Extraordinary reduction;             equals the amount of subpart F income of
                                           (e)(3)(i) of this section.                              decrease in section 245A shareholder’s pre-            CFC1 taken into account under section 951(a)
                                              (ii) Analysis—(A) Determination of                   reduction pro rata share for amounts taken             by these U.S. tax residents.
                                           controlling section 245A shareholder and                into account by U.S. tax residents—(i) Facts.             (C) Determination of decrease in pre-
                                           extraordinary reduction of ownership. Under             At the beginning of CFC1’s taxable year                reduction pro rata share for amounts taken
                                           paragraph (i)(2) of this section, US1 is a              ending December 31, Year 2, US1 owns all               into account by U.S. tax resident. On
                                           controlling section 245A shareholder with               of the single class of stock of CFC1, and no           December 31, Year 2, both PRS and US2 will
                                           respect to CFC1. In addition, the Stock Sale            person transferred any CFC1 stock directly or          be United States shareholders with respect to
                                           results in an extraordinary reduction with              indirectly in Year 1 pursuant to a plan to             CFC1 and will include in gross income their
                                           respect to US1’s ownership of CFC1. See                 reduce the percentage of stock (by value) of           pro rata share of CFC1’s subpart F income
                                           paragraph (e)(2)(i) of this section. The                CFC1 owned by US1. CFC1 generates $120x                under section 951(a). With respect to US2,
                                           extraordinary reduction occurs because                  of subpart F income during its taxable year            this amount will be $30x, which is equal to
                                           during Year 2, US1 transferred 100% of the              ending on December 31, Year 2. On October              25% of CFC1’s subpart F income for the
                                           CFC1 stock it owned at the beginning of the             1, Year 2, CFC1 distributes a $120x dividend           taxable year. With respect to PRS, its pro rata
                                           year and such amount is more than 5% of the             to US1. On October 19, Year 2, US1 sells               share of $60x under section 951(a)(2)(A)
                                           total value of the stock of CFC1 at the                 100% of its stock of CFC1 to PRS, a domestic           (50% of $120x) will be reduced under section
                                           beginning of Year 2; it also occurs because on          partnership, in a transaction in which no              951(a)(2)(B) by $48x. The section 951(a)(2)(B)
                                           the last day of the year the percentage of              gain or loss is realized (the ‘‘Stock Sale’’).         reduction is equal to the lesser of the $120x
                                           stock (by value) of CFC1 that US1 owns                  PRS is owned 50% each by A, an individual              dividend paid with respect to those shares to
                                           directly or indirectly (0%) (the end of year            who is a citizen of the United States, and B,          US1 or $48x (50% × $120x × 292/365, the
                                           percentage) is less than 90% of the stock (by           a foreign individual who is not a U.S. tax             period during the taxable year that PRS did
                                           value) of CFC1 that US1 owns directly or                resident. On December 1, Year 2, US2 and               not own CFC1 stock). Thus, PRS includes
                                           indirectly on the day of the taxable year               FP, a foreign corporation, contribute property         $12x in gross income pursuant to section
                                           when it owned the highest percentage of                 to CFC1; in exchange, each of US2 and FP               951(a). Of this amount, $6x is allocated to A
                                           CFC1 stock by value (100%) (the initial                 receives 25% of the stock of CFC1. PRS owns            (as a 50% partner of PRS) and, therefore,
                                           percentage), no transactions occurred in the            the remaining 50% of the stock of CFC1. US1            treated as taken into account by A under
                                           preceding year pursuant to a plan to reduce             does not make an election pursuant to                  paragraphs (e)(2)(ii)(B) and (g)(6) of this
                                           the percentage of CFC1 stock owned by US1,              paragraph (e)(3)(i) of this section.                   section. Thus, A and US2 take into account
                                           and the difference between the initial                     (ii) Analysis—(A) Determination of                  a total of $36x of CFC1’s subpart F income
                                           percentage and the end of year percentage               controlling section 245A shareholder and               under section 951(a). This amount reduces
                                           (100 percentage points) is at least 5                   extraordinary reduction. Under paragraph               US1’s pre-reduction pro rata share of CFC1’s
                                           percentage points.                                      (i)(2) of this section, US1 is a controlling           subpart F income to $84x ($120x¥$36x)
                                              (B) Determination of extraordinary                   section 245A shareholder with respect to               under paragraph (e)(2)(ii)(B) of this section.
                                           reduction amount. Under paragraph (e)(1) of             CFC1. In addition, the Stock Sale results in           CFC1 did not generate tested income during
                                           this section, the entire $90x dividend to US1           an extraordinary reduction with respect to             the taxable year and, therefore, no amount is
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                                           is an extraordinary reduction amount with               US1’s ownership of CFC1. See paragraph                 taken into account under section 951A with
                                           respect to US1 because the dividend is at               (e)(2)(i) of this section. The extraordinary           respect to CFC1, and US1 has no pre-
                                           least equal to US1’s pre-reduction pro rata             reduction occurs because during Year 2, US1            reduction pro rata share with respect to
                                           share of CFC1’s Year 2 tested income                    transferred 100% of the CFC1 stock it owns             tested income of CFC1.
                                           described in paragraph (e)(2)(ii)(A) of this            on the first day of Year 2, and that amount               (D) Determination of extraordinary
                                           section ($160x), reduced by the amount of               is more than 5% of the total value of the              reduction amount. Under paragraph (e)(1) of
                                                                                                                     - Add.115 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00026   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
                                              Appellate Case: 23-1410                         Document: 010111041242                            Date Filed: 04/30/2024                Page: 200
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                                           this section, the extraordinary reduction               CFC2 owned by US1, and US1 does not have               extraordinary reduction, CFC1 held 100% of
                                           amount equals $84x, which is the lesser of              an extraordinary disposition account with              the stock of CFC2. Additionally, US2 is a
                                           the amount of the dividend received by US1              respect to CFC2. At the end of Year 2, and             U.S. tax resident as defined in paragraph
                                           from CFC1 during Year 2 ($120x) and the                 without regard to any distributions during             (i)(29) of this section because it is a United
                                           sum of US1’s pre-reduction pro rata share of            Year 2, CFC2 had $150x of tested income and            States person described in section
                                           CFC1’s subpart F income ($84x) and tested               no other income, and CFC1 had no income                7701(a)(30)(A) or (C), and US2 has a pro rata
                                           income ($0).                                            or expenses. On June 30, Year 2, CFC2                  share of $60x of tested income under section
                                              (E) Determination of ineligible amount.              distributed $150x as a dividend to CFC1,               951A with respect to CFC2. Accordingly,
                                           Under paragraph (b)(2) of this section, with            which would qualify for the exception from             under paragraph (f)(2) of this section, the
                                           respect to US1 and the dividend of $120x,               foreign personal holding company income                tiered extraordinary reduction amount is
                                           the ineligible amount is $84x, the sum of               under section 954(c)(6) but for the                    $90x (($150x × 100%)¥$60x).
                                           50% of the extraordinary disposition amount             application of this section. On August 7, Year            (C) Limitation of section 954(c)(6)
                                           ($0) and extraordinary reduction amount                 2, CFC1 sells all of its CFC2 stock to US2 for         exception. Under paragraph (f)(1) of this
                                           ($84x). Therefore, with respect to the                  $100x in a transaction (the ‘‘Stock Sale’’) in         section, the portion of the $150x dividend
                                           dividend received by US1 from CFC1, $36x                which CFC1 realizes no gain or loss. At the            from CFC2 to CFC1 that is eligible for the
                                           ($120x¥$84x) is eligible for a section 245A             end of Year 2, under section 951A, US2 takes           exception to foreign personal holding
                                           deduction.                                              into account $60x of tested income,                    company income under section 954(c)(6) is
                                              (6) Example 5. Controlling section 245A              calculated as $150x (100% of the $150x of              $60x ($150x¥$90x). To the extent that the
                                           shareholder—(i) Facts. US1 and US2 own                  tested income) less $90x, the amount                   $90x that does not qualify for the exception
                                           30% and 25% of the stock of CFC1,                       described in section 951(a)(2)(B). The amount          gives rise to additional subpart F income to
                                           respectively. FP, a foreign corporation that is         described in section 951(a)(2)(B) is the lesser        CFC1, both US1 and A will take into account
                                           not a CFC, owns all of the stock of US1 and             of $150x, the amount of dividends received             their pro rata share of that subpart F income
                                           US2. FP owns the remaining 45% of the                   by CFC1 during Year 2 with respect to the              under section 951(a)(2) and § 1.951–1(b) and
                                           stock of CFC1. On September 30, Year 2, US1             transferred stock, and $90x, the amount of             (e).
                                           sells all of its stock of CFC1 to US3, a                tested income attributable to the transferred
                                           domestic corporation that is not a related              stock ($150x) multiplied by 219/365 (the                 (k) Applicability date. This section
                                           party with respect to FP, US1, or US2. No               ratio of the number of days in Year 2 that             applies to distributions occurring after
                                           person transferred any stock of CFC1 directly           US2 did not own the transferred stock to the           December 31, 2017.
                                           or indirectly in Year 1 pursuant to a plan to           total number of days in Year 2). US1 does not
                                                                                                                                                            (l) Expiration date. The applicability
                                           reduce the percentage of stock (by value) of            make an election pursuant to paragraph
                                           CFC1 owned by US1.                                      (e)(3)(i) of this section.                             of this section expires June 14, 2022.
                                              (ii) Analysis. Under paragraph (i)(21) of               (ii) Analysis—(A) Determination of                  ■ Par. 3. Section 1.954(c)(6)–1T is
                                           this section, US1 is a section 245A                     controlling section 245A shareholder and               added to read as follows:
                                           shareholder with respect to CFC1, an SFC.               extraordinary reduction of ownership. Under
                                           Because US1 owns, together with US2 and                 paragraph (i)(2) of this section, US1 is a             § 1.954(c)(6)–1T Certain cases in which
                                           FP (related persons with respect to US1),               controlling section 245A shareholder with              section 954(c)(6) exception not available
                                           more than 50% of the stock of CFC1, US1 is              respect to CFC2, but A is not. In addition, the        (temporary).
                                           a controlling section 245A shareholder of               Stock Sale results in an extraordinary
                                           CFC1. The sale of US1’s CFC1 stock results              reduction with respect to US1’s ownership of
                                                                                                                                                             (a) Cross-references to other rules. For
                                           in an extraordinary reduction occurring with            CFC2. See paragraph (e)(2)(i) of this section.         a non-exclusive list of rules that limit
                                           respect to US1’s ownership of CFC1. The                 The extraordinary reduction occurs because             the applicability of the exception to
                                           extraordinary reduction occurs because                  during Year 2, US1 transferred indirectly              foreign personal holding company
                                           during Year 2, US1 transferred 100% of the              100% of the CFC2 stock it owned at the                 income under section 954(c)(6), see—
                                           stock of CFC1 that it owned at the beginning            beginning of the year and such amount is                  (1) Section 1.245A–5T(d) (rules
                                           of the year and that amount is more than 5%             more than 5% of the total value of the stock           regarding the application of section
                                           of the total value of the stock of CFC1 at the          of CFC2 at the beginning of Year 2; it also
                                                                                                                                                          954(c)(6) to extraordinary disposition
                                           beginning of Year 2; it also occurs because on          occurs because on the last day of the year the
                                           the last day of the year the percentage of              percentage of stock (by value) of CFC2 that            amounts);
                                           stock (by value) of CFC1 that US1 directly or           US1 owns directly or indirectly (0%) (the                 (2) Section 1.245A–5T(f) (rules
                                           indirectly owns (0%) (the end of year                   end of year percentage) is less than 90% of            regarding the application of section
                                           percentage) is less than 90% of the stock (by           the stock (by value) of CFC2 that US1 owns             954(c)(6) to tiered extraordinary
                                           value) of CFC1 that US1 directly or indirectly          directly or indirectly on the day of the               reduction amounts)
                                           owned on the day of the taxable year when               taxable year when it owned the highest
                                           it owned the highest percentage of CFC1                 percentage of CFC2 stock by value (80%) (the
                                                                                                                                                             (3) Section 1.245A(e)–1(c) (rules
                                           stock by value (30%) (the initial percentage),          initial percentage), no transactions occurred          regarding tiered hybrid dividends);
                                           no transactions occurred in the preceding               in the preceding year pursuant to a plan to               (4) Section 1.367(b)–4(e)(4) (rules
                                           year pursuant to a plan to reduce the                   reduce the percentage of CFC2 stock owned              regarding income inclusion and gain
                                           percentage of CFC1 stock owned by US1, and              by US1, and the difference between the                 recognition in certain exchanges
                                           the difference between the initial percentage           initial percentage and the end of year                 following an inversion transaction);
                                           and end of year percentage (30 percentage               percentage (80 percentage points) is at least
                                           points) is at least 5 percentage points.                5 percentage points. Because there is an                  (5) Section 964(e)(4)(A) (rules
                                              (7) Example 6. Limitation of section                 extraordinary reduction with respect to CFC2           regarding certain gain from the sale or
                                           954(c)(6) exception with respect to an                  in Year 2 and CFC1 received a dividend from            exchange of stock that is recharacterized
                                           extraordinary reduction. (i) Facts. At the              CFC2 in Year 2, under paragraph (f)(1) of this         as a dividend); and
                                           beginning of CFC1 and CFC2’s taxable year               section, it is necessary to determine the                 (6) Section 1.7701(l)–4(e) (rules
                                           ending on December 31, Year 2, US1 and A,               limitation on the amount of the dividend               regarding recharacterization of certain
                                           an individual who is a citizen of the United            eligible for the exception under section               transactions following an inversion
                                           States, own 80% and 20% of the single class             954(c)(6).
                                           of stock of CFC1, respectively. CFC1 owns                  (B) Determination of tiered extraordinary
                                                                                                                                                          transaction).
                                           100% of the stock of CFC2. Both US1 and A               reduction amount. The limitation on the                   (b) Applicability date. This section
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                                           are United States shareholders with respect             amount of the dividend eligible for the                applies on or after June 14, 2019.
                                           to CFC1 and CFC2, and US1 and A are not                 exception under section 954(c)(6) is based on             (c) Expiration date. The applicability
                                           related parties with respect to each other. No          the tiered extraordinary reduction amount.             of this section expires June 14, 2022.
                                           person transferred CFC2 stock directly or               The sum of the amount of subpart F income
                                           indirectly in Year 2 pursuant to a plan to              and tested income of CFC2 for Year 2 is                ■ Par. 4. Section 1.6038–2T is added to
                                           reduce the percentage of stock (by value) of            $150x, and immediately before the                      read as follows:
                                                                                                                     - Add.116 -
                                      VerDate Sep<11>2014   17:50 Jun 17, 2019   Jkt 247001   PO 00000   Frm 00027   Fmt 4701   Sfmt 4700   E:\FR\FM\18JNR2.SGM   18JNR2
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                                           § 1.6038–2T Information returns required                disposition amount, or tiered                          guidance setting forth the form and
                                           of United States persons with respect to                extraordinary reduction amount, as                     manner of reporting such information.
                                           annual accounting periods of certain                    applicable, in the form and manner and                   (g) through (l) [Reserved].
                                           foreign corporations beginning after                    to the extent prescribed by the form,                    (m)(1) [Reserved].
                                           December 31, 1962 (temporary).
                                                                                                   instructions to the form, publication, or                (2) Special rule for paragraph (f)(16).
                                              (a) through (e) [Reserved].                          other guidance published in the Internal               Paragraph (f)(16) of this section applies
                                              (f)(1) through (15) [Reserved].                      Revenue Bulletin.                                      with respect to information for annual
                                              (16) Dividends for which section 245A                   (ii) Transition rule. If the corporation            accounting periods in which a dividend
                                           deduction or section 954(c)(6) exception                (or predecessor corporation) distributed               subject to § 1.245A–5T is paid.
                                           is limited—(i) General rule. If for the                 or received a dividend that gave rise to                 (n) Expiration date. The applicability
                                           annual accounting period, the                           an ineligible amount, a tiered                         of paragraphs (f)(16) and (m) of this
                                           corporation distributes or receives a                   extraordinary disposition amount, or a                 section expires June 14, 2022.
                                           dividend that gives rise to an ineligible               tiered extraordinary reduction amount
                                           amount (as defined in § 1.245A–                         in an annual accounting period for                     Kirsten Wielobob,
                                           5T((i)(12)), a tiered extraordinary                     which the Form 5471 (or successor                      Deputy Commissioner for Services and
                                           disposition amount (as defined in                       form) has been filed before the date of                Enforcement.
                                           § 1.245A–5T(i)(25)), or a tiered                        publication of these Temporary                           Approved: June 4, 2019.
                                           extraordinary reduction amount (as                      regulations, the corporation must                      David J. Kautter,
                                           defined in § 1.245A–5T(i)(26)), then                    provide the information described in                   Assistant Secretary of the Treasury (Tax
                                           Form 5471 (or a successor form) must                    paragraph (f)(16)(i) of this section on the            Policy).
                                           contain such information about the                      first Form 5471 (or successor form) filed              [FR Doc. 2019–12442 Filed 6–14–19; 4:15 pm]
                                           ineligible amount, tiered extraordinary                 by the corporation after the issuance of               BILLING CODE 4830–01–P
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